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                      UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF OHIO

                             EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION                ) MDL No. 2804
OPIATE LITIGATION                          )
                                           ) Case No. 17-md-2804
This document relates to:                  )
                                           ) Judge Dan Aaron Polster
Case No. 1:17-cv-2585; 1:18-op-45013-DAP   )
                                           ) CONSOLIDATED AND AMENDED
AMERICAN FEDERATION OF STATE,              ) THIRD PARTY PAYOR CLASS ACTION
COUNTY AND MUNICIPAL EMPLOYEES ) COMPLAINT AND JURY DEMAND
DISTRICT COUNCIL 37 HEALTH &               )
SECURITY PLAN; BIOS COMPANIES,             )
INC.WELFARE PLAN; and BIOS                 )
COMPANIES, INC. AS PLAN SPONSOR AND )
FIDUCIARY OF BIOS COMPANIES, INC.          )
WELFARE PLAN; on behalf of themselves and )
all others similarly situated,             )
                                           )
                               Plaintiffs, )
                                           )
        vs.                                )
                                           )
PURDUE PHARMA, L.P.; PURDUE                )
PHARMA, INC.; THE PURDUE FREDERICK )
COMPANY; ENDO HEALTH SOLUTIONS             )
INC.; ENDO PHARMACEUTICALS INC.;           )
PAR PHARMACEUTICAL, INC.; PAR              )
PHARMACEUTICAL COMPANIES, INC.             )
F/K/A PAR PHARMACEUTICAL HOLDINGS, )
INC.; JANSSEN PHARMACEUTICALS, INC.; )
ORTHO-MCNEIL-JANSSEN                       )
PHARMACEUTICALS, INC. N/K/A JANSSEN )
PHARMACEUTICALS, INC.; JANSSEN             )
PHARMACEUTICA N/K/A JANSSEN,               )
                                           )
[Caption continued on following page.]
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PHARMACEUTICALS, INC.; JOHNSON & )
JOHNSON; NORAMCO, INC.; TEVA        )
PHARMACEUTICAL INDUSTRIES LTD.; )
TEVA PHARMACEUTICALS USA, INC.; )
CEPHALON, INC.; ALLERGAN            )
UNLIMITED COMPANY F/K/A             )
ALLERGAN LIMITED F/K/A ALLERGAN )
PLC F/K/A ACTAVIS PLC F/K/A         )
ALLERGAN, INC.; ALLERGAN FINANCE, )
LLC, F/K/A ACTAVIS, INC., F/K/A     )
WATSON PHARMACEUTICALS, INC.;       )
ALLERGAN SALES, LLC; ALLERGAN       )
USA, INC.; WATSON LABORATORIES,     )
INC.; WARNER CHILCOTT COMPANY,      )
LLC; ACTAVIS PHARMA, INC. F/K/A     )
WATSON PHARMA, INC.; ACTAVIS        )
SOUTH ATLANTIC LLC; ACTAVIS         )
ELIZABETH LLC; ACTAVIS MID          )
ATLANTIC LLC; ACTAVIS TOTOWA LLC; )
ACTAVIS LLC; ACTAVIS KADIAN LLC; )
ACTAVIS LABORATORIES UT, INC.,      )
F/K/A WATSON LABORATORIES, INC.- )
SALT LAKE CITY; ACTAVIS             )
LABORATORIES FL, INC., F/K/A WATSON )
LABORATORIES, INC.-FLORIDA;         )
MALLINCKRODT PLC; MALLINCKRODT )
LLC; SPECGX LLC; CVS INDIANA, LLC; )
CVS RX SERVICES, INC.; CVS TN       )
DISTRIBUTION, LLC; CVS ORLANDO      )
FLORIDA DISTRIBUTION, LLC; CVS      )
PHARMACY INC.; WALGREEN CO.;        )
WALGREEN EASTERN CO., INC.;         )
WALMART INC. F/K/A WAL-MART         )
STORES, INC.; WAL-MART STORES       )
EAST, LP; EVERNORTH HEALTH, INC.; )
EXPRESS SCRIPTS, INC.; EXPRESS      )
SCRIPTS ADMINISTRATORS, LLC;        )
MEDCO HEALTH SOLUTIONS, INC.; ESI )
MAIL ORDER PROCESSING, INC.; ESI    )
MAIL PHARMACY SERVICE, INC.;        )
EXPRESS SCRIPTS PHARMACY, INC.;     )
EXPRESS SCRIPTS SPECIALTY           )
DISTRIBUTION SERVICES, INC.;        )

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UNITEDHEALTH GROUP, INC.; OPTUM,
INC.; OPTUMINSIGHT, INC.;
OPTUMINSIGHT LIFE SCIENCES, INC.;
OPTUMRX, INC.; OPTUM DISCOUNT
CARD SERVICES, LLC; OPTUM PERKS,
LLC; OPTUMHEALTH CARE SOLUTIONS,
LLC; OPTUMHEALTH HOLDINGS, LLC;
OPTUM HEALTH NETWORKS, INC.;
CVS HEALTH CORPORATION;
CAREMARK RX, LLC; CAREMARK PCS
HEALTH LLC; CAREMARK, LLC;
ALVOGEN, INC.; ALVOGEN PHARMA;
ALVOGEN GROUP; ALVOGEN PB; NEW
ALVOGEN; ALVOGEN LUX; AZTIQ;
NORWICH; AUROLIFE PHARMA LLC;
AUROBINDO PHARMA USA, INC.; KVK-
TECH, INC.; LUPIN PHARMACEUTICALS,
INC.; LUPIN LTD.; NOVEL
LABORATORIES INC.; TRIS PHARMA,
INC.; KONINKLIJKE AHOLD DELHAIZE
N.V.; AHOLD DELHAIZE USA, INC.;
AHOLD U.S.A., INC.; AMERICAN SALES
COMPANY LLC; ADUSA DISTRIBUTION,
LLC F/K/A DELHAIZE AMERICA
DISTRIBUTION LLC; FOOD LION, LLC;
THE GIANT COMPANY LLC F/K/A GIANT
FOOD STORES, LLC; THE STOP & SHOP
SUPERMARKET COMPANY LLC;
HANNAFORD BROS. CO.; ALBERTSONS
COMPANIES, INC. F/K/A AB ACQUISITION
LLC; NEW ALBERTSONS L.P. F/K/A NEW
ALBERTSON’S, INC.;

[Caption continued on following page.]
COSTCO WHOLESALE CORPORATION
F/K/A/ PRICECOSTCO, F/K/A PRICE
CLUB; DISCOUNT DRUG MART, INC.;
PUBLIX SUPER MARKETS, INC.; TARGET
CORPORATION D/B/A TARGET STORES;
WINN-DIXIE STORES, INC.; and WINN-
DIXIE LOGISTICS, LLC (F/K/A WINN-DIXIE
LOGISTICS, INC.).

                        Defendants.




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       Plaintiff American Federation of State, County and Municipal Employees District

Council 37 Health & Security Plan (“DC 37” or “District Council 37”), hereby supplements and

amends its Complaint dated December 12, 2017 (Doc. No. 1, ECF No. 1:17-cv-2585; 1:18-op-

45013-DAP) (the “Original Complaint”)1 in this action against Defendants: Purdue Pharma, L.P.;

Purdue Pharma, Inc.; The Purdue Frederick Company; Endo Health Solutions Inc.; Endo

Pharmaceuticals, Inc.; Par Pharmaceutical, Inc.; Par Pharmaceutical Companies, Inc. f/k/a Par

Pharmaceutical Holdings, Inc.; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen

Pharmaceuticals, Inc. n/k/a/ Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica n/k/a Janssen

Pharmaceuticals, Inc.; Johnson & Johnson; Noramco, Inc.; Teva Pharmaceutical Industries, Ltd.;

Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; Allergan Unlimited Company f/k/a Allergan

Limited f/k/a Allergan plc f/k/a Actavis plc f/k/a Allergan, Inc.; Allergan Finance, LLC, f/k/a/

Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.; Allergan Sales, LLC; Allergan USA, Inc.;

Watson Laboratories, Inc.; Warner Chilcott Company, LLC; Actavis Pharma, Inc., f/k/a/ Watson

Pharma, Inc.; Actavis South Atlantic LLC; Actavis Elizabeth LLC; Actavis Mid Atlantic LLC;

Actavis Totowa LLC; Actavis LLC; Actavis Kadian LLC; Actavis Laboratories UT, Inc. f/k/a




1
 Plaintiffs Bios Companies, Inc.Welfare Plan and Bios Companies, Inc. as plan sponsor and
fiduciary of Bios Companies, Inc. Welfare Plan (“Bios”) filed their original complaint on
October 9, 2018 (Doc. No. 1, ECF No. 1:18-op-46186-DAP). Upon the filing of this
Consolidated and Amended Complaint, Bios dismisses their original complaint without
prejudice. Furthermore, Bios and Pioneer Telephone Cooperative, Inc. Employee Benefits Plan
and Pioneer Telephone Cooperative, Inc. as Plan Sponsor and Fiduciary of Pioneer Telephone
Cooperative, Inc. Employee Benefits Plan (the “Pioneer Plaintiffs”), together filed their original
class complaint on October 9, 2018. The Pioneer Plaintiffs were selected by the MDL Court as
individual named plaintiffs for bellwether purposes on October 25, 2023. Doc. No.
5225. Consequently, the Pioneer Plaintiffs have not been included in this Consolidated and
Amended Complaint. The DC 37 and Bios Plaintiffs are willing to serve as additional bellwether
plaintiffs if the Court so orders, and, as demonstrated by the allegations of their original
complaints and this Amended Complaint, are willing to serve as class representatives if the Court
so appoints them.


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Watson Laboratories, Inc.-Salt Lake City; Actavis Laboratories FL, Inc., f/k/a Watson

Laboratories, Inc.-Florida; Mallinckrodt plc; Mallinckrodt LLC; SpecGx LLC;2 CVS Indiana,

LLC; CVS Rx Services, Inc.; CVS TN Distribution, LLC; CVS Orlando Florida Distribution,

LLC; CVS Pharmacy Inc.; Walgreen Co.; Walgreen Eastern Co., Inc.; Walmart Inc. f/k/a Wal-

Mart Stores, Inc.; and Wal-Mart Stores East, LP;3 Evernorth Health, Inc.; Express Scripts, Inc.;

Express Scripts Administrators, LLC; Medco Health Solutions, Inc.; ESI Mail Order Processing,

Inc.; ESI Mail Pharmacy Service, Inc.; Express Scripts Pharmacy, Inc.; Express Scripts Specialty

Distribution Services, Inc.; UnitedHealth Group, Inc.; Optum, Inc.; OptumInsight, Inc.;

OptumInsight Life Sciences, Inc.; OptumRx, Inc.; Optum Discount Card Services, LLC; Optum

Perks, LLC; OptumHealth Care Solutions, LLC; OptumHealth Holdings, LLC; Optum Health

Networks, Inc.; CVS Health Corporation; Caremark Rx, LLC; Caremark PCS Health LLC;

Caremark, LLC;4 Alvogen, Inc.; Alvogen Pharma; Alvogen Group; Alvogen PB; New Alvogen;

Alvogen Lux; Aztiq; Norwich; Aurolife Pharma LLC; Aurobindo Pharma USA, Inc.; KVK-

Tech, Inc.; Lupin Pharmaceuticals, Inc.; Lupin Ltd.; Novel Laboratories Inc.; Tris Pharma, Inc.;

Koninklijke Ahold Delhaize N.V.; Ahold Delhaize USA, Inc.; Ahold U.S.A., Inc.; American

Sales Company LLC; ADUSA Distribution, LLC f/k/a Delhaize America Distribution LLC;

Food Lion, LLC; The Giant Company LLC f/k/a Giant Food Stores, LLC; The Stop & Shop

Supermarket Company LLC; Hannaford Bros. Co.; Albertsons Companies, Inc. f/k/a AB

Acquisition LLC; New Albertsons L.P. f/k/a New Albertson’s, Inc.; Costco Wholesale




2
  Together, the above-listed defendants, and the defendants listed in Sec. II.A. below, are referred
to as “Manufacturer Defendants.”
3
  Together, the CVS Pharmacy, Walgreens, and Walmart entities, and the defendants listed in
Sec. II.C. below, are referred to as “Pharmacy Defendants.”
4
  Together, the Express Scripts, OptumRx, and CVS/Caremark entities are referred to as “PBM
Defendants.”


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Corporation f/k/a/ PriceCostco, f/k/a Price Club; Discount Drug Mart, Inc.; Publix Super

Markets, Inc.; Target Corporation d/b/a Target Stores; Winn-Dixie Stores, Inc.; and Winn-Dixie

Logistics, LLC (f/k/a Winn-Dixie Logistics, Inc.).

       This Consolidated and Amended Complaint (“Complaint”) is submitted pursuant to the

Court’s July 31, 2024 Order directing Third Party Payor plaintiffs to identify an appropriate non-

bellwether case in which to preserve class action claims and submit a proposed amended

complaint. Plaintiffs have selected Case No. 1:17-cv-2585, originally filed by DC 37 on

December 12, 2017 in the United States District Court for the Northern District of Ohio and

coordinated with the MDL 2804 proceedings, and hereby amend it as follows. DC 37 and the

additional plaintiff named in this Complaint were not selected as TPP bellwethers and have

agreed and authorized their undersigned counsel to proceed in this Complaint to preserve, state,

and determine or resolve class action allegations on behalf of the proposed TPP class.

       In addition to the allegations set forth herein, Plaintiffs expressly adopt and incorporate

by reference the allegations and claims set forth in the Original Complaint (Doc. No. 1, 1:17-cv-

2585; 1:18-op-45013-DAP), including all claims and allegations against other Defendants named

in that Complaint.5




5
  The Original Complaint Defendants who remain Defendants in this pleading are: Purdue
Pharma L.P.; Purdue Pharma Inc.; The Purdue Frederick Company, Inc.; Cephalon, Inc.; Teva
Pharmaceutical Industries, Ltd.; Teva Pharmaceuticals USA, Inc.; Johnson & Johnson; Janssen
Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen
Pharmaceuticals Inc.; Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Noramco,
Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals Inc.; Mallinckrodt Plc,\; Mallinckrodt
LLC; Allergan PLC f/k/a Actavis PLS; Watson Pharmaceuticals, Inc. n/k/a Actavis, Inc.; Watson
Laboratories, Inc.; Actavis, LLC; Actavis Pharma, Inc. f/k/a/ Watson Pharma, Inc.; and Insys
Therapeutics, Inc.


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        Plaintiffs, acting on behalf of themselves and all others similarly situated, allege, on

personal knowledge as to themselves and on information and belief as to all other matters, as

follows:

                                        INTRODUCTION

        1.      This case arises from a devastating epidemic of human creation—the over-

prescription, over-supply, misuse, diversion, and abuse of prescription opioids. The epidemic

was created and sustained by a wide array of actors in the opioid supply and payment chain

including Defendant opioid manufacturers, dispensers, and pharmacy benefit managers,6 as well

as distributors.7

        2.      Defendants engaged in two types of misconduct: (a) the Marketing Defendants8

engaged in a massive false marketing campaign to drastically expand the market for prescription

opioid drugs; and (b) the Supply Chain Defendants9 deliberately and systematically ignored their

legal duties to provide effective controls against the diversion of these drugs, also for the purpose

of selling more drugs. The first type of misconduct resulted in the prescription and dispensing of

opioids in circumstances, in quantities, and/or for durations that were not medically appropriate

in light of the true risks and benefits of the drugs. The second type of misconduct resulted in the

dispensing of opioids without legitimate prescriptions. Together, both types of misconduct—


6
  Plaintiffs have currently not included claims against persons or entities subject to a Section 362
Bankruptcy stay. These include, but are not limited to, Richard S. Sackler, Jonathan D. Sackler,
Mortimer D.A. Sackler, Kathe A. Sackler, Ilene Sackler Lefcourt, Beverly Sackler, Theresa
Sackler, David A. Sackler, and the Trust for the Benefit of Members of the Raymond Sackler
Family. Plaintiffs reserve the right to assert those claims when those restrictions to pleading are
no longer in place.
7
  Together, McKesson Corporation, Amerisource Bergen Drug Corporation, and Cardinal
Health, Inc. are referred to as “Independent Distributors.”
8
  As used in this Complaint, “Marketing Defendants” means the Manufacturer Defendants, the
Pharmacy Defendants, and the PBM Defendants.
9
  As used in this Complaint “Supply Chain Defendants” means the Manufacturer Defendants and
the Pharmacy Defendants, as well as non-defendant co-conspirator Independent Distributors.


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working separately and hand in hand—resulted in an oversupply of opioids into communities

across the United States, with an entirely foreseeable increase (given the highly addictive nature

of these narcotics) in opioid use disorder (“OUD”), as well as overdoses and deaths.

       3.      This flood of opioids has inflicted great harm on communities all over the United

States. Defendants’ role in causing or contributing to the opioid epidemic is hardly in doubt:

The vast majority of them have settled claims brought by governmental entities arising from the

opioid epidemic; some of them have been found liable by judges and juries for their roles in

creating or contributing to opioid-related public nuisances in communities nationwide; and

several of them have declared bankruptcy because of their opioid-related liabilities.

       4.      But Plaintiffs, like other similarly situated third-party payors (“TPPs”) (also

sometimes referred to as “end payors”), have suffered an injury distinct in kind from those

suffered by governmental subdivisions and members of the community in general. Plaintiffs are

TPPs that provide prescription drug and healthcare benefits—essentially insurance coverage—to

beneficiaries of their plans.

       5.      Public and private TPPs pay for over 80% of prescription drug costs annually in

the United States. The precise percentages vary by year, but private payors’ share of all drug

costs is over 40% and consistently greater than government payors. Put simply, payor

reimbursement is the fuel that runs the prescription-drug revenue machine. Consequently,

Defendants’ having TPPs such as Plaintiffs cover the costs of prescription opioids was the key to

expanding the sales of those drugs. As alleged herein, TPPs, including Plaintiffs, were not

merely bystander casualties of the Defendants’ conduct—they were the intended victims: sales

could not have been meaningfully increased unless TPPs paid the bill.




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       6.      The overall goal of the Defendants’ coordinated conduct, their common purpose,

was to fraudulently and unlawfully expand the overall market for prescription opioids. In order

for their plan to work and to maximize their profits, the Defendants had to fraudulently convince

the medical community to write prescriptions for opioids; suppliers had to unlawfully ship

massive and unreasonably large quantities of the drugs to pharmacies; and pharmacies had to

dispense massive and unreasonably large quantities of the drugs to individuals—and get TPPs to

pay for them, thus completing Defendants’ circle of profit.

       7.      As a result of Defendants’ misconduct, Plaintiffs unwittingly paid for a portion of

the excess opioids that were dispensed, and then Plaintiffs paid for the treatment of patients for

the resulting cases of OUD that inevitably followed. Thus, very directly, TPPs, including

Plaintiffs, have footed the bill for the drugs that caused the opioid epidemic and the treatment

that became necessary because of it. Plaintiffs would not have incurred these costs but for

Defendants’ unlawful, intentional, and improper conduct.

       8.      As detailed below, Defendants did not act in isolation in bringing the unwarranted

flood of opioids into American communities. Rather, they formed an association-in-fact

enterprise through which they worked together to sell, distribute, and dispense massive quantities

of opioids throughout the country. The enterprise had two schemes. First, the Marketing

Defendants worked together to misrepresent the risks and benefits of opioids because they knew

that convincing the medical community that opioids were safe (when they weren’t) and effective

(when they weren’t) was the only way to increase sales. Second, all Defendants worked in

concert to ensure that sales of prescription opioids would not be thwarted by legal safeguards

designed to prevent diversion of these dangerous drugs. Defendants all ignored red-flag warning




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signs of diversion because they knew that, if any of them actually provided effective controls,

they would all have to do so, to their financial detriment.

       9.      TPPs cover prescription drugs pursuant to formularies created and maintained by

their respective pharmacy benefit managers (“PBMs”). These formularies determine which

drugs a TPP will pay for and what restrictions will apply to that coverage. It was central to

Defendants’ schemes that Plaintiffs and other TPPs would not be given the option to limit or

deny coverage for prescription opioids, so that there would be no impediment to the increased

sales that were the goals of those schemes. The PBM Defendants were part of the schemes to

increase the amount of prescription opioids the TPPs would pay for. 10 By the time Plaintiffs and

other TPPs became aware of the risks associated with prescription opioids, and by the time

they—directly and/or through their PBMs or other agents—began implementing stricter

limitations on paying for them, the epidemic had already devastated communities, and Plaintiffs

have already paid—and continue to pay— substantial amounts for drugs that should never have

been sold and for OUD treatment that should never have been needed.

       10.     TPPs’ injuries, including those suffered by Plaintiffs here, were not incidental nor

did they merely flow from the misfortune of others. Rather, extraction of massive sums of

money from commercial TPPs, like Plaintiffs here, was the ultimate and intended goal of




10
  It is immaterial to Plaintiffs’ claims whether other Defendants conspired with the PBMs which
crafted national formularies and utilization management tools and determined what options TPPs
were offered—as alleged by the governmental plaintiffs in their actions against the PBMs—or
deceived the PBMs. Either way, whether the PBMs were faithless agents or deceived ones, the
result of Defendants’ conduct was that the TPPs, including the Plaintiffs, had no opportunity or
ability to limit the quantity of opioids they paid for until approximately two decades into the
epidemic. This was precisely Defendants’ intention.



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Defendants’ activities.11 Plaintiffs seek to recover their damages for the injury they have

suffered as a result of Defendants’ conduct, as described below.

                                JURISDICTION AND VENUE

       11.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 as the

parties are of diverse citizenship and Plaintiffs’ damages exceed $75,000. This Court also has

jurisdiction over this action pursuant to 28 U.S.C. § 1331 because Plaintiffs’ claims under the

Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961 et seq., raise a

federal question. This Court has supplemental jurisdiction over the Plaintiffs’ state-law claims

under 28 U.S.C. § 1367 because those claims are so related to the RICO claim as to form part of

the same case or controversy.

       12.     This Court has personal jurisdiction over all Defendants because the claims

alleged in this Complaint arise out of each Defendant’s transacting business in the United States,

including in New York, contracting to supply services or goods in this state, causing tortious

injury by an act or omission in this state, and because the Defendants regularly do or solicit

business or engage in a persistent course of conduct or derive substantial revenue from goods

used or consumed or services rendered in this state. Defendants have purposefully directed their

actions towards New York and/or have the requisite minimum contacts with New York to satisfy

any statutory or constitutional requirements for personal jurisdiction.




11
   This fact stands in stark contrast to a hypothetical manufacturer or distributor of consumer
goods, for example, whose ultimate goal is extracting greater and greater amounts of money
from consumers who are the persons paying for the product. Here, Defendants’ primary target
was not some nominal amount of money that any consumers might have contributed toward
payment for prescription opioids. Rather, the target of Defendants’ conduct was the billions of
dollars that commercial and government payors, including the TPPs for whom this action is
brought, pay in the form of reimbursements for those drugs.


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        13.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claim occurred in the District.

Venue is also proper under 18 U.S.C. § 1965(a) because Defendants reside, are found, have

agents, or transact their affairs in this District. This action was filed in this district on

December 12, 2017 and subsequently transferred to MDL 2804, In re National Prescription

Opiate Litigation, pursuant to an Order of this Court in case number 1:17-CV-2585 on that same

date.

                                               PARTIES

I.      PLAINTIFFS

        A.      Plaintiff DC 37

        14.     Plaintiff American Federation of State, County and Municipal Employees District

Council 37 Health & Security Plan is a self-funded, non-profit health and welfare benefit plan

covering public sector employees, retirees, and their families. Its principal place of business is in

New York, New York. District Council 37 is New York City’s largest public employee union.

District Council 37’s health and welfare benefit plan covers approximately 125,000 active union

members as well as 50,000 retirees and their families—totaling over 300,000 lives. District

Council 37 includes 51 local unions, representing public sector employees serving in thousands

of job titles from Accountants to Zoo Keepers. Members covered by DC 37’s benefit plan work

in almost every agency in New York City including, but not limited to, the city’s police and fire

departments, hospitals, schools, libraries, social service centers, water treatment facilities, and

city colleges. District Council 37 provides supplemental health benefits, including a prescription

drug benefit to its members, retirees, and their families. Throughout the Class Period and

throughout the United States, DC 37 purchased, paid, and reimbursed for opioids intended for

consumption by its members, retirees, and their families. Given its plan members’ past



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purchases of opioids, DC 37 anticipates that it will continue to purchase and/or provide

reimbursement for opioids in the future.

        B.          Plaintiff Bios

        15.         Plaintiff Bios Companies, Inc., Welfare Plan (“Bios Plan” or “Plaintiff Bios

Plan”) is a private sector “employee welfare benefit plan”12 because it is a “plan, fund, or

program which was heretofore or is hereafter established or maintained by an employer . . . to the

extent that such plan, fund, or program was established or is maintained for the purpose of

providing for its participants13 or their beneficiaries14, through the purchase of insurance or

otherwise, (A) medical, surgical, or hospital care or benefits, or benefits in the event of

sickness . . . .”

        16.         Bios Plan is an “employee benefit plan” that is subject to the Employee

Retirement Income Security Act of 1974 (“ERISA”).15

        17.         Bios Plan is a “self-insured” plan because employer and/or employee

contributions are used to fund the payment of benefits under the Plan.16




12
   As defined in 29 U.S.C. § 1002(1).
13
   As defined in 29 U.S.C. § 1002(7) (here, the eligible employees of Plaintiff ERISA Plan).
14
   As defined in 29 U.S.C. § 1002(8) (here, the eligible dependents of the Plaintiff ERISA Plan’s
eligible employees).
15
   As defined in 29 U.S.C. § 1002(3).
16
   The difference between a self-funded plan and a fully-insured plan is explained in FMC Corp.
v. Holliday, 498 U.S. 52, 54 (1990) (“The Plan is self-funded; it does not purchase an insurance
policy from any insurance company in order to satisfy its obligations to its participants”); Soc’y
of Prof. Eng’g Emp. in Aerospace, v. Spirit Aerosystems, Inc., 681 Fed. App’x 717, 719 n.2 (10th
Cir. 2017) (“A ‘self-funded’ health insurance plan differs from fully insured health insurance
plans in that the employer assumes responsibility for payment of claims rather than the insurance
company”).


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         18.     Bios Companies, Inc. (“Bios”) is the “sponsor”17 of the Bios Plan because it is an

“employer”18 that established the Bios Plan, and because it maintains the Bios Plan. Bios and

Bios Plan may be jointly referred to herein as “Bios Plaintiffs.”

         19.     Bios is also a “fiduciary” of the Bios Plan because it exercises discretionary

authority and discretionary control respecting management of the Bios Plan and exercises

authority and control respecting management or disposition of its assets, and because it has

discretionary authority and discretionary responsibility in the administration of the Bios Plan.

         20.     Bios is an “employer” that is engaged in “commerce.”

         21.     Bios has offices and employee/participants in the State of Oklahoma.

         22.     The Bios Plan purchased, paid, and/or reimbursed for all or part of the cost of

their covered participants’ and beneficiaries’ opioid prescriptions, as well as for their covered

participants’ and beneficiaries’ medical claims related to opioid use disorder (“OUD”). Given

their participants’ and beneficiaries’ past history of purchases of opioids, Plaintiffs anticipate that

they will continue to purchase, pay for, and/or provide reimbursement for opioids and medical

treatment related to OUD in the foreseeable future.

         23.     The distribution and diversion of opioids into the communities where Plaintiffs’

plan participants and beneficiaries reside created the foreseeable opioid crisis.

         24.     Plaintiffs directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which Plaintiffs seek relief. Plaintiffs

continue to suffer these damages directly.




17
     As defined in 29 U.S.C. § 1002(16)(B).
18
     As defined in 29 U.S.C. § 1002(5).


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          25.   Plaintiffs have standing to bring an action under RICO because they have suffered

injury to their business or property as a result of Defendants’ unlawful conduct.

          26.   Plaintiffs have standing to recover damages incurred as a result of Defendants’

actions and omissions. Plaintiffs have standing to bring all claims pled herein, including, inter

alia, to bring claims under the federal RICO statute, pursuant to 18 U.S.C. § 1961(3) (“persons”

include entities which can hold legal title to property) and 18 U.S.C. § 1964 (“persons” have

standing).

II.       DEFENDANTS

          A.    Manufacturer Defendants

          27.   At all relevant times, the Manufacturer Defendants, each of whom is defined

below, have packaged, distributed, supplied, sold, placed into the stream of commerce, labeled,

described, marketed, advertised, promoted, and purported to warn or purported to inform

prescribers and users regarding the benefits and risks associated with the use of prescription

opioid drugs. The Manufacturer Defendants, at all times, have manufactured and sold

prescription opioids without fulfilling their legal duty to prevent diversion and report suspicious

orders.

                1.     Purdue Entities

          28.   Defendant Purdue Pharma, L.P. (“PPL”) is a limited partnership organized under

the laws of Delaware with its principal place of business in Stamford, Connecticut. None of the

PPL’s partners have citizenship in the State of Oklahoma.

          29.   Defendant Purdue Pharma, Inc. (“PPI”) is a New York corporation with its

principal place of business in Stamford, Connecticut.

          30.   Defendant The Purdue Frederick Company (“PFC”) is a New York corporation

with its principal place of business in Stamford, Connecticut.



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        31.      PPL, PPI, and PFC and their United States Drug Enforcement Administration

(“DEA”) registrant subsidiaries and affiliates (collectively, “Purdue”) are engaged in the

manufacture, promotion, distribution, and sale of opioids nationally and in the communities

where Plaintiffs’ plan participants and beneficiaries reside, including the following:

     Product Name      Chemical Name                                               Schedule19
     OxyContin         Oxycodone hydrochloride, extended release                   Schedule II
     MS Contin         Morphine sulfate, extended release                          Schedule II
     Dilaudid          Hydromorphone hydrochloride                                 Schedule II
     Dilaudid-HP       Hydromorphone hydrochloride                                 Schedule II
     Butrans           Buprenorphine                                               Schedule III
     Hysingla ER       Hydrocodone bitrate                                         Schedule II
     Targiniq ER       Oxycodone hydrochloride and naloxone hydrochloride          Schedule II

        32.      Purdue made thousands of payments to physicians nationwide, including in

Oklahoma, ostensibly for activities including participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance, and other services, but in fact

to deceptively promote and maximize the use of opioids.

        33.      OxyContin is Purdue’s largest-selling opioid. Since 2009, Purdue’s national

annual sales of OxyContin have fluctuated between $2.47 billion and $3.1 billion, up four-fold

from 2006 sales of $800 million. OxyContin constitutes roughly 30% of the entire market for


19
   Since passage of the Comprehensive Drug Abuse Prevention and Control Act of 1970, 21
U.S.C. § 801, et seq. (“CSA” or “Controlled Substances Act”), opioids have been regulated as
controlled substances. As controlled substances, they are categorized in five schedules, ranked
in order of their potential for abuse, with Schedule I being the most dangerous. The CSA
imposes a hierarchy of restrictions on prescribing and dispensing drugs based on their medicinal
value, likelihood of addiction or abuse, and safety. Opioids generally had been categorized as
Schedule II or Schedule III drugs; hydrocodone and tapentadol were recently reclassified from
Schedule III to Schedule II. Schedule II drugs have a high potential for abuse, and may lead to
severe psychological or physical dependence. Schedule III drugs are deemed to have a lower
potential for abuse, but their abuse still may lead to moderate or low physical dependence or high
psychological dependence.


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analgesic drugs (i.e., painkillers). Sales of OxyContin (launched in 1996) went from a mere $49

million in its first full year on the market to $1.6 billion in 2002.

        34.     In 2007, Purdue settled criminal and civil charges against it for misbranding

OxyContin and agreed to pay the United States $635 million—at the time, one of the largest

settlements with a drug company for marketing misconduct. None of this stopped Purdue. In

fact, Purdue continued to create the false perception that opioids were safe and effective for long-

term use, even after being caught, by using unbranded marketing methods to circumvent the

system. In short, Purdue paid the fine when caught and then continued business as usual,

deceptively marketing and selling billions of dollars of opioids each year.

                2.      Allergan Entities

        35.     Defendant Allergan Unlimited Company (f/k/a Allergan Limited f/k/a Allergan

plc, f/k/a Actavis plc.) is a private company limited by shares and incorporated in Ireland with its

principal place of business in Dublin, Ireland. Allergan Unlimited is a wholly owned subsidiary

of AbbVie Inc., which maintains its corporate headquarters and executive offices in North

Chicago, Illinois. In October 2012, the Actavis Group was acquired by Watson Pharmaceuticals,

Inc., and the combined company changed its name to Actavis, Inc. as of January 2013. In

October 2013, Actavis plc (n/k/a Allergan Limited) was created to facilitate Actavis’s acquisition

of Warner Chilcott plc pursuant to a transaction agreement dated May 19, 2013. Following the

consummation of the October 1, 2013 acquisition, Actavis, Inc. (n/k/a Allergan Finance, LLC)

and Warner Chilcott plc became wholly owned subsidiaries of Actavis Unlimited (n/k/a Allergan

plc). Pursuant to the transaction, each of Actavis, Inc.’s common shares was converted into one

Actavis plc share. Further, Actavis plc (n/k/a Allergan Limited) was the “successor issuer” to

Actavis, Inc. and Warner Chilcott. Actavis plc acquired Allergan, Inc. in March 2015, and the




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combined company thereafter changed its name to Allergan plc. The entity ultimately was

renamed Allergan Limited in 2020 and then Allergan Unlimited Company in 2023.

        36.    The transaction that originally resulted in the creation of Actavis plc converted

each share of Actavis, Inc.’s Class A common shares into one Actavis plc Ordinary Share.

Actavis, Inc. and Actavis plc had the same corporate headquarters both before and after the

merger. Actavis plc had the same website as Actavis, Inc., and Actavis plc maintained all of

Actavis, Inc.’s officers in the same positions. Actavis plc’s SEC filings explained that

“‘[r]eferences throughout to “we,” “our,” “us,” the “Company” or “Actavis”‘ refer

interchangeably to Watson Pharmaceuticals, Inc., Actavis, Inc., and Actavis plc depending on the

date.

        37.    Defendant Allergan Finance, LLC (f/k/a Actavis, Inc., f/k/a Watson

Pharmaceuticals, Inc.) is a limited liability company incorporated in Nevada and headquartered

in North Chicago, Illinois. Allergan Finance, LLC is a wholly owned subsidiary of Defendant

Allergan Unlimited.

        38.    Defendant Allergan Sales, LLC is incorporated in Delaware and headquartered in

North Chicago, Illinois. Allergan Sales, LLC is the wholly owned subsidiary of Allergan

Unlimited. Allergan Sales, LLC served as the New Drug Application (“NDA”) holder for

Kadian, and the Abbreviated New Drug Applications (“ANDAs”) holder for Norco.

        39.    Defendant Allergan USA, Inc. is incorporated in Delaware and headquartered in

North Chicago, Illinois. Allergan USA, Inc. is a wholly owned subsidiary of Allergan

Unlimited. Until the drugs were removed from the market, Allergan USA, Inc. was responsible

for Norco and Kadian sales.




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       40.     Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal

place of business in Corona, California. Watson Laboratories, Inc. was sold to Teva

Pharmaceutical Industries Ltd. as part of Allergan plc’s 2016 sale of its generic businesses to

Teva. Prior to the sale, Watson Laboratories, Inc. was a direct subsidiary of Actavis, Inc., (n/k/a

Allergan Finance, LLC). Between 2000 and 2015, Watson Laboratories, Inc. held the ANDAs

for Norco and was the manufacturer of the drug. Watson Laboratories, Inc. was also the ANDA

holder of various generic opioids.

       41.     Defendant Warner Chilcott Company, LLC is a limited liability company

incorporated in Puerto Rico. Since 2015, Warner Chilcott Company, LLC has been the

manufacturer of Norco. Warner Chilcott Company, LLC was a subsidiary of Warner Chilcott

plc until Warner Chilcott plc became a wholly owned subsidiary of Allergan plc in 2013.

Warner Chilcott Company LLC was sold to Teva Pharmaceutical Industries Ltd. as part of

Allergan plc’s 2016 sale of its generic businesses to Teva.

       42.     Defendant Actavis Pharma, Inc. (f/k/a Watson Pharma, Inc.) is a Delaware

corporation with its principal place of business in New Jersey. Actavis Pharma, Inc. (f/k/a

Watson Pharma, Inc.) was previously responsible for sales of Kadian and Norco. Actavis

Pharma, Inc. was sold to Teva Pharmaceutical Industries Ltd. as part of Allergan plc’s 2016 sale

of its generic businesses to Teva.

       43.     Defendant Actavis South Atlantic LLC is a Delaware limited liability company

with its principal place of business in Parsippany, New Jersey. Actavis South Atlantic LLC was

listed as the ANDA holder for oxymorphone and fentanyl transdermal. Actavis South Atlantic

LLC was sold to Teva Pharmaceutical Industries Ltd. as part of Allergan plc’s 2016 sale of its

generic businesses to Teva.




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        44.    Defendant Actavis Elizabeth LLC is a Delaware limited liability company with its

principal place of business in Elizabeth, New Jersey. From December 19, 2005, until it

purchased the medication in December 2008, Actavis Elizabeth LLC served as the contract

manufacturer of Kadian for Alpharma. Actavis Elizabeth LLC held the NDA for Kadian from

2008 to 2013. Actavis Elizabeth LLC was also the holder of ANDAs for the following Schedule

II opioid products: oxycodone/acetaminophen; homatropine methylbromide/hydrocodone

bitartrate; morphine sulfate capsule; morphine sulfate tablet; oxycodone/hydrochloride tablet;

oxycodone/ibuprofen; and oxymorphone tablet. Actavis Elizabeth LLC was sold to Teva

Pharmaceutical Industries Ltd. as part of Allergan plc’s 2016 sale of its generic businesses to

Teva.

        45.    Defendant Actavis Mid Atlantic LLC is a Delaware limited liability company

with its principal place of business in Parsippany, New Jersey. Actavis Mid Atlantic LLC has

held the ANDA for homatropine methylbromide/hydrocodone bitartrate. Actavis Mid Atlantic

LLC was sold to Teva Pharmaceutical Industries Ltd. as part of Allergan plc’s 2016 sale of its

generic businesses to Teva.

        46.    Defendant Actavis Totowa LLC is a Delaware limited liability company with its

principal place of business in Parsippany, New Jersey. Actavis Totowa LLC has held the

ANDAs for the following Schedule II opioid products: oxycodone/acetaminophen; homatropine

methylbromide; and oxycodone/hydrochloride.

        47.    Defendant Actavis LLC (f/k/a Actavis Inc.), acquired the opioid Kadian in 2008,

placing its ownership in its subsidiary, Actavis Elizabeth LLC, which had been the contract

manufacturer of Kadian since 2005. Since 2008, Kadian’s label has identified the following

entities as the manufacturer or distributor of Kadian: Actavis Elizabeth LLC; Actavis Kadian




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LLC; Actavis Pharma, Inc.; and Allergan USA, Inc. Allergan USA, Inc. also has contracted with

UPS SCS, Inc. to distribute Kadian on its behalf. Defendant Actavis LLC is a Delaware limited

liability company with its principal place of business in Parsippany, New Jersey. Defendants

Actavis South Atlantic LLC, Actavis Elizabeth LLC, Actavis Mid Atlantic LLC, and Actavis

Totowa LLC were all direct subsidiaries of Actavis LLC, which was an indirect subsidiary of

Defendant Watson Laboratories, Inc. Watson Laboratories, Inc., in turn, was a direct subsidiary

of Actavis, Inc. (n/k/a Allergan Finance, LLC). Actavis LLC was sold to Teva Pharmaceutical

Industries Ltd. as part of Allergan plc’s 2016 sale of its generic businesses to Teva.

       48.     Defendant Actavis Kadian LLC is a Delaware limited liability company with its

principal place of business in Parsippany, New Jersey. Actavis Kadian LLC has been identified

on Kadian’s label as a manufacturer or distributor of Kadian. Actavis Kadian LLC was sold to

Teva Pharmaceutical Industries Ltd. as part of Allergan plc’s 2016 sale of its generic businesses

to Teva.

       49.     Defendant Actavis Laboratories UT, Inc. (f/k/a Watson Laboratories, Inc.-Salt

Lake City) is a Delaware limited liability company with its principal place of business in Salt

Lake City, Utah. Actavis Laboratories UT, Inc. was the Kadian NDA holder from 2013 to 2016

and was listed as the NDA holder for morphine sulfate capsule. Actavis Laboratories UT, Inc.

was sold to Teva Pharmaceutical Industries Limited as part of Allergan plc’s 2016 sale of its

generic businesses to Teva. Prior to the sale, Actavis Laboratories UT, Inc. was a direct

subsidiary of Actavis, Inc. (n/k/a Allergan Finance, LLC).

       50.     Defendant Actavis Laboratories FL, Inc. (f/k/a Watson Laboratories, Inc.-Florida)

is a Florida limited liability company with its principal place of business in Davie, Florida.

Actavis Laboratories FL, Inc. was a Norco ANDA holder in 2015 and was the ANDA holder of




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the following Schedule II opioid products: hydrocodone/acetaminophen; hydrocodone/ibuprofen;

oxycodone/aspirin; and hydromorphone tablet. Actavis Laboratories FL, Inc. was sold to Teva

Pharmaceutical Industries Ltd. as part of Allergan plc’s 2016 sale of its generic businesses to

Teva. Prior to the sale, Actavis Laboratories FL, Inc. was a direct subsidiary of Andrx

Corporation, which was a direct subsidiary of Actavis, Inc. (n/k/a Allergan Finance, LLC).

Andrx Corporation was transferred to Teva as part of the 2016 sale.

          51.    Each of these Defendants and entities currently is or previously was owned by

Defendant Allergan Unlimited Company, which used them to market and sell its drugs in the

United States. Collectively, these Defendants and entities, and their DEA registrant subsidiaries

and affiliates that manufacture, promote, distribute, and sell prescription opioids, are referred to

as “Allergan.”

          52.    Allergan manufactures or has manufactured the following branded drugs, as well

as generic versions of Kadian, Duragesic, OxyContin, and Opana and numerous other opioids, in

the United States and in the communities where Plaintiffs’ plan participants and beneficiaries

reside:
    Product Name        Chemical Name                                                Schedule
    Kadian              Morphine sulfate, extended release                           Schedule II
    Norco               Hydrocodone bitartate and acetaminophen                      Schedule II

          53.    Allergan made thousands of payments to physicians nationwide, ostensibly for

activities including participating on speakers’ bureaus, providing consulting services, assisting in

post-marketing safety surveillance, and other services, but in fact to deceptively promote and

maximize the use of opioids.




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               3.      Teva Entities

       54.     Defendant Teva Pharmaceutical Industries Ltd. (“Teva Ltd.”) is an Israeli

multinational corporation with its principal place of business in Tel Aviv, Israel. It specializes

primarily in generic drugs, including the sale of generic opioids.

       55.     Defendant Teva Pharmaceuticals USA, Inc. (“Teva USA”) is a Delaware

corporation with its principal place of business in Parsippany, New Jersey. Teva USA was in the

business of selling generic opioids, including a generic form of OxyContin from 2005 to 2009.

Teva USA is a wholly owned subsidiary of Defendant Teva Ltd.

       56.     Defendant Cephalon, Inc. is a Delaware corporation with its principal place of

business in Frazer, Pennsylvania. In 2011, Teva Ltd. acquired Cephalon, Inc.

       57.     Teva USA and Cephalon, Inc. and their DEA registrant subsidiaries and affiliates

(collectively with Teva Ltd., “Teva”) work together to manufacture, promote, distribute, and sell

both brand name and generic versions of opioids in the United States and in the communities

where Plaintiffs’ plan participants and beneficiaries reside, including the following:

    Product Name Chemical Name                                                     Schedule
    Actiq             Fentanyl citrate                                             Schedule II
    Fentora           Fentanyl buccal                                              Schedule II

       58.     From 2000 forward, Teva has made thousands of payments to physicians

nationwide, including in Oklahoma, many of whom were not oncologists and did not treat cancer

pain, ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance, and other services, but in fact to

deceptively promote and maximize the use of opioids.




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                  4.     Janssen Entities

         59.      Defendant Johnson & Johnson (“J&J”) is a New Jersey corporation with its

principal place of business in New Brunswick, New Jersey.

         60.      Defendant Janssen Pharmaceuticals, Inc. (“Janssen Pharmaceuticals”) is a

Pennsylvania corporation with its principal place of business in Titusville, New Jersey, and is a

wholly owned subsidiary of J&J. J&J corresponds with the U.S. Food and Drug Administration

(“FDA”) regarding Janssen’s products. Janssen Pharmaceuticals, Inc. formerly was known as

Ortho-McNeil-Janssen Pharmaceuticals, Inc., which in turn was formerly known as Janssen

Pharmaceutica.

         61.      Defendant Ortho-McNeil-Janssen Pharmaceuticals, Inc. (“OMP”) (n/k/a Janssen

Pharmaceuticals, Inc.), is a Pennsylvania corporation with its principal place of business in

Titusville, New Jersey.

         62.      Defendant Janssen Pharmaceutica (n/k/a Janssen Pharmaceuticals, Inc.), is a

Pennsylvania corporation with its principal place of business in Titusville, New Jersey.

         63.      J&J, Janssen Pharmaceuticals, OMP, and Janssen Pharmaceutica and their DEA

registrant subsidiaries and affiliates (collectively, “Janssen”) are or have been engaged in the

manufacture, promotion, distribution, and sale of opioids nationally and in the communities

where Plaintiffs’ plan participants and beneficiaries reside. Among the drugs Janssen

manufactures or manufactured are the following:

      Product Name Chemical Name                                                  Schedule
      Duragesic         Fentanyl                                                  Schedule II
      Nucynta20         Tapentadol hydrochloride, immediate release               Schedule II
      Nucynta ER        Tapentadol hydrochloride, extended release                Schedule II


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     Depomed, Inc. acquired the rights to Nucynta and Nucynta ER from Janssen in 2015.


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       64.     Janssen made thousands of payments to physicians nationwide, including, upon

information and belief, in Oklahoma, ostensibly for activities including participating on

speakers’ bureaus, providing consulting services, assisting in post-marketing safety, surveillance,

and other services, but in fact to deceptively promote and maximize the use of opioids.

Together, Nucynta and Nucynta ER accounted for $172 million in sales in 2014. Prior to 2009,

Duragesic accounted for at least $1 billion in annual sales.

       65.     Information from the U.S. Department of Justice’s (“DOJ”) Office of the

Inspector General shows that J&J made payments to prescribers, but does not indicate which

drug was being promoted when J&J made these payments.

       66.     Janssen, like many other companies, has a corporate code of conduct, which

clarifies the organization’s mission, values, and principles. Janssen’s employees are required to

read, understand, and follow its Code of Conduct for Health Care Compliance. J&J imposes this

code of conduct on Janssen as a pharmaceutical subsidiary of J&J. Documents posted on J&J’s

and Janssen’s websites confirm J&J’s control of the development and marketing of opioids by

Janssen. Janssen’s website, “Ethical Code for the Conduct of Research and Development,”

names only J&J and does not mention Janssen anywhere within the document. The “Ethical

Code for the Conduct of Research and Development” posted on Janssen’s website is J&J’s

company-wide Ethical Code, which it requires all of its subsidiaries to follow.

       67.     The “Every Day Health Care Compliance Code of Conduct” posted on Janssen’s

website is a J&J company-wide document that describes Janssen as one of the “Pharmaceutical

Companies of J&J” and as one of the “J&J Pharmaceutical Affiliates.” It governs how “[a]ll

employees of J&J Pharmaceutical Affiliates,” including those of Janssen, “market, sell, promote,

research, develop, inform and advertise J&J Pharmaceutical Affiliates’ products.” All Janssen




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officers, directors, employees, and sales associates must certify that they have “read, understood

and will abide by” the code. The code governs all of the forms of marketing at issue in this case.

       68.     J&J made payments to thousands of physicians nationwide ostensibly for

activities including participating on speakers’ bureaus, providing consulting services, assisting in

post-marketing safety surveillance, and other services, but in fact to deceptively promote and

maximize the use of opioids.

               5.      Endo Entities

       69.     Defendant Endo Health Solutions Inc. (“EHS”) is a Delaware corporation with its

principal place of business in Malvern, Pennsylvania.

       70.     Defendant Endo Pharmaceuticals Inc. (“EPI”) is a wholly owned subsidiary of

EHS and is a Delaware corporation with its principal place of business in Malvern, Pennsylvania.

       71.     Defendant Par Pharmaceutical, Inc. is a Delaware corporation with its principal

place of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. is a wholly

owned subsidiary of Par Pharmaceutical Companies, Inc. f/k/a Par Pharmaceutical Holdings, Inc.

Defendant Par Pharmaceuticals Companies, Inc. is a Delaware corporation with its principal

place of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. and Par

Pharmaceutical Companies, Inc. are referred to collectively as “Par Pharmaceutical” herein. Par

Pharmaceutical was acquired by Endo International plc in September 2015 and is an operating

company of Endo International plc. EHS, EPI, and Par Pharmaceutical, and their DEA registrant

subsidiaries and affiliates (collectively, “Endo”) manufacture opioids sold nationally and in the

communities where Plaintiffs’ plan participants and beneficiaries reside. Among the drugs Endo

manufactures or manufactured are the following:

 Product Name       Chemical Name                                        Schedule
 Opana ER           Oxymorphone hydrochloride, extended release          Schedule II



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 Product Name       Chemical Name                                         Schedule
 Opana              Oxymorphone hydrochloride                             Schedule II
 Percodan           Oxymorphone hydrochloride and aspirin                 Schedule II
 Percocet           Oxymorphone hydrochloride and acetaminophen Schedule II
 Generic            Oxycodone                                             Schedule II
 Generic            Oxymorphone                                           Schedule II
 Generic            Hydromorphone                                         Schedule II
 Generic            Hydrocodone                                           Schedule II

       72.     Endo made thousands of payments to physicians nationwide, including in

Oklahoma, ostensibly for activities including participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance, and other services, but in fact

to deceptively promote and maximize the use of opioids.

       73.     Opioids made up roughly $403 million of Endo’s overall revenues of $3 billion in

2012, accounting for over 10% of Endo’s total revenue; Opana ER yielded revenue of $1.15

billion from 2010 to 2013. Endo also manufactures and sells generic opioids, both directly and

through its subsidiaries, Par Pharmaceutical and Qualitest Pharmaceuticals, Inc., including

generic oxycodone, oxymorphone, hydromorphone, and hydrocodone products.

       74.     The FDA requested that Endo remove Opana ER from the market in June 2017.

The FDA relied on post-marketing data in reaching its conclusion based on risk of abuse.

               6.      Mallinckrodt Entities

       75.     Defendant Mallinckrodt plc is an Irish public limited company with its

headquarters in Staines-Upon-Thames, Surrey, United Kingdom. Mallinckrodt plc was

incorporated in January 2013 for the purpose of holding the pharmaceuticals business of

Covidien plc, which was fully transferred to Mallinckrodt plc in June of that year. Mallinckrodt

plc also operates under the registered business name Mallinckrodt Pharmaceuticals, with its U.S.




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headquarters in Hazelwood, Missouri. Defendant Mallinckrodt LLC is a Delaware corporation

with its headquarters in Hazelwood, Missouri. Defendant SpecGx LLC is a Delaware limited

liability company with its headquarters in Clayton, Missouri and is a wholly owned subsidiary of

Mallinckrodt plc. Mallinckrodt plc, Mallinckrodt LLC, and SpecGx LLC and their DEA

registrant subsidiaries and affiliates (together, “Mallinckrodt”) manufacture, market, sell, and

distribute pharmaceutical drugs throughout the United States. Mallinckrodt is the largest U.S.

supplier of opioid pain medications and among the top ten generic pharmaceutical manufacturers

in the United States, based on prescriptions.

       76.     Mallinckrodt manufactures and markets two branded opioids: Exalgo, which is

extended-release hydromorphone, sold in 8, 12, 16, and 32 mg dosage strengths, and

Roxicodone, which is oxycodone, sold in 15 and 30 mg dosage strengths. In 2009, Mallinckrodt

Inc., a subsidiary of Covidien plc, acquired the U.S. rights to Exalgo. The FDA approved Exalgo

for treatment of chronic pain in 2012. Mallinckrodt further expanded its branded opioid

portfolio in 2012 by purchasing Roxicodone from Xanodyne Pharmaceuticals. In addition,

Mallinckrodt developed Xartemis XR, an extended-release combination of oxycodone and

acetaminophen, which the FDA approved in March 2014, and which Mallinckrodt has since

discontinued. Mallinckrodt promoted its branded opioid products with its own direct sales force.

       77.     While it has sought to develop its branded opioid products, Mallinckrodt has long

been a leading manufacturer of generic opioids. Mallinckrodt estimated that in 2015 it received

approximately 25% of the DEA’s entire annual quota for controlled substances that it

manufactures. Mallinckrodt also estimated, based on IMS Health data for the same period, that

its generics claimed an approximately 23% market share of DEA Schedules II and III opioid and

oral solid dose medications.




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       78.     Mallinckrodt operates a vertically integrated business in the United States:

(a) importing raw opioid materials; (b) manufacturing generic opioid products, primarily at its

facility in Hobart, New York; and (c) marketing and selling its products to drug distributors,

specialty pharmaceutical distributors, retail pharmacy chains, pharmaceutical benefit managers

that have mail-order pharmacies, and hospital buying groups.

       79.     Mallinckrodt manufactures opioids sold nationally and in the communities where

Plaintiffs’ plan participants and beneficiaries reside. Among the drugs Mallinckrodt

manufactures or has manufactured are the following:

 Product Name        Chemical Name                                            Schedule
 Exalgo              Hydromorphone hydrochloride, extended release            Schedule II
 Roxicodone          Oxycodone hydrochloride                                  Schedule II
 Xartemis XR         Oxycodone hydrochloride and acetaminophen                Schedule II
 Methadose           Methadone hydrochloride                                  Schedule II
 Generic             Morphine sulfate, extended release                       Schedule II
 Generic             Morphine sulfate oral solution                           Schedule II
 Generic             Fentanyl transdermal system                              Schedule II
 Generic             Oral transmucosal fentanyl citrate                       Schedule II
 Generic             Oxycodone and acetaminophen                              Schedule II
 Generic             Hydrocodone bitartrate and acetaminophen                 Schedule II
 Generic             Hydromorphone hydrochloride                              Schedule II
 Generic             Hydromorphone hydrochloride, extended release            Schedule II
 Generic             Naltrexone hydrochloride                                 unscheduled
 Generic             Oxymorphone hydrochloride                                Schedule II
 Generic             Methadone hydrochloride                                  Schedule II
 Generic             Oxycodone hydrochloride                                  Schedule II
 Generic             Buprenorphine and naloxone                               Schedule III

       80.     Mallinckrodt made thousands of payments to physicians nationwide, including in

Oklahoma, ostensibly for activities including participating on speakers’ bureaus, providing



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consulting services, assisting in post-marketing safety surveillance, and other services, but in fact

to deceptively promote and maximize the use of opioids.

                7.     Alvogen Entities

          81.   Defendant Alvogen, Inc. is a Delaware corporation with its principal place of

business in Morristown, New Jersey.

          82.   Defendant Alvogen Pharma US, Inc. (“Alvogen Pharma”) is a Delaware

corporation with its principal place of business in Morristown, New Jersey.

          83.   Defendant Alvogen Group, Inc. (“Alvogen Group”) is a Delaware corporation

with its principal place of business in Morristown, New Jersey.

          84.   Defendant Alvogen PB Research & Development LLC (“Alvogen PB”) is a

Delaware limited liability company with its principal place of business in Morristown, New

Jersey.

          85.   Defendant New Alvogen Group Holdings, Inc. (“New Alvogen”) is a Delaware

corporation with its principal place of business in Morristown, New Jersey.

          86.   Defendant Alvogen Lux Holdeing S.a.r.l. (“Alvogen Lux”) is a United Kingdom

company with its U.S. headquarters in Morristown, New Jersey.

          87.   Defendant Aztiq Pharma Partners S.a.r.l. (“Aztiq”) is a Luxembourgish company

based in Senningerberg, Luxembourg.

          88.   Defendant Norwich Pharmaceuticals, Inc. (“Norwich”) is a Delaware corporation

with its principal place of business in Norwich, New York.

          89.   Alvogen, Inc., Alvogen Pharma, Alvogen Group, Alvogen PB, New Alvogen,

Alvogen Lux, Aztiq, and Norwich. (collectively, “Alvogen”) develop, manufacture, market, and

sell generic prescription pharmaceuticals.




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        90.    Alvogen was founded in 2009 by Róbert Wessman, who was previously the CEO

of Actavis, one of the world’s largest generic drug companies. By 2017, Alvogen had

commercial operations in 35 countries and over 2,800 employees.

        91.    Alvogen was an opportunistic seller of oxycodone, entering the oxycodone

market in 2012—as sales peaked overall—and capturing a significant share of the market within

just a few years.

        92.    Between 2012 and 2019, Alvogen sold over 1.75 billion oxycodone dosage units

(“DUs”)—with approximately 80% of those oxycodone sales, or 1.3 billion DUs, occurring

between 2015 and 2019, as the distribution of opioid pills began to decline overall. Alvogen’s

national market share first exceeded 5% in 2015, and, for each year between 2016-2019,

Alvogen’s market share exceeded 6%. Alvogen’s share of the oxycodone market peaked in 2017

when it had 7.12% market share and sales of nearly 325 million oxycodone DUs.

        93.    Beyond oxycodone, Alvogen entered the fentanyl market in 2016. Alvogen’s

fentanyl sales exploded between 2016 to 2019, increasing from just 1,200 DUs in 2016 to 1.28

million DUs in 2017, to 6.8 million DUs in 2018, and then leveling off at 6.2 million DUs in

2019. In fact, by 2018, just two years after entering the fentanyl market, Alvogen had captured

over 15% market share. Its share of the fentanyl market then increased further, to 17.4%, in

2019.

        94.    Alvogen also began selling generic buprenorphine in 2019. Alvogen’s first-year

sales totaled more than 21.5 million DUs, immediately capturing over 3.5% market share. Most

recently, beginning in or around 2020, Alvogen began marketing and selling generic

hydrocodone.




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               8.      Aurolife Entities

       95.     Defendant Aurolife Pharma LLC is a Delaware limited liability company with its

principal place of business in Dayton, New Jersey.

       96.     Defendant Aurobindo Pharma USA, Inc. (“Aurobindo”) is a Delaware

corporation with its principal place of business in East Windsor, New Jersey.

       97.     Aurolife Pharma LLC and Aurobindo (together, “Aurolife”) manufactures generic

prescription opioids. Aurolife was an opportunistic seller of hydrocodone and oxycodone—

entering those markets in 2012 and 2013 as sales peaked overall and other manufacturers began

limiting their sales in response to the opioid crisis. As others limited their market participation,

Aurolife increased its own.

       98.     Aurolife first began selling generic hydrocodone in 2012. From 2012 to 2019,

Aurolife sold nearly 900 million DUs of hydrocodone—94% of which were sold between 2015

and 2019. Its market share with respect to hydrocodone peaked in 2019 at 5.73% on sales of over

231 million DUs.

       99.     In 2013, shortly after entering the hydrocodone market, Aurolife began selling

generic oxycodone, which became its best-selling opioid. Between 2013 and 2019, Aurolife sold

over 1.1 billion DUs of oxycodone—90% of which were sold between 2015 and 2019. Its

oxycodone market share peaked in 2017 and 2018, at 5.56% and 5.21%, respectively.

       100.    Aurolife began selling generic codeine in 2014. From 2014 to 2019, it sold over

288 million DUs of codeine—98% of which were sold between 2015 and 2019. Aurolife began

capturing a substantial 11% share of the national codeine market in 2017, on sales of nearly 65

million DUs. Its sales steadily increased in 2018 and 2019, with nearly 83 million and 91 million

DUs sold, respectively. Its national codeine market share correspondingly increased from 16.7%

to its peak of 21.4% during those years.


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       101.    In 2016, Aurolife began selling generic versions of methadone, hydromorphone,

and oxymorphone. During the period between 2016 and 2019 Aurolife sold:

                     over 120 million DUs of methadone, with its share of the national market

                      peaking at 11.04% during this period;

                     over 34 million DUs of hydromorphone, with its share of the national

                      market peaking at 5.86% during this period; and

                     over 8.5 million DUs of oxymorphone, with its share of the national

                      market peaking at 9.68% during this period

               9.     KVK-Tech, Inc.

       102.    Defendant KVK-Tech, Inc. (“KVK-Tech”) is a Pennsylvania corporation with is

principal place of business Newton, Pennsylvania.

       103.    KVK-Tech is a manufacturer of generic and proprietary prescription opioids.

KVK-Tech first began selling generic opioids in 2009, beginning with a relatively small

nationwide opioid market share of less than 1% in 2009-2010 and less than 2% in 2011-2012.

By 2019, KVK-Tech had increased its total nationwide opioid market to more than 7%. s

       104.    KVK-Tech was an opportunistic seller of oxycodone and oxymorphone,

multiplying its sales of both opioids at the same time nationwide opioid sales peaked overall and

other manufacturers began limiting their sales in response to the opioid crisis. From 2012 to

2019, KVT-Tech’s oxycodone DU market share shot up from 6.4% to 17.9%. For each year

between 2014 and 2019, KVK-Tech’s oxycodone pill market share exceeded 10%. From 2013

(when KVK-Tech opportunistically entered the oxymorphone market) to 2019, KVK-Tech’s

oxymorphone DU market share increased from 2.7% to 12.2%, exceeding 5% in 2017 and

exceeding 10% in 2018 and 2019.




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       105.    KVK-Tech’s share of the oxycodone market and the oxymorphone market each

increased each year from 2016 to 2019. That increase was not merely caused by decreasing sales

by other manufacturers, but also by KVK-Tech increasing its own sales in recent years. For

example, KVK-Tech sold about 70 million more oxycodone pills in 2019 than in 2018.

       106.    In total, KVK-Tech sold more than 4.8 billion opioid DUs from 2009 to 2019,

with approximately 80% of those sales—or 3.8 billion pills—happening from 2014 to 2019.

               10.     Lupin Entities.

       107.    Defendant Lupin Pharmaceuticals, Inc. is a Delaware corporation with its

principal place of business in Baltimore, Maryland.

       108.    Defendant Lupin Ltd. is an Indian multinational pharmaceutical company based

in Mumbai, India. It is one of the largest generic pharmaceutical companies by revenue globally.

       109.    Defendant Novel Laboratories Inc. (“Novel”) is a Delaware corporation with its

principal place of business in Somerset, New Jersey.

       110.    Lupin Pharmaceuticals, Inc., Lupin Ltd., and Novel (together, “Lupin”) are a

group of companies that develop and market a wide array of pharmaceutical products sold

globally. Lupin is one of the largest global producers of generic drugs.

       111.    In March 2016, Lupin completed its acquisition of GAVIS Pharmaceuticals LLC

(“GAVIS”) and Novel. GAVIS and Novel were two related companies: Novel specialized in the

development and manufacture of generic products while GAVIS marketed and sold the products

developed by Novel. The acquisition provided Lupin with its first manufacturing site in the

United States. In a press release announcing the sale, Lupin stated that the acquisition “enhances

Lupin’s scale in the US generic market and also broadens Lupin’s pipeline in . . . controlled

substances,” as well as other categories.




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       112.    Lupin capitalized on this transaction to become an opportunistic seller of generic

hydrocodone, as well as generic morphine and oxycodone. As to hydrocodone, in 2017, the year

following its acquisition of GAVIS and Novel, Lupin sold 85.4 million DUs—a 677% increase

from its 2016 sales—and captured over 1.5% national market share. Prior to 2017, Lupin’s sales

had not exceeded 11 million DUs (or 0.18% market share) since its entry into the hydrocodone

market in 2011.

       113.    In addition, in late 2017, Lupin received approval (through Novel) for its generic

hydrocodone/acetaminophen tablets at dosages of 5 mg/325 mg, 7.5 mg/325 mg and 10 mg/325

mg. Lupin’s hydrocodone sales immediately ballooned: the very next year, Lupin’s sales

increased to over 400 million DUs and over 8.6% national market share. Although its sales

dipped slightly in 2019, its market share nevertheless increased to over 9.2%.

       114.    Beyond hydrocodone, Lupin also sold generic morphine and oxycodone. Lupin

launched generic morphine tablets in 2017, rapidly selling over 4.7 million DUs, or 125 million

morphine milligram equivalents (“MMEs”), its first year. Lupin’s sales of oxycodone peaked the

following year, in 2018, when it sold nearly 30 million MMEs.21

       115.    The opioid drugs sold by Lupin since 2016 have been manufactured for Lupin by

Novel, Lupin’s affiliate and a wholly owned subsidiary of Lupin Inc. Lupin and Novel, however,

have recently come under scrutiny, in connection with their manufacture and sale of these opioid

drugs. In 2022, Lupin voluntarily recalled nearly 24,000 bottles of oxycodone tablets

manufactured by Novel after samples yielded an out-of-specification impurity.




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  Details pertaining to Lupin’s market share in each Amending Plaintiff’s jurisdiction are set
forth in Exhibit A.


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       116.    In addition, just a few months ago, in April 2024, Novel agreed to pay a civil

penalty in the amount of $2.25 million to resolve allegations that it violated the CSA. Novel also

reached an administrative resolution with the DEA by entering into a memorandum of agreement

(“MOA”). According to documents filed in the case and the contentions of the United States

contained in the parties’ settlement agreement, from January 1, 2019, to August 31, 2021, Novel

committed violations of the CSA by failing to account for approximately 3.1 kg of oxycodone,

7.7 kg of hydrocodone, and 30 kg of Temazepam. DEA discovered these violations during on-

site inspections of Novel beginning in the summer of 2021. The MOA requires Novel to improve

its operations and remain in compliance with the law and will remain in effect for three years.

       117.

               11.    Tris Pharma, Inc.

       118.    Defendant Tris Pharma, Inc. (“Tris”) is a privately held biopharmaceutical

company based in New Jersey engaged in the business of developing, manufacturing, marketing,

and selling of both generic and branded prescription pharmaceuticals products. Tris was an

opportunistic seller of hydrocodone and morphine—entering those markets in 2014 and 2015, as

overall sales peaked and began to contract, and subsequently taking a significant share of those

markets.

       119.    Tris first began selling generic hydrocodone in 2014, with sales of 21 million

DUs. By 2015, however, its hydrocodone sales had skyrocketed to more than 157 million DUs

and 2.3% market share. Between 2016 and 2019, Tris’s hydrocodone sales increased each year:

to approximately 178 million DUs in 2016, 200 million DUs in 2017, 269 million DUs in 2018,

and 346 million DUs in 2019. Its market share increased correspondingly during these years,

peaking at over 8.5% in 2019. In all, between 2014 and 2019, Tris sold over 1.1 billion DUs of

hydrocodone—substantially all of which were sold after 2015.


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       120.    In 2015, one year after entering the hydrocodone market, Tris began selling a

generic morphine oral solution. In terms of MMEs, Tris’s sales increased significantly each year

between 2015 and 2019—from just under half a million MMEs in 2015 to over 576 million

MMEs just four years later. By 2018, its MME market share was over 2%, increasing further to

over 4.8% in 2019.

       121.    Collectively, Purdue, Allergan, Teva, Janssen, Endo, Mallinckrodt, Alvogen,

Aurolife, KVK-Tech, Lupin, and Tris are referred to as the “Manufacturer Defendants.”

       B.      PBM Defendants

               1.       The Express Scripts Entities

       122.    Defendant Evernorth Health, Inc. (f/k/a Express Scripts Holding Company)

(“Evernorth”) is a Delaware corporation Evernorth Health, Inc.’s principal place of business is at

1 Express Way, St. Louis, Missouri 63121.

       123.    Evernorth is the parent company to all of the Express Scripts entities named as

Defendants. Evernorth, through its executives and employees, controls the enterprise-wide

policies that inform all of Express Scripts’ lines of business in order to maximize profits across

the corporate family.

       124.    Evernorth’s conduct had a direct effect in New York, including Plaintiff’s

Community.

       125.    Defendant Express Scripts, Inc. is a Delaware corporation and is a wholly owned

subsidiary of Evernorth Health, Inc. Express Scripts, Inc.’s principal place of business is at 1

Express Way, St. Louis, Missouri 63121.

       126.    Express Scripts, Inc. is the immediate or indirect parent of pharmacy and PBM

subsidiaries that operate throughout New York that engaged in the conduct which gives rise to

this Complaint.


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       127.    During the relevant time period, Express Scripts Inc. was directly involved in the

PBM and mail order services businesses, including with respect to the at-issue drugs, as well as

Express Scripts’ data and research services.

       128.    Defendant Express Scripts Administrators, LLC is a Delaware limited liability

company and is a wholly owned subsidiary of Evernorth Health, Inc. Express Scripts

Administrators, LLC’s principal place of business is at the same location as Express Scripts, Inc.

       129.    Express Scripts Administrators, LLC is registered to do business in New York

and may be served through its registered agent CT Corporation System, 28 Liberty Street, New

York, New York 10005.

       130.    During the relevant time period, Express Scripts Administrators, LLC provided

and/or offered PBM services in New York, including Plaintiff’s Community, alleged in this

complaint.

       131.    Defendant Medco Health Solutions, Inc. (f/k/a Merck-Medco) (“Medco”) is a

Delaware Corporation with its principal place of business located at 100 Parsons Pond Road,

Franklin Lakes, New Jersey, and is a wholly owned subsidiary of Evernorth Health, Inc. Medco

Health Solutions, Inc. was previously known as Merck-Medco. Merck-Medco was acquired in

the early 1990s by Merck & Co. as its pharmacy benefit manager subsidiary. In 2002, Merck &

Co. spun off Merck-Medco into a publicly traded company, defendant Medco Health Solutions,

Inc.

       132.    Medco Health Solutions, Inc. is registered to do business in New York and may

be served through its registered agent: CT Corporation Syste, 28 Liberty Street, New York, New

York 10005.




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       133.    Defendant ESI Mail Order Processing, Inc. is a Delaware corporation and is a

wholly owned subsidiary of Evernorth Health, Inc.

       134.    During the relevant time period, ESI Mail Order Processing, Inc. provided and/or

offered mail order pharmacy services in New York, including Plaintiff’s Community, alleged in

this Complaint, which gives rise to the causes of action herein.

       135.    Defendant ESI Mail Pharmacy Service, Inc. is a Delaware corporation and is a

wholly owned subsidiary of Evernorth Health, Inc. ESI Mail Pharmacy Service, Inc.’s principal

place of business is at the same location as Express Scripts, Inc.

       136.    ESI Mail Pharmacy Service, Inc. d/b/a Express Scripts, Inc., does business in

New York and may be served through Express Scripts’ registered agent: CT Corporation System,

28 Liberty Street, New York, New York 10005.

       137.    During the relevant time period, ESI Mail Pharmacy Service provided mail order

pharmacy services in New York, including Plaintiff’s Community, as alleged in this Complaint,

which gives rise to the causes of action herein.

       138.    Defendant Express Scripts Pharmacy, Inc. is a Delaware corporation and is a

wholly owned subsidiary of Evernorth Health, Inc. Express Scripts Pharmacy, Inc.’s principal

place of business is at the same location as Express Scripts, Inc.

       139.    Express Scripts Pharmacy, Inc. is registered to do business in New York and may

be served through its registered agent: CT Corporation System, 28 Liberty Street, New York,

New York 10005.

       140.    Express Scripts Pharmacy, Inc. holds active licenses with the New York State

Board of Pharmacy.




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        141.    During the relevant time period, Express Scripts Pharmacy, Inc. provided and/or

offered mail order pharmacy services in New York, including Plaintiff’s Community, alleged in

this Complaint, which gives rise to the causes of action herein.

        142.    Express Scripts Pharmacy, Inc. and ESI Mail Pharmacy Service, Inc. are referred

to herein collectively as “Express Scripts Mail Order Pharmacy.”

        143.    In 2021, Express Scripts Mail Order Pharmacy was the third largest dispensing

pharmacy in the United States and reported $54.4 billion in prescription revenues.

        144.    From 2006 to 2014, Express Scripts Mail Order Pharmacy bought over billion

MMEs of opioids spread over 1.1 billion units.

        145.    Defendant Express Scripts Specialty Distribution Services, Inc. is a Delaware

corporation and is a wholly owned subsidiary of Evernorth Health, Inc. Express Scripts Specialty

Distribution Services, Inc.’s principal place of business is at the same location as Express

Scripts, Inc.

        146.    During the relevant time period, as alleged in more detail herein, Express Scripts

Specialty Distribution Services, Inc. worked directly with the opioid manufacturers to expand the

opioid market, including with Purdue and Endo to administer and dispense opioids through these

opioid manufacturers’ Patient Assistance Programs, including in New York.

        147.    Collectively, Defendants Evernorth Health, Inc., Express Scripts, Inc., Express

Scripts Administrators, LLC, Medco Health Solutions, Inc., ESI Mail Order Processing, Inc., ESI

Mail Pharmacy Service, Inc., Express Scripts Pharmacy, Inc., and Express Scripts Specialty

Distribution Services, Inc., including all predecessor and successor entities, are referred to as

“Express Scripts” or “ESI.”




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       148.    Express Scripts is named as a Defendant in its capacities as a: (1) PBM; (2) data,

analytics, and research provider; and (3) mail order pharmacy. During the relevant time period,

Express Scripts contracted directly with the opioid manufacturers in each of these capacities. At

all relevant times, Express Scripts performed these services in New York and Plaintiff’s

Community.

       149.    In 2019, Express Scripts merged with Cigna, Inc. Prior to merging with Cigna,

Express Scripts was the largest independent PBM in the United States.

       150.    In 2012, Express Scripts acquired Medco in a $29.1 billion deal.

       151.    Prior to 2012, Express Scripts and Medco were separate companies.

       152.    Standing alone, these companies were two of the largest PBMs in the country and

had been since at least the mid-1990s.

       153.    As a result of the merger, the combined Express Scripts was formed and became

the largest PBM in the nation.

       154.    Following the merger, all of Medco’s PBM and data and research functions were

combined into Express Scripts. The combined company (Medco and Express Scripts) continued

under the name Express Scripts with all of Medco’s clients becoming Express Scripts’ clients

and Medco’s top executives becoming Express Scripts executives.

       155.    The chart below represents the consolidation of PBM entities that are now all part

of Express Scripts today:




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       156.    Express Scripts is now the largest PBM in the United States, with annual revenue

(as of 2022) of over $100 billion. Express Scripts provides pharmacy benefit service to more

than 100 million Americans, filling 1.4 billion prescriptions per year.

       157.    At all times relevant hereto, Express Scripts offered pharmacy benefit

management services nationwide and maintained standard, national formularies that were offered

to and used by Express Scripts’ clients nationwide, including in New York and Plaintiff’s

community. Express Scripts’ national formularies include its National Preferred Formulary,

Basic Formulary, High Performance Formulary, and Prime Formulary. These Express Scripts

formularies were utilized by prescription drug benefit plans in Plaintiff’s Community throughout

the relevant time period. At times relevant hereto, those formularies dictated the terms of

reimbursement for opioids dispensed in New York and Plaintiff’s Community.

       158.    Express Scripts offers pharmacy benefit services to a variety of plan sponsors

with covered lives in the Plaintiff’s Community, including both large national companies and

local/regional businesses.

       159.    Express Scripts (and/or its predecessors) processed claims for opioids dispensed

pursuant to Express Scripts’ national formularies and standard UM guidelines in Plaintiff’s

Community throughout the opioid epidemic.

               2.      The Optum Entities

       160.    Defendant UnitedHealth Group, Inc. (“UnitedHealth Group” or “UHG”) is a

corporation organized under the laws of Delaware with its principal place of business at 9900

Bren Road East, Minnetonka, Minnesota, 55343.

       161.    UnitedHealth Group may be served through its registered agent: The Corporation

Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801.




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       162.    UHG is registered to do business in New York and may be served through its

registered agents: Griffin Michael, 914 3rd Avenue, Ste #126, Brooklyn, New York 11232 and

Corporate Filings of New York, 90 State Street, Ste 700, Office 40, Albany, New York 12207.

       163.    UnitedHealth Group, Inc. is a Fortune 5 diversified managed healthcare company.

In 2022, UnitedHealth Group listed revenue in excess of $324 billion. UnitedHealth Group, Inc.

offers a spectrum of products and services including health insurance plans and pharmacy

benefits through its wholly owned subsidiaries.

       164.    UnitedHealth Group operates through two connected divisions: Optum and

UnitedHealthcare (“UHC”). As discussed in greater detail below, Optum provides PBM services;

mail order pharmacy services; and data, analytics, consulting, and research services. UHC

provides health insurance and health benefit services.

       165.    UnitedHealth Group, through its executives and employees, control the

enterprise-wide policies that inform both UHC and Optum’s lines of business in order to

maximize profits across the corporate family.

       166.    UnitedHealth Group’s conduct had a direct effect in New York, including

Plaintiff’s Community.

       167.    Defendant Optum, Inc. is a Delaware corporation with its principal place of

business located in Eden Prairie, Minnesota.

       168.    Optum, Inc. is registered to do business in New York and may be served through

its registered agent: CT Corporation System, 28 Liberty Street, New York, New York 10005.

       169.    Optum, Inc. is a health services company managing the subsidiaries that

administer UnitedHealth Group’s pharmacy benefits, including OptumRx, Inc.

       170.    Since 2005, Optum, Inc. has been a part of the UnitedHealth Group.




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         171.   UnitedHealth Group has two major segments of its business: UHC which is its

medical insurance arm, and Defendant Optum, Inc., which includes UHG’s PBM and research,

data, and consulting arms. In 2022, UHC insured over 46 million Americans and generated $249

billion in revenue.

         172.   Optum, Inc. is engaged in five types of business activities: (1) data analytics;

(2) pharmacy benefit management; (3) healthcare services; (4) mail-order pharmacy dispensing;

and (5) medical discount card services.

         173.   Defendant OptumInsight, Inc. (f/k/a Ingenix, Inc.) is a Delaware corporation with

its principal place of business located in Eden Prairie, Minnesota. OptumInsight was formerly

known as Ingenix, Inc. The name change came after the State of New York investigated Ingenix

related to a scheme to defraud consumers by manipulating reimbursement rates, resulting in a

$50 million settlement with the State and giving rise to U.S. Congressional hearings.

         174.   OptumInsight, Inc. is registered to do business in New York and may be served

through its registered agent: CT Corporation System, 28 Liberty Street, New York, New York

10005.

         175.   OptumInsight, Inc. holds an active Third Party Administrator and Independent

Adjuster license with the New York Department of Finance.

         176.   Defendant OptumInsight Life Sciences, Inc. (f/k/a QualityMetric, Inc.) is a

Delaware corporation with its principal place of business located in Eden Prairie, Minnesota.

OptumInsight Life Sciences, Inc. is a wholly owned subsidiary of UHG. Prior to 2011,

OptumInsight Life Sciences, Inc. was known as QualityMetric.

         177.   OptumInsight, Inc., OptumInsight Life Sciences, Inc., as well as their

predecessors, successors, and affiliates, including, but not limited to, Innovus, Innovus Research,




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i3, QualityMetric, HTAnalysts, ChinaGate, and CanReg, are referred to herein as

“OptumInsight.” OptumInsight is the Optum group that engages in data analytics.

       178.    160. OptumInsight emerged from a collection of entities acquired by the

UnitedHealth Group over the years. Those legacy entities include Innovus, QualityMetric,

HTAnalysts, ChinaGate, CanReg, Ingenix, and the Lewin Group.

       179.    As discussed more fully below, OptumInsight partnered with various opioid

manufacturers to create studies, marketing, educational programs, and even identifying

algorithms to simultaneously downplaying opioids’ addictive properties and expand its use and

availability throughout the country, including in New York.

       180.    Defendant OptumRx, Inc. (“OptumRx”) is a California corporation with its

principal place of business at 2300 Main Street, Irvine, California, 92614. OptumRx is the arm of

Optum that provides PBM and pharmacy dispensing services.

       181.    OptumRx is registered to do business in New York and may be served through its

registered agent: CT Corporation System, 28 Liberty Street, New York, New York 10005.

       182.    OptumRx, Inc. entities (Optum Care Networks, Inc., Optum Services (Puerto

Rico) LLC, OptumHealth Care Solutions Inc, OptumHealth Care Solutions LLC, and

OptumInsight, Inc.) hold four active licenses with the New York State Department of Finance.

       183.    Prior to 2011, OptumRx was known as Prescription Solutions. In addition, as

depicted in the PBM Consolidation Chart below, OptumRx grew as a result of numerous mergers

and acquisitions. For example, in 2012, a large PBM, SXC Health Solutions, bought one of its

largest rivals, Catalyst Health Solutions Inc. in a roughly $4.14 billion deal. Shortly thereafter,

SXC Health Solutions Corp. renamed the company Catamaran Corp. Following this, UHG

bought Catamaran Corp. in a deal worth $12.8 billion and merged Catamaran with OptumRx.




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       184.    Prior to merging with OptumRx (or being renamed), Prescription Health

Solutions, Catalyst Health Solutions, Inc., and Catamaran Corp. engaged in the at- issue PBM

and mail-order activities alleged more fully herein.

       185.    OptumRx now provides both PBM and mail-order dispensing services.

       186.    At relevant times to this Complaint, OptumRx provided and/or offered PBM

services for entities and/or persons in Plaintiff’s Community.

       187.    At relevant times to this Complaint, OptumRx has sold and continues to sell

prescription opioids through its mail order pharmacies in New York, including in Plaintiff’s

Community.

       188.    OptumRx and all of its predecessors, including, but not limited to, Prescription

Solutions, Catalyst Health Solutions, Inc., SXC Health Solutions Corp., and Catamaran Corp.,

are referred to herein as “OptumRx.”

       189.    The consolidations that led to the emergence of OptumRx in its current form are

shown on the chart below:




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       190.    Defendant OptumRx Discount Card Services, LLC is a Delaware limited liability

company with its principal place of business at 1423 Red Ventures Drive Building RV4, 3rd

Floor, Fort Mill, South Carolina 29707.

       191.    OptumRx Discount Card Services, LLC is registered to do business in New York

and may be served through its registered agent: CT Corporation System, 28 Liberty Street, New

York, New York 10005 and at 111 Eighth Avenue, New York, New York 10011.

       192.    OptumRx Discount Card Services, LLC (f/k/a HealthTran, Inc., Catamaran PBM

of Colorado, LLC, and Catamaran Discount Card Services, LLC) contracts with third-party

businesses to administer prescription discount cards on their behalf. For example, the AARP’s

prescription discount card program is “endorsed” by the AARP, but is otherwise run by Optum

Discount Card Services, which pays the AARP a royalty fee to the AARP for use of its

intellectual property.

       193.    Defendant Optum Perks, LLC is a Delaware limited liability company with its

principal place of business in Livonia, Michigan.

       194.    Optum Perks offers a free pharmacy discount card in New York.22

       195.    Optum Perks, LLC (f/k/a Script Relief, LLC) is a discount card program that

originally started as a joint venture between Loeb Enterprises, LLC, and Catalyst, where by

2012 Catalyst had a 47% ownership interest. Per Catamaran’s 2012 10-K, “Script Relief is a

variable interest entity with Catamaran being the primary beneficiary, as the Company’s

underlying PBM and pharmacy contracts represent Script Relief’s key business operations and

the Company has the power to direct these activities.”




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 See https://perks.optum.com/NYSHTA?utm_source=asp&utm_campaign=redirect&ut
m_medium=offline&utm_content=nyshta&utm_term=asp.


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         196.   By 2019, OptumRx, Inc. had fully acquired Script Relief and renamed the

program Optum Perks.

         197.   Defendant OptumHealth Care Solutions, LLC is a Delaware limited liability

company with its principal place of business at 11000 Optum Circle, Eden Prairie, Minnesota

55344.

         198.   OptumHealth Care Solutions, LLC is registered to do business in New York and

may be served through its registered agent: CT Corporation System, 28 Liberty Street, New

York, New York.

         199.   Additionally, OptumHealth Care Solutions, LLC holds an active license with the

New York State Department of Finance.

         200.   OptumHealth for a number of years partnered with Purdue to educate many case

managers, nurse practitioners, and medical directors throughout UnitedHealth Group’s various

enterprises. These programs were specifically endorsed and coordinated through one of Optum

Health’s national medical directors. The content of these programs targeted pain as an

undertreated disease, among other issues, and contained the similar dangerous messaging

regarding the use of OxyContin that Purdue plead guilty to in 2007.

         201.   Defendant OptumHealth Holdings, LLC is a Delaware limited liability company

with its principal place of business at 11000 Optum Circle, Eden Prairie, Minnesota 55344.

         202.   Defendant Optum Health Networks, Inc. is a Delaware corporation with its

principal place of business at 9900 Bren Road East, Minnetonka, Minnesota 55343.

         203.   Optum Health Networks, Inc. is registered to do business in New York and may

be served through its registered agent: CT Corporation System, 28 Liberty Street, New York,

New York.




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       204.    Optum Health Networks, Inc. provides care services to enrolled members of its

subsidiaries and parents that includes care management services, arranging for delivery of

services, and managing client relationships and contracts for access to said services.

       205.    Together, OptumHealth Care Solutions, LLC, Optum Health Holdings, LLC, and

OptumHealth Networks, Inc. are referred to herein as “OptumHealth.”

       206.    OptumHealth is a healthcare service provider that includes specialty health

services, health banking services, ancillary care networks, and health education and information

services to both individuals and health care professionals. It does this through four main lines of

business: Care Solutions, Behavioral Solutions, Specialty Benefits, and Financial Services. In

2022, OptumHealth served 102 million individuals.

       207.    Relevant to the opioid epidemic and Plaintiff’s claims, detailed infra,

OptumHealth partnered with Purdue throughout the 2000s to provide “education” to health care

providers, including medical directors, nurse practitioners, case managers, and care advisors

throughout the country regarding the so-called “undertreatment” of pain and expanding the use

of opioids.

       208.    Collectively, OptumRx, Optum, Inc., Optum Discount Card Services, LLC,

Optum Perks, LLC, OptumHealth Care Services, LLC, OptumHealth Holdings, LLC, Optum

Health Networks, Inc., and OptumInsight are referred to herein as “Optum.”

       209.    Optum is named as a Defendant in its capacities as a: (1) PBM; (2) data, analytics,

consulting, and research provider; and (3) mail-order pharmacy. During the relevant time period,

Optum contracted directly with opioid manufacturers in each of these capacities. At times

relevant to this Complaint, Optum performed these services and derived substantial revenue in

New York, including in Plaintiff’s Community.




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       210.    Optum, Inc. is a health services company comprising three sectors: OptumRx,

which manages pharmacy benefits for both UHC and third party clients; OptumHealth, which

provides medical services as well as education and support for individuals throughout the

country; and OptumInsight, which is the data, research, and consulting sector.

       211.    OptumRx is the third largest PBM in the United States. It provides PBM services

to more than 65 million people.

       212.    OptumRx offered pharmacy benefit management services nationwide and

maintained standard, national formularies that were offered to and used OptumRx’s clients both

across the country and in Plaintiff’s Community. At all times relevant hereto, those formularies

included opioids, including those at issue in this case. OptumRx national formularies include the

Essential Health Benefits, Generic Centric, Core Standard, Core Choice, Select Standard, Select

Choice, Premium Standard, and Premium Choice.

       213.    Optum (and/or its predecessors) processed claims for opioids dispensed pursuant

to Optum’s standard, national formularies, and utilization management guidelines in Plaintiff’s

Community throughout the opioid epidemic.

       214.    In addition to its pharmacy benefit services, Optum entities also provide services

related to pharmaceutical reimbursement and dispensing that generate revenue and benefit from a

lack of opioid controls.

       215.    At times relevant hereto, Optum offered mail-order pharmacy services and

dispensed opioids in New York, including Plaintiff’s Community.

       216.    In 2021, Optum’s mail order pharmacy was the fourth largest dispensing

pharmacy in the United States and received $34.2 billion in prescription revenues.




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        217.     From 2006 to 2014, Optum’s mail order pharmacy bought over 4.5 billion MMEs

of opioids spread over 252 million opioid dosage units.

        218.     OptumInsight, Optum’s data, research, and consulting arm, is one of the largest

health information, technology, and consulting companies in the world. It collects, processes,

sells, and profits from the vast data all managed lives, which in 2011 covered over 75 million

lives. It also provides clinical research, consulting, marketing advisory services, and analytics

tools to its clients.

        219.     OptumInsight is an integral part of the conduct that gives rise to Plaintiff’s causes

of action. As alleged in detail herein, throughout the relevant time period, OptumInsight worked

directly with opioid manufacturers to convince patients, prescribers, payors, and the public that

long-term opioid use was appropriate for the treatment of chronic pain and that opioids were not

addictive.

        220.     Each opioid manufacturer had dedicated executives assigned to work with

OptumInsight. The opioid manufacturers used their relationships with OptumInsight to deepen

their ties to the overall Optum corporate family.

        221.     OptumInsight was paid tens of millions of dollars by the opioid manufacturers

during the relevant time period for its work to expand the opioid Market.

                 3.     The CVS/Caremark Entities

        222.     Defendant CVS Health Corporation (“CVS Health”), formerly known as CVS

Caremark Corporation, is a Delaware corporation with its principal place of business in

Woonsocket, Rhode Island. It is registered to do business in Maryland. CVS Health, “together

with its subsidiaries (collectively, ‘CVS Health,’ the ‘Company,’ ‘we,’ ‘our,’ or ‘us’),” provides

retail pharmacy services, health insurance services, and pharmacy benefit management services

nationwide.


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       223.    Prior to 2014, CVS Health was known as CVS Caremark Corporation. When it

changed its name in 2014, it announced that its PBM services would continue to be known as

“CVS/Caremark.”

       224.    CVS Health uses the name “CVS Caremark” on its website and in other locations

to refer to its PBM services.

       225.    In its 2022 Annual Report, CVS Health states that “CVS Health Corporation. . .

has . . . a leading pharmacy benefits manager” and its “Pharmacy Services segment provides a

full range of PBM solutions, including plan design offerings and administration, formulary

management, retail pharmacy network management services and mail order pharmacy. . . The

Company also provides various administrative, management and reporting services to

pharmaceutical manufacturers.”

       226.    Defendant Caremark Rx, L.L.C. is a Delaware company whose principal place of

business is at the same location as CVS Health. Caremark Rx, L.L.C. is a wholly owned

subsidiary of CVS Health. CVS Health has described Defendant Caremark Rx, L.L.C. as “the

parent of [CVS Health]’s pharmacy services subsidiaries . . . the immediate or indirect parent of

many mail order, pharmacy benefit management . . . [and] insurance . . . subsidiaries, all of

which operate in the U.S. and its territories.”

       227.    Defendant Caremark PCS Health L.L.C. is a Delaware company whose principal

place of business is at the same location as CVS Health. Caremark PCH Health L.L.C. provides

PBM services to clients nationwide, including in Maryland, and is registered with the Maryland

Insurance Administration as a PBM.




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       228.    Defendant Caremark, L.L.C. is a California company with its principal place of

business in Illinois. Caremark, L.L.C. provides PBM services to clients nationwide, including in

Maryland, and is registered with the Maryland Insurance Administration as a PBM.

       229.    Defendants CVS Health, Caremark Rx, L.L.C., Caremark PCH Health L.L.C.,

and Caremark, L.L.C. are collectively referred to herein as “CVS Caremark” or “CVS Caremark

Defendants.” CVS Caremark is the largest PBM in the country with more than 110 million

members as of 2022. Its 2022 revenue was approximately $169.2 billion.

       230.    CVS Caremark Defendants are named for their conduct as a: (1) PBM; and

(2) mail order pharmacy.

       231.    The PBM Defendants contract with Plaintiffs and other TPPs to provide

pharmacy benefit management services.

       232.    The PBM Defendants are central participants in the dispensing of prescription

drugs because they contract with manufacturers who make prescription opioid drugs, the

pharmacies who dispens them, and the TPPs who pay for them.

       233.    The PBM Defendants maintain influence and control over the prescribing,

dispensing, and sales of prescription opioids through formularies and other drug utilization

management tools. The PBM Defendants control most of the placement of drugs on formulary

tiers, including prescription opioids, and therefore have significant leverage with manufacturers

and pharmacies in establishing the availability of prescription opioids to the public, including

members and beneficiaries of TPPs.

       234.    The PBM Defendants had the power to control and limit the flow of prescription

opioids but instead acted in concert with the other Defendants to increase the availability and

sales of these drugs.




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       235.    The PBM Defendants’ conduct that drove the increases and led to oversupply

included: (a) colluding with, and aiding and abetting, Purdue Pharma and other opioid

manufacturers in the fraudulent and deceptive marketing and oversupply of opioids; (b)

colluding with Purdue Pharma and other opioid manufacturers to increase opioid sales through

favorable placement on national formularies in exchange for rebates and fees; (c) colluding with

Purdue Pharma and other opioid manufacturers to eliminate or limit utilization management

measures on national formularies that would have restricted opioid prescribing; (d) deliberately

failing properly and diligently to implement effective drug utilization review measures after

undertaking to do so; (e) electing not to act on the vast stores of information they had about the

epidemic to limit the flood of opioids throughout the Unites States; and (f) dispensing huge

quantities of prescription opioids through their mail-order pharmacies without proper controls

against diversion.

       C.      Pharmacy Defendants

       236.    The Pharmacy Defendants are defined below. At all relevant times, the Pharmacy

Defendants dispensed prescription opioids from their retail pharmacy locations to patients

throughout the country and in the communities where Plaintiffs’ plan participants and

beneficiaries reside. In addition, at various times in the past, the Pharmacy Defendants also

distributed prescription opioids to their retail pharmacy stores. In their roles as distributors, the

Pharmacy Defendants ignored their anti-diversion obligations to detect and warn of suspicious

orders; and in their roles as dispensers, the Pharmacy defendants ignored red flag warning signs

and dispensed opioids without legitimate prescriptions. Plaintiffs allege the unlawful conduct by

the Pharmacy Defendants was a substantial cause of the opioid epidemic generally and Plaintiffs’

damages specifically.




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               1.      CVS Pharmacy Entities

       237.    Defendant CVS Indiana, LLC is an Indiana limited liability company with its

principal place of business in Indianapolis, Indiana. Defendant CVS Rx Services, Inc. is a New

York corporation with its principal place of business in Woonsocket, Rhode Island. Defendant

CVS TN Distribution, LLC is a Tennessee limited liability company with its principal place of

business in Woonsocket, Rhode Island. CVS Orlando Florida Distribution, LLC is a Florida

limited liability company with its principal place of business in Woonsocket, Rhode Island.

Defendant CVS Pharmacy, Inc. is a Rhode Island corporation with its principal place of business

in Woonsocket, Rhode Island. CVS Pharmacy, Inc. is a wholly owned subsidiary of CVS Health

Corporation. Defendants CVS Indiana, LLC, CVS Rx Services, Inc., CVS TN Distribution,

LLC, and CVS Pharmacy, Inc. are collectively referred to as “CVS.” At all times relevant to this

Complaint, CVS dispensed prescription opioids in the communities where Plaintiffs’ plan

participants and beneficiaries reside. During the relevant time period, CVS self-distributed

controlled substances, including prescription opioids, to its pharmacies. The CVS entities

identified in this section are collectively referred to as “CVS” or the “CVS Pharmacy

Defendants.”

               2.      Walgreens Entities

       238.    Defendant Walgreen Co. is an Illinois corporation with its principal place of

business in Deerfield, Illinois. At all times relevant to this Complaint, Walgreens dispensed

prescription opioids in the communities where Plaintiffs’ plan participants and beneficiaries

reside. During the relevant time period, Walgreen Co. self-distributed controlled substances,

including prescription opioids, to its pharmacies.

       239.    Defendant Walgreen Eastern Co., Inc. is a New York corporation with its

principal place of business in Deerfield, Illinois. Walgreen Eastern Co., Inc. is an indirect,


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wholly owned subsidiary of Walgreen Co. Walgreen Eastern Co., Inc. operated the pharmacies

through which Walgreen Co. dispensed prescription opioids and the distribution centers through

which Walgreen Co. self-distributed controlled substances in Plaintiffs’ area. Defendants

Walgreen Co. and Walgreen Eastern Co., Inc. are collectively referred to as “Walgreens.”

               3.      Walmart Entities

       240.    Defendant Walmart Inc., formerly known as Wal-Mart Stores, Inc., is a Delaware

corporation with its principal place of business in Arkansas. At all times relevant to this

Complaint, Walmart Inc. dispensed prescription opioids through its pharmacies in the

communities where Plaintiffs’ plan participants and beneficiaries reside. For most of the

relevant time period, Walmart Inc. self-distributed controlled substances, including prescription

opioids, to its pharmacies.

       241.    Defendant Wal-Mart Stores East, LP is a Delaware limited partnership with its

principal place of business in Arkansas. Wal-Mart Stores East, LP is an indirect, wholly owned

subsidiary of Walmart Inc. Wal-Mart Stores East, LP operated the pharmacies through which

Walmart Inc. dispensed prescription opioids and the distribution centers through which Walmart

Inc. self-distributed controlled substances in Plaintiffs’ area. Defendants Walmart Inc. and Wal-

Mart Stores East, LP are collectively referred to as “Walmart.”

               4.      Ahold Entities

       242.    Defendant Koninklijke Ahold Delhaize N.V. (“Koninklijke”) is a Dutch company

based in Zaandam, Netherlands.

       243.    Defendant Ahold Delhaize USA, Inc. (“Ahold Delhaize USA”) is a Delaware

corporation with its principal place of business Quincy, Massachuesetts.

       244.    Ahold U.S.A., Inc. (“Ahold USA”) is a Delaware corporation with its principal

place of business Quincy, Massachusetts.


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         245.   American Sales Company LLC (“American Sales”) is a Delaware limited liability

company with its principal place of business in Massachusetts.

         246.   ADUSA Distribution, LLC f/k/a Delhaize America Distribution LLC (“ADUSA”)

is a Delaware limited liability company with its principal placeof business in Salisbury, NC

28147.

         247.   Food Lion, LLC (“Food Lion”) is a North Carolina limited liability company with

its principal place of business in Salisbury, North Carolina.

         248.   The Giant Company LLC f/k/a Giant Food Stores, LLC (“Giant”) is a Delaware

limited liability company with its principal place of business in Carlisle, Pennsylvania.

         249.   The Stop & Shop Supermarket Company LLC (Stop & Shop”) a Delaware limited

liability company with its principal place of business in Quincy, Massachusetts.

         250.   Hannaford Bros. Co., (“Hannaford”) is a Maine company with its principal place

of business in Scarborough, Maine.

         251.   Koninklijke, Ahold Delhaize USA, Ahold USA, American Sales, ADUSA, Food

Lion, Giant, Stop & Shop, and Hannaford (together, “Ahold Delhaize”) is one of the world’s

largest food retail groups. In the United States, Ahold Delhaize operates more than 2,000 stores

across 23 states under the banners Stop & Shop, the Giant Company, Giant, Food Lion, Martin’s,

Hannaford, FreshDirect and Peapod. Ahold Delhaize companies act as opioid distributors and

dispensers.

         252.   Atop the Ahold Delhaize corporate pyramid is the Dutch company Koninklijke

Ahold Delhaize N.V. Ahold Delhaize USA, Inc. is a subsidiary of Koninklijke Ahold Delhaize

N.V. and the parent company for all the corporate family’s U.S. subsidiaries. Ahold Delhaize

USA Inc. operates as a licensed wholesale pharmaceutical distributor under the following two




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named entities: Ahold U.S.A., Inc. and American Sales Company LLC. ADUSA Distribution,

LLC (f/k/a Delhaize America Distribution LLC) is listed in the ARCOS data as the reporter

family for these distributors. Subsidiaries of Ahold Delhaize USA, Inc. operate stores with

pharmacies, including the Defendants: Food Lion, LLC, which operates more than 1,100 stores

in the Southeast under the Food Lion banner; The Giant Company LLC f/k/a Giant Food Stores,

LLC, which operates more than 150 stores with pharmacies in Delaware, Maryland, Virginia,

and Washington, D.C. under the Giant Food brand; The Stop & Shop Supermarket Company

LLC, which operates more than 395 stores under the Stop & Shop brand, including in

Massachusetts, New Jersey, New York, and Rhode Island; and Hannaford Bros. Co., LLC, which

operates more than 180 stores in the Northeast. Collectively, these Defendants are referred to

herein as “Ahold Delhaize.”

       253.    Ahold Delhaize dispensed more than 1.4 billion DUs and 31.7 billion MME of

opioid products from 2006 to 2019, with hydrocodone and oxycodone accounting for the largest

portion of drugs it dispensed. In 2011 alone, Ahold Delhaize dispensed more than 120 million

DUs of opioids products. In 2019, Ahold Delhaize dispensed more than 2.6 billion MME of

opioids products, a 38% increase from 2006.

               5.      Albertsons Entities

       254.    Defendant Albertsons Companies, Inc. f/k/a AB Acquisition LLC (“Albertsons

Companies”) is a Delaware corporation with its principal place of business in Boise, Idaho.

       255.    Defendant New Albertsons L.P. f/k/a New Albertson’s, Inc. (“New Albertson’s”) is a

Delaware corporation with its principal place of business in Boise, Idaho.

       256.    Albertson’s LLC is a Delaware limited liability company with its principal place of

business in Boise, Idaho.




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        257.    Safeway, Inc. is a Delaware corporation with its principal place of business in

Pleasanton, California.

        258.    United Supermarkets L.L.C. d/b/a The United Family (“United”) is a Texas limited

liability company with its principal place of business in Boise, Idaho.

        259.    Randall’s Food & Drug LP (“Randall’s”) is a Delaware limited partnership with its

principal place of business in Boise, Idaho.

        260.    Acme Markets, Inc. d/b/a Sav-On Pharmacy (“Acme”) is a Delaware corporation

with its principal place of business in Malvern, Pennsylvania.

        261.    Albertsons Companies, New Albertson’s, Albertson’s LLC, Safeway, Inc.,

United, Randall’s, and Acme are referred to together as “Albertsons”).

        262.    Albertsons is one of the largest food and drug retailers in the United States. It

currently operates stores in 35 states and Washington D.C. under 20 different banners such as

Albertsons, Acme, Safeway, Tom Thumb, Carrs, Haggen, Jewel-Osco, Kings Food Markets,

Market Street, Pavilions, Randalls, Shaw’s, Star Market, Vons, United Supermarkets,

Andronico’s Community Market, Amigos, Lucky Stores, and Balducci’s Food Lovers Market.

Of the over 2,200 stores Albertsons operates, approximately 1,700 have pharmacies. Albertsons

ranked 53 on the latest Fortune 500 list and had revenues of over $79 billion in 2023.

        263.    Albertsons failed to comply with its CSA duties both as a distributor and as a

dispenser of opioids.

        264.    As a distributor of opioids Albertsons self-distributed Schedule III, IV, and V

opioids from 2006-2008 then stopped distributing all drugs from 2009 to 2012, and finally

resumed distribution in 2013, distributing Schedule II, III, IV, and V opioids until 2016 when the

company ended its drug distribution activity.




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       265.    Albertsons never designed or operated an adequate suspicious order monitoring

system (“SOMS”) and never reported a single suspicious order to the DEA in all the time it self-

distributed opioids from 2006-2008 and 2013-2016 to its pharmacies across the country. Even

though Albertsons knew that the CSA requires suspicious order monitoring, throughout the

entire time it self-distributed opioids, Albertsons lacked detailed operational SOMS policies and

failed to provide adequate training and guidance to those charged with suspicious order

monitoring duties.

       266.    The policy that Albertsons had in place from 2002-2008 failed to identify orders

of unusual frequency or orders that substantially deviated from a normal ordering pattern, even

though the CSA requires that distributors’ SOM systems identify such orders.

       267.    Albertsons also did not require that suspicious orders be reported to the DEA. In

fact, Anthony Provenzano, who has been Albertsons’ Vice President of Pharmacy Compliance

and Government Affairs since 2015, testified that, as of 2020, he believed Albertsons had no

duty to report suspicious orders to the DEA.

       268.    Albertsons did not have any training associated with its SOMS process between

2002-2008, nor did it provide written criteria to help distribution center employees identify

suspicious orders. Instead, Albertsons employees used their “gut feeling” if an order did not

look right to them. If a distribution center employee’s gut feeling alerted him that an order was

somehow unusual, he would inform a supervisor who then called the pharmacy to verify the

order. The only purpose of the call was to confirm the accuracy of the order and ask the

pharmacy if the order was a mistake.

       269.    When Albertsons resumed distribution in 2013, it used the same “gut feeling”

approach to identifying suspicious orders and added a new threshold-based system. This new




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system still did not detect orders of usual frequency or orders that deviated substantially from a

normal pattern. Instead, Albertsons’ system tracked a pharmacy’s prior 10-12 orders and a

report would then give the average of those prior orders, as well as identify the number that was

greater than 20% of those orders. Distribution Center employees would call stores if an order

was greater than ten bottles and over 100% of the prior order average. Just as in 2006-2008, the

only purpose of the calls was to confirm the order was not in error, and no other meaningful

investigation was conducted.

       270.    Albertsons never provided formal training or written documents to guide its

employees when making the phone calls to pharmacies. All orders were shipped in full unless

the pharmacist specifically told the Distribution Center that the order was submitted in error. The

Distribution Center engaged in no other investigation. The Distribution Center call logs were

sent to Albertsons’ Compliance Group for additional review, but any calls or investigations done

by that group would have been done after the orders were already shipped. The Compliance

Group never updated the Distribution Center with any additional information it obtained from

any specific pharmacies.

       271.    Because of these lax policies, Albertsons never identified a single order as

suspicious, never cancelled, rejected, or refused to ship an order on the grounds that it was

suspicious, and never reported a single order as suspicious to the DEA. In addition, Albertsons

permitted its pharmacies to supplement their orders by ordering controlled substances from third

party vendors without oversight, allowing Albertsons pharmacies to avoid having their controlled

substance orders be monitored or otherwise questioned.

       272.    As a dispenser of opioids Albertsons had no meaningful dispensing policies or

procedures that addressed red flags prior to 2013, only began to adopt a compliance program to




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prevent diversion in 2018, and even as of 2022 did not require that its pharmacists investigate or

resolve red flags. Instead, Albertsons pressured its pharmacists through quotas and bonus plans

to fill opioid prescriptions. Albertsons also failed to provide its pharmacists with the data and

tools necessary to fulfill their corresponding responsibility duties, including, but not limited to,

providing their pharmacists with access to dispensing data as well as any analysis of that data as

it relates to red flags. In addition, Albertsons had no systems in place to monitor key opioid

dispensing patterns or trends, or to document or track suspicious patients or prescribers.

       273.    Specifically, Albertsons’ first informal dispensing policy, in 2013 (which like all

of Albertsons’ dispensing policies was national in scope), provided no direct requirement for

pharmacists to identify and resolve red flags, or even to confirm the legitimacy of questionable

prescriptions. In 2016, Albertsons incorporated red flags into its formal policies for the first time

but did not require that its pharmacists take specific steps to verify the legitimacy of controlled

substance prescriptions; instead, it included five options pharmacists “may consider” to verify

the legitimacy of a prescription with red flags. Albertsons did not require its pharmacists to

investigate or resolve red flags when dispensing opioid prescriptions. .

       274.    Meanwhile, Albertsons consistently prioritized pharmacy profits over patient

safety and pressured its pharmacists to fill all prescriptions presented to them. For instance,

Albertsons provided its pharmacists with specific prescription volume targets for their stores and

directly tied pharmacist bonus calculations and subsequent payouts for pharmacy staff to the

number of prescriptions dispensed, including controlled substances. Albertsons thus incentivized

its pharmacists to fill as many prescriptions as possible, rather than rewarding instances of

conducting due diligence, resolving red flags, or refusing problematic prescriptions.




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        275.    At the corporate level, Albertsons had no system in place at any time to monitor

or track red flag information documented by its pharmacists, outside of District Pharmacy

Managers occasionally visiting stores to review prescriptions in certain circumstances. For

example, Albertsons did not require its pharmacists to document anything prior to filling a

controlled substance prescription, including their use of a state’s prescription drug monitoring

program. Similarly, Albertsons did not require its pharmacists to take any steps—including

documenting their reasoning or informing corporate supervisors—when they refused to fill a

prescription. Albertsons also never had a system in place to monitor or track prescribers with

histories of writing illegitimate prescriptions, patients with histories of presenting illegitimate

prescriptions, or instances in which pharmacists refused to fill certain prescriptions.

        276.    In addition, Albertsons does not maintain any single, specific place for

pharmacists to document measures taken to determine the legitimacy of a prescription. Instead,

pharmacists may document that information in several ways or places, including on hard copy

prescriptions, electronic prescription fields, the electronic patient profile, or the electronic “fill

notes” section. As a result, pharmacists interested in checking prior notes for particular patients

are faced with a confused, muddled system that does not support that effort.

                6.      Costco

        277.    Defendant Costco Wholesale Corporation f/k/a/ PriceCostco, f/k/a Price Club

(“Costco”) is a Washington corporation, with its principal place of business in Issaquah,

Washington.

        278.    Costco is a publicly traded company and is one of the largest warehouse clubs in

the United States. Costco, which operates globally, owns 609 warehouses in the United States.

Costco opened its first location in 1976 as Price Club. Ten years later, in 1986, just three years

after launching the first Costco Wholesale warehouse, the first Costco Pharmacy was opened.


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By 2014 – the first year covered by the newly available ARCOS data – Costco operated 589

pharmacies. Unlike some of the other chain pharmacy defendants in this litigation, Costco did

not act as a distributor. During the 2006-2019 period, Costco dispensed over 1 billion DUs of

opioids amounting to over 19 billion MME.

               7.     Discount Drug Mart

       279.    Defendant Discount Drug Mart, Inc. (“DDM”) is a privately owned pharmacy

chain based in Ohio that currently operates 77 retail stores in 20 Ohio counties and has operated

stores Kentucky and Missouri. DDM operates as a licensed pharmacy distributor and as a

licensed dispenser.

       280.    Most of DDM’s opioids business was as a dispenser from its pharmacies. From

2006 to 2019, DDM dispensed more than 235 million opioid DUs and more than 4.3 billion

MMEs to customers. Although DDM’s opioid dispensing peaked in 2014, DDM continued

dispensing at high levels through 2019—dispensing more than 10 million DUs per year (on

average nearly 15 million DUs per year) and more than 300 million MMEs per year (on average

more than 340 million MMEs per year) every year from 2015 to 2019.

       281.    In addition to its dispensing business, DDM acted as an opioid distributor,

distributing Schedule III-V controlled substances from DDM’s distribution center in Medina,

Ohio to its Ohio pharmacies. From 2006 to 2019, DDM distributed more than 75.6 million DUs

of opioid products and almost 491 million MMEs to its pharmacies. From 2006 to 2014,

hydrocodone accounted for the vast majority of DDM’s distribution business, until hydrocodone

was reassigned as a Schedule II opioid in 2014. Although DDM’s distribution by DUs dropped

significantly after 2014, its MMEs distributed shot up in 2018 and peaked in 2019, as DDM sold

more than 680,000 DUs and more than 152 million MMEs of buprenorphine in those years.




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               8.      Publix

       282.    Defendant Publix Super Markets, Inc. (“Publix”) is a privately owned corporation

based in Lakeland, Florida. It is the third largest privately owned corporation in the United

States, with annual revenues in excess of $50 billion, and employs approximately 250,000

people. Publix operates stores in Alabama (90 stores), Florida (873), Georgia (212), Kentucky

(1), North Carolina (54), South Carolina (69), Tennessee (58), and Virginia (20).

       283.    Not all Publix stores have a pharmacy, but the vast majority of them do.

According to Dain Rusk, Publix’s Vice President of Pharmacy, by the end of 2018, Publix had

become “the number one performing pharmacy in terms of sales and prescriptions for all of

2018” and he described Publix as “the number one pharmacy chain in the industry.” Publix

pharmacies generated $3.6 billion dollars in revenue in 2018.

       284.    Publix has operated a central pharmacy warehouse since 2005 at two successive

locations in Florida from which it distributed Schedule III through V controlled substances to its

pharmacies. That included certain hydrocodone combination products (“HCPs”) that were

classified as Schedule III drugs until 2014, when they were reclassified to Schedule II. Starting

in October 2016, Publix began to distribute Schedule II controlled substances to its pharmacies.

At that time, it moved to a new, larger pharmacy warehouse, in part because the controlled

substance cage at the existing warehouse lacked the necessary capacity for the increased volume

of drugs Publix was distributing.

       285.    While other distributors (including chain pharmacies) were implementing

diversion control practices to comply with their obligations under the CSA—or discontinuing

distribution of prescription opioids entirely—Publix substantially increased its distribution.

       286.    As a distributor of opioids, Publix acknowledged internally that the system it now

claims it used for suspicious order monitoring prior to 2019 “d[id] not work.” The systems


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Publix claimed to use to monitor for suspicious orders did not examine deviations in pattern or

frequency prior to 2019.

       287.    When Publix changed the settings in its system to look for deviations in pattern in

2018, so many orders were flagged that Publix changed the settings back and ignored them.

Even orders of unusual size were not meaningfully addressed, and instead were routinely

approved without any investigation.

       288.    Publix had no diversion analysts and no compliance department prior to 2019.

When Publix decided to transition to a new system in 2020, it opted to go with a “startup”

company rather than an established system, which it acknowledged “ha[d] a low likelihood for

success.”

       289.    As a dispenser of opioids, Publix did not train its pharmacists to identify red flag

prescriptions and document due diligence efforts. In fact, Publix did not have a written

controlled substance dispensing policy until 2012 (after CVS and Walgreens had immediate

suspension orders entered against them), and a senior pharmacist and pharmacy manager

testified in 2023 that she had never seen the policy until shortly before her deposition. Publix did

not provide its pharmacists with adequate anti-diversion analytical tools or implement a

prescriber monitoring program.

       290.    Unlike its chain pharmacy competitors, Publix still has not removed controlled

substances from script count, volume, or store profitability measures for the purposes of

pharmacist bonus calculations.

               9.      Target

       291.    Defendant Target Corporation d/b/a Target Stores (“Target”). Target is a Minnesota

corporation with its principal place of business in Minneapolis Minnesota.




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       292.    Target is one of the largest retailers in the United States and operates 1,956 stores.

Beginning in 2003 Target was an early retailer to enter the medical clinical marketplace.

       293.    By 2010, Target operated 1,700 pharmacies and pharmacies made up the bulk of

Target’s retail medicine business. Unlike some of the other chain pharmacy defendants, Target

did not act as a distributor, only a dispenser.

       294.    Nationally, from 2006 to 2015 Target dispensed 1,486,820,417 DUs of opioids

constituting more than 23.8 billion morphine milligram equivalents MMEs.

       295.    In 2015, CVS acquired Target’s retail pharmacy and clinic business for

approximately $1.9 billion in a deal finalized on December 6 of that year.

               10.     Winn Dixie Entities

       296.    Defendant Winn-Dixie Stores, Inc. is a wholly owned subsidiary of Defendant

Southeastern Grocers, Inc. and operates as a licensed pharmacy distributor under the name of

Defendant Winn-Dixie Logistics, LLC (f/k/a Winn-Dixie Logistics, Inc.). These three Defendants are

referred to together as “Winn-Dixie”.

       297.    Winn-Dixie Stores, Inc. is a Florida corporation headquartered in Jacksonville,

Florida that has operated more than 546 grocery stores in 8 states—Alabama, Georgia, Florida,

Louisiana, Mississippi, North Carolina, South Carolina and Tennessee—under the banners Winn-

Dixie, Harveys Supermarket, BI-LO, and Fresco y Mas.

       298.    Winn-Dixie dispensed over 925 billion DUs and 15 billion MME of opioid products

from 2006 to 2019 from these pharmacies. Of that total, 257,008,725 DUs and more than 4.87 billion

MME of opioids were dispensed in the years 2015 – 2019.

       299.    Collectively, Defendants CVS, Walgreens, Walmart, Ahold Delhaize, Albertsons,

Costco, DDM, Publix, Target, and Winn Dixie are referred to as the “Pharmacy Defendants.”




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       300.    Defendants include the above-referenced entities as well as their predecessors,

successors, affiliates, subsidiaries, partnerships, and divisions to the extent that they are engaged

in the manufacture, promotion, distribution, sale, and/or dispensing of opioids.

       D.      Agency and Authority

       301.    All of the actions described in this Complaint are part, and in furtherance, of the

unlawful conduct alleged herein, and were authorized, ordered, and/or done by Defendants’

officers, agents, employees, or other representatives while actively engaged in the management

of Defendants’ affairs within the course and scope of their duties and employment, and/or with

Defendants’ actual, apparent, and/or ostensible authority.

                             FACTS COMMON TO ALL CLAIMS

I.     Opioids and Their Effects

       302.    The term “opioid” refers to a class of drugs that bind with opioid receptors in the

brain and includes natural, synthetic, and semi-synthetic opioids. Natural opioids are derived

from the opium poppy. Generally used to treat pain, opioids produce multiple effects on the

human body, the most significant of which are analgesia, euphoria, and respiratory depression.

       303.    The medicinal properties of opioids have been recognized for millennia—so, too,

their potential for abuse and addiction. The opium poppy contains various opium alkaloids, three

of which are used in the pharmaceutical industry today: morphine, codeine, and thebaine. Early

use of opium in Western medicine was with a tincture of opium and alcohol called laudanum,

which contains all of the opium alkaloids and is still available by prescription today. Chemists

first isolated the morphine and codeine alkaloids in the early 1800s.

       304.    In 1827, the pharmaceutical company Merck began large-scale production and

commercial marketing of morphine. During the American Civil War, field medics commonly

used morphine, laudanum, and opium pills to treat the wounded, and many veterans were left



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with morphine addictions. By 1900, an estimated 300,000 people were addicted to opioids in the

United States, and many doctors prescribed opioids solely to prevent their patients from suffering

withdrawal symptoms. The nation’s first Opium Commissioner, Hamilton Wright, remarked in

1911, “The habit has this nation in its grip to an astonishing extent. Our prisons and our

hospitals are full of victims of it, it has robbed ten thousand businessmen of moral sense and

made them beasts who prey upon their fellows . . . it has become one of the most fertile causes of

unhappiness and sin in the United States.”23

       305.    Pharmaceutical companies tried to develop substitutes for opium and morphine

that would provide the same analgesic effects without the addictive properties. In 1898, Bayer

Pharmaceutical Company began marketing diacetylmorphine (obtained from acetylation of

morphine) under the trade name “Heroin.” Bayer advertised heroin as a non-addictive cough and

cold remedy suitable for children, but as its addictive nature became clear, heroin distribution in

the U.S. was limited to prescription only in 1914 and then banned altogether a decade later.

       306.    Although heroin and opium became classified as illicit drugs, there is little

difference between them and prescription opioids. Prescription opioids are synthesized from the

same plant as heroin, have similar molecular structures, and bind to the same receptors in the

human brain.

       307.    Due to concerns about their addictive properties, prescription opioids have since

1970 usually been regulated at the federal level as Schedule II controlled substances by the DEA.




23
  Nick Miroff, From Teddy Roosevelt to Trump: How Drug Companies Triggered an Opioid
Crisis a Century Ago, The Wash. Post (Oct. 17, 2017), https://www.washingtonpost.com/
news/retropolis/wp/2017/09/29/the-greatest-drug-fiends-in-the-world-an-american-opioid-crisis-
in-1908/?utm_term=.7832633fd7ca.


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        308.    Throughout the 20th century, pharmaceutical companies continued to develop

prescription opioids like Percodan, Percocet, and Vicodin, but these opioids were generally

produced in combination with other drugs, with relatively low opioid content.

        309.    In contrast, OxyContin, the product whose launch in 1996 ushered in the modern

opioid epidemic, is pure oxycodone. Purdue initially made it available in the following

strengths: 10 mg, 15 mg, 20 mg, 30 mg, 40 mg, 60 mg, 80 mg, and 160 mg. The weakest

OxyContin delivers as much narcotic as the strongest Percocet, and some OxyContin tablets

delivered 16 times that.

        310.    Medical professionals describe the strength of various opioids in terms of MMEs.

According to the CDC, doses at or above 50 MME/day double the risk of overdose compared to

20 MME/day, and one study found that patients who died of opioid overdose were prescribed an

average of 98 MME/day.

        311.    Different opioids provide varying levels of MMEs. For example, just 33 mg of

oxycodone provides 50 MME. Thus, at OxyContin’s twice-daily dosing, the 50 MME/day

threshold is nearly reached by a prescription of 15 mg twice daily. One 160 mg tablet of

OxyContin, which Purdue took off the market in 2001, delivered 240 MME.

        312.    The wide variation in the MME strength of prescription opioids renders

misleading any effort to capture “market share” by the number of pills or prescriptions attributed

to Purdue or other manufacturers. Purdue, in particular, focuses its business on branded, highly

potent pills, causing it to be responsible for a significant percent of the total amount of MME in

circulation, even though it generally claimed to have a small percent of the market share in terms

of pills or prescriptions.




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       313.     Fentanyl is a synthetic opioid that is 100 times stronger than morphine and 50

times stronger than heroin. First developed in 1959, fentanyl is showing up more and more often

in the market for opioids created by Marketing Defendants’ promotion, with particularly lethal

consequences.

       314.     The effects of opioids vary by duration. Long-acting opioids, such as Purdue’s

OxyContin and MS Contin, Janssen’s Nucynta ER and Duragesic, Endo’s Opana ER, and

Allergan’s Kadian, are designed to be taken once or twice daily and are purported to provide

continuous opioid therapy for, in general, 12 hours. Short-acting opioids, such as Teva’s Actiq

and Fentora, are designed to be taken in addition to long-acting opioids to address “episodic

pain” (also referred to as “breakthrough pain” or “BTP”) and provide fast-acting, supplemental

opioid therapy lasting approximately four to six hours. Still other short-term opioids are

designed to be taken in addition to long-acting opioids to specifically address breakthrough

cancer pain, excruciating pain suffered by some patients with end-stage cancer. The Marketing

Defendants promoted the idea that pain should be treated by taking long-acting opioids

continuously and supplementing them by also taking short-acting, rapid-onset opioids for

episodic or “breakthrough” pain.

       315.     Patients develop tolerance to the analgesic effect of opioids relatively quickly. As

tolerance increases, a patient typically requires progressively higher doses in order to obtain the

same perceived level of pain reduction. The same is true of the euphoric effects of opioids—the

“high.” However, opioids depress respiration, and at very high doses can and often do arrest

respiration altogether. At higher doses, the effects of withdrawal are more severe. Long-term

opioid use can also cause hyperalgesia, a heightened sensitivity to pain.




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       316.    Discontinuing opioids after more than just a few weeks of therapy will cause most

patients to experience withdrawal symptoms. These withdrawal symptoms include severe

anxiety, nausea, vomiting, headaches, agitation, insomnia, tremors, hallucinations, delirium,

pain, and other serious symptoms, which may persist for months after a complete withdrawal

from opioids, depending on how long the opioids were used.

       317.    As one doctor put it, the widespread, long-term use of opioids “was an experiment

on the population of the United States. It wasn’t randomized, it wasn’t controlled, and no data

was collected until they started gathering death statistics.”

II.    The Resurgence of Opioid Use in the United States

       A.      Purdue and the Development of OxyContin

       318.    Given the history of opioid abuse in the U.S. and the medical profession’s

resulting wariness, the commercial success of the Marketing Defendants’ prescription opioids

would not have been possible without a fundamental shift in prescribers’ perception of the risks

and benefits of long-term opioid use. Purdue Pharma, the manufacturer of OxyContin,

undertook to bring about that shift.

       319.    In the 1980s, Purdue, through its UK affiliate, acquired a Scottish drug producer

that had developed a sustained-release technology suitable for morphine. Purdue marketed this

extended-release morphine as MS Contin, and it quickly became Purdue’s bestseller. As the

patent expiration for MS Contin loomed, Purdue searched for a drug to replace it. The company

decided to develop another use for its “Contin” timed-release system.

       320.    The decision was made to work on a pill containing oxycodone. At the time,

oxycodone was perceived as less potent than morphine, largely because it was most commonly

prescribed as Percocet, a relatively weak oxycodone-acetaminophen combination pill. MS

Contin was not only approaching patent expiration but had always been limited by the stigma


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associated with morphine. Oxycodone did not have that problem, and what’s more, it was

sometimes mistakenly called “oxycodeine,” which also contributed to the perception of relatively

lower potency, because codeine is weaker than morphine. Purdue acknowledged using this to its

advantage when it later pled guilty to criminal charges of “misbranding” in 2007, admitting that

it was “well aware of the incorrect view held by many physicians that oxycodone was weaker

than morphine” and “did not want to do anything ‘to make physicians think that oxycodone was

stronger or equal to morphine’ or to ‘take any steps . . . that would affect the unique position that

OxyContin’” held among physicians.

       321.    For Purdue and OxyContin to be “really big,” Purdue needed to both distance its

new product from the traditional view of narcotic addiction risk, and broaden the drug’s uses

beyond cancer pain and hospice care. A marketing memo sent to Purdue’s top sales executives

in March 1995 recommended that if Purdue could show that the risk of abuse was lower with

OxyContin than with traditional immediate-release narcotics, sales would increase. As discussed

below, Purdue did not find or generate any such evidence, but this did not stop Purdue from

making that claim regardless.

       322.    Armed with this and other misrepresentations about the risks and benefits of its

new drug, Purdue was able to open an enormous untapped market: patients with non-end-of-life,

non-acute, everyday aches and pains. As Dr. David Haddox, a Senior Medical Director at

Purdue, declared on “The Early Show,” a CBS morning talk program, “There are 50 million

patients in this country who have chronic pain that’s not being managed appropriately every

single day. OxyContin is one of the choices that doctors have available to them to treat that.”

       323.    In pursuit of these 50 million potential customers, Purdue poured resources into

OxyContin’s sales force and advertising, particularly to a far broader audience of primary care




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physicians who treated patients with chronic pain complaints. The graph below shows how

promotional spending in the first six years following OxyContin’s launch dwarfed Purdue’s

spending on MS Contin or Defendant Janssen’s spending on Duragesic.24




       324.    Prior to Purdue’s launch of OxyContin, no drug company had ever promoted such

a pure, high-strength Schedule II narcotic to so wide an audience of general practitioners.

       325.    In the two decades following OxyContin’s launch, Purdue continued to devote

substantial resources to its promotional efforts. Nearly half of Purdue’s operating expenses in

2015 went to sales and promotion, and more than 80% of its marketing budget of $241 million

was spent on sending sales representatives to meet with prescribers.




24
  U.S. General Accounting Office, OxyContin Abuse and Diversion and Efforts to Address the
Problem, U.S. General Accounting Office Report to Congressional Requesters, at 22 (Dec.
2003), http://www.gao.gov/new/items/d04110.pdf.


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       326.    Between 1996 and its filing for bankruptcy in 2019, Purdue generated estimated

sales of more than $35 billion from opioids, raking in more than $3 billion in 2015 alone.

Remarkably, its opioid sales continued to climb even after a period of media attention and

government inquiries regarding OxyContin abuse in the early 2000s and a criminal investigation

culminating in guilty pleas in 2007. Purdue proved itself skilled at evading full responsibility

and continuing to sell through the controversy. The company’s annual opioid sales of $3 billion

in 2015 represent a four-fold increase from its 2006 sales of $800 million.

       B.      Other Manufacturer Defendants Leapt at the Opioid Opportunity

       327.    Purdue created a market for the use of opioids for a range of common aches and

pains by misrepresenting the risks and benefits of its opioids, but it was not alone. The other

Manufacturer Defendants—already manufacturers of prescription opioids—positioned

themselves to take advantage of the opportunity Purdue created, developing both branded and

generic opioids to compete with OxyContin, while, together with Purdue and each other,

misrepresenting the safety and efficacy of their products. These misrepresentations are described

in greater detail below.

       328.    Endo, which already sold Percocet and Percodan, was the first to submit an

application for a generic extended-release oxycodone to compete with OxyContin. At the same

time, Endo sought FDA approval for another potent opioid, immediate-release and extended-

release oxymorphone, branded as Opana and Opana ER. Oxymorphone, like OxyContin’s active

ingredient oxycodone, is not a new drug; it was first synthesized in Germany in 1914 and sold in

the U.S. by Endo beginning in 1959 under the trade name Numorphan. But Numorphan tablets

proved highly susceptible to abuse. Called “blues” after the light blue color of the 10 mg pills,

Numorphan provoked, according to some users, a more euphoric high than heroin. As the

National Institute on Drug Abuse observed in its 1974 report, “Drugs and Addict Lifestyle,”


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Numorphan was extremely popular among addicts for its quick and sustained effect.25 Endo

withdrew oral Numorphan from the market in 1979.

       329.    Two decades later, however, as communities around the U.S. were first sounding

the alarm about prescription opioids and Purdue executives were being called to testify before

Congress about the risks of OxyContin, Endo essentially reached back into its inventory, dusted

off a product it had previously shelved after widespread abuse, and pushed it into the

marketplace with a new trade name, Opana.

       330.    The clinical trials submitted with Endo’s first application for approval of Opana

were insufficient to demonstrate efficacy, and some subjects in the trials overdosed and had to be

revived with naloxone. Endo then submitted new “enriched enrollment” clinical trials, in which

trial subjects who do not respond to the drug are excluded from the trial, and obtained approval.

Endo began marketing Opana and Opana ER in 2006.

       331.    Like Numorphan, Opana ER was highly susceptible to abuse. On June 8, 2017,

the FDA sought removal of Opana ER. In its press release, the FDA indicated that “[t]his is the

first time the agency has taken steps to remove a currently marketed opioid pain medication from

sale due to the public health consequences of abuse.”26 On July 6, 2017, Endo agreed to

withdraw Opana ER from the market.

       332.    Janssen, which already marketed the Duragesic (fentanyl) patch for severe pain,

also joined Purdue in pursuit of the broader chronic pain market. It sought to expand the use of

Duragesic through, for example, advertisements proclaiming, “It’s not just for end stage cancer



25
   John Fauber & Kristina Fiore, Abandoned Painkiller Makes a Comeback, MedPage Today
(May 10, 2015), https://www.medpagetoday.com/psychiatry/addictions/51448.
26
   Press Release, U.S. Food & Drug Admin., FDA Requests Removal of Opana ER for Risks
Related to Abuse (June 8, 2017), https://www.fda.gov/NewsEvents/Newsroom/
PressAnnouncements/ucm562401.htm.


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anymore!” This claim earned Janssen a warning letter from the FDA, for representing that

Duragesic was “more useful in a broader range of conditions or patients than has been

demonstrated by substantial evidence.”

       333.    Janssen also developed a new opioid compound called tapentadol in 2009,

marketed as Nucynta for the treatment of moderate to severe pain. Janssen launched the

extended-release version, Nucynta ER, for treatment of chronic pain in 2011.

       334.    By adding additional opioids or expanding the use of their existing opioid

products, the other Manufacturer Defendants took advantage of the market created by Purdue’s

aggressive promotion of OxyContin and reaped enormous profits. For example, Opana ER alone

generated more than $1 billion in revenue for Endo in 2010 and again in 2013. Janssen also

passed the $1 billion mark in sales of Duragesic in 2009.

III.   The Marketing Defendants’ Multi-Pronged Scheme to Change Prescriber Habits,
       Sway Public Perception, and Increase Demand for Opioids

       335.    In order to accomplish the fundamental shift in perception that was key to

successfully marketing their opioids, the Marketing Defendants designed and implemented a

sophisticated and deceptive marketing strategy. Lacking legitimate scientific research to support

their claims, the Marketing Defendants turned to marketing techniques to create a series of

misperceptions in the medical community and ultimately reverse the long-settled understanding

of the relative risks and benefits of opioids.

       336.    The Marketing Defendants promoted, and profited from, their misrepresentations

about the risks and benefits of opioids for chronic pain even though they knew that their

marketing was false and misleading. The history of opioids, as well as research and clinical

experience over the last 20 years, established that opioids were highly addictive and responsible

for a long list of very serious adverse outcomes. The FDA and other regulators warned



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Marketing Defendants of these risks. The Marketing Defendants had access to scientific studies,

detailed prescription data, and reports of adverse events, including reports of addiction,

hospitalization, and deaths—all of which made clear the harms from long-term opioid use and

that patients were suffering from addiction, overdoses, and death in alarming numbers. More

recently, the FDA and CDC issued pronouncements based on existing medical evidence that

conclusively expose the known falsity of these Defendants’ misrepresentations.

       337.    The marketing scheme to increase opioid prescriptions centered around several

categories of misrepresentations, which are discussed in detail below. The Marketing

Defendants disseminated these misrepresentations through various channels, including through

advertising, sales representatives, purportedly independent organizations these Defendants

funded and controlled, “Front Groups,” so-called industry “Key Opinion Leaders” (“KOLs”),

and CME programs, all of which are discussed below.

       A.      The Marketing Defendants Promoted Multiple Falsehoods About Opioids

       338.    The Marketing Defendants made multiple misrepresentations about the risks and

benefits of prescription opioids, including: (a) the risk of addiction from chronic opioid therapy

is low; (b) to the extent there is a risk of addiction, it can be easily identified and managed;

(c) signs of addictive behavior are “pseudoaddiction,” requiring more opioids; (d) opioid

withdrawal can be avoided by tapering; (e) opioid doses can be increased without limit or greater

risks; (f) long-term opioid use improves functioning; and (g) alternative forms of pain relief pose

greater risks than opioids.

       339.    Each of these propositions was false. The Marketing Defendants knew this, but

they nonetheless set out to convince physicians, patients, and the public at large of the truth of

each of these propositions in order to expand the market for their opioids.




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       340.    While each Manufacturer Defendant deceptively promoted its own opioid

products specifically, and, together with other Marketing Defendants, opioids generally, not

every Marketing Defendant propagated (or needed to propagate) each misrepresentation. Each

Marketing Defendant’s conduct, and each misrepresentation, contributed to an overall narrative

that aimed to—and did—mislead doctors, patients, and payors about the risk and benefits of

opioids. While this Complaint endeavors to document examples of each Marketing Defendant’s

misrepresentations and the manner in which they were disseminated, they are just that—

examples.

               1.      Misrepresentations About the Risk of Addiction

       341.    Central to the Marketing Defendants’ promotional scheme was the

misrepresentation that opioids are rarely addictive when taken for chronic pain. Through their

marketing efforts, the Marketing Defendants advanced the idea that the risk of addiction is low

when opioids are taken as prescribed by “legitimate” pain patients. That, in turn, directly led to

the expected and intended result that doctors prescribed more opioids to more patients—thereby

enriching the Marketing Defendants and substantially contributing to the opioid epidemic.

       342.    Each of the Manufacturer Defendants claimed that the potential for addiction

from its opioids was relatively small or non-existent, even though there was no scientific

evidence to support those claims. None of them have acknowledged, retracted, or corrected their

false statements.

       343.    In fact, studies have shown that a substantial percentage of long-term users of

opioids experience addiction. Addiction can result from the use of any opioid, “even at




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recommended dose,”27 and the risk substantially increases with more than three months of use.28

As the CDC Guideline states, “[o]pioid pain medication use presents serious risks, including

overdose and opioid use disorder” (a diagnostic term for addiction).29

                              (i)     Purdue’s Misrepresentations Regarding Addiction Risk

       344.    When it launched OxyContin, Purdue knew it would need data to overcome

decades of wariness regarding opioid use. It needed some sort of research to back up its

messaging. But Purdue had not conducted any studies about abuse potential or addiction risk as

part of its application for FDA approval for OxyContin. Purdue (and, later, the other

Defendants) found this “research” in the form of a one-paragraph letter to the editor published in

the New England Journal of Medicine (“NEJM”) in 1980.




27
   FDA Announces Safety Labeling Changes and Postmarket Study Requirements for Extended-
Release and Long-Acting Opioid Analgesics, MagMutual (Aug. 18, 2016),
https://www.magmutual. com/learning/article/fda-announces-safety-laveling-changes-and-
postmarket-study-requirements-opioids; see also Press Release, U.S. Food & Drug Admin., FDA
Announces Enhanced Warnings for Immediate-Release Opioid Pain Medications Related to
Risks of Misuse, Abuse, Addiction, Overdose and Death (Mar. 22, 2016),
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm491739.htm.
28
   Deborah Dowell, M.D., et al., CDC Guideline for Prescribing Opioids for Chronic Pain –
United States 2016, 65(1) Morbidity & Mortality Wkly. Rep. 1, 21 (Mar. 18, 2016) (hereinafter
“CDC Guideline”), https://www.cdc.gov/mmwr/volumes/65/rr/pdfs/rr6501e1.pdf.
29
   Id. at 2.


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       345.    This letter, by Dr. Hershel Jick (“Jick”) and Jane Porter (“Porter”), declared the

incidence of addiction “rare” for patients treated with opioids.30 The authors had analyzed a

database of hospitalized patients who were given opioids in a controlled setting to ease suffering

from acute pain. Porter and Jick considered a patient not addicted if there was no sign of

addiction noted in that patient’s records.

       346.    As Jick explained to a journalist years later, he submitted the statistics to NEJM as

a letter because the data were not robust enough to be published as a study.

       347.    Purdue nonetheless began repeatedly citing this letter in promotional and

educational materials as evidence of the low risk of addiction, while failing to disclose that its

source was a letter to the editor, not a peer-reviewed paper. Citation to the letter, which was

largely ignored for more than a decade, significantly increased after the introduction of

OxyContin. While first Purdue and then other Marketing Defendants used it to assert that their




30
 Jane Porter & Herschel Jick, M.D., Addiction Rare in Patients Treated with Narcotics, 302(2)
New Engl. J. Med. 123 (Jan. 10, 1980), http://www.nejm.org/doi/pdf/10.1056/
NEJM198001103020221 (hereinafter “Porter and Jick letter”).


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opioids were not addictive, “that’s not in any shape or form what we suggested in our letter,”

according to Jick.

       348.    Purdue specifically used the Porter and Jick letter in its 1998 promotional video,

“I got my life back,” in which Dr. Alan Spanos says, “In fact, the rate of addiction amongst pain

patients who are treated by doctors is much less than 1%.”31 Purdue trained its sales

representatives to tell prescribers that fewer than 1% of patients who took OxyContin became

addicted. (In 1999, a Purdue-funded study of patients who used OxyContin for headaches found

that the addiction rate was 13%.32)

       349.    Other Marketing Defendants relied on and disseminated the same distorted

messaging. The enormous impact of Marketing Defendants’ misleading amplification of this

letter was well documented in another letter published in the NEJM on June 1, 2017, describing

the way the one-paragraph 1980 letter had been irresponsibly cited and in some cases “grossly

misrepresented.” In particular, the authors of this letter explained:

       [W]e found that a five-sentence letter published in the Journal in 1980 was
       heavily and uncritically cited as evidence that addiction was rare with long-term
       opioid therapy. We believe that this citation pattern contributed to the North
       American opioid crisis by helping to shape a narrative that allayed prescribers’
       concerns about the risk of addiction associated with long-term opioid therapy.33




31
   Our Amazing World, Purdue Pharma OxyContin Commercial, YouTube (Sept. 22, 2016),
https://www.youtube.com/watch?v=Er78Dj5hyeI.
32
   Patrick R. Keefe, The Family That Built an Empire of Pain, New Yorker (Oct. 30, 2017)
(hereinafter “Keefe, Empire of Pain”).
33
   Pamela T.M. Leung, B.Sc. Pharm., et al., A 1980 Letter on the Risk of Opioid Addiction, 376
New Engl. J. Med. 2194 (June 1, 2017), http://www.nejm.org/doi/full/10.1056/NEJMc1700150.


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       350.    “It’s difficult to overstate the role of this letter,” said Dr. David Juurlink of the

University of Toronto, who led the analysis. “It was the key bit of literature that helped the

opiate manufacturers convince front-line doctors that addiction is not a concern.”34

       351.    Alongside its use of the Porter and Jick letter, Purdue also crafted its own

materials and spread its deceptive message through numerous additional channels. In its 1996

press release announcing the release of OxyContin, for example, Purdue declared: “The fear of

addiction is exaggerated.”35

       352.    At a hearing before the House of Representatives’ Subcommittee on Oversight

and Investigations of the Committee on Energy and Commerce in August 2001, Purdue

emphasized “legitimate” treatment, dismissing cases of overdose and death as something that

would not befall “legitimate” patients: “Virtually all of these reports involve people who are

abusing the medication, not patients with legitimate medical needs under the treatment of a

healthcare professional.”36

       353.    Purdue spun this baseless “legitimate use” distinction out even further in a patient

brochure about OxyContin, called “A Guide to Your New Pain Medicine and How to Become a

Partner Against Pain.” In response to the question “Aren’t opioid pain medications like




34
   Marilynn Marchione, Assoc. Press, Painful Words: How a 1980 Letter Fueled the Opioid
Epidemic, STAT News (May 31, 2017), https://www.statnews.com/2017/05/31/opioid-epidemic-
nejm-letter.
35
   Press Release, Purdue Pharma, L.P., New Hope for Millions of Americans Suffering from
Persistent Pain: Long-Acting OxyContin Tablets Now Available to Relieve Pain (May 31, 1996,
3:47pm), http://documents.latimes.com/oxycontin-press-release-1996/.
36
   OxyContin: Its Use and Abuse: Hearing Before the H. Subcomm. on Oversight and
Investigations of the Comm. on Energy and Com., 107th Cong. 1 (Aug. 28, 2001) (Statement of
Michael Friedman, Executive Vice President, Chief Operating Officer, Purdue Pharma, L.P.),
https://www.gpo.gov/fdsys/pkg/CHRG-107hhrg75754/html/CHRG-107hhrg75754.htm.


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OxyContin Tablets ‘addicting’?,” Purdue claimed that there was no need to worry about

addiction if taking opioids for legitimate, “medical” purposes:

       Drug addiction means using a drug to get “high” rather than to relieve pain. You
       are taking opioid pain medication for medical purposes. The medical purposes
       are clear and the effects are beneficial, not harmful.

       354.    Sales representatives received training in overcoming doctors’ concerns about

addiction with talking points they knew to be untrue about the drug’s abuse potential. One of

Purdue’s early training memos compared doctor visits to “firing at a target,” declaring that “[a]s

you prepare to fire your ‘message,’ you need to know where to aim and what you want to hit!”

According to the memo, the target is physician resistance based on concern about addiction:

“The physician wants pain relief for these patients without addicting them to an opioid.”

       355.    Purdue, through its website Partners Against Pain,37 stated the following:

“Current Myth: Opioid addiction (psychological dependence) is an important clinical problem in

patients with moderate to severe pain treated with opioids. Fact: Fears about psychological

dependence are exaggerated when treating appropriate pain patients with opioids.” “Addiction

risk also appears to be low when opioids are dosed properly for chronic, noncancer pain.”

       356.    Former sales representative Steven May (“May”), who worked for Purdue from

1999 to 2005, explained to a journalist how he and his coworkers were trained to overcome

doctors’ objections to prescribing opioids. The most common objection he heard about




37
  Partners Against Pain consists of both a website, styled as an “advocacy community” for
better pain care, and a set of medical education resources distributed to prescribers by sales
representatives. It has existed since at least the early 2000s and has been a vehicle for Purdue to
downplay the risks of addiction from long-term opioid use. One early pamphlet, for example,
answered concerns about OxyContin’s addictiveness by claiming: “Drug addiction means using
a drug to get ‘high’ rather than to relieve pain. You are taking opioid pain medication for
medical purposes. The medical purposes are clear and the effects are beneficial, not harmful.”


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prescribing OxyContin was that “it’s just too addictive.”38 May and his coworkers were trained

to “refocus” doctors on “legitimate” pain patients, and to represent that “legitimate” patients

would not become addicted. In addition, they were trained to say that the 12-hour dosing made

the extended-release opioids less “habit-forming” than painkillers that need to be taken every

four hours.

       357.    According to interviews with prescribers and former Purdue sales representatives,

Purdue continued to distort or omit the risk of addiction while failing to correct its earlier

misrepresentations, leaving many doctors with the false impression that pain patients will only

rarely become addicted to opioids.

       358.    With regard to addiction, Purdue’s label for OxyContin has not sufficiently

disclosed the true risks to, and experiences of, its patients. Until 2014, the OxyContin label

stated in a black-box warning that opioids have “abuse potential” and that the “risk of abuse is

increased in patients with a personal or family history of substance abuse.”

       359.    However, the FDA made clear to Purdue as early as 2001 that the disclosures in

its OxyContin label were insufficient. Senior FDA officials met with Purdue on April 23, 2001,

to “provide comments and suggestions on a Risk Management program for OxyContin.” Among

other issues, the FDA noted that Purdue should add a black-box warning for overdose, abuse,

and death to OxyContin’s label. Purdue acknowledged that it was aware of abuse of OxyContin

orally (without tampering), as well as by snorting or injecting. It was not, the FDA explained, a

matter of changing a few words in OxyContin’s label; Dr. Cynthia McCormick, then director of




38
   Interview by Patrick Keefe with Steven Mays, former sales representative for Purdue Pharma,
L.P., How OxyContin Was Sold to the Masses, The New Yorker (Oct. 27, 2017),
https://www.newyorker.com/podcast/the-new-yorker-radio-hour/how-oxycontin-was-sold-to-the-
masses.


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the FDA division overseeing pain medication, declared that “‘major overhaul is my message.’

The prescribing of OxyContin is creeping into a whole population of people where it doesn’t

belong. Just rewriting the abuse and dependence section won’t help much, that part of the insert

is not a pivot point.”

        360.    Another FDA participant asked that Purdue “refocus our promotional materials

and make the risks of abuse and diversion more prominent.” In short, the FDA advised Purdue

“that the information put in the label back at the time of product approval did not adequately

address the risks associated with this product and this needs to be corrected.”

        361.    In 2001, Purdue revised the indication and warnings for OxyContin, but did not

go nearly as far as the FDA recommended or the known risks of the product demanded. In the

United States, Purdue ceased distributing the 160 mg tablet of OxyContin. While Purdue agreed

to “consider” changes to its label, it also expressed a reluctance to make significant changes not

required for other prescription opioids. Dr. McCormick noted that the issues discussed at the

meeting were specific to OxyContin and that, while the agency would talk with Purdue’s

competitors, “‘we have a problem here and now with OxyContin.’ In due time other

manufacturers will be contacted but the first problem is this product.”

        362.    In the end, Purdue narrowed the recommended use of OxyContin to situations

when “a continuous, around-the-clock analgesic is needed for an extended period of time” and

added a warning that “[t]aking broken, chewed, or crushed OxyContin tablets” could lead to a

“potentially fatal dose.” However, Purdue did not, until 2014, change the label as the FDA

suggested, to indicate that OxyContin should not be the first therapy, or even the first opioid,

used, and did not disclose the incidence or risk of overdose and death even when OxyContin was

not abused. Purdue announced the label changes in a letter to health care providers but did not,




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as the FDA suggested, issue “a Medguide for patients on the risks of overdose and the abuse of

opioids as well as risks for use by others than those for whom it was prescribed” or undertake the

recommended promotional effort to educate patients about the potentially fatal risks of

OxyContin.

       363.    The FDA also informed Purdue what Purdue already knew, as noted above – that

“there is a perception that oxycodone is safer than morphine.” A representative from the FDA’s

Division of Drug Marketing, Advertising, and Communications echoed this, calling for an

“extensive educational effort to consumers and health care practitioners” to “correct a

misconception that [OxyContin] is different than morphine.” Upon information and belief,

Purdue never undertook that effort.

                              (ii)    Endo’s Misrepresentations Regarding Addiction Risk

       364.    Endo also falsely represented that addiction is rare in patients who are prescribed

opioids.

       365.    Until April 2012, Endo’s website for Opana, www.Opana.com, stated that “[m]ost

healthcare providers who treat patients with pain agree that patients treated with prolonged

opioid medicines usually do not become addicted.”

       366.    Upon information and belief, Endo improperly instructed its sales representatives

to diminish and distort the risk of addiction associated with Opana ER. Endo’s training materials

for its sales representatives in 2011 also prompted sales representatives to answer “true” to the

statement that addiction to opioids is not common.

       367.    One of the Front Groups with which Endo worked most closely was the American

Pain Foundation (“APF”), described more fully below. Endo provided substantial assistance to,

and exercised editorial control over, the deceptive and misleading messages that APF conveyed




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through its National Initiative on Pain Control (“NIPC”)39 and its website

www.PainKnowledge.com, which claimed that “[p]eople who take opioids as prescribed usually

do not become addicted.”

         368.   Another Endo website, www.PainAction.com, stated, “Did you know? Most

chronic pain patients do not become addicted to the opioid medications that are prescribed for

them.”

         369.   In a brochure available on www.PainKnowledge.com titled, “Pain: Opioid Facts,”

Endo-sponsored NIPC stated that “people who have no history of drug abuse, including tobacco,

and use their opioid medication as directed will probably not become addicted.” In numerous

patient education pamphlets, Endo repeated this deceptive message.

         370.   In a patient education pamphlet titled, “Understanding Your Pain: Taking Oral

Opioid Analgesics,” Endo answers the hypothetical patient question – “What should I know

about opioids and addiction?” – by focusing on explaining what addiction is (“a chronic brain

disease”) and is not (“Taking opioids for pain relief”). It goes on to explain that “[a]ddicts take

opioids for other reasons, such as unbearable emotional problems. Taking opioids as prescribed

for pain relief is not addiction.” This publication is still available online.

         371.   An Endo publication, Living with Someone with Chronic Pain, stated, “Most

health care providers who treat people with pain agree that most people do not develop an




39
  Endo was one of the APF’s biggest financial supporters, providing more than half of the $10
million APF received from opioid manufacturers during its lifespan. Endo was the sole funder of
NIPC and selected APF to manage NIPC. Internal Endo documents indicate that Endo was
responsible for NIPC curriculum development, web posting, and workshops; developed and
reviewed NIPC content; and took a substantial role in distributing NIPC and APF materials.
Endo projected that it would be able to reach tens of thousands of prescribers nationwide through
the distribution of NIPC materials.


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addiction problem.” A similar statement appeared on the Endo website, www.Opana.com, until

at least April 2012.

       372.    In addition, a 2009 patient education publication, Pain: Opioid Therapy, funded

by Endo and posted on www.PainKnowledge.com, omitted addiction from the “common risks”

of opioids, as shown below:




                              (iii)   Janssen’s Misrepresentations Regarding Addiction Risk

       373.    Janssen likewise misrepresented the addiction risk of opioids on its websites and

print materials. One website, Let’s Talk Pain, states, among other things, that “the stigma of

drug addiction and abuse” associated with the use of opioids stemmed from a “lack of

understanding about addiction.” (Although Janssen described the website internally as an

unbranded third-party program, it carried Janssen’s trademark and copy approved by Janssen.)

       374.    The Let’s Talk Pain website also perpetuated the concept of pseudoaddiction,

associating patient behaviors such as “drug seeking,” “clock watching,” and “even illicit drug

use or deception” with undertreated pain, which can be resolved with “effective pain

management.” In August 2009, a “12 month review” of the Let’s Talk Pain website manuscript

confirmed that the website’s contents included statements regarding pseudoaddiction and

illustrated Janssen’s control over the website and awareness of its contents.


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       375.    A Janssen unbranded website, www.PrescribeResponsibly.com, states that

concerns about opioid addiction are “overestimated” and that “true addiction occurs only in a

small percentage of patients.”40

       376.    Janssen reviewed, edited, approved, and distributed a patient education guide

entitled, “Finding Relief: Pain Management for Older Adults,” which, as seen below, described

as “myth” the claim that opioids are addictive, and asserted as fact that “[m]any studies show

that opioids are rarely addictive when used properly for the management of chronic pain.” Until

recently, this guide was still available online.




       377.    Janssen’s website for Duragesic included a section addressing “Your Right to

Pain Relief” and a hypothetical patient’s fear that “I’m afraid I’ll become a drug addict.” The

website’s response: “Addiction is relatively rare when patients take opioids appropriately.”

       378.    According to an internal marketing assessment, Janssen sales representatives were

trained to emphasize that Nucynta ER had fewer side effects than other opioids, though, upon

information and belief, this was an untrue and unsubstantiated superiority claim.



40
   Keith Candiotti, M.D., Use of Opioid Analgesics in Pain Mgmt., Prescribe Responsibly,
https://web.archive.org/web/20151119055136/http://www.prescriberesponsibly.com/articles/opio
id-pain-management (last updated July 2, 2015).


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       379.    Janssen also conducted a research study on prescribers regarding the visual aids

for the marketing of Nucynta ER. Doctors reportedly were interested that Nucynta was

described as appropriate for patients at risk for addiction and as a way to avoid addictive

narcotics for young people. Additionally, doctors identified the advantages of Nucynta, which

included that it was potentially less addicting than other opioids and had a lower street value.

       380.    Janssen also published a patient guide, Patient Booklet Answers to Your Questions

– Duragesic, which stated that “[a]ddiction is relatively rare when patients take opioids

appropriately.”

       381.    Janssen recognized that this misrepresentation was particularly important to

payors, who had a “negative” reaction to covering an addictive drug for a chronic condition for

which non-narcotic drugs were available.

                              (iv)    Teva’s Misrepresentations Regarding Addiction Risk

       382.    Teva sponsored and facilitated the development of a guidebook, Opioid

Medications and REMS: A Patient’s Guide, which included claims that “patients without a

history of abuse or a family history of abuse do not commonly become addicted to opioids.”

Similarly, Teva sponsored APF’s Treatment Options: A Guide for People Living with Pain

(2007), which taught that addiction is rare and limited to extreme cases of unauthorized dose

escalations, obtaining opioids from multiple sources, or theft.

       383.    For example, a 2003 Teva-sponsored CME presentation titled, “Pharmacologic

Management of Breakthrough or Incident Pain,” posted on Medscape in February 2003, teaches:

       [C]hronic pain is often undertreated, particularly in the noncancer patient
       population. . . . The continued stigmatization of opioids and their prescription,
       coupled with often unfounded and self-imposed physician fear of dealing with the
       highly regulated distribution system for opioid analgesics, remains a barrier to
       effective pain management and must be addressed. Clinicians intimately involved
       with the treatment of patients with chronic pain recognize that the majority of
       suffering patients lack interest in substance abuse. In fact, patient fears of


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       developing substance abuse behaviors such as addiction often lead to
       undertreatment of pain. The concern about patients with chronic pain becoming
       addicted to opioids during long-term opioid therapy may stem from confusion
       between physical dependence (tolerance) and psychological dependence
       (addiction) that manifests as drug abuse.41

       384.    An internal “educational” document claimed that “in patients without personal or

family history of substance abuse, addiction resulting from exposure to opioid therapy is

uncommon.” The document continued, “Like patients, caregivers may need reassurance that few

people using opioids for a legitimate medical reason become addicted to the drug, and that

physical dependence to a drug is easily overcome through scheduled dosing decreases . . .”

Upon information and belief, this Teva “learning module” was used to train sales representatives

for their interactions with prescribers.

                               (v)     Allergan’s Misrepresentations Regarding Addiction
                                       Risk

       385.    Through its “Learn More about customized pain control with Kadian” material,

Allergan claimed that it is possible to become addicted to morphine-based drugs like Kadian, but

that it is “less likely” to happen in those who “have never had an addiction problem.” The piece

goes on to advise that a need for a “dose adjustment” is the result of tolerance, and “not

addiction.”

       386.    Training for Allergan sales representatives deceptively minimizes the risk of

addiction by: (a) attributing addiction to “predisposing factors” like family history of addiction

or psychiatric disorders; (b) repeatedly emphasizing the difference between substance

dependence and substance abuse; and (c) using the term pseudoaddiction, which, as described




41
 Michael J. Brennan, et al., Pharmacologic Management of Breakthrough or Incident Pain,
Medscape, http://www.medscape.org/viewarticle/449803 (behind paywall).


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below, dismisses evidence of addiction as the undertreatment of pain and, dangerously, counsels

doctors to respond to its signs with more opioids.

       387.    Allergan conducted a market study on takeaways from prescribers’ interactions

with Kadian sales representatives. The doctors had a strong recollection of the sales

representatives’ discussion of the low-abuse potential. Allergan sales representatives’

misstatements on the low-abuse potential was considered an important factor to doctors, and was

most likely repeated and reinforced to their patients. Additionally, doctors reviewed visual aids

that the Kadian sales representatives use during the visits, and Allergan noted that doctors

associate Kadian with less abuse and no highs, in comparison to other opioids. Numerous

marketing surveys of doctors in 2010 and 2012, for example, confirmed Allergan’s messaging

about Kadian’s purported low addiction potential, and that it had less abuse potential than other

similar opioids.

       388.    A guide for prescribers under Allergan’s copyright deceptively represents that

Kadian is more difficult to abuse and less addictive than other opioids. The guide includes the

following statements: (a) “unique pharmaceutical formulation of KADIAN may offer some

protection from extraction of morphine sulfate for intravenous use by illicit users”; and

(b) ”KADIAN may be less likely to be abused by health care providers and illicit users” because

of “Slow onset of action,” “Lower peak plasma morphine levels than equivalent doses of other

formulations of morphine,” “Long duration of action,” and “Minimal fluctuations in peak to

trough plasma levels of morphine at steady state.” The guide is copyrighted by Allergan in 2007,

before Allergan officially purchased Kadian from Alpharma. These statements convey both that:

(a) Kadian does not cause euphoria and therefore is less addictive; and (b) Kadian is less prone to




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tampering and abuse, even though Kadian was not approved by the FDA as abuse deterrent, and,

upon information and belief, Allergan had no studies to suggest it was.

               2.     Misrepresentations About Managing the Risk of Addiction

       389.    While continuing to maintain that most patients can safely take opioids long-term

for chronic pain without becoming addicted, the Marketing Defendants asserted that to the extent

that some patients are at risk of opioid addiction, doctors can effectively identify and manage

that risk by using screening tools or questionnaires. In materials they produced, sponsored, or

controlled, Defendants instructed patients and prescribers that screening tools can identify

patients predisposed to addiction, thus making doctors feel more comfortable prescribing opioids

to their patients and patients more comfortable starting opioid therapy for chronic pain. These

tools, they say, identify those with higher addiction risks (stemming from personal or family

histories of substance use, mental illness, trauma, or abuse) so that doctors can then more closely

monitor those patients.

       390.    Purdue shared its Partners Against Pain “Pain Management Kit,” which

contained several screening tools and catalogues of Purdue materials that included these tools,

with prescribers. Janssen, on its website www.PrescribeResponsibly.com, stated that the risk of

opioid addiction “can usually be managed” through tools such as opioid agreements between

patients and doctors.42 The website, which provided screening tools to prescribers for risk




42
   Howard A. Heit, M.D., FACP, FASAM & Douglas L. Gourlay, M.D., M.Sc., FRCPC,
FASAM, What a Prescriber Should Know Before Writing the First Prescription, Prescribe
Responsibly,
https://web.archive.org/web/20150815165002/http://www.prescriberesponsibly.com/articles/befo
re-prescribing-opioids#pseudoaddiction (hereinafter “Heit & Gourlay”) (last modified July 2,
2015).


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assessments, includes a “[f]our-question screener” to purportedly help physicians identify and

address possible opioid misuse.43

       391.    Purdue and Teva sponsored the APF’s Treatment Options: A Guide for People

Living with Pain (2007), which also falsely reassured patients that opioid agreements between

doctors and patients can “ensure that you take the opioid as prescribed.”

       392.    Purdue sponsored a 2011 webinar taught by Dr. Lynn R. Webster, entitled,

Managing Patient’s Opioid Use: Balancing the Need and Risk. This publication misleadingly

taught prescribers that screening tools, urine tests, and patient agreements have the effect of

preventing “overuse of prescriptions” and “overdose deaths.”

       393.    Purdue sponsored a 2011 CME program titled, Managing Patient’s Opioid Use:

Balancing the Need and Risk. This presentation deceptively instructed prescribers that screening

tools, patient agreements, and urine tests prevented “overuse of prescriptions” and “overdose

deaths.”

       394.    Purdue also funded a 2012 CME program called, Chronic Pain Management and

Opioid Use: Easing Fears, Managing Risks, and Improving Outcomes. The presentation

deceptively instructed doctors that, through the use of screening tools, more frequent refills, and

other techniques, even high-risk patients showing signs of addiction could be treated with

opioids.

       395.    Endo paid for a 2007 supplement available for continuing education credit in the

Journal of Family Practice written by a doctor who became a member of Endo’s speakers’

bureau in 2010. This publication, entitled, Pain Management Dilemmas in Primary Care: Use of



43
   Risk Assessment Resources, Prescribe Responsibly,
https://web.archive.org/web/20151027110145/http://www.prescriberesponsibly.com/risk-
assessment-resources (last modified July 2, 2015).


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Opioids: (a) recommended screening patients using tools like the Opioid Risk Tool (“ORT”)

created by Dr. Webster and linked to Janssen or the Screener and Opioid Assessment for Patients

with Pain; and (b) taught that patients at high risk of addiction could safely receive chronic

opioid therapy using a “maximally structured approach” involving toxicology screens and pill

counts. The ORT was linked to by Endo-supported websites, as well.

       396.    There are three fundamental flaws in the Marketing Defendants’ representations

that doctors can consistently identify and manage the risk of addiction. First, there is no reliable

scientific evidence that doctors can depend on the screening tools currently available to

materially limit the risk of addiction. Second, there is no reliable scientific evidence that high-

risk patients identified through screening can take opioids long-term without triggering

addiction, even with enhanced monitoring. Third, there is no reliable scientific evidence that

patients who are not identified through such screening can take opioids long-term without

significant danger of addiction.

               3.      Misrepresentations About “Pseudoaddiction”

       397.    The Marketing Defendants instructed patients and prescribers that signs of

addiction are actually indications of untreated pain, such that the appropriate response is to

prescribe even more opioids. Dr. David Haddox, who later became a Senior Medical Director

for Purdue, published a study in 1989 coining the term “pseudoaddiction,” which he

characterized as “the iatrogenic syndrome of abnormal behavior developing as a direct

consequence of inadequate pain management.”44 In other words, people on prescription opioids

who exhibited classic signs of addiction – for example, asking for more and higher doses of



44
  David E. Weissman & J. David Haddox, Opioid Pseudoaddiction – An Iatrogenic Syndrome,
36(3) Pain 363 (Mar. 1989), https://www.ncbi.nlm.nih.gov/pubmed/2710565 (“Iatrogenic”
describes a condition induced by medical treatment).


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opioids, self-escalating their doses, or claiming to have lost prescriptions in order to get more

opioids – were not addicted, but rather simply suffering from undertreatment of their pain.

       398.    In the materials and outreach they produced, sponsored, or controlled, the

Marketing Defendants made each of these misrepresentations and omissions, and have never

acknowledged, retracted, or corrected them.

       399.    Teva, Endo, and Purdue sponsored the Federation of State Medical Boards’

(“FSMB”) Responsible Opioid Prescribing (2007), written by Dr. Scott Fishman and discussed

in more detail below, which taught that behaviors such as “requesting drugs by name,”

“demanding or manipulative behavior,” seeing more than one doctor to obtain opioids, and

hoarding, which are signs of genuine addiction, are all really signs of “pseudoaddiction.”

       400.    Purdue posted an unbranded pamphlet entitled, Clinical Issues in Opioid

Prescribing on its unbranded website, www.PartnersAgainstPain.com, in 2005, and circulated

this pamphlet through at least 2007 and on its website through at least 2013. The pamphlet listed

conduct including “illicit drug use and deception” that it claimed was not evidence of true

addiction but “pseudoaddiction” caused by untreated pain.

       401.    According to documents provided by a former Purdue sales representative, sales

representatives were trained and tested on the meaning of pseudoaddiction, from which it can be

inferred that sales representatives were directed to, and did, describe pseudoaddiction to

prescribers. Purdue’s Pain Management Kit is another example of publication used by Purdue’s

sales force that endorses pseudoaddiction by claiming that “pain-relief seeking behavior can be

mistaken for drug-seeking behavior.” Upon information and belief, the kit was in use from

roughly 2011 through at least June 2016.




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       402.    Similarly, internal documents show that Endo trained its sales representatives to

promote the concept of pseudoaddiction. A training module taught sales representatives that

addiction and pseudoaddiction were commonly confused. The module went on to state, “The

physician can differentiate addiction from pseudoaddiction by speaking to the patient about

his/her pain and increasing the patient’s opioid dose to increase pain relief.”

       403.    Endo also sponsored a NIPC CME program in 2009 titled, Chronic Opioid

Therapy: Understanding Risk While Maximizing Analgesia, which promoted pseudoaddiction

and listed “[d]ifferentiation among states of physical dependence, tolerance, pseudoaddiction,

and addiction” as an element to be considered in awarding grants to CME providers.

       404.    Endo itself later repudiated the concept of pseudoaddiction. In finding that “[t]he

pseudoaddiction concept has never been empirically validated and in fact has been abandoned by

some of its proponents,” the New York Attorney General, in a 2016 settlement with Endo,

reported that “Endo’s Vice President for Pharmacovigilance and Risk Management testified to

[the New York AG] that he was not aware of any research validating the ‘pseudoaddiction’

concept” and acknowledged the difficulty in distinguishing “between addiction and

‘pseudoaddiction.’”45 Endo thereafter agreed not to “use the term ‘pseudoaddiction’ in any

training or marketing” in New York.

       405.    Janssen sponsored, funded, and edited a website called, Let’s Talk Pain, which in

2009 stated “pseudoaddiction . . . refers to patient behaviors that may occur when pain is

undertreated . . . . Pseudoaddiction is different from true addiction because such behaviors can



45
   Attorney General of the State of New York, In the Matter of Endo Health Solutions Inc. &
Endo Pharmaceuticals Inc., Assurance No. 15-228, Assurance of Discontinuance Under
Executive Law Section 63, Subdivision 15, at 7 (Mar. 1, 2016),
https://www.seattle.gov/documents/departments/cityAttorney/opioidLitigation/NY-
EndoSettlement-March%202016.pdf.


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be resolved with effective pain management.” This website was accessible online until at least

May 2012.

         406.    Janssen also currently runs a website, www.PrescribeResponsibly.com, which

claims that concerns about opioid addiction are “overestimated,” and describes pseudoaddiction

as “a syndrome that causes patients to seek additional medications due to inadequate

pharmacotherapy being prescribed. Typically when the pain is treated appropriately the

inappropriate behavior ceases.”46

         407.    The CDC Guideline nowhere recommends attempting to provide more opioids to

patients exhibiting symptoms of addiction. Dr. Webster, KOL discussed below, admitted that

pseudoaddiction “is already something we are debunking as a concept” and became “too much of

an excuse to give patients more medication. It led us down a path that caused harm.”

                 4.     Misrepresentations About Opioid Withdrawal

         408.    In an effort to underplay the risk and impact of addiction, the Marketing

Defendants also falsely claimed that, while patients become physically dependent on opioids,

physical dependence is not the same as addiction and can be easily addressed, if and when pain

relief is no longer desired, by gradually tapering patients’ dose to avoid the adverse effects of

withdrawal. Defendants failed to disclose the extremely difficult and painful effects that patients

can experience when they are removed from opioids—adverse effects that also make it less

likely that patients will be able to stop using the drugs. Defendants also failed to disclose how

difficult it is for patients to stop using opioids after they have used them for prolonged periods.

         409.    A non-credit educational program sponsored by Endo, Persistent Pain in the

Older Adult, claimed that withdrawal symptoms, which make it difficult for patients to stop



46
     Heit & Gourlay, supra note 42.


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using opioids, could be avoided by simply tapering a patient’s opioid dose over ten days.

However, this claim is at odds with the experience of patients addicted to opioids. Most patients

who have been taking opioids regularly will, upon stopping treatment, experience withdrawal,

characterized by intense physical and psychological effects, including anxiety, nausea,

headaches, and delirium, among others. This painful and arduous struggle to terminate use can

leave many patients unwilling or unable to give up opioids and heightens the risk of addiction.

       410.    Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

Management, which taught that “[s]ymptoms of physical dependence can often be ameliorated

by gradually decreasing the dose of medication during discontinuation,” but the guide did not

disclose the significant hardships that often accompany cessation of use.

       411.    To this day, the Marketing Defendants have not corrected or retracted their

misrepresentations regarding tapering as a solution to opioid withdrawal.

               5.      Misrepresentations About Opioid Dosing

       412.    In materials they produced, sponsored, or controlled, the Marketing Defendants

instructed prescribers that they could safely increase a patient’s dose to achieve pain relief. Each

of the Marketing Defendants’ claims was deceptive in that it omitted warnings of increased

adverse effects that occur at higher doses, effects confirmed by scientific evidence.

       413.    These misrepresentations were integral to the Marketing Defendants’ promotion

of prescription opioids. As discussed above, patients develop a tolerance to opioids’ analgesic

effects, so achieving long-term pain relief requires constantly increasing the dose.

       414.    In a 1996 sales memo regarding OxyContin, for example, a regional manager for

Purdue instructed sales representatives to inform physicians that there is “no[] upward limit” for




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dosing and ask “if there are any reservations in using a dose of 240mg-320mg of OxyContin.”47

And the 2003 Conversion Guide for OxyContin contained the following diagram for increasing

dose up to 320 mg:




       415.    In addition, sales representatives aggressively pushed doctors to prescribe

stronger doses of opioids. For example, one Purdue sales representative wrote about how his

regional manager would drill the sales team on their upselling tactics:

       It went something like this. “Doctor, what is the highest dose of OxyContin you
       have ever prescribed?” “20mg Q12h.” “Doctor, if the patient tells you their pain
       score is still high you can increase the dose 100% to 40mg Q12h, will you do
       that?” “Okay.” “Doctor, what if that patient them came back and said their pain
       score was still high, did you know that you could increase the OxyContin dose to
       80mg Q12h, would you do that?” “I don’t know, maybe.” “Doctor, but you do
       agree that you would at least Rx the 40mg dose, right?” “Yes.”

       The next week the rep would see that same doctor and go through the same
       discussion with the goal of selling higher and higher doses of OxyContin.




47
   Letter from Windell Fisher, Purdue Regional Manager, to B. Gergely, Purdue Employee (Nov.
7, 1996), http://documents.latimes.com/sales-manager-on12-hour-dosing-1996 (hereinafter
“Letter from Fisher”).


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       416.       These misrepresentations were particularly dangerous. As noted above, opioid

doses at or above 50 MME/day double the risk of overdose compared to 20 MME/day, and 50

MME is equal to just 33 mg of oxycodone. The recommendation of 320 mg every 12 hours is

ten times that.

       417.       In its 2010 Risk Evaluation and Mitigation Strategy (“REMS”) for OxyContin,

however, Purdue does not address the increased risk of respiratory depression and death from

increasing the dose, and instead advises prescribers that “dose adjustments may be made every 1-

2 days”; “it is most appropriate to increase the q12h dose”; the “total daily dose can usually be

increased by 25% to 50%”; and if “significant adverse reactions occur, treat them aggressively

until they are under control, then resume upward titration.”48

       418.       Endo sponsored a website, www.PainKnowledge.com, which claimed that opioids

may be increased until “you are on the right dose of medication for your pain,” at which point

further dose increases would not be required.

       419.       Endo also published on its website a patient education pamphlet entitled,

Understanding Your Pain: Taking Oral Opioid Analgesics. In Q&A format, it asked, “If I take

the opioid now, will it work later when I really need it?” The response is, “The dose can be

increased . . . You won’t ‘run out’ of pain relief.”

       420.       Purdue and Teva sponsored APF’s Treatment Options: A Guide for People

Living with Pain (2007), which taught patients that opioids have “no ceiling dose” and therefore

are safer than non-steroidal anti-inflammatory drugs (“NSAIDs”).




48
   Purdue Pharma, L.P., OxyContin Risk Evaluation and Mitigation Strategy,
https://web.archive.org/web/20170215190303/https://www.fda.gov/downloads/Drugs/DrugSafet
y/PostmarketDrugSafetyInformationforPatientsandProviders/UCM220990.pdf (last modified
Nov. 2010).


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          421.   According to internal documents, Janssen sales representatives were trained to

explain to physicians that patients’ pain was reduced at higher doses and that they were

undertreating pain by prescribing lower doses. For example, a 2012 Nucynta ER Messaging

Evolution Full Report instructs sales representatives to overcome primary care providers’

objections to high doses.

          422.   Higher dose prescribing was particularly important to Janssen because it knew

that doctors did not believe that Nucynta ER provided adequate or equivalent pain relief. A few

of the doctors who participated in the study voiced concerns over prescribing higher doses. In

response, sales representatives were trained to address concerns by emphasizing approved dosing

ranges.

          423.   Marketing Defendants were aware of the greater dangers high-dose opioids posed.

In 2013, the FDA acknowledged “that the available data do suggest a relationship between

increasing opioid dose and risk of certain adverse events” and that studies “appear to credibly

suggest a positive association between high-dose opioid use and the risk of overdose and/or

overdose mortality.” A study of the Veterans Health Administration from 2004 to 2008 found

the rate of overdose deaths is directly related to maximum daily dose.

                 6.     Misrepresentations About Long-Term Opioid Use and Improved
                        Functioning

          424.   Despite the lack of evidence of improved function and the existence of evidence

to the contrary, the Marketing Defendants consistently promoted opioids as capable of improving

patients’ function and quality of life because they viewed these claims as a critical part of their

marketing strategies. In recalibrating the risk-benefit analysis for opioids, increasing the

perceived benefits of treatment was necessary to overcome its risks.




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       425.     Janssen, for example, promoted Duragesic as improving patients’ functioning and

work productivity through an ad campaign that included the following statements: “[w]ork,

uninterrupted,” “[l]ife, uninterrupted,” “[g]ame, uninterrupted,” “[c]hronic pain relief that

supports functionality,” and “[i]mprove[s] . . . physical and social functioning.”

       426.     Purdue noted the need to compete with this messaging, despite the lack of data

supporting improvement in quality of life with OxyContin treatment:

       Janssen has been stressing decreased side effects, especially constipation, as well
       as patient quality of life, as supported by patient rating compared to sustained
       release morphine . . . We do not have such data to support OxyContin
       promotion. . . . In addition, Janssen has been using the “life uninterrupted”
       message in promotion of Duragesic for non-cancer pain, stressing that Duragesic
       “helps patients think less about their pain.” This is a competitive advantage based
       on our inability to make any quality of life claims.49

       427.     Despite its acknowledgment that “[w]e do not have such data to support

OxyContin promotion,” Purdue ran a full-page ad for OxyContin in the Journal of the American

Medical Association, proclaiming, “There Can Be Life With Relief,” and showing a man happily

fly-fishing alongside his grandson, implying that OxyContin would help users’ function. This ad

earned a warning letter from the FDA, which admonished, “It is particularly disturbing that your

November ad would tout ‘Life With Relief’ yet fail to warn that patients can die from taking

OxyContin.”50

       428.     Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

Management, which claimed that “multiple clinical studies” have shown that opioids are

effective in improving daily function, psychological health, and health-related quality of life for

chronic pain patients. But the article cited as support for this in fact stated the contrary, noting



49
  Meier, supra note 9, at 281.
50
  Chris Adams, FDA Orders Purdue Pharma to Pull Its OxyContin Ads, Wall St. J. (Jan. 23,
2003, 12:01 AM), https://www.wsj.com/articles/SB1043259665976915824.


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the absence of long-term studies and concluding, “[f]or functional outcomes, the other analgesics

were significantly more effective than were opioids.”

       429.    A series of medical journal advertisements for OxyContin in 2012 presented

“Pain Vignettes” – case studies featuring patients with pain conditions persisting over several

months – that implied functional improvement. For example, one advertisement described a

“writer with osteoarthritis of the hands” and implied that OxyContin would help him work more

effectively.

       430.    Similarly, since at least May 2011, Endo has distributed and made available on its

website, www.Opana.com, a pamphlet promoting Opana ER with photographs depicting patients

with physically demanding jobs like those of a construction worker or chef, misleadingly

implying that the drug would provide long-term pain relief and functional improvement.

       431.    As noted above, Janssen sponsored and edited a patient education guide entitled,

Finding Relief: Pain Management for Older Adults (2009), which states as “a fact” that “opioids

may make it easier for people to live normally.” This guide features a man playing golf on the

cover and lists examples of expected functional improvement from opioids, like sleeping through

the night, returning to work, recreation, sex, walking, and climbing stairs. It assures patients

that, “[u]sed properly, opioid medications can make it possible for people with chronic pain to

‘return to normal.’” Similarly, Responsible Opioid Prescribing (2007), sponsored and

distributed by Teva, Endo, and Purdue, taught that relief of pain by opioids, by itself, improved

patients’ function. The book remains for sale online.

       432.    In addition, Janssen’s Let’s Talk Pain, website featured a video interview, which

was edited by Janssen personnel, claiming that opioids were what allowed a patient to “continue

to function,” falsely implying that her experience would be representative.




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       433.    The APF’s Treatment Options: A Guide for People Living with Pain (2007),

sponsored by Purdue and Teva, counseled patients that opioids “give [pain patients] a quality of

life we deserve.” The guide was available online until APF shut its doors in May 2012.

       434.    Endo’s NIPC website, www.PainKnowledge.com, claimed that with opioids,

“your level of function should improve; you may find you are now able to participate in activities

of daily living, such as work and hobbies, that you were not able to enjoy when your pain was

worse.” In addition to “improved function,” the website touted improved quality of life as a

benefit of opioid therapy. The grant request that Endo approved for this project specifically

indicated NIPC’s intent to make claims of functional improvement.

       435.    Endo was the sole sponsor, through NIPC, of a series of CMEs titled, Persistent

Pain in the Older Patient, which claimed that chronic opioid therapy has been “shown to reduce

pain and improve depressive symptoms and cognitive functioning.” The CME was disseminated

via webcast.

       436.    The Marketing Defendants’ claims that long-term use of opioids improves patient

function and quality of life are unsupported by clinical evidence. There are no controlled studies

of the use of opioids beyond 16 weeks, and there is no evidence that opioids improve patients’

pain and function long term. The FDA, for years, has made clear through warning letters to

manufacturers the lack of evidence for claims that the use of opioids for chronic pain improves

patients’ function and quality of life.51 Based upon a review of the existing scientific evidence,



51
  The FDA has warned other drugmakers that claims of improved function and quality of life
were misleading. See Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver.,
& Commc’ns, to Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010) (rejecting claims
that Kadian, had an “overall positive impact on a patient’s work, physical and mental
functioning, daily activities, or enjoyment of life”); Warning Letter from Thomas Abrams, Dir.,
FDA Div. of Mktg., Adver., & Commc’ns, to Brian A. Markison, Chairman, President and Chief
Executive Officer, King Pharmaceuticals, Inc. (Mar. 24, 2008) (finding the claim that “patients


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the CDC Guideline concluded that “there is no good evidence that opioids improve pain or

function with long-term use.”

          437.   Consistent with the CDC’s findings, substantial evidence exists demonstrating

that opioid drugs are ineffective for the treatment of chronic pain and worsen patients’ health.

For example, a 2006 study-of-studies found that opioids as a class did not demonstrate

improvement in functional outcomes over other non-addicting treatments. The few longer-term

studies of opioid use had “consistently poor results,” and “several studies have showed that

[using] opioids for chronic pain may actually worsen pain and functioning,” along with general

health, mental health, and social function. Over time, even high doses of potent opioids often

fail to control pain, and patients exposed to such doses are unable to function normally.

          438.   The available evidence indicates opioids may worsen patients’ health and pain.

Increased duration of opioid use is strongly associated with increased prevalence of mental

health disorders (depression, anxiety, post-traumatic stress disorder, and substance abuse),

increased psychological distress, and greater health care utilization. The CDC Guideline

concluded that “[w]hile benefits for pain relief, function and quality of life with long-term opioid

use for chronic pain are uncertain, risks associated with long-term opioid use are clearer and

significant.” According to the CDC, “for the vast majority of patients, the known, serious, and

too-often-fatal risks far outweigh the unproven and transient benefits [of opioids for chronic

pain].”




who are treated with [Avinza (morphine sulfate ER)] experience an improvement in their overall
function, social function, and ability to perform daily activities . . . has not been demonstrated by
substantial evidence or substantial clinical experience”). The FDA’s warning letters were
available to the Marketing Defendants on the FDA website.


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       439.    As one pain specialist observed, “opioids may work acceptably well for a while,

but over the long term, function generally declines, as does general health, mental health, and

social functioning. Over time, even high doses of potent opioids often fail to control pain, and

these patients are unable to function normally.”52 In fact, research such as a 2008 study in the

journal Spine has shown that pain sufferers prescribed opioids long-term suffered addiction that

made them more likely to be disabled and unable to work.53 Another study demonstrated that

injured workers who received a prescription opioid for more than seven days during the first six

weeks after the injury were 2.2 times more likely to remain on work disability a year later than

workers with similar injuries who received no opioids at all.54

               7.     Misrepresentations About Alternative Forms of Pain Relief

       440.    In materials they produced, sponsored, or controlled, the Marketing Defendants

omitted known risks of chronic opioid therapy and emphasized or exaggerated risks of

competing products so that prescribers and patients would favor opioids over other therapies

such as over-the-counter acetaminophen or over-the-counter or prescription NSAIDs.

       441.    For example, in addition to failing to disclose in promotional materials the risks of

addiction, overdose, and death, the Marketing Defendants routinely ignored the risks of

hyperalgesia, a “known serious risk associated with chronic opioid analgesic therapy in which




52
   Andrea Rubinstein, Are We Making Pain Patients Worse?, Sonoma Med. (Fall 2009),
http://www.nbcms.org/about-us/sonoma-county-medical-association/magazine/sonoma-
medicine-are-we-making-pain-patients-worse.aspx?pageid=144&tabid=747.
53
   Jeffrey Dersh, et al., Prescription Opioid Dependence is Associated With Poorer Outcomes in
Disabling Spinal Disorders, 33(20) Spine 2219 (Sept. 15, 2008).
54
   Gary M. Franklin, et al., Early Opioid Prescription and Subsequent Disability Among Workers
With Back Injuries: The Disability Risk Identification Study Cohort, 33(2) Spine 199, 201-02
(Jan. 15, 2008).


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the patient becomes more sensitive to certain painful stimuli over time”;55 hormonal

dysfunction;56 decline in immune function; mental clouding, confusion, and dizziness; increased

falls and fractures in the elderly;57 neonatal abstinence syndrome (when an infant exposed to

opioids prenatally suffers withdrawal after birth); and potentially fatal interactions with alcohol

or benzodiazepines, which are used to treat anxiety and may be co-prescribed with opioids,

particularly to veterans suffering from pain.58

       442.    The APF’s Treatment Options: A Guide for People Living with Pain, sponsored

by Purdue and Teva, warned that risks of NSAIDs increase if “taken for more than a period of

months,” with no corresponding warning about opioids. The publication falsely attributed

10,000 to 20,000 deaths annually to NSAID overdoses, when the figure is closer to 3,200.

       443.    Janssen sponsored Finding Relief: Pain Management for Older Adults (2009),

which listed dose limitations as “disadvantages” of other pain medicines but omitted any

discussion of risks of increased doses from opioids. Finding Relief described the advantages and

disadvantages of NSAIDs on one page, and the “myths/facts” of opioids on the facing page. The

disadvantages of NSAIDs are described as involving “stomach upset or bleeding,” “kidney or

liver damage if taken at high doses or for a long time,” “adverse reactions in people with

asthma,” and “can increase the risk of heart attack and stroke.” The only adverse effects of



55
   Letter from Janet Woodcock, M.D., Dir. of Ctr. for Drug Eval. & Res., to Andrew Kolodny,
M.D., Pres. of Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818
(Sept. 10, 2013).
56
   Harry W. Daniell, Hypogonadism in Men Consuming Sustained-Action Oral Opioids, 3(5) J.
Pain 377 (2001).
57
   Bernhard M. Kuschel, The Risk of Fall Injury in Relation to Commonly Prescribed
Medications Among Older People – A Swedish Case-Control Study, 25(3) Eur. J. Pub. H. 527
(July 31, 2014).
58
   Karen H. Seal, et al., Association of Mental Health Disorders With Prescription Opioids and
High-Risk Opioids in US Veterans of Iraq and Afghanistan, 307(9) J. of Am. Med. Assoc. 940
(2012).


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opioids listed are “upset stomach or sleepiness,” which the brochure claims will go away, and

constipation.

       444.     Endo’s NIPC website, Painknowledge.com, contained a flyer called “Pain:

Opioid Therapy.” This publication listed opioids’ adverse effects but with significant omissions,

including hyperalgesia, immune and hormone dysfunction, cognitive impairment, tolerance,

dependence, addiction, and death.

       445.     As another example, the Endo-sponsored CME put on by NIPC, Persistent Pain

in the Older Adult, discussed above, counseled that acetaminophen should be used only short-

term and includes five slides on the FDA’s restrictions on acetaminophen and its adverse effects,

including severe liver injury and anaphylaxis (shock). In contrast, the CME downplays the risk

of opioids, claiming opioids have “possibly less potential for abuse than in younger patients,”

and does not list overdose among the adverse effects. Some of those misrepresentations are

described above; others are laid out below.

       446.     In April 2007, Endo sponsored an article aimed at prescribers, published in Pain

Medicine News, titled, “Case Challenges in Pain Management: Opioid Therapy for Chronic

Pain.”59 The article asserted:

       Opioids represent a highly effective but controversial and often misunderstood
       class of analgesic medications for controlling both chronic and acute pain. The
       phenomenon of tolerance to opioids – the gradual waning of relief at a given dose
       – and fears of abuse, diversion, and misuse of these medications by patients have
       led many clinicians to be wary of prescribing these drugs, and/or to restrict
       dosages to levels that may be insufficient to provide meaningful relief.

       447.     To help allay these concerns, Endo emphasized the risks of NSAIDs as an

alternative to opioids. The article included a case study that focused on the danger of extended


59
  Charles E. Argoff, M.D., Case Challenges in Pain Management: Opioid Therapy for Chronic
Pain, Pain Med. News (Apr. 2007), http://www.painmedicinenews.com/download/
BtoB_Opana_WM.pdf.


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use of NSAIDs, including that the subject was hospitalized with a massive upper gastrointestinal

bleed believed to have resulted from his protracted NSAID use. In contrast, the article did not

provide the same detail concerning the serious side effects associated with opioids.

       448.    Additionally, Purdue acting with Endo sponsored Overview of Management

Options, a CME issued by the AMA in 2003, 2007, 2010, and 2013. The 2013 version remains

available for CME credit. The CME taught that NSAIDs and other drugs, but not opioids, are

unsafe at high doses.

       449.    As a result of the Marketing Defendants’ deceptive promotion of opioids over

safer and more effective drugs, opioid prescriptions increased even as the percentage of patients

visiting a doctor for pain remained constant. A study of 7.8 million doctor visits between 2000

and 2010 found that opioid prescriptions increased from 11.3% to 19.6% of visits, as NSAID and

acetaminophen prescriptions fell from 38% to 29%, driven primarily by the decline in NSAID

prescribing.

       B.      The Marketing Defendants Disseminated Their Misleading Messages About
               Opioids Through Multiple Channels

       450.    The Marketing Defendants utilized various channels to carry out their marketing

scheme of targeting the medical community and patients with deceptive information about

opioids: (1) ”Front Groups” with the appearance of independence from the Marketing

Defendants; (2) so-called KOLs, that is, doctors who were paid by the Marketing Defendants to

promote their pro-opioid message; (3) CME programs controlled and/or funded by the Marketing

Defendants; (4) branded advertising; (5) unbranded advertising; (6) publications; (7) direct,

targeted communications with prescribers by sales representatives or “detailers”; (8) speakers

bureaus and programs; (9) the Pharmacy Defendants, who both received and disseminated the




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marketing messages; and (10) the PBM Defendants who participated with the other Marketing

Defendants in disseminating the false and misleading information.

               1.      The Marketing Defendants Directed Front Groups to Deceptively
                       Promote Opioid Use

       451.    Patient advocacy groups and professional associations also became vehicles to

reach prescribers, patients, and policymakers. Marketing Defendants exerted influence and

effective control over the messaging by these groups by providing major funding directly to

them, as well as through KOLs who served on their boards. These “Front Groups” put out

patient education materials, treatment guidelines, and CMEs that supported the use of opioids for

chronic pain, overstated their benefits, and understated their risks.60 Defendants funded these

Front Groups in order to ensure supportive messages from these seemingly neutral and credible

third parties, and their funding did, in fact, ensure such supportive messages—often at the

expense of their own constituencies.

       452.    “Patient advocacy organizations and professional societies like the Front Groups

‘play a significant role in shaping health policy debates, setting national guidelines for patient

treatment, raising disease awareness, and educating the public.’”61 “Even small organizations—

with ‘their large numbers and credibility with policymakers and the public’—have ‘extensive

influence in specific disease areas.’ Larger organizations with extensive funding and outreach

capabilities ‘likely have a substantial effect on policies relevant to their industry sponsors.’”62

Indeed, the U.S. Senate’s report, Fueling an Epidemic: Exposing the Financial Ties Between



60
   Fueling an Epidemic, Report Two: Exposing the Financial Ties Between Opioid
Manufacturers and Third-Party Advocacy Groups, U.S. Senate Homeland Security &
Governmental Affairs Committee, Ranking Member’s Office at 3 (Feb. 12, 2018),
https://www.hsdl.org/?abstract&did=808171 (hereinafter, “Fueling an Epidemic”).
61
   Id. at 2.
62
   Id.


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Opioid Manufacturers and Third Party Advocacy Groups,63 which arose out of a 2017 Senate

investigation and, drawing on disclosures from Purdue, Janssen, and other opioid manufacturers,

“provides the first comprehensive snapshot of the financial connections between opioid

manufacturers and advocacy groups and professional societies operating in the area of opioids

policy,”64 found that the Marketing Defendants made millions of dollars of contributions to

various Front Groups.

        453.       The Marketing Defendants also “made substantial payments to individual group

executives, staff members, board members, and advisory board members” affiliated with the

Front Groups subject to the Senate Committee’s study.65

        454.       As the Senate Fueling an Epidemic Report found, the Front Groups “amplified or

issued messages that reinforce industry efforts to promote opioid prescription and use, including

guidelines and policies minimizing the risk of addiction and promoting opioids for chronic

pain.”66 They also “lobbied to change laws directed at curbing opioid use, strongly criticized

landmark CDC Guideline on opioid prescribing, and challenged legal efforts to hold physicians

and industry executives responsible for overprescription and misbranding.”67

        455.       The Marketing Defendants took an active role in guiding, reviewing, and

approving many of the false and misleading statements issued by the Front Groups, ensuring that

Defendants were consistently in control of their content. By funding, directing, editing,

approving, and distributing these materials, Defendants exercised control over and adopted their




63
   Id. at 3.
64
   Id. at 3.
65
   Id. at 10.
66
   Id. at 12-15.
67
   Id. at 12.


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false and deceptive messages and acted in concert with and through the Front groups, and with

each other, to deceptively promote the use of opioids for the treatment of chronic pain.

                              American Pain Foundation

       456.    The most prominent of the Front Groups was the American Pain Foundation

(“APF”). While APF held itself out as an independent patient advocacy organization, in reality it

received 90% of its funding in 2010 from the drug and medical-device industry, including from

Manufacturer Defendants Purdue, Endo, Janssen, and Teva. APF received more than $10

million in funding from opioid manufacturers from 2007 until it closed its doors in May 2012.

By 2011, APF was entirely dependent on incoming grants from Purdue, Teva, Endo, and others

to avoid using its line of credit. Endo was APF’s largest donor and provided more than half of

its $10 million in funding from 2007 to 2012.

       457.    For example, APF published a guide sponsored by Teva and Purdue titled

Treatment Options: A Guide for People Living with Pain, and distributed 17,200 copies of this

guide in one year alone, according to its 2007 annual report. This guide contains multiple

misrepresentations regarding opioid use, which are discussed below.

       458.    APF also developed the NIPC, which ran a facially unaffiliated website,

www.PainKnowledge.com. NIPC promoted itself as an education initiative led by its expert

leadership team, including purported experts in the pain management field. NIPC published

unaccredited prescriber education programs (accredited programs are reviewed by a third party

and must meet certain requirements of independence from pharmaceutical companies), including

a series of “dinner dialogues.” But it was Endo that substantially controlled NIPC, by funding

NIPC projects, developing, specifying, and reviewing its content, and distributing NIPC

materials. Endo’s control of NIPC was such that Endo listed it as one of its “professional

education initiative[s]” in a plan Endo submitted to the FDA. Yet, Endo’s involvement in NIPC


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was nowhere disclosed on the website pages describing NIPC or www.PainKnowledge.com.

Endo estimated it would reach 60,000 prescribers through NIPC.

       459.    APF was often called upon to provide “patient representatives” for the Marketing

Defendants’ promotional activities, including for Purdue’s “Partners Against Pain” (“PAP”) and

Janssen’s “Let’s Talk Pain.” Although APF presented itself as a patient advocacy organization,

it functioned largely as an advocate for the interests of the Marketing Defendants, not patients.

As Purdue told APF in 2001, the basis of a grant to the organization was Purdue’s desire to

strategically align its investments in nonprofit organizations that share [its] business interests.

       460.    In practice, APF operated in close collaboration with Defendants, submitting

grant proposals seeking to fund activities and publications suggested by Defendants and assisting

in marketing projects for Defendants.

       461.    This alignment of interests was expressed most forcefully in the fact that Purdue

hired APF to provide consulting services on its marketing initiatives. Purdue and APF entered

into a “Master Consulting Services” Agreement on September 14, 2011. That agreement gave

Purdue substantial rights to control APF’s work related to a specific promotional project.

Moreover, based on the assignment of particular Purdue “contacts” for each project and APF’s

periodic reporting on their progress, the agreement enabled Purdue to be regularly aware of the

misrepresentations APF was disseminating regarding the use of opioids to treat chronic pain in

connection with that project. The agreement gave Purdue – but not APF – the right to end the

project (and, thus, APF’s funding) for any reason. Even for projects not produced during the

terms of this Agreement, the Agreement demonstrates APF’s lack of independence and

willingness to harness itself to Purdue’s control and commercial interests, which would have

carried across all of APF’s work.




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       462.    APF’s Board of Directors was largely comprised of doctors who were on the

Marketing Defendants’ payrolls, either as consultants or speakers at medical events. The close

relationship between APF and the Marketing Defendants demonstrates APF’s clear lack of

independence, in its finances, management, and mission, and its willingness to allow Marketing

Defendants to control its activities and messages supports an inference that each Defendant that

worked with it was able to exercise editorial control over its publications – even when

Defendants’ messages contradicted APF’s internal conclusions. For example, a roundtable

convened by APF and funded by Endo also acknowledged the lack of evidence to support

chronic opioid therapy. APF’s formal summary of the meeting notes concluded that: “[An]

important barrier[] to appropriate opioid management [is] the lack of confirmatory data about the

long-term safety and efficacy of opioids in non-cancer chronic pain, amid cumulative clinical

evidence.”

       463.    In May 2012, the U.S. Senate Finance Committee began looking into APF to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. Within days of being targeted by the Senate investigation, APF’s board voted

to dissolve the organization “due to irreparable economic circumstances.” APF then “cease[d] to

exist, effective immediately.” Without support from Marketing Defendants, to whom APF could

no longer be helpful, APF was no longer financially viable.

                              American Academy of Pain Medicine and the American Pain
                              Society

       464.    The American Academy of Pain Medicine (“AAPM”) and the American Pain

Society (“APS”) are professional medical societies, each of which received substantial funding

from the Marketing Defendants from 2009 to 2013. In 1997, AAPM issued a “consensus”

statement that endorsed opioids to treat chronic pain and claimed that the risk that patients would



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become addicted to opioids was low.68 The Chair of the committee that issued the statement,

Dr. J. David Haddox, was at the time a paid speaker for Purdue. The sole consultant to the

committee was Dr. Russell Portenoy, who was also a spokesperson for Purdue. The consensus

statement, which also formed the foundation of the 1998 Guidelines, was published on the

AAPM’s website.

       465.    AAPM’s corporate council includes Purdue, Depomed, Teva, and other

pharmaceutical companies.

       466.    AAPM received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000

per year (on top of other funding) to participate. The benefits included allowing members to

present educational programs at off-site dinner symposia in connection with AAPM’s marquee

event – its annual meeting held in Palm Springs, California, or other resort locations.

       467.    AAPM describes the annual event as an “exclusive venue” for offering CMEs to

doctors. Membership in the corporate relations council also allows drug company executives

and marketing staff to meet with AAPM executive committee members in small settings.

Defendants Endo, Purdue, and Teva were members of the council and presented deceptive

programs to doctors who attended this annual event. The conferences sponsored by AAPM

heavily emphasized CME sessions on opioids – 37 out of roughly 40 at one conference alone.

       468.    AAPM’s staff understood that they and their industry funders were engaged in a

common task. Defendants were able to influence AAPM through both their significant and

regular funding and the leadership of pro-opioid KOLs within the organization.



68
   The Use of Opioids for the Treatment of Chronic Pain, APS & AAPM (1997),
http://www.stgeorgeutah.com/wp-content/uploads/2016/05/OPIOIDES.DOLORCRONICO.pdf
(as viewed Aug. 18, 2017).


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       469.    AAPM and APS issued their own guidelines in 2009 (“2009 Guidelines”).

AAPM, with the assistance, prompting, involvement, and funding of Defendants, issued the

treatment guidelines discussed herein, and continued to recommend the use of opioids to treat

chronic pain. Fourteen of the 21 panel members who drafted the 2009 Guidelines, including

KOL Dr. Fine, received support from Defendants Janssen, Teva, Endo, and Purdue. Of these

individuals, six received support from Purdue, eight from Teva, nine from Janssen, and nine

from Endo.

       470.    One panel member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan

State University and founder of the Michigan Headache & Neurological Institute, resigned from

the panel because of his concerns that the Guidelines were influenced by contributions that drug

companies, including Purdue, Endo, Janssen, and Teva, made to the sponsoring organizations

and committee members.

       471.    Dr. Gilbert Fanciullo, now retired as a professor at Dartmouth College’s Geisel

School of Medicine, who also served on the AAPM/APS Guidelines panel, has since described

them as “skewed” by drug companies and “biased in many important respects,” including the

high presumptive maximum dose, lack of suggested mandatory urine toxicology testing, and

claims of a low risk of addiction.

       472.    The 2009 Guidelines were a particularly effective channel of deception. They

influenced not only treating physicians, but also the scientific literature on opioids; they were

reprinted in the Journal of Pain, have been cited hundreds of times in academic literature, were

disseminated during the relevant period, and were and are available online. Treatment guidelines

are especially influential with primary care physicians and family doctors to whom Marketing

Defendants promoted opioids, whose lack of specialized training in pain management and




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opioids makes them more reliant on, and less able to evaluate, these guidelines. For that reason,

the CDC has recognized that treatment guidelines can “change prescribing practices.”

       473.     The Marketing Defendants widely cited and promoted the 2009 Guidelines

without disclosing the lack of evidence to support their conclusions, their involvement in the

development of the Guidelines, or their financial backing of the authors of these Guidelines. For

example, a speaker presentation prepared by Endo in 2009, titled The Role of Opana ER in the

Management of Moderate to Severe Chronic Pain, relies on the AAPM/APS Guidelines while

omitting their disclaimer regarding the lack of evidence for recommending the use of opioids for

chronic pain.

                               Federation of State Medical Boards

       474.     The Federation of State Medical Boards (“FSMB”) is a trade organization

representing the various state medical boards in the United States. The state boards that

comprise FSMB have the power to license doctors, investigate complaints, and discipline

physicians.

       475.     FSMB finances opioid- and pain-specific programs through grants from the

Marketing Defendants.

       476.     Since 1998, FSMB has been developing treatment guidelines for the use of

opioids for the treatment of pain. The 1998 version, Model Guidelines for the Use of Controlled

Substances for the Treatment of Pain (“1998 Guidelines”) was produced “in collaboration with

pharmaceutical companies.” The 1998 Guidelines that the pharmaceutical companies helped

author taught not that opioids could be appropriate in only limited cases after other treatments

had failed, but that opioids were “essential” for treatment of chronic pain, including as a first

prescription option.




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       477.    A 2004 iteration of the 1998 Guidelines and the 2007 book, Responsible Opioid

Prescribing, also made the same claims as the 1998 Guidelines. These guidelines were posted

online and were available to and intended to reach physicians nationwide.

       478.    FSMB’s 2007 publication Responsible Opioid Prescribing was backed largely by

drug manufacturers, including Purdue, Endo, and Teva. The publication also received support

from the APF and the AAPM. The publication was written by Dr. Fishman, and Dr. Fine served

on the Board of Advisors. In all, 163,131 copies of Responsible Opioid Prescribing were

distributed by state medical boards (and through the boards, to practicing doctors). The FSMB

website describes the book as “the leading continuing medical education (CME) activity for

prescribers of opioid medications.” This publication asserted that opioid therapy to relieve pain

and improve function is a legitimate medical practice for acute and chronic pain of both cancer

and non-cancer origins, that pain is under-treated, and that patients should not be denied opioid

medications except in light of clear evidence that such medications are harmful to the patient.

       479.    The Marketing Defendants relied on the 1998 Guidelines to convey the alarming

message that “under-treatment of pain” would result in official discipline, but no discipline

would result if opioids were prescribed as part of an ongoing patient relationship and prescription

decisions were documented. FSMB turned doctors’ fear of discipline on its head: doctors, who

used to believe that they would be disciplined if their patients became addicted to opioids, were

taught instead that they would be punished if they failed to prescribe opioids to their patients

with chronic pain.

                               The Alliance for Patient Access

       480.    Founded in 2006, the Alliance for Patient Access (“APA”) is a self-described

patient advocacy and health professional organization that styled itself as “a national network of

physicians dedicated to ensuring patient access to approved therapies and appropriate clinical


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care.”69 It is (or at least used to be) run by Woodberry Associates LLC, a lobbying firm that was

also established in 2006.70 As of June 2017, APA listed 30 “Associate Members and Financial

Supporters.” The list included J&J, Endo, Mallinckrodt, Purdue, and Teva.

       481.    Some of APA’s former board members also directly received substantial funding

from pharmaceutical companies.71 For instance, former board vice president Dr. Srinivas

Nalamachu, from Kansas, received more than $800,000 from 2013 through 2015 from

pharmaceutical companies – nearly all of it from manufacturers of opioids or drugs that treat

opioids’ side effects, including from Endo, Purdue, and Teva. Dr. Nalamachu’s clinic was

raided by FBI agents in connection with an investigation of Insys Therapeutics, Inc. and its

payment of kickbacks to physicians who prescribed Subsys. Other former board members

included Dr. Robert A. Yapundich from North Carolina, who received $215,000 from 2013

through 2015 from pharmaceutical companies, including payments by Teva and Mallinckrodt;

Dr. Jack D. Schim from California, who received more than $240,000 between 2013 and 2015

from pharmaceutical companies, including Endo, Mallinckrodt and Teva; Dr. Howard Hoffberg

from Maryland, who received $153,000 between 2013 and 2015 from pharmaceutical

companies, including Endo, Purdue, Mallinckrodt, and Teva; and Dr. Robin K. Dore from

California, who received $700,000 between 2013 and 2015 from pharmaceutical companies.




69
   About AfPA, The Alliance for Patient Access, http://allianceforpatientaccess.org/about-afpa
(last visited June 14, 2018). References herein to APA include two affiliated groups: the Global
Alliance for Patient Access and the Institute for Patient Access.
70
   Mary Chris Jaklevic, Non-Profit Alliance for Patient Access Uses Journalists and Politicians
to Push Big Pharma’s Agenda, Health News Rev. (Oct. 2, 2017),
https://www.healthnewsreview.org/2017/10/non-profit-alliance-patient-access-uses-journalists-
politicians-push-big-pharmas-agenda.
71
   All information concerning pharmaceutical company payments to doctors in this paragraph is
from ProPublica’s Dollars for Docs database, https://projects.propublica.org/docdollars.


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       482.    Among its activities, APA issued a “white paper” titled “Prescription Pain

Medication: Preserving Patient Access While Curbing Abuse.”72 Among other things, the white

paper criticizes prescription monitoring programs, purporting to express concern that they are

burdensome, not user friendly, and of questionable efficacy:

       Prescription monitoring programs that are difficult to use and cumbersome can
       place substantial burdens on physicians and their staff, ultimately leading many to
       stop prescribing pain medications altogether. This forces patients to seek pain
       relief medications elsewhere, which may be much less convenient and familiar
       and may even be dangerous or illegal.

                                          *      *      *

       In some states, physicians who fail to consult prescription monitoring databases
       before prescribing pain medications for their patients are subject to fines; those
       who repeatedly fail to consult the databases face loss of their professional
       licensure. Such penalties seem excessive and may inadvertently target older
       physicians in rural areas who may not be facile with computers and may not have
       the requisite office staff. Moreover, threatening and fining physicians in an
       attempt to induce compliance with prescription monitoring programs represents a
       system based on punishment as opposed to incentives. . . .

       We cannot merely assume that these programs will reduce prescription pain
       medication use and abuse.

       483.    The white paper also purports to express concern about policies that have been

enacted in response to the prevalence of pill mills:

       Although well intentioned, many of the policies designed to address this problem
       have made it difficult for legitimate pain management centers to operate. For
       instance, in some states, [pain management centers] must be owned by physicians
       or professional corporations, must have a Board certified medical director, may
       need to pay for annual inspections, and are subject to increased record keeping
       and reporting requirements. . . . [I]t is not even certain that the regulations are
       helping prevent abuses.




72
  Pain Therapy Access Physicians Working Group, Prescription Pain Medication: Preserving
Patient Access While Curbing Abuse (Dec. 2013), http://1yh21u3cjptv3xjder1dco9mx5s.
wpengine.netdna-cdn.com/wp-content/uploads/2013/12/PT_White-Paper_Finala.pdf.


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       484.    In addition, in an echo of earlier industry efforts to push back against what they

termed “opiophobia,” the white paper laments the stigma associated with prescribing and taking

pain medication:

       Both pain patients and physicians can face negative perceptions and outright
       stigma. When patients with chronic pain can’t get their prescriptions for pain
       medication filled at a pharmacy, they may feel like they are doing something
       wrong – or even criminal. . . . Physicians can face similar stigma from peers.
       Physicians in non-pain specialty areas often look down on those who specialize in
       pain management – a situation fueled by the numerous regulations and fines that
       surround prescription pain medications.

       485.    In conclusion, the white paper states that “[p]rescription pain medications, and

specifically the opioids, can provide substantial relief for people who are recovering from

surgery, afflicted by chronic painful diseases, or experiencing pain associated with other

conditions that does not adequately respond to over-the-counter drugs.”

       486.    APA also issued “Patient Access Champion” financial awards to members of

Congress, including 50 such awards in 2015. The awards were funded by a $7.8 million

donation from unnamed donors. While the awards are ostensibly given for protecting patients’

access to Medicare, and are thus touted by their recipients as demonstrating a commitment to

protecting the rights of senior citizens and the middle class, they appear to be given to provide

cover to and reward members of Congress who have supported APA’s agenda.

       487.    APA also lobbies Congress directly. In 2015, APA signed onto a letter

supporting legislation proposed to limit the ability of the DEA to police pill mills by enforcing

the “suspicious orders” provision of the Controlled Substances Act, 21 U.S.C. § 801, et seq. The

AAPM is also a signatory to this letter. An internal DOJ memo stated that the proposed bill




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“could actually result in increased diversion, abuse, and public health and safety consequences”73

and, according to DEA chief administrative law judge John J. Mulrooney (“Mulrooney”), the law

would make it “all but logically impossible” to prosecute manufacturers and distributors, like the

Defendants here, in the federal courts.74 The bill passed both houses of Congress and was signed

into law in 2016.

                              The U.S. Pain Foundation

       488.    The U.S. Pain Foundation (“USPF”) was another Front Group with systematic

connections and interpersonal relationships with the Marketing Defendants. The USPF was one

of the largest recipients of contributions from the Marketing Defendants, collecting nearly $3

million in payments between 2012 and 2015 alone. The USPF was also a critical component of

the Marketing Defendants’ lobbying efforts to reduce the limits on over-prescription. The USPF

advertised its ties to the Marketing Defendants, listing opioid manufacturers like Pfizer, Teva,

Depomed, Endo, Purdue, McNeil (i.e., Janssen), and Mallinckrodt as “Platinum,” “Gold,” and

“Basic” corporate members. Industry Front Groups like the American Academy of Pain

Management, the AAPM, the APS, and Pharmaceutical Research and Manufacturers of America

(“PhRMA”) were also members at varying levels in the USPF.

                              American Geriatrics Society

       489.    The American Geriatrics Society (“AGS”) was another Front Group with

systematic connections and interpersonal relationships with the Marketing Defendants. AGS

was a large recipient of contributions from the Marketing Defendants, including Endo, Purdue,


73
   Bill Whitaker, Ex-DEA Agent: Opioid Crisis Fueled by Drug Industry and Congress, CBS
News (Oct. 17, 2017), https://www.cbsnews.com/news/ ex-dea-agent-opioid-crisis-fueled-by-
drug-industry-and-congress.
74
   John J. Mulrooney, II & Katherine E. Legel, Current Navigation Points in Drug Diversion
Law: Hidden Rocks in Shallow, Murky, Drug-Infested Waters, 101 Marquette L. Rev. 333, 346
(2017).


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and Janssen. AGS contracted with Purdue, Endo, and Janssen to disseminate guidelines

regarding the use of opioids for chronic pain in 2002 (The Management of Persistent Pain in

Older Persons (“2002 AGS Guidelines”) and 2009 (Pharmacological Management of Persistent

Pain in Older Persons (“2009 AGS Guidelines”)). According to news reports, AGS received at

least $344,000 in funding from opioid manufacturers since 2009. AGS’s complicity in the

common purpose with the Marketing Defendants is evidenced by the fact that AGS internal

discussions in August 2009 reveal that it did not want to receive-up front funding from drug

companies, which would suggest drug company influence, but would instead accept commercial

support to disseminate pro-opioid publications.

       490.    The 2009 AGS Guidelines recommended that “[a]ll patients with moderate to

severe pain . . . should be considered for opioid therapy.” The panel made “strong

recommendations” in this regard despite “low quality of evidence” and concluded that the risk of

addiction is manageable for patients, even with a prior history of drug abuse. These Guidelines

further recommended that “the risks [of addiction] are exceedingly low in older patients with no

current or past history of substance abuse.” These recommendations are not supported by any

study or other reliable scientific evidence. Nevertheless, they have been cited over 1,833 times

in Google Scholar (which allows users to search scholarly publications that would have been

relied on by researchers and prescribers) since their 2009 publication and as recently as this year.

       491.    Representatives of the Marketing Defendants, often at informal meetings at

conferences, suggested activities, lobbying efforts, and publications for AGS to pursue. AGS

then submitted grant proposals seeking to fund these activities and publications, knowing that

drug companies would support projects conceived as a result of these communications.




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       492.    Members of AGS Board of Directors were doctors who were on the Marketing

Defendants’ payrolls, either as consultants or speakers at medical events. As described below,

many of the KOLs also served in leadership positions within the AGS.

               2.     The Marketing Defendants Paid Key Opinion Leaders to Deceptively
                      Promote Opioid Use

       493.    To falsely promote their opioids, the Marketing Defendants paid and cultivated a

select circle of doctors who were chosen and sponsored by the Marketing Defendants for their

supportive messages. As set forth below, pro-opioid doctors have been at the hub of the

Marketing Defendants’ well-funded, pervasive marketing scheme since its inception and were

used to create the grave misperception that science and legitimate medical professionals favored

the wider and broader use of opioids.

       494.    Although these KOLs were funded by the Marketing Defendants, the KOLs were

used extensively to present the appearance that unbiased and reliable medical research

supporting the broad use of opioid therapy for chronic pain had been conducted and was being

reported on by independent medical professionals.

       495.    As the Marketing Defendants’ false marketing scheme picked up steam, these

pro-opioid KOLs wrote, consulted on, edited, and lent their names to books and articles, and

gave speeches and CMEs supportive of opioid therapy for chronic pain. They served on

committees that developed treatment guidelines that strongly encouraged the use of opioids to

treat chronic pain and they were placed on boards of pro-opioid advocacy groups and

professional societies that develop, select, and present CMEs.

       496.    Through use of their KOLs and strategic placement of these KOLs throughout

every critical distribution channel of information within the medical community, the Marketing




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Defendants were able to exert control of each of these modalities through which doctors receive

their information.

       497.    In return for their pro-opioid advocacy, the Marketing Defendants’ KOLs

received money, prestige, recognition, research funding, and avenues to publish. For example,

Dr. Webster received funding from Endo, Purdue, and Teva. Dr. Fine received funding from

Janssen, Teva, Endo, and Purdue.

       498.    The Marketing Defendants carefully vetted their KOLs to ensure that they were

likely to remain on-message and supportive of the Marketing Defendants’ agenda. The

Marketing Defendants also kept close tabs on the content of the materials published by these

KOLs. And, of course, the Marketing Defendants kept these KOLs well-funded to enable them

to push the Marketing Defendants’ deceptive message out to the medical community.

       499.    Once the Marketing Defendants identified and funded KOLs and those KOLs

began to publish “scientific” papers supporting the Marketing Defendants’ false position that

opioids were safe and effective for treatment of chronic pain, the Marketing Defendants poured

significant funds and resources into a marketing machine that widely cited and promoted their

KOLs and studies or articles by their KOLs to drive prescription of opioids for chronic pain. The

Marketing Defendants cited to, distributed, and marketed these studies and articles by their

KOLs as if they were independent medical literature so that it would be well-received by the

medical community. By contrast, the Marketing Defendants did not support, acknowledge, or

disseminate the truly independent publications of doctors critical of the use of chronic opioid

therapy.

       500.    In their promotion of the use of opioids to treat chronic pain, the Marketing

Defendants’ KOLs knew that their statements were false and misleading, or they recklessly




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disregarded the truth in doing so, but they continued to publish their misstatements to benefit

themselves and the Marketing Defendants.

               3.     The Marketing Defendants Disseminated Their Misrepresentations
                      Through Continuing Medical Education Programs

       501.    Now that the Marketing Defendants had both a group of physician promoters and

had built a false body of “literature,” Defendants needed to make sure their false marketing

message was widely distributed.

       502.    One way the Marketing Defendants aggressively distributed their false message

was through thousands of continuing medical education (CME) courses.

       503.    A CME is a professional education program provided to doctors. Doctors are

required to attend a certain number and, often, type of CME programs each year as a condition of

their licensure. These programs are delivered in person, often in connection with professional

organizations’ conferences, and online, or through written publications. Doctors rely on CMEs

not only to satisfy licensing requirements, but also to get information on new developments in

medicine or to deepen their knowledge in specific areas of practice. Because CMEs typically are

taught by KOLs who are highly respected in their fields, and are thought to reflect these

physicians’ medical expertise, they can be especially influential with doctors.

       504.    The countless doctors and other health care professionals who participate in

accredited CMEs constitute an enormously important audience for opioid reeducation. As one

target, Defendants aimed to reach general practitioners, whose broad area of practice and lack of

expertise and specialized training in pain management made them particularly dependent upon

CMEs and, as a result, especially susceptible to the Marketing Defendants’ deceptions.

       505.    The Marketing Defendants sponsored CMEs that were delivered thousands of

times, promoting chronic opioid therapy and supporting and disseminating the deceptive and



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biased messages described in this Complaint. These CMEs, while often generically titled to

relate to the treatment of chronic pain, focus on opioids to the exclusion of alternative treatments,

inflate the benefits of opioids, and frequently omit or downplay their risks and adverse effects.

       506.    Teva sponsored numerous CME programs, which were made widely available

through organizations like Medscape, and which disseminated false and misleading information

to physicians across the country.

       507.    Another Teva-sponsored CME presentation titled Breakthrough Pain: Treatment

Rationale with Opioids was available on Medscape starting September 16, 2003 and was given

by a self-professed pain management doctor who treated “previously operated back, complex

pain syndromes, the neuropathies, and interstitial cystitis.” He describes the pain process as a

non-time-dependent continuum that requires a balanced analgesia approach using “targeted

pharmacotherapeutics to affect multiple points in the pain-signaling pathway.”75 The doctor lists

fentanyl as one of the most effective opioids available for treating BTP, describing its use as an

expected and normal part of the pain management process. Nowhere in the CME is cancer or

cancer-related pain even mentioned, despite FDA restrictions that fentanyl use be limited to

cancer-related pain.

       508.    Teva paid to have a CME it sponsored, Opioid-Based Management of Persistent

and Breakthrough Pain, published in a supplement of Pain Medicine News in 2009. The CME

instructed doctors that “clinically, broad classification of pain syndromes as either cancer- or

noncancer-related has limited utility” and recommended Actiq and Fentora for patients with

chronic pain. The CME is still available online.




75
  Daniel S. Bennett, Breakthrough Pain: Treatment Rationale with Opioids, Medscape
(Sept. 16, 2003), http://www.medscape.org/viewarticle/461612.


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       509.    Responsible Opioid Prescribing was sponsored by Purdue, Endo, and Teva. The

FSMB website described it as the “leading continuing medical education (CME) activity for

prescribers of opioid medications.” Endo sales representatives distributed copies of Responsible

Opioid Prescribing with a special introductory letter from Dr. Fishman.

       510.    In all, more than 163,000 copies of Responsible Opioid Prescribing were

distributed nationally.

       511.    The American Medical Association (“AMA”) recognized the impropriety that

pharmaceutical company-funded CMEs create, stating that support from drug companies with a

financial interest in the content being promoted “creates conditions in which external interests

could influence the availability and/or content” of the programs and urges that “[w]hen possible,

CME[s] should be provided without such support or the participation of individuals who have

financial interests in the education subject matter.”76

       512.    Physicians attended or reviewed CMEs sponsored by the Marketing Defendants

during the relevant time period and were misled by them.

       513.    By sponsoring CME programs put on by Front Groups like APF, AAPM, and

others, the Marketing Defendants could expect instructors to deliver messages favorable to them,

as these organizations were dependent on the Marketing Defendants for other projects. The

sponsoring organizations honored this principle by hiring pro-opioid KOLs to give talks that

supported chronic opioid therapy. Marketing Defendant-driven content in these CMEs had a

direct and immediate effect on prescribers’ views on opioids. Producers of CMEs and the

Marketing Defendants both measured the effects of CMEs on prescribers’ views on opioids and




Opinion 9.0115, Financial Relationships with Industry in Continuing Medical Education, Am.
Med. Ass’n (Nov. 2011), at 1.


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their absorption of specific messages, confirming the strategic marketing purpose in supporting

them.

               4.      The Marketing Defendants Used “Branded” Advertising to Promote
                       Their Products to Doctors and Consumers

        514.   The Marketing Defendants engaged in widespread advertising campaigns touting

the benefits of their branded drugs. The Marketing Defendants published print advertisements in

a broad array of medical journals, ranging from those aimed at specialists, such as the Journal of

Pain and Clinical Journal of Pain, to journals with wider medical audiences, such as the Journal

of the American Medical Association. The Marketing Defendants collectively spent more than

$14 million on the medical journal advertising of opioids in 2011, nearly triple what they spent

in 2001. The 2011 total includes $8.3 million by Purdue, $4.9 million by Janssen, and $1.1

million by Endo.

        515.   The Marketing Defendants also targeted consumers in their advertising. They

knew that physicians are more likely to prescribe a drug if a patient specifically requests it.77

They also knew that this willingness to acquiesce to such patient requests holds true even for

opioids and for conditions for which they are not approved.78 Endo’s research, for example, also

found that such communications resulted in greater patient “brand loyalty,” with longer durations

of Opana ER therapy and fewer discontinuations. The Marketing Defendants thus increasingly

took their opioid sales campaigns directly to consumers, including through patient-focused

“education and support” materials in the form of pamphlets, videos, or other publications that

patients could view in their physician’s office.


77
   In one study, for example, nearly 20% of sciatica patients requesting oxycodone received a
prescription for it, compared with 1% of those making no specific request. John B. McKinlay,
Ph.D., et al., Effects of Patient Medication Requests on Physician Prescribing Behavior, 52(4)
Med. Care 294 (Apr. 2014).
78
   Id.


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               5.      The Marketing Defendants Used “Unbranded” Advertising to
                       Promote Opioid Use for Chronic Pain Without FDA Review

       516.    The Marketing Defendants also aggressively promoted opioids through

“unbranded advertising” to generally tout the benefits of opioids without specifically naming a

particular brand-name opioid drug. Instead, unbranded advertising is usually framed as “disease

awareness” – encouraging consumers to “talk to your doctor” about a certain health condition

without promoting a specific product and, therefore, without providing balanced disclosures

about the product’s limits and risks. In contrast, a pharmaceutical company’s “branded”

advertisement that identifies a specific medication and its indication (i.e., the condition which the

drug is approved to treat) must also include possible side effects and contraindications – what the

FDA Guidance on pharmaceutical advertising refers to as “fair balance.” Branded advertising is

also subject to FDA review for consistency with the drug’s FDA-approved label. Through

unbranded materials, the Marketing Defendants expanded the overall acceptance of and demand

for chronic opioid therapy without the restrictions imposed by regulations on branded

advertising.

       517.    Many of the Marketing Defendants utilized unbranded websites to promote opioid

use without promoting a specific branded drug, such as Purdue’s pain-management website,

www.InTheFaceOfPain.com. The website contained testimonials from several dozen

“advocates,” including health care providers, urging more pain treatment. The website presented

the advocates as neutral and unbiased, but an investigation by the New York Attorney General

later revealed that Purdue paid the advocates hundreds of thousands of dollars.

               6.      The Marketing Defendants Funded, Edited, and Distributed
                       Publications that Supported Their Misrepresentations

       518.    The Marketing Defendants created a body of false, misleading, and unsupported

medical and popular literature about opioids that: (a) understated the risks and overstated the


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benefits of long-term use; (b) appeared to be the result of independent, objective research; and

(c) was likely to shape the perceptions of prescribers, patients, and payors. This literature served

marketing goals, rather than scientific standards, and was intended to persuade doctors and

consumers that the benefits of long-term opioid use outweighed the risks.

       519.    To accomplish their goal, the Marketing Defendants – sometimes through third-

party consultants and/or Front Groups – commissioned, edited, and arranged for the placement of

favorable articles in academic journals.

       520.    The Marketing Defendants’ plans for these materials did not originate in the

departments with the organizations that were responsible for research, development, or any other

area that would have specialized knowledge about the drugs and their effects on patients; rather,

they originated in the Marketing Defendants’ marketing departments.

       521.    The Marketing Defendants made sure that favorable articles were disseminated

and cited widely in the medical literature, even when the Marketing Defendants knew that the

articles distorted the significance or meaning of the underlying study, as with the Porter and Jick

letter. The Marketing Defendants also frequently relied on unpublished data or posters, neither

of which are subject to peer review, but were presented as valid scientific evidence.

       522.    The Marketing Defendants published or commissioned deceptive review articles,

letters to the editor, commentaries, case-study reports, and newsletters aimed at discrediting or

suppressing negative information that contradicted their claims or raised concerns about chronic

opioid therapy.

       523.    For example, in 2007 Teva sponsored the publication of an article titled “Impact

of Breakthrough Pain on Quality of Life in Patients with Chronic, Noncancer Pain: Patient




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Perceptions and Effect of Treatment with Oral Transmucosal Fentanyl Citrate,”79 published in

the nationally circulated journal Pain Medicine, to support its effort to expand the use of its

branded fentanyl products. The article’s authors (including Dr. Webster, discussed above) stated

that the “OTFC [fentanyl] has been shown to relieve BTP more rapidly than conventional oral,

normal-release, or ‘short acting’ opioids” and that “[t]he purpose of [the] study was to provide a

qualitative evaluation of the effect of BTP on the [quality of life] of noncancer pain patients.”

The number-one-diagnosed cause of chronic pain in the patients studied was back pain (44%),

followed by musculoskeletal pain (12%) and head pain (7%). The article cites Dr. Portenoy and

recommends fentanyl for non-cancer BTP patients:

       In summary, BTP appears to be a clinically important condition in patients with
       chronic noncancer pain and is associated with an adverse impact on QoL. This
       qualitative study on the negative impact of BTP and the potential benefits of BTP-
       specific therapy suggests several domains that may be helpful in developing BTP-
       specific, QoL assessment tools.80

               7.      The Marketing Defendants Used Detailing to Directly Disseminate
                       Their Misrepresentations to Prescribers

       524.    The Marketing Defendants’ sales representatives executed carefully crafted

marketing tactics, developed at the highest rungs of their corporate ladders, to reach targeted

doctors with centrally orchestrated messages. The Marketing Defendants’ sales representatives

also distributed third-party marketing material to their target audience that was deceptive.

       525.    Each Marketing Defendant promoted opioids through sales representatives (also

called “detailers”) and, upon information and belief, small group speaker programs to reach out

to individual prescribers. By establishing close relationships with doctors, the Marketing



79
   Donald R. Taylor, et al., Impact of Breakthrough Pain on Quality of Life in Patients With
Chronic, Noncancer Pain: Patient Perceptions and Effect of Treatment With Oral Transmucosal
Fentanyl Citrate (OTFC, ACTIQ), 8(3) Pain Med. 281-88 (Mar. 2007).
80
   Id. at 287.


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Defendants were able to disseminate their misrepresentations in targeted, one-on-one settings

that allowed them to promote their opioids and to allay individual prescribers’ concerns about

prescribing opioids for chronic pain.

       526.    In accordance with common industry practice, the Marketing Defendants

purchase and closely analyze prescription sales data from IMS Health (now IQVIA), a healthcare

data collection, management, and analytics corporation. This data allows them to track precisely

the rates of initial and renewal prescribing by individual doctors, which allows them to target and

tailor their appeals. Sales representatives visited hundreds of thousands of doctors and

disseminated the misinformation and materials described above.

       527.    Marketing Defendants devoted and continue to devote massive resources to direct

sales contacts with doctors. In 2014 alone, Marketing Defendants spent $166 million on

detailing branded opioids to doctors. This amount is twice as much as Marketing Defendants

spent on detailing in 2000. The amount includes $108 million spent by Purdue, $34 million by

Janssen, $13 million by Teva, and $10 million by Endo.

       528.    Teva’s quarterly spending steadily climbed from below $1 million in 2000 to

more than $3 million in 2014 (and more than $13 million for the year), with a peak, coinciding

with the launch of Fentora, of more than $27 million in 2007, as shown below:




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       529.   Endo’s quarterly spending went from the $2 million to $4 million range in 2000-

2004 to more than $10 million following the launch of Opana ER in mid-2006 (and more than

$38 million for the year in 2007) and more than $8 million coinciding with the launch of a

reformulated version in 2012 (and nearly $34 million for the year), as shown below:




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       530.   Janssen’s quarterly spending dramatically rose from less than $5 million in 2000

to more than $30 million in 2011, coinciding with the launch of Nucynta ER (with yearly

spending at $142 million for 2011), as shown below:




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       531.    Purdue’s quarterly spending notably decreased from 2000 to 2007, as Purdue

came under investigation by the DOJ, but then spiked to above $25 million in 2011 (for a total of

$110 million that year), and continues to rise, as shown below:




       532.    Purdue also aggressively disseminated its messages to pharmacists—where they

were told about high-volume prescribers that they should target. For example, a Purdue sales

representative reported a Walmart pharmacist stating that “Dr. Kennedy is writing oxy with both

hands. She rolled her eyes and told me it is doing very very well,” and a Walmart pharmacist

reportedly told Purdue “to talk with Dr. Secor. Big narcotic writer in town.”

       533.    For its opioid, Actiq, Teva also engaged in direct marketing in direct

contravention of the FDA’s strict instructions that Actiq be prescribed only to terminal cancer

patients and by oncologists and pain management doctors experienced in treating cancer pain.




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       534.    Thousands of prescribers attended Teva speaking programs. Teva tracked the

impact that these programs had on prescribing in the three months following the event and

concluded that doctors’ prescribing of Fentora often increased.

               8.      Marketing Defendants Used Speakers’ Bureaus and Programs to
                       Spread Their Deceptive Messages

       535.    In addition to making sales calls, Marketing Defendants’ detailers also identified

doctors to serve, for payment, on their speakers’ bureaus and to attend programs with speakers

and meals paid for by the Marketing Defendants. These speaker programs and associated

speaker trainings serve three purposes: they provide an incentive to doctors to prescribe, or

increase their prescriptions of, a particular drug; to qualify to be selected a forum in which to

further market to the speaker himself or herself; and an opportunity to market to the speaker’s

peers. The Marketing Defendants grade their speakers, and future opportunities are based on

speaking performance, post-program sales, and product usage. Purdue, Allergan, Janssen, Endo,

Teva, and Mallinckrodt each made thousands of payments to physicians nationwide, for

activities including participating on speakers’ bureaus, providing consulting services, assisting in

post-marketing safety surveillance, and other services.

               9.      The Manufacturer Defendants Disseminated Their
                       Misrepresentations Through the Pharmacy Defendants

       536.    Pharmacy Defendants also worked in concert with opioid manufacturers to ensure

that the false messaging surrounding the treatment of pain and the addictive nature of opioids

was consistent and geared to increase profits for all stakeholders.

       537.    As the opioid crisis developed, the Pharmacy Defendants either knew or were

willfully blind to the fact that the information being spread by the Marketing Defendants,

including by them, was false. The Pharmacy Defendants knew this primarily because of the

wealth of data they themselves collected, which allowed them to see patterns of prescribing,


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overuse, and diversion. The information they had was in addition to the more generally available

information that Purdue had pleaded guilty to criminal misbranding of OxyContin in 2007 and

had admitted that many of its marketing messages were false.

                              CVS

       538.    For example, as early as 2001, CVS worked closely with Purdue and its un-

branded marketing arm, Partner’s Against Pain to “fight back” against allegations (later proved

to be true) that Purdue’s OxyContin was being abused at alarming rates. It was Purdue’s PAP

website that Purdue, and its “Partners,” including CVS, utilized to make the claims that the risk

of addiction associated with OxyContin was very small.




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       539.    Purdue worked together with CVS to ensure that CVS’s own pharmacists were

trained by Purdue on many of the misleading marketing messages that would later form the basis

for a 2007 criminal guilty plea and $600 million fine between Purdue and the DOJ for

misleading regulators, doctors, and patients about OxyContin’s risk of addiction and its potential

for abuse. CVS’s ties to PAP were so deep that CVS even went so far as to put CVS’s logo

communications from its “partner”:




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       540.    CVS was so eager to ally itself with Purdue and its profits that it solicited Purdue

for participation in co-hosting continuing education programs for healthcare providers and

pharmacists regarding training on diversion of prescription opioids.




       541.    One would have to seriously question the accuracy of any training CVS

pharmacists received from Purdue and Partners Against Pain on abuse and diversion, yet there

has been no evidence that CVS undertook any measures to re-educate its pharmacists on how or

why Purdue and PAP training might be lacking in the area of diversion and abuse of opioids.

       542.    CVS’s role was not limited to expanding the market for prescription opioids. CVS

worked hard to ensure that demand for prescription opioids was not only sustained, but

multiplied.



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       543.      It did so through its marketing, advertising, and promotion efforts both on its own

and in concert with other stakeholders.

       544.      Contrary to what CVS has stated under oath in written discovery before this

Court, CVS helped to grow the demand for prescription opioids by participating in the

marketing, advertising, and promotion of opioid products with and on behalf of opioid

manufacturers.

       545.      CVS’s marketing and promotion of opioids was not limited to its involvement

with Purdue and Partners Against Pain. CVS did not draw lines when it came to promoting

opioids, and there were no brand boundaries.

       546.      One example can be found in CVS’s work with Endo to increase patient

adherence to continuing their use of opioids. In fact, CVS’s role in the promotion of Endo’s

Opana ER was so important that it was described as having a crucial role in carrying out one of

key sales tactics in Endo’s 2012 Business Plan.

       547.      Through a company called Catalina Health (“Catalina”), Endo Pharmaceutical

helped Endo to target OxyContin patients in areas where Opana ER, a highly abused opioid

manufactured by Endo, had preferred formulary status. Catalina in turn worked to create a brand

loyalty program that kept new patients on their opioids. CVS, through its pharmacy retention

programs, sent letters to the patients’ homes to encourage them to stay on Opana – even though

prolonged use of opioids increases the risk of addiction, and even though patients in pain

presumably need no reminder to continue to take their pain medications. CVS formalized its

agreement to promote, market, and advertise Endo’s opioid products via its “CVS Carecheck

Plus Patient Education Service.”




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       548.    Under this Agreement, CVS not only contractually agreed to promote Opana ER

to its customers (patients) at the point of sale, but it even insisted upon reviewing and approving

the specific messaging used.

       549.    Similarly, CVS contracted with Endo to prepare and disseminate materials

promoting Opana ER nationwide.

       550.    CVS likewise helped Allergan promote its opioids by participating with

Cardinal’s Marketing and Business Development team in programs designed to offer rebates and

off-invoice discounts on products, with the aim being to “move [] product.”




       551.    Marketing, advertising, and promoting opioids was not a new practice for CVS. In

fact, CVS had been advertising these activities to manufacturers for years. For example, CVS

made at least one pitch to Insys, a company whose senior executives were recently criminally

convicted for their unlawful marketing of opioids, to help sell its incredibly potent opioid,

Subsys, a liquid form of fentanyl.




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       552.   CVS touted the reach of its communications and explained the science behind its

sophisticated marketing, advertising, and promotional services.




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       553.   Hardly novices, CVS recognized its expertise in ensuring that opioid

manufacturers like Insys were able to reach their intended market by using CVS’s promotional

programs which are designed to “deliver results.”




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       554.    Through CVS’s NEWScript program, CVS claimed to be perfectly poised to

assist with new product launches and a truly impressive reach.




                              Walgreens

       555.    Working with Purdue as early as 2001, Walgreens played a pivotal role in

expanding the market and ensuring the demand and supply for prescription opioids would grow

to tragic proportions. Purdue was particularly interested in using what Walgreens described to

Purdue as its Regional Level Market Programs to educate pharmacists and patients on the

benefits of Purdue’s OxyContin.




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       556.    In fact, Purdue leveraged its relationship with Walgreens and their mutually

beneficial goal of growing the opioid business to ensure that Purdue had input into Walgreens

“corporate guidelines” to which Walgreens pharmacists were “expected to follow” when it

came to the dispensing of prescription opioids.

       557.    Walgreens also used its corporate oversight abilities to identify stores it believed

were not filling enough oxycodone to make sure they weren’t “turning away good customers”

and encouraging stores to utilize continuing education created by opioid manufacturers to inform

their decisions regarding dispensing.

       558.    Starting in at least 1999, Purdue sponsored Walgreens’s Pharmacy’s continuing

education programs designed to encourage stores to “get on the Pro Pain Management Band




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Wagon.” Purdue was thrilled with the response and assistance it received from Walgreens when

Purdue presented on “Pain Management for the Pharmacist.” At the beginning of each Purdue

sponsored meeting, a Walgreens pharmacist made a presentation on his store and the program

implemented. His store actively advertised to area doctors and patients that they were a “full-

service” pain management pharmacy. This service included providing a list to physicians’ offices

of all Schedule II opioids they had in stock (and they had everything), accepting “verbal orders”

for Schedule II opioids prior to presentation of the original prescription at the store to decrease

“waiting time,” allowing partial fills on Schedule II opioids for terminal patients, and accepting

after hours “emergency CII prescriptions” without a hassle. Purdue praised the pharmacist’s

actions as “fantastic.”

          559.   Walgreens’s use of pro-opioid continuing education continued as the opioid crisis

grew. For example, Walgreens’s Market Director of Pharmacy Operations recommended that

Walgreens District Managers and Pharmacy Supervisors attend a continuing education program

titled “The Pharmacists’ Role in Pain Management: A Legal Perspective,” which was available

on-line.. This program was one in a long line of pharmacist continuing “education” programs, or

CEs, that opioid manufacturer Purdue developed as part of its strategy to disseminate “a new

school of thought” about opioids. Through these programs, Purdue and the Pharmacy Defendants

disseminated fraudulent information in an effort to correct pharmacists’ “misunderstanding”

about pain patients and the practice of pain management. Purdue took what it called an

“aggressive role” in the education of Walgreens’s and other pharmacists on pain management

issues.

          560.   Walgreens’s Market Director of Pharmacy Operations also recommended a

second continuing education program titled “Navigating the Management of Chronic Pain: A




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Pharmacist’s Guide.” The second CE incorporated into Walgreens’s dispensing training

program, “Navigating the Management of Chronic Pain: A Pharmacist’s Guide,” was sponsored

by opioid manufacturer Endo Pharmaceuticals and disseminated manufacturer messaging

designed to broaden the market for opioids. For example, it stated “according to most reports,

approximately 30% of the population lives with chronic pain” and citing, inter alia, another CE

presentation sponsored by the American Pain Society (another known front-group). It also

claimed that “most opioid adverse effects can be managed with careful planning and patient

education.” It went on to discuss “fears and prejudices” related to addictive behaviors that

“unnecessarily limit” opioid use, described as “opiophobia,” which the piece claimed was the

result of “misunderstandings regarding the concepts of addiction, physical dependence, and

tolerance.”

       561.    One of the presenters for this Endo sponsored CE was Kenneth C. Jackson.

Jackson was a frequent speaker and Key Opinion Leader (“KOL”) for Purdue, and he also co-

authored the CE program titled “Use of Opioids in Chronic Noncancer Pain,” which was

sponsored by Purdue. Released in April 2000, it was designed to eliminate “misconceptions

about addiction, tolerance and dependence” and contained many of the same messages as the

pharmacist guide he authored.

       562.    Walgreens also presented the video “The Pharmacist’s Role in Pain Management

- A Legal Perspective” at mandatory meetings for pharmacy managers. This continuing

education program was also sponsored by Purdue, was similar to the earlier presentations, and

was further disseminated to Walgreens pharmacists in June 2011. Released in 2009, the program

was presented by Jennifer Bolen, JD. Bolen was a frequent speaker for Purdue and other opioid

manufacturers, served as Special Counsel for the American Academy of Pain Medicine (a known




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Front Group for opioid manufactures), acted as a KOL for Purdue, and was described by Purdue

as “a pain patient who takes opioids.”

        563.   Armed with information gleaned from a Purdue-sponsored CE, the Walgreens

pharmacists who had temporarily stopped filling controlled substance prescriptions began to

accept them again. It is no surprise that in 2013 Walgreens acknowledged that several of the

stores that touted this CE as part of their controlled substance action plan dispensed “certain

controlled substances in a manner not fully consistent with its compliance obligations under the

CSA.”

                              Walmart

        564.   Purdue described Walmart as its “trade partner” in “Winning the War” for

continued “Oxy/Contin” distribution.

        565.   Walmart requested, and Purdue provided, pharmacist CE programming, including

presentations titled: “Use of Opioids in Chronic and Cancer and Non-Cancer Pain Management:

The Myths and Realities”; “New Trends in the Use of Opioids in Pain Management”; and

“Lawful Prescribing and the Prevention of Diversion.”

        566.   As another example, on July 9, 1996, Purdue held a “Wal-Mart Pain Management

Symposium.” Broadcast live via satellite to 2,500 stores nationwide with videotape copies sent to

each Wal-Mart store, the speakers included Henry Freedy, Pharm. S., and Neil Irick, MD.

        567.   These presentations were accompanied by thousands of dollars in “unrestricted

grants” from Purdue to Walmart.

               10.     The Marketing Defendants Disseminated Their Fraudulent Messages
                       Through Pharmacy Benefit Managers

        568.   Pharmacy Benefit Managers are companies that contract with TPPs and others to

manage the pharmacy benefit portion of plans offered by the TPP. One of the services the PBMs




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provide is to create standard, national formularies and utilization management (“UM”) programs.

The PBMs offer these standard formularies and UM programs to TPPs. In crafting these

standard formularies and UM programs, PBMs review and make determinations regarding which

medications are effective or appropriate. PBMs also review and pay claims for the drugs

dispensed to what they refer to as their “covered lives”—i.e. the plan participants and

beneficiaries whose lives and health are insured through the TPPs and other entities who contract

with the PBMs. As a result, PBMs exert significant influence over prescriptions dispensed in the

United States, including influencing the quantity, dosage strength, duration, and refill availability

for each prescription.

       569.    Although PBMs contract with TPPs to provide pharmacy benefit management

services, they also contract with drug manufacturers and with pharmacies, including opioid

manufacturers and pharmacies. They are paid by their TPP clients to make safe and effective

drug therapies available to their covered lives. But, as described herein, they are also paid by

drug manufacturers to provide the greatest access to their products, so as to increase sales, with

little to no regard for safety or efficacy. And they are paid by the pharmacies where the plan

participants and beneficiaries’ prescriptions are filled, to verify coverage but also to assist the

pharmacy in ensuring that a prescription is appropriate.

       570.    This chart illustrates the central role the PBMs play in the prescription drug

market:




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       571.    The FTC is currently investigating the PBM industry, and there is general

bipartisan agreement that “PBMs operate with little to no transparency, making it very difficult if

not impossible to understand the flow of money in the prescription drug marketplace and how

PBMs determine the prices for, and impact the cost of, prescription drugs.”81 Vertical integration

in the PBM industry is also in the spotlight, as “CVS/Caremark, OptumRx, and Express Scripts

control roughly 75% of the PBM market and are vertically integrated with insurers Aetna, United

Healthcare, and Cigna, respectively.”82 These three PBMs (CVS/Caremark, OptumRx, and

Express Scripts) are referred to as the PBM Defendants.

       572.    The PBM Defendants are, and, at all relevant times were, in a position to

influence prescribers. In order to leverage this influence, the Manufacturer Defendants enlisted

the PBM Defendants in their marketing campaigns. The PBM Defendants assisted the

Manufacturer Defendants in disseminating false marketing in two ways: first, they assisted in


81
   Letter from Senators to The Honorable Lina Khan,
https://www.grassley.senate.gov/imo/media/doc/grassley_cantwell_colleagues_to_ftc_-
_pbm_investigation.pdf (Jan. 22, 2024).
82
   Id. (citations omitted).


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creating or disseminating marketing materials containing the manufacturers’ false messages; and

second, their research and data affiliates created “studies” and materials the manufacturers could

use in their marketing.

       573.    As the opioid crisis developed, the PBM Defendants either knew or were willfully

blind to the fact that the information being spread by the Marketing Defendants, including by

them, was false. The PBM Defendants knew this, actually or constructively, primarily because

of the wealth of data they had – information on every opioid prescription filled by all the

beneficiaries of all of their client third-party payors, none of which had access to the aggregate

information about prescribing, overuse, diversion, and addiction that the PBM Defendants had.

The information they had was in addition to the more generally-available information that

Purdue had pleaded guilty to criminal misbranding of OxyContin in 2007 and had admitted that

many of its marketing messages were false.

       574.    Starting in the late 1990s, the PBM Defendants partnered with Purdue and other

opioid manufacturers to spread false information about opioids in order to increase opioid sales

and expand the market.

       575.    For example, in 1999, Medco (Express Scripts’ predecessor) arranged for its

pharmacists to be trained by Purdue’s speaker consultants regarding chronic pain management

and the use of OxyContin.

       576.    In 2003, internal Purdue documents show “[o]pportunities have been presented by

Medco to work more closely with targeted clients within the marketplace on a client-by-client

basis.” These “opportunities” included developing educational programs to “stave off any

formulary restrictions” and disseminating Purdue-created “educational” materials—including

“New Perspectives on the Pharmacology of Opioids and Their Use in Chronic Pain” and “Drug




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Fiction.” Purdue provided this information to Medco to “be used with employers and managed

care plans on the appropriate utilization of [Purdue’s] products.”

       577.    During these same years, along with Medco, Express Scripts was also one of

Purdue’s largest customers. Notably, Medco and Express Scripts remained Purdue’s largest

customers for OxyContin for the years up to and following the 2012 merger of these companies.

       578.    And in similar fashion to Medco, Express Scripts also worked directly with

Purdue in the critical years of OxyContin growth to expand the pain treatment market through

the dissemination of misinformation about the use of opioids to treat chronic non-cancer pain.

       579.    For example, in 2000 and 2001, Express Scripts worked together on numerous

programs to disseminate “educational” materials to tens of thousands of patients and high

prescribers of OxyContin advocating for opioids in chronic pain treatment and downplaying the

risks of addiction. These programs included Express Scripts engaged in mass mailings of Purdue

created propaganda such as “Dispelling the Myths about Opioids,” “The Impact of Chronic Pain:

An Interdisciplinary Perspective CME booklet,” “Overcoming Barriers to Effective Pain

Management,” and “Use of Opioids in Chronic Noncancer Pain CME booklet.” These

documents contained false information downplaying the risk of addiction and promoting the use

of opioids in long-term chronic pain treatment.

       580.    In one particularly telling internal Purdue “call note,” a Purdue executive

discussed “developing a piece on Opioid guidelines, [NEJM] quotes, and addiction terms.”

Notably, the “NEJM quotes” likely refer to the one-paragraph Porter and Jick letter discussed

above that was published in the NEJM reporting an observed low rate of addiction in patients

prescribed opioids for short periods in an in-patient hospital setting. The Purdue executive




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continued: “[l]egal has stated that [Purdue] representatives cannot utilize this [NEJM] piece. My

thoughts are that this piece may be sent out by Express Scripts. Express Scripts and Purdue could

target [family practitioner physicians and internal medicine physicians] who are the high writers

of [DEA Schedule II and III drugs]. The mailer was intended to educate the physician on the

beneficial uses of OxyContin and the preferred formulary status.”

       581.    A number of these joint programs between Express Scripts and Purdue were

prompted by Express Scripts’ desire to work with Purdue to address the negative attention that

OxyContin was receiving related to abuse and diversion in the early 2000s. For example, a

March 14, 2001 letter from Express Scripts to Purdue explained “[c]learly with the market

turbulence surrounding OxyContin you and your organization have significant demands on your

time . . . there are several strategic initiatives where Express Scripts can support Purdue Pharma

in your efforts to educate the market on the prescribing, administration and consumption of

OxyContin.”

       582.    These “strategic initiatives” proposed by Express Scripts included sending 15,000

“targeted” mailings to physicians which included a letter written by Express Scripts’ Medical

director summarizing key principles of the Purdue Front Group, American Pain Society, and

included the Purdue-created brochures “The Patient Bill of Rights for Pain Management” and

“Dispelling the Myths about Opioids” which contained misinformation about OxyContin risks,

such as “addiction risk also appears to be low when opioids are does properly for chronic

noncancer pain.”

       583.    An April 2001 Purdue memo further described the reasons behind Express Scripts

and Purdue’s collaborations at that time: “[Express Scripts] has told us that this mailing is

necessary so that [Express Scripts] may squelch the anti-OxyContin pushback from their clients




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(Managed Care Organizations and Employer Groups) due in large part to the national media

attention OxyContin is receiving.”

       584.    Purdue’s and Express Scripts’ joint efforts to expand the opioid market continued

in the summer of 2001, when they used an Express Scripts “proprietary database” to identify the

top 1,900 physicians with high prescribing rates for Schedule II narcotics and then mailed these

1,900 physicians materials created by the Front Group American Pain Society. The mailed APS

material promoted use of pain scales and the now debunked, industry-advocated concept of

pseudo-addiction.

       585.    Express Scripts and Purdue’s collaboration continued through 2004, when

Express Scripts and Purdue developed a series of pain management presentations for Express

Scripts’ clients, to be conducted by Purdue’s Medical Liaisons, who were doctors and medical

professionals employed by Purdue to promote opioid therapy.

       586.    During these same years, Purdue also conspired with Optum to spread

misinformation about the use of opioids to treat chronic pain and the risks of opioid addiction.

One example occurred in February 2003, when UnitedHealthcare (“UHC”) and OptumInsight

met with Purdue to give a presentation on “Managing Chronic Pain Associated with Lower Back

Pain.” The goal of this presentation was to develop a comprehensive plan between Purdue, UHC,

and OptumInsight to re-educate physicians on opioid use for the treatment of chronic pain and

low back pain. The program included “[t]argeting physicians not aligning with UHG clinical

objectives [for treating chronic pain] to modify behavior.”

       587.    As a result of this meeting, in 2004 OptumInsight and Purdue executed a Master

Services Agreement to roll out this program in 2004-2005. The program would include Purdue,

UHC, and OptumInsight working together to identify physicians from UHC and OptumInsight’s




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database and then developing comprehensive education materials on the effectiveness of opioids

in chronic pain treatment to send to these physicians.

       588.    OptumInsight and Purdue delivered this information through a series of

teleconferences, newsletters, faxes, live meetings, case study monographs, letters, and website

and web-based programming directly to physicians.

       589.    The project, referred to as the United Healthcare Physician Education program,

included the following false and misleading messages targeted at UHC prescribing physicians:

               a.      Opioid use is associated with some moderate side effects, but the risk of

drug dependence is low;

               b.      Concerns about abuse, addiction, and diversion should not prevent the

proper management of chronic and low back pain;

               c.      Opioids are the most effective way to treat pain;

               d.      Opioid addiction does not occur in the chronic pain patient; and

               e.      Certain signs of dependence that sometimes can be confused with

addiction are actually “pseudoaddiction.”

       590.    To assist in the marketing efforts of opioid manufacturers, the PBM Defendants

have for years provided multiple opioid manufacturers with lists of all their plan clients as well

as the names of physicians who were participating in the plan’s provider networks. The

manufacturers used this information to target the highest opioid prescribers with pull-through

marketing.

       591.    For example, according to one 2011 email, Endo sales representatives were

instructed to “[m]aximize pull-through with key managed care plans,” “[d]rive brand awareness

across top [Opana ER] prescribers,” and promote favorable Opana ER formulary positioning.




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Sales representatives were also told to focus on providers “that have the most potential” and not

“waste time” on other physicians. Sales representatives also were dispatched to (and did)

promote Opana ER formulary status to prescribers.

         592.   In another example, after Endo had negotiated favorable formulary placement

with Optum in 2010, sales representatives were told to “present the great information” to

prescribers and take advantage of the Opana ER “opportunity” for “pull through” sales.




         593.   In 2011, a senior account executive at Purdue asked California district managers

to implement a “Push-Up initiative” aimed at “Butrans subscriber advocates” who can “help gain

Preferred tier status for Butrans rather than 3rd tier status,” “removing a prior authorization or

step therapy,” or “alleviating a burdensome PA requirement to something that is more

acceptable.” The initiative identified plans “associated with national PBM’s Caremark and ESI”

as “great targets.”83

         594.   In turn, the PBM Defendants were rewarded for dangerously high prescribing

through rebates. For example, in 2013, Endo and Caremark negotiated a rebate program for

Opana ER, with Endo agreeing to provide rebates

                                                                                             In an

email memorializing the agreement, Endo’s Senior Director of Managed Markets noted that




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these quantities represented a daily average consumption of
                                              84



       595.     The rebate agreements between the Manufacturers and the PBM Defendants not

only incentivized high prescribing but also strongly disincentivized quantity limits on opioids.

For example,




           86



       596.     In addition, beginning in 2006, Express Scripts and Purdue entered into an

ongoing “Participating Manufacturer Agreement” under which, in return for “administrative

fees,” Express Scripts would



                             Express Scripts would also

                                  And Express Scripts agreed it would provide numerous

deliverables to Purdue, including

which enabled Purdue to more effectively pull through its drugs’ formulary status to physicians.

The “administrative fees” Express Scripts received were tied to the number of opioids it sold—

i.e., the more opioids it sold, the more it was paid. This agreement was strictly confidential.



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Express Scripts and Purdue renewed this agreement on at least three occasions, and it was in

place until at least the end of 2010.

       597.    For years, the PBM Defendants also entered into rebate contracts with Purdue and

other opioid manufacturers that included standard language expressly conditioning rebate

eligibility on the absence of meaningful quantity limits for prescription opioids.

       598.    By at least 2009, and for several years thereafter, Express Scripts published a

“Disease Strategy-Pain” white paper that it described as a summary of its “comprehensive

strategy [of] how we manage pain.” This white paper was used to answer client questions about

opioid programs, including questions asking why Express Scripts did not have prior

authorizations in place on OxyContin. Under the heading “Clinical Considerations,” the paper

stated that, with respect to “chronic opioid therapy,” addiction was “uncommon.”

       599.    In 2011 and 2012, Express Scripts and Purdue collaborated on false and

misleading guidelines for workers’ compensation patients to promote “safe and effective chronic

opioid therapy.”

       600.    In fact, as late as 2017, Express Scripts gave educational presentations on pain

management that treated the risk of addiction to opioids as minimal. In a presentation regarding

“The Management of Persistent Pain in Older Persons,” Express Scripts Vice President Andrew

Behm asserted that psychological dependence to narcotic analgesics was “rare” and that

“Addiction associated with the appropriate use of opioid analgesics is uncommon.” The

presentation also described “physical dependence” as “common” and a “state of adaptation to

chronic opioid therapy,” and recommended fentanyl for chronic pain in older adults.

       601.    Similarly, Caremark published an “Opioid Prescriber Toolkit,” a lengthy

document targeting doctors. As late as 2016, while acknowledging the existence of the opioid




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epidemic, Caremark’s Toolkit continued to spread misinformation about the safety of opioids for

the treatment of chronic pain, stating, “Opioids can be safe and effective to treat pain when

appropriately prescribed and monitored,” and including sample “opioid pain care agreements” to

use with patients and other “tools” designed to provide assurance that opioids could be safely

prescribed for long-term use. The Toolkit emphasized that “Chronic pain is a common public

health problem in the United States” and promoted the use of opioids for the treatment of

neuropathy, fibromyalgia, “persistent pain in older persons,” and migraines. Moreover, the

Toolkit included the guidelines published by Front Groups APS and AAPM in 2009, describing

them as “an evidence-based guide for practitioners and regulators to help foster a medical

practice environment where the judicious use of opioids may be used to reduce suffering from

chronic pain.” Caremark’s Toolkit also asserted that it is difficult to disentangle opioid abuse,

which would militate in favor of terminating opioid treatment, from tolerance, which could

militate in favor of increased dosage or frequency of opioid treatment, and endorsed the concept

of pseudoaddiction. Finally, the Toolkit provided patient handouts that downplay the risks of

addiction, with statements such as the following, meant to reassure patients worried about the

risk of addiction:

                      “Opioid pain medicines, or simply opioids, have been used for hundreds

                       of years to relieve pain.”

                      “Many patients fear becoming addicted to opioids. Addiction and physical

                       dependence are not the same.”

                      “Most people will not become addicted to their prescribed pain medicine.”

       602.    The patient handouts listed the most common side effects of opioid therapy as

constipation, drowsiness, nausea, vomiting, and itching. At the same time, the patient handouts




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warned of the dangers of taking acetaminophen, stating, “Using too much acetaminophen can

cause liver damage. … The effects of liver damage can range from feeling nauseous or ill to

permanent liver damage and possibly death.”87

        603.     OptumRx also participated in a Purdue advisory board in 2013 for the “abuse

deterrent” version of OxyContin, which was focused on payors in managed care. In 2016,

OptumRx conducted studies for Purdue to assess the economic impact of reformulated

OxyContin.

        604.     OptumRx affiliates also marketed their data analytics capabilities to Purdue for

research projects related to opioids, proposing, for example, to sell medical and pharmacy claims

data from its “Cliniformatics DataMart” to Purdue, to study patient disenrollment in Medicare

Advantage plans that discontinued coverage of OxyContin ER, and to research overdoses

associated with OxyContin.

        605.     In addition to assisting the Manufacturer Defendants in spreading false

information about opioids, for years the PBM Defendants and their affiliated companies

provided the manufacturers with data, research, and consulting services needed to expand the

opioid market.

        606.     For example, in the late 1990s and early 2000s, Express Scripts’ affiliate research

entity, Practice Patterns Sciences, Inc. (“PPS”), and Medco’s Institute for Effectiveness Research

provided research and studies for Purdue to aid its efforts to expand the opioid market. One

example occurred in 2001, when Express Scripts/PPS developed a study for Purdue on “The

Value of OxyContin Therapy in Patients with Moderate to Severe Pain due to Osteoarthritis.”




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         607.   In addition, since the late 1990s, Express Scripts and/or its subsidiaries also

played multiple roles in Purdue’s and Endo’s respective patient assistance program (“PAP”)

marketing schemes. Express Scripts’ importance is evident in, for example, a 1996 email

outlining how Purdue’s “IPAP useage[sic] has sky rocketed since [Purdue] instituted the Express

Script policy,” and noting that “utilization has nearly quadrupeled [sic].”88

         608.   Express Scripts was integral to these manufacturer-PAP programs in constructing

the program requirements and administering the programs themselves. Express Scripts also used

these programs to reach out to prescribers and patients directly to disseminate Purdue- and Endo-

created materials.

         609.   Express Scripts’ administration practices related to Purdue’s and Endo’s PAPs

helped make their respective programs into very successful marketing tools to increase opioid

use, drive volume, and facilitate access to opioids—including OxyContin and Opana—resulting

in Express Scripts filling 1+ million opioid prescriptions and dispensing 100+ million opioid

pills throughout the country through these PAPs. As an illustration, in the early 2000s, Express

Scripts was enrolling over 3,000 new patients per month for Purdue’s PAP. Moreover, from at

least the early 2000s, Express Scripts knew or should have known about the ongoing and

growing misuse and diversion of opioids, and/or that its opioid PAP work was causing opioid

over-prescribing, over-dispensing, addiction and/or abuse.

         610.   The Purdue and Endo PAPs, and Express Scripts’ administration and dispensing

practices relative to them, raised numerous red flags, including dispensing large amounts of

opioids to individuals, failing to conduct proper due diligence on patients, inappropriately

recording deaths, and rerouting prescriptions to circumvent state law requirements.



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         611.   For example, in 2010, Purdue audited Express Scripts’ administration of the PAP

program and found numerous failures by Express Scripts to properly vet IPAP applicants,

including failure to verify patient-doctor relationships, failure to notice obvious inconsistencies

in applications, and failure to process IRS information to determine its accuracy and legitimacy.

In fact, Purdue found that during a period of just a few months in 2010, Express Scripts

dispensed more than 17,000 OxyContin pills to fraudulent PAP enrollees/applicants. Similarly, a

2010 email exchange between Purdue and Express Scripts employees outlined how a Purdue

PAP patient was reportedly “selling [his PAP opioid prescriptions] on the street.”89

         612.   During this time, Optum and its affiliates also worked directly with the opioid

manufacturers to increase opioid utilization. For example, from the early 2000s until 2015,

OptumInsight, a sister company of OptumRx, also helped Purdue generate clinical studies,

educational materials, and marketing programs to downplay the addictive properties of

OxyContin and expand its use throughout the country.

         613.   In order to do so, OptumInsight was paid by Purdue to reverse engineer studies to

achieve desired outcomes; create algorithms to identify potential pain patients to suggest

OxyContin prescriptions; and create large-scale marketing plans to convince payors that long-

term opioid usage was not only useful for many types of pain and did not lead to serious

addiction for long-term opioid users.

         614.   For example, in 2000 and 2001, OptumInsight (then known as Ingenix) worked

with Purdue to develop algorithms and studies to identify chronic pain patients. One was an

algorithm that would mine UHC’s claims data called “the chronic pain patient identification

algorithm.” The other was called “Profiling the OxyContin Patient.” The purpose of this study



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was to assist Purdue in shifting formulary discussions with PBMs/health plans from a purely per-

member fiscal discussion to an overall “clinical and fiscal” benefits discussion. Purdue paid for

this study, in part, to counter the recent focus in the market on “cases of diversion” and

“premium pricing” of OxyContin. Purdue’s goal of this study was to use the OptumInsight’s

“data/evidence” to demonstrate from a payor and patient perspective the clinical/financial benefit

of OxyContin given the overall costs associated with the undermanagement of pain.

       615.    In October 2002, OptumInsight proposed a “Chronic Pain Management” study

and education initiative to present a series of teleconferences to providers in the UHG/UHC

network. The purpose of this educational initiative was to “optimize patient care in the treatment

of chronic pain.” One of the themes of this report is that “[m]ost specialists in pain medicine and

addiction agree that patients with prolong opioid therapy . . . do not usually develop addictive

behavior” and to convince the providers that “[o]pioids are effective, have a low addiction

potential, and may have fewer long-term side effects than other pain treatments.”

       616.    This clinical initiative was launched by UHG that same year; UHG requested

$200,000 to implement the initiative and begin targeting plans for the program. Purdue stated

that while that was a big investment, that the return would be high. The study with UHG proved

overall to “significantly improve the relationship with this client” and would “provide outcomes

data that can prove valuable in the future with regard to placement and pull-through for United

and other major HMOs.”

       617.    In February 2003, UHC threatened to implement a stricter quantity limit on

OxyContin and other Purdue products. Purdue worked with OptumInsight to provide “new data”

for June 2003. Based on the joint efforts of Purdue and OptumInsight, UHC subsequently




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doubled its quantity limit (to a level that Purdue stated was high enough that it should not affect

OxyContin sales).

       618.    In March 2005, OptumInsight prepared an Executive Summary to Purdue for “A

Usual Care, Multicenter, Open-label, Randomized, 4-month Parallel Group Trial to Compare the

Impact of Therapy with OxyContin on Health Outcomes and Research Utilization in Subjects

with Moderate to Severe Osteoarthritis Pain of the Hip or Knee.” The purpose of the study was

to present evidence to “health-system decision-makers” of the cost effectiveness of treating

osteoarthritis with OxyContin. OptumInsight went on to present this study on behalf of Purdue at

the International Society for Pharmacoeconomics and Outcomes Research annual meeting in

2005 where it won an award.

       619.    Because these studies were reverse-engineered and constructed in order to

advance Purdue’s market share of OxyContin, in certain instances, members of the

medical/health care community pushed back on Purdue’s and OptumInsight’s joint medical

journal publications. When that occurred, the two companies worked together to respond.

       620.    From 2011 through at least 2015, Purdue and OptumInsight worked together to

build a comprehensive, multi-step “aspirational statement” and “evidence-generated” strategies

for Butrans, OxyContin, Intermezzo, Targin, and hydromorphone. The goal of this coordinated

effort was to identify the best way to position these drugs with the public, patients, providers,

and payors to increase utilization and maximize sales.

       621.    The first phase occurred in April 2012. It included a “Product Review” for each

Purdue drug to “complete a focused review of product, literature, and on-line information to

establish the likely interplay between the product, competitors, and the market access and

reimbursement environment.”




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       622.    The second phase occurred simultaneously in April 2012 and included “Event

Mapping” which was an in-person workshop for the “Satellite [Purdue- OptumInsight] Team.”

The purpose of Event Mapping was to identify “significant events that will affect future evidence

generation strategies.”

       623.    The third phase occurred in June 2012; it was called the “Aspirational Value

Proposition” phase. During this time, the group would create the “ideal value proposition

statement” which “is concise, appeals to payers’ strongest decision- making drivers and is

evidence based to: (1) identify the burden and unmet need that OxyContin will fulfill;

(2) describe the solution provided by OxyContin compared to existing treatments; (3) describe

the risks of OxyContin compared to existing treatments; and (4) delineate the economic benefit

of OxyContin compared to existing treatments.” OptumInsight’s OxyContin “value statement”

was targeted at moderate to severe pain and to endorse the reformulated OxyContin as lowering

abuse, addiction, and diversion rates.

       624.    The fourth phase occurred in September 2012. It included a “Semi Structured

Payer Interview Guide for Hydrocodone, Oxycontin, Butrans to gather insight re: market access

and reimbursement considerations.”

       625.    The fifth phase, occurring in November 2012 included reviewing “Results from

Payer Interviews Oxycontin, Butrans, Hydrocodone.”

       626.    The next month, the group started the sixth phase, called “Evidence Generation

Plan for OxyContin. Recommendations for a value evidence generation plan to support

aspirational value proposition evidence base.” OptumInsight relied on this evidence to revise the

“Aspirational Value Proposition.” One notable change—removing the value proposition that

“Abuse of prescription opioids (primary and secondary) has substantial impact on society.” The




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reason behind removal was “Payers value pain management. They perceive tamper resistance

and abuse deterrence as societal benefits which they cannot further impact unless all products are

tamper resistant.” OptumInsight’s motivation behind the “Payers value pain management” was

financially motivated based on aspirational statement #1 “annual total and direct costs of

moderate to severe chronic pain in the US are 2- to 3-fold higher than the economic burden

posed by other major conditions such as diabetes, heart disease and obesity.”

        627.   From 2003 to at least 2012, OptumInsight conducted similar studies for other

opioid manufacturers. For example, in 2012, OptumInsight did an analysis attempting to show

that Suboxone film vs. a tablet formulation was superior to prevent diversion/abuse/misuse.

        628.   Alongside the studies OptumInsight was producing for Purdue to further

legitimize the proliferation of opioids without adequate controls throughout the United States,

OptumHealth, a subsidiary of UHC, began an “educational partnership” campaign in the early

2000s to educate nurses and case managers throughout the country on the undertreatment of

pain.

        629.   In 2004, David Rosen, an employee at Purdue, connected his father, Dr. Michael

Rosen, a National Medical Director at OptumHealth from 1996-2021, with Account Executives

at Purdue to begin educating the UHC and client clinical staff on how to effectively manage

pain. Dr. Rosen was not only the head medical director at OptumHealth, but UHC’s Pharmacy

and Therapeutics (“P&T”) Committee directly reported to him. His son was on the marketing

team at Purdue and utilized his connection with his father to connect Purdue with OptumHealth

and UHC.




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       630.    In January 2005, Dr. Rosen coordinated with Purdue to present two major CE

programs to be given to case managers at UHC. The next month, the educational initiatives were

implemented.

       631.    Part of the program targeted nurse practitioners, and included a presentation

called “Communication to Enhance Collaboration and Outcomes.” The presentation was wholly

endorsed and coordinated with Optum’s Dr. Rosen. The PowerPoint presentation emphasized the

“Possible Adverse Effects of Undertreated Pain” and had speaker notes to quote during the

presentation that advocated for increased opioid use and stated “[i]f we continue to provide pain

care as it has always been provided, patients will continue to suffer needlessly.” The same

presentation was given to case managers, then expanded to UHC affiliated groups throughout the

country, including to risk managers, telephone triage nurses, and every case manager.

       632.    In 2006 and 2007, Dr. Rosen and Purdue worked together on multiple programs,

including a program called “UHC Educate the Educator.”

       633.    In 2009, Dr. Rosen worked with Purdue to roll out a six month “chronic pain

mgmt. program” that would directly link to Purdue’s “Partners Against Pain” website. The

program would focus on case managers for Optum throughout the country and would focus on

Purdue’s FACETS modules. The series would be presented by Optum Medical Directors and

some Purdue employees. In March 2009, Optum employees reached out to Purdue to facilitate

Medical Director Faculty Forum presentations regarding pain. One of the faculty presentations

was about how to treat lower back pain with opioids using one of the FACETS topics. Optum

distributed the literature for the topic to medical directors. Following this, Purdue held multiple

educational seminars with the Medical Directors at Optum to then disseminate this information

to hundreds of case managers throughout the country via seminars and literature.




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       634.    In sum, the Marketing Defendants’ efforts to disseminate misinformation about

opioid addiction, opioid use for chronic pain, and opioids as a first-line therapy inappropriately

expanded the opioid market. And since the 1990s, the PBM Defendants collaborated with Purdue

to spread this misinformation in an effort to increase opioid utilization and sales. The result of

these joint efforts (in Express Scripts’ own words) was the “opiate explosion: vast increase in

prescribing [and] more potent formulations [of opioids].”

       C.      The TPPs Were the Intended Targets of the Marketing Defendants

               1.      The Marketing Defendants Knew That the Increased Sales They
                       Sought Would Be Paid for by TPPs

       635.    Over half of the residents in the United States obtain health insurance benefits

from employer-sponsored plans, such as Plaintiffs’ plans.90

       636.    Plans such as Plaintiffs’ may have single co-payment or co-insurance, regardless

of the drug type, or they may use a tiered design that allows for different payment amounts for

different types of drugs (e.g., generics and branded drugs), or a combination of these approaches.

Tiered benefits have been widely used for many years, and, where used, a tiered design will be

reflected in or linked to the plan’s formulary, to encourage use of lower-cost products. For

example, it is common for TPPs to provide low co-payments for generic medications, moderate

co-payments for “preferred” brand medications, and higher co-payments for non-preferred brand



90
   While precise percentages of prescription drug costs paid by commercial and public payors
vary slightly year-to-year in the United States, payors pay in excess of 80% of the costs of all
prescription drug purchases in the United States, with commercial payors bearing over half of
that, exceeding the portion that is borne by any government payor. See, e.g., Cubankski, Rae,
Young, & Damico, How Does Prescription Drug Spending and Use Compare Across Large
Employer Plans, Miedicare Part D, and Medicaid?, KFF (May 20, 2019), available at
https://www.kff.org/medicare/issue-brief/how-does-prescription-drug-spending-and-use-
compare-across-large-employer-plans-medicare-part-d-and-medicaid. Indeed, payor
reimbursement is the core of each Defendants’ prescription-drug-related operations. Thus, payor
reimbursement for prescription opioids was not just foreseeable, it was a dead certainty.


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medications (or for brand medications where there is a generic available). If there is no

prescription drug coverage, a patient is responsible for paying 100% of the cost of their

prescription opioid drugs.

        637.   One of the tools used by TPPs to manage prescription drug benefits is a

formulary, which is a list of medications that are purportedly selected for the purpose of

encouraging high-quality and cost-effective prescribing of pharmaceuticals within a patient

population. Formularies define which drugs a benefit plan will cover, the degree of coverage for

each drug, and the circumstances or conditions under which the drugs are covered. Formularies

are segmented by the therapeutic uses of the drugs.

        638.   As a TPP, Plaintiff was one of a category of entities that was an intended target of

the Marketing Defendants’ conduct as alleged throughout.

        639.   The Marketing Defendants’ misrepresentations and omissions were specifically

aimed at formulary access and coverage so that they could make money at Plaintiffs’ expense.

This is because, although a physician prescribes the Manufacturer Defendants’ opioid drugs, the

patients and their TPP plans pay for them, typically through a form of cost-sharing such as co-

pays, with the TPP paying the vast majority of the cost of the opioid drugs. If a formulary does

not include a drug then the prescription benefit plan will not cover it, and most patients will not

fill a prescription for that drug, even if their doctor would prescribe it. Moreover, physicians

would be opposed, or at least reluctant, to prescribe opioid drugs if the drugs were not “on

formulary,” or if they came with high co-payments or restrictions, because of the burden on their

patients.

        640.   The Marketing Defendants were well aware of this, and thus knew that gaining

coverage and favorable formulary status for their opioid drugs was essential to growing the




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overall market for opioids and maximizing the sales of their respective opioid drugs. They knew

that they could not sell large quantities of opioids unless TPPs would pay for them. Accordingly,

Plaintiffs and other TPPs are the primary and intended financial victims of the Marketing

Defendants’ conduct.

       641.    The Marketing Defendants were aware that Plaintiffs and other TPPs would want

to restrict availability of certain highly addictive opioid medications only to those for whom they

would be medically appropriate, i.e. where the benefits outweighed the risks, such as those

suffering from cancer pain. The Marketing Defendants were further aware that, along with

patient safety, healthcare and related costs associated with opioid use were important to TPPs.

To circumvent these concerns, the Marketing Defendants planned and implemented their false

and misleading marketing campaigns to target other TPPs through their PBMs and other agents

to ensure formulary access for chronic non-cancer pain and other conditions, notwithstanding the

lack of evidence of opioids’ safety or efficacy for those conditions.

       642.    At all material times, the Marketing Defendants knew that opioid drugs would be

paid for by prescription benefit plans only to the extent that they were included on the

formularies used by TPPs, which could include limitations on the conditions for which, or the

circumstances under which, the drugs would be covered. Therefore, it was critical to

Defendants’ overall scheme of selling more opioids and maximizing their profits that opioid

drugs be included on the formularies used by TPPs with the fewest restrictions and be available

for the widest number of conditions (and maximum reimbursement by TPPs) possible. As

discussed further below, the Marketing Defendants specifically aimed their misrepresentations

and omissions at formulary access and coverage so that they could make money at TPPs’

expense.




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       643.    Marketing Defendants misrepresented the risks and benefits of opioids, and

suppressed information regarding the addictive nature of their prescription opioids and diversion

in order to obtain, and later avoid losing, the preferred formulary status of their opioid drugs and

to avoid the formulary restrictions on the coverage of their opioid drugs.

       644.    One type of restriction PBMs commonly offer is requiring prior authorization

before a drug prescription is covered. Prior authorization is used when the drug coverage

process requires information that cannot be readily obtained through the claim processing

system. Such criteria may include diagnosis, laboratory values, or other clinical parameters.

When a formulary imposes prior authorization conditions on a drug or class of drugs (such as

opioids), the claim will be rejected at the pharmacy and the pharmacist is notified that the

prescribing physician must provide additional information in order to obtain approval for

coverage of the drug.

       645.    Other common restrictions include quantity supply limits. For example, a TPP

might cover a prescription for three days of opioid drugs following a dental procedure, but not 30

or 60 days.

       646.    The Marketing Defendants deliberately disseminated information that was

specifically intended to prevent restrictions, such as prior authorization requirements or quantity

supply limits, which would have thwarted the Defendants’ scheme to sell as many opioid

prescriptions as possible.

       647.    Concern and attention to payor reimbursement revenue is so ubiquitous within the

operations of all Defendants, including the Marketing Defendants, that it permeates, inter alia,

Defendants’ market research and strategies, sales forecasts and accounting, pricing analyses,

rebate and discount strategies and decisions, utilization analyses, gross and net revenue and




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financial impact analyses, payor-specific reimbursement analyses, commercial payor economic

analyses, payor strategies (including formulary placement and reimbursement analyses),

Defendants’ interrelated contracting strategies and decisions throughout industry sectors, and

opioid orders, distribution and disbursement forecasts and analyses.

       648.    Defendants’ focus on payor reimbursements demonstrates that which is self-

evident: Payor reimbursement is the core revenue source for the vast majority of commercial

patients without regard to channel and, indeed, underlies Defendants’ manufacturing, pricing,

revenue, ordering, and distribution strategies and operations. Payor reimbursements and the

billions of dollars of revenue they represent to Defendants are at the core of all of the conduct

challenged herein.

       649.    The Marketing Defendants’ conduct was specifically designed and intended to

ensure that prescription opioids secured favorable treatment on the formularies used by TPPs,

and to minimize restrictions on access to opioids at every point in the opioid supply chain. The

Marketing Defendants’ conduct had the intended effects. As a result, Plaintiffs paid for far more

opioid prescriptions than they would have in the absence of the Marketing Defendants’ wrongful

conduct.

               2.      Examples of the Marketing Defendants’ False and Misleading
                       Messages Targeting TPPs

       650.    The Marketing Defendants utilized a variety of strategies to disseminate their

false and misleading messages concerning opioid drugs to TPPs. The Marketing Defendants’

misrepresentations and omissions with regard to the safety and effectiveness of opioids were

material. As a result opioids were included on the TPPs’ formularies. Some examples of

Marketing Defendants’ deceptive strategies are described below.




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       651.    Following a review of the Opioid Analgesics/Pain Therapeutic drug class,

MedImpact Healthcare Systems, Inc. made recommendations to its TPP members in November

2009. MedImpact’s written recommendation, based on the Marketing Defendants’ false and

misleading information, included citations to Marketing Defendant-sponsored and Front Group

or KOL written treatment guidelines and articles and Marketing Defendant-sponsored studies,

including: (i) Roger Chou, et al., American Pain Society – American Academy of Pain Medicine

Opioids Guidelines Panel, Clinical guidelines for the use of chronic opioid therapy in chronic

non-cancer pain, 10(2) J. Pain 113 (2009); (ii) Roper Starch Worldwide for the American

Academy of Pain Medicine, American Pain Society, and Janssen Pharmaceutica, Chronic Pain

in America: Roadblocks to Relief (1999); and (iii) Deborah B. Gordon, et al., American Pain

Society quality of care task force., 165(14) Arch. Intern. Med. 1574 (2005).

       652.    Similarly, TPPs’ and/or their PBMs’ opioid formulary decisions were informed

by false and misleading information provided by the Marketing Defendants or those of their

KOLs or Front Groups, including: (i) Robert B. Raffa & Joseph V. Pergolizzi Jr., Opioid

formulations designed to resist/deter abuse, 70(13) Drugs 1657 (2010); (ii) Robert Chou, et al.,

American Pain Society – American Academy of Pain Medicine Opioids Guidelines Panel,

Clinical guidelines for the use of chronic opioid therapy in chronic non-cancer pain, 10(2) J.

Pain. 113 (2009); (iii) American Pain Society, Guidelines for the use of chronic opioid therapy in

chronic non-cancer pain (2009); and (iv) Donald R. Taylor, et al., Impact of breakthrough pain

on quality of life in patients with chronic, non-cancer pain; patient perceptions and effect of

treatment with oral transmucosal fentanyl citrate (OTFC, ACTIQ), 8(3) Pain Med. 281 (2007).

       653.    Articles such as these ultimately targeted TPPs, directly and/or through their

PBMs or other agents, and were intended to secure favorable placement on formularies used by




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TPPs. Based on the Marketing Defendants’ false and misleading marketing practices and covert,

systematic, and illegal schemes to promote their opioid drugs, TPPs, including their PBMs and

other agents relied on the Marketing Defendants’ misrepresentations and omissions by including

(and in some cases conferring preferred status on) many of their opioid drugs on formularies and,

as a result, paying for opioid drug prescriptions that were not for a legitimate medical use or

were otherwise ineffective, unsafe, and/or for unapproved purposes.

                              Messaging Through the AMCP (Academy of Managed Care
                              Pharmacy)

       654.    AMCP describes itself as “a national professional association of pharmacists and

other health care practitioners who serve society by the application of sound medication

management principles and strategies to improve health care for all. The Academy’s nearly

7,000 members develop and provide a diversified range of clinical, educational, and business

management services and strategies on behalf of the more than 200 million Americans covered

by a managed care pharmacy benefit.”

       655.    AMCP’s stated goals include: (1) monitoring the safety and clinical effectiveness

of new medications on the market; (2) alerting patients to potentially dangerous drug interactions

when a patient is taking two or more medications prescribed by different providers; (3) designing

and carrying out medication therapy management programs to ensure patients are taking

medications that give them the best benefit to keep them healthy; and (4) creating incentives to

control patients’ out-of-pocket costs, including through lower copayments on generic drugs and

certain preferred brands.

       656.    As alleged in detail below, drug manufacturers, including the Marketing

Defendants and their representatives, have at all times material hereto regularly attended AMCP

events, exhibiting information about their opioid drug products and giving or sponsoring



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presentations to managed care and PBM representatives. The Marketing Defendants’ AMCP

event attendees regularly included sales representatives, national account directors and managed

markets/managed care personnel, each of whose explicit aim was to influence opioid drug

formulary access.

        657.    Several Defendants also submitted abstracts for publication in AMCP’s Journal of

Managed Care & Specialty Pharmacy. According to the journal, most abstracts are submitted as

poster presentations “so interested AMCP meeting attendees can review the findings and query

the authors.”91 2014 abstract posters included content sponsored or written by Defendants to this

action, including:

                a.        Mallinckrodt Pharmaceuticals, in conjunction with PRA Health Sciences,

funded the research, editorial and medical writing support for the development of an abstract

titled, “Correlation of Pharmacodynamic and Pharmacokinetic Parameters to Assess the Abuse

Liability of Orally Administered Extended-Release Oxycodone/ Acetaminophen Tablets Versus

Immediate-Release Oxycodone/Acetaminophen Tablets in Recreational Users of Prescription

Opioids.92 This Defendant-sponsored and KOL co-authored abstract concludes, based on

“subjective and objective PD effects correlated with PK parameter estimates,” that crushing the

extended release formulation of oxycodone/acetaminophen tablets results in slowed release of

the drug, delayed Tmax and decreased Cmax with “less intense subjective effects” than an intact

tablet, and falsely and conclusorily states that the extended release formulation “has lower

liability for abuse.”93




91
   Meeting Abstracts, Academy of Managed Care Pharmacy, 20 J. of Managed Care & Specialty
Pharmacy, at S1 (Oct. 2014).
92
   Id. at S31.
93
   Id. at S32.


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               b.      Janssen Scientific Affairs, LLC sponsored a study and the development of

an abstract titled Economic Outcomes of Chronic Pain Patients Treated with Tapentadol ER or

Oxycodone CR, which concluded that patients on Nucynta were “less likely to be hospitalized or

visit the emergency department and had significantly lower total health care costs” than their

oxycodone controlled release counterparts.94 Janssen states the “decade-long growth in U.S.

opioid prescribing has increased the need for health plans to understand the economic impact of

chronic pain patients on managed care pharmacy and medical budgets.”95

               c.      In April 2015, numerous Marketing Defendants sponsored, submitted, and

likely presented similar abstracts to TPPs and TPAs at the AMCP Nexus event in San Diego,

California.96 Janssen Scientific Affairs funded a study titled Cost of Opioid Overutilization in a

Medicare Population Under Alternative Definitions of Overutilization. The study found that

setting more restrictive thresholds for overutilization (at three for prescribers and pharmacies)

resulted in higher healthcare cost per member than less restrictive thresholds, allowing members

to obtain opioid prescriptions from up to six prescribers and six pharmacies.97 Janssen’s abstract

concludes that: “[c]hanging thresholds for number of prescribers and number of pharmacies or

adding a dosage criterion changes the population size and cost of patients meeting opioid

overutilization criteria. This information can help managed care plans assess trade-offs in the

design of interventions to improve appropriate use of opioids.”98 The abstract recommended that




94
   Id. at S62.
95
   Id.
96
   Meeting Abstracts, AMCP’s 27th Annual Meeting & Expo 2015, April 7-10 San Diego, 21 J.
of Managed Care & Specialty Pharmacy (Apr. 2015).
97
   Id. at S45.
98
   Id.


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TPPs would save money per member if they opt for more lenient opioid utilization management

tools.

         658.   At all times material hereto, the Marketing Defendants’ AMCP exhibits and

presentations were calculated to influence decisions to establish, continue, or expand coverage of

the opioid drugs on TPP formularies.

                              TPPs Were the Intended Targets of Purdue’s False and
                              Misleading Messages

         659.   As part of its marketing scheme, Purdue developed a dedicated “managed care”

(also called “Regional Account Executives” or “Managed Markets”) sales group, many members

of which had advanced science degrees. These specialized representatives disseminated false

and misleading studies and abstracts that were intended to influence TPP acceptance of Purdue’s

opioid drugs on the formularies used by TPPs, constructed most often by the PBM Defendants.

         660.   For example, Purdue’s misleading focus on 12-hour dosing (where sales

representatives pled with physicians to increase dosage rather than shorten dosing intervals) was

motivated almost solely with insurance coverage in mind. Purdue feared managed care

companies would not provide coverage for more frequent dosing intervals and knew higher

dosages equated to more profits. In a 2001 workshop presentation, Purdue expressed concerns

that managed care companies would “deny[] or will start denying shorter prescriptions.” And

according to Purdue’s own 2001 sales data, the company charged “on average about $97 for a

bottle of the 10-milligram pills, the smallest dosage, while the maximum strength, 80 milligrams,

ran more than $630.” Purdue sales representatives were thus told that “raising dosage strength

was the key to a big payday” as bonuses and performance evaluations “were based in part on the

proportion of sales from high-dose pills.”




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       661.    As noted elsewhere herein, Purdue also sponsored studies and publications

containing deceptive statements as to the efficacy, safety and healthcare cost savings of opioid

drug products that often appeared in AMCP publications. One example of a publication touting

the health care savings managed care would experience with ADFs in the AMCP Daily Dose

highlighted an article from the Boston Business Journal titled Analyst Says Abuse-Resistant

Opioid Painkiller Helps Save Millions of Dollars. The article stated that “research suggest[s]

that such a[n ADF] reformulation would not only reduce addiction, but also save millions in

national healthcare costs.” Indeed, it specifically represented savings of “$430 [million] a year

because of reformulation of another opioid OxyContin.”

       662.    The study was funded by Purdue and co-authored by a Purdue employee. It

contained a call to action: “Payers and policy-makers should consider these benefits as they

devise and implement new guidelines and policies in this therapeutic area.” Purdue intended for

this study, which overstates and misrepresents the effectiveness of ADF drugs to deter abuse, to

influence formulary placement.

       663.    In September 2014, Purdue funded an extension of the study, titled Societal

Economic Benefits Associated with an Extended-Release Opioid with Abuse-Deterrent

Technology in the United States, which was published in AAPM’s Journal of Pain Medicine.

The commentary on the extension stated, without any evidentiary basis, that “[r]eformulated ER

oxycodone may reduce . . . abuse-related costs as well.”

       664.    The article provided estimates of indirect cost savings due to reformulation as

follows: societal benefits of “$96 million in cost savings to the criminal justice system,” “$209

million for reductions in premature deaths,” “$181 million for reduction in lost wages and

employment,” “$34 million for reductions in excess medically related absenteeism costs, $15




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million in reductions in excess disability costs, and $38 million for reductions in presenteeism

costs.” In addition, the study calculated annual savings of $33 million for “excess medical and

drug costs for caregivers of opioid abuse patients.”

       665.    The studies were funded by Purdue and co-authored by Purdue employee Rami

Ben-Joseph, Ph.D. Defendants’ misrepresentations regarding the cost savings as to reformulated

opioids were calculated to reach TPPs—either directly, via their TPAs, or through their PBMs—

to positively influence the placement and status of OxyContin and other Purdue opioids on the

formularies used by TPPs. But the purportedly ADFs actually had the same or greater potential

for abuse.

                              TPPs Were the Intended Targets of Teva’s False and
                              Misleading Messages

       666.    Cephalon’s Master Plan for Actiq in 2000 recognized the importance of insurance

reimbursement and noted that, “Many patients have run into difficulty in obtaining coverage for

nonmalignant pain patients seeking reimbursement for non-cancer pain”:

               When launching Actiq, a decision was made to attempt to launch it
               “under the radar” of managed care, and not to aggressively
               promote or discount the product. The reimbursement assistance
               program was designed to assist offices and patients in obtaining
               insurance coverage for Actiq.
               This program is run by Cardinal Health Reimbursement Services
               (aka: CRC), which provides an incoming 800 number that is
               staffed by dedicated, knowledgeable insurance experts who help
               obtain the best Actiq coverage for patients on a case by case basis.
               New call activity is holding steady, with the case load total for
               September at 86 hours of effort, representing 180 patients. Of note,
               Actiq is covered for most cancer patients with outpatient
               medication coverage, although prior authorization may be
               required. Many patients have run into difficulty in obtaining
               coverage for nonmalignant pain.




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       667.   By the time of the 2005 marketing plan, with the explosive growth into the non-

cancer pain market driven by Cephalon’s marketing, the “under the radar” approach was no

longer adequate:

              Securing favorable reimbursement is critical to ACTIQ success
              and continued growth. ACTIQ has had the luxury of operating
              under the radar screen within managed care marketplace for a
              number of years. Though ACTIQ generally continues to
              experience a favorable reimbursement status, there has been an
              increase in the implementation of restrictive measures in an
              attempt to limit access both in the commercial as well as Medicaid
              segments. These reimbursement hurdles include Prior
              Authorization, documentation of a BTCP indication, requirements
              for documented use of formulary agents prior to ACTIQ, and/or
              quantity limits restrictions. Ln addition, patients are facing higher
              co-pays than previously required.
              ….
              The majority of ACTIQ total business resides in the 3rd party
              segment at a little over 80%. The vast majority of this 80% is made
              up of managed care organizations or commercial insurers whose
              business can be further defined into essentially 3 different types;
              employers, Medicare eligible and Medicaid carve out. As
              mentioned above these managed care organizations are increasing
              restrictions on reimbursement. Though the majority of ACTIQ
              managed care claims continue to be approved (approximately 90%
              in the first half of 2004) the 2004 monthly percentages are down
              slightly compared to the last half of 2003 (92%-95%).
       668.   By the time Teva launched Fentora in 2006 to replace its drug Actiq, a key focus

was access on TPP formularies to secure “favorable reimbursement for a branded opioid

analgesic”:

              Managed Care/Third-Party Payers
              Many chronic pain patients remain marginalized by BTP because
              BTP is underrecognized and the economic and social value of
              rapid onset analgesia has not been established. A recent publication
              of BTP treatment guidelines indicates that the optimal treatment
              for BTP is a rapid ROO; unfortunately this will need ongoing
              validation and understanding with TPPs. Also, the chronic pain
              market is a highly genericized market. TPPs continually seek to
              control costs by driving utilization to generics or lower cost
              branded products. TPPs use tools such as tiered copays, prior


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                authorization, step edits, and/or quantity limits to impact drug
                utilization. Therefore, it will be extremely important for Cephalon
                to continue to improve its relationship with TPPs in order to secure
                favorable reimbursement for a branded opioid analgesic. For this
                reason, a comprehensive managed markets plan will need to be
                executed in order to achieve favorable reimbursement status and
                access to FEBT for appropriate physicians and patients.

         669.   As early as 2008, Cephalon drafted template letters of medical necessity for

prescribers to send to insurers in order to obtain reimbursement for Fentora, including a 12-page

letter to be used when the patient was being treated for “chronic, noncancer” pain, a 10-page

letter for “chronic low back pain,” and an 8-page letter for “chronic, neuropathic” pain, each of

which purports to demonstrate that the use of fentanyl for chronic pain is safe and effective99:

                Several guidelines that support the judicious use of opioids for the
                management of chronic pain have been published by key medical
                organizations, including the American Pain Society, the American
                Academy of Pain Medicine, the American Society of
                Anesthesiologists, the Federation of State Medical Boards of the
                United States, and the American College of Physicians.
         670.   The letters cited include:

                Public Policy Statement on the Rights and Responsibilities of
                Healthcare Professionals in the use of Opioids for the Treatment of
                Pain. 2004. Available at:
                http://www.ampainsoc.org/advocacy/rights.htm. Accessed 18
                October 2007
                AAPM/APS. The use of opioids for the treatment of chronic pain:
                a consensus statement from the American Academy of Pain
                Medicine and the American Pain Society. Glenview, IL:American
                Academy of Pain Medicine and American Pain Society, 1996.
                Available at: http://www.ampainsoc.org/advocacy/opioids htm.
                Accessed 18 October 2007.
                ASA. Practice guidelines for chronic pain management: a report by
                the American Society of Anesthesiologists Task Force on Pain
                Management, Chronic Pain Section. Anesthesiology 86: 994-1004,
                1997. Available at:



99
     P-18093_00017-45.


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            http://www.asaha.org/publicationsAndServices/practiceparam.htm
            #chronic. Accessed 18 October 2007.
            FSMB. Model policy for the use of controlled substances for the
            treatment of pain: policy document of the Federation of State
            Medical Boards of the United States Inc. Dallas: Federation of
            State Medical Boards of the United States, 2004. Available at:
            www.fsmb.orggrpol pain policy resource center.html. Accessed 18
            October 2007.
            Bennett D, Burton AW, Fishman S, et al. Consensus panel
            recommendations for the assessment and management of
            breakthrough pain - Part I assessment. Pharm Ther. 30: 296-301,
            2005.
            Bennett D, Burton AW, Fishman S, et al. Consensus panel
            recommendations for the assessment and management of
            breakthrough pain - Part 2 Management. Pharm Ther. 30: 354-361,
            2005.
            Chou R, Qaseem A, Snow V, et al. Diagnosis and treatment of low
            back pain: A joint clinical practice guideline from the American
            College of Physicians and the American Pain Society. Ann Int
            Med. 147:478-491, 2007.
            Chou R, and Huffman LH. Medications for acute and chronic low
            back pain: A review of the evidence for an American Pain Society/
            American College of Physicians clinical practice guideline. Ann
            Int Med. 147:505-514, 2007.
            Portenoy R, Messina J, Xie F, et al. Fentanyl buccal tablet (FBT)
            for the relief of breakthrough pain in opioid treated patients with
            chronic low back pain: a randomized, placebo-controlled study.
            Curr Med Res Opin. 23(1):223233, 2007.
            Farar JT, Portenoy R, Berlin JA, et al. Defining the clinically
            important pain outcome measures. Pain 88:287294, 2000.
            Hale M, Webster L, Peppin J, et al. Open-label study of fentanyl
            effervescent buccal tablets in patients with chronic pain and
            breakthrough pain: Interim safety and tolerability results. [Poster
            presentation]. Presented at the American Academy of Pain
            Medicine’s Annual Meeting, San Diego, CA, February 22-25,
            2006.
            Nalamachu S, Xie F, Messina J, et al. Mood, functioning, and
            quality of life in opioid-tolerant patients with noncancer chronic
            pain and breakthrough pain: Effect of fentanyl buccal tablet (FBT).
            [Poster presentation]. Presented at the 26” Annual Scientific
            Meeting of the American Pain Society. Washington, DC, May 2-5,
            2007.



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               Nalamachu S, Xie F, Messina J, et al. Patient preference for
               fentanyl buccal tablet (FBT) in the management of breakthrough
               pain: Open-label evaluation in opioid-tolerant patients with chronic
               noncancer pain. [Poster presentation]. Presented at the 26” Annual
               Scientific Meeting of the American Pain Society. Washington, DC,
               May 2-5, 2007.
       671.    The 2011 Brand Plan specifically targeted “payers” in order to “maintain current

formulary status for FENTORA in the face of emerging competition in the ROO market. The

primary tactic is a proposed regional targeting effort to appropriately support the reimbursement

process.”

       672.    The 2011 Brand Plan also featured a Fentora Reimbursement Program that

“provides tools and services that may facilitate the reimbursement process.” According to

Teva’s website, the Fentora Reimbursement Program is designed to help patients and physicians

with pre-authorizations and denied claims.

       673.    In truth, the Fentora Reimbursement Program is used primarily to help physicians

overturn adverse Fentora coverage decisions by payors. It is provided free of cost to healthcare

providers and has been a key resource for sales representatives in their unsafe and unapproved

promotions of Fentora. Without assistance, reimbursement issues can be costly to physicians in

two ways. First, in the event of a denied claim for coverage, a medical practice must bill the

patient for drugs already provided. Given the high cost of many oncology drugs, the patient may

be unable to afford payment. If this cost is beyond the patient’s means, the practice may then be

required to assume the cost itself.

       674.    Second, even in the event that coverage is eventually approved, the process of

obtaining that coverage can be costly for physicians and their staffs, requiring time-consuming

interaction with payors. In a study published by the Zitter Group in September 2010, the average

time required to process a typical oncology prior authorization was almost one hour. The study




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further revealed that prior authorizations have a direct impact on prescribing decisions, with

oncologists and practice managers reporting that prior authorizations are the one payor

management tool that most affects therapy utilization. Prior authorizations may be costly for

patients as well, requiring them to postpone treatment until a coverage decision is reached.

       675.    For these reasons, reimbursement concerns are a frequent deterrent against

physicians prescribing Fentora. Such objections were particularly prevalent with regard to

unsafe and unapproved uses of the drug. When prescribing drugs for on-label indications,

coverage denials were relatively unlikely, and the reimbursement process was simple and

straightforward. However, when prescribing a drug for unapproved uses, coverage denials were

increasingly likely and the reimbursement process became correspondingly more time-

consuming and complicated. A physician who writes a prescription for an unapproved use may

be required to spend considerable time interacting with the patient’s insurance payor, arguing

that the particular circumstances of the patient justify coverage. The difficulty of arguing the

physician’s case increases when the alternative on-label therapy is significantly cheaper than the

unapproved use. All else being equal, physicians are, understandably, inclined to prescribe the

cheaper, on-label regime rather than the more expensive, unsafe and unapproved combination in

order to simplify the reimbursement process.

       676.    Teva sought to counter physicians’ inclination against prescribing a powerful

opioid for the treatment of certain unsafe and unapproved, non-cancer break through pain

(“BTP”). Thus, Teva needed a mechanism to remove the reimbursement burden from

physicians’ shoulders. The Fentora Reimbursement Program has accomplished this objective.

       677.    Teva acknowledged internally that one of the biggest obstacles to growing

Fentora sales is the lack of reimbursement for BTP. Teva increased the size of its reimbursement




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support team to minimize this obstacle, spending over $3 million yearly to provide customized

reimbursement support services to doctors and their office managers, including a Fentora

Hotline. Teva performed numerous interventions on behalf of healthcare providers seeking to be

reimbursed for unsafe and unapproved Fentora prescriptions.

       678.    When a physician or physician’s office contacted Teva’s hotline for

reimbursement support to overturn a denial for unsafe or unapproved uses, the company used a

pre-populated form with all relevant data and studies it identified supporting the use and

reimbursement of Fentora for the unsafe or unapproved use. The pre-populated form allows

physicians or their staff to only fill in the patient-specific information and send it to the payor or

payor’s TPAs, requesting reimbursement for the unsafe or unapproved use of Fentora.

Importantly, Teva has generated a pre-populated form for non-cancer BTP to aid physicians in

making their case for unsafe and unapproved reimbursement.

       679.    Teva’s use of the Fentora Reimbursement Program to reverse reimbursement

denials for unsafe and unapproved prescriptions of Fentora was part of its scheme to induce

physicians to prescribe and utilize Fentora for unsafe and unapproved uses by minimizing the

time, resources and lost profits associated with addressing reimbursement issues raised by payors

and/or their TPAs.

                               TPPs Were the Intended Targets of Janssen’s False and
                               Misleading Messages

       680.    Janssen’s sales representatives were encouraged to assist during the prior

authorization process with Ultram ER, Nucynta and Nucynta ER in order to evade TPP drug

formulary restrictions. Indeed, Janssen’s district managers touted that the company’s number

one sales representative nationwide in 2012 got prescriptions by going to physician offices,

flagging the charts with Ultram ER stickers and doing prior authorizations for each patient. This



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practice was encouraged by the regional business director and other district managers. Janssen’s

sales representative involvement in the prior authorization process was designed to bypass the

existing formulary process to secure the prescription.

       681.    In addition, Janssen’s territory business plans frequently tracked doctors by their

volume of private insurance patients, average duration of treatment, and the average revenue

from Janssen drugs. Janssen management utilized this private insurance volume information in

order to determine which doctors to target for expensive meals and cash payment.

                              TPPs Were the Intended Targets of Endo’s False and
                              Misleading Messages

       682.    As part of Endo’s marketing scheme, it developed a dedicated “managed care”

sales group (“Managed Market Representatives”). These specialized Managed Market

Representatives disseminated false and misleading studies and abstracts that were intended to

influence placement of Endo’s opioid drugs on formularies used by TPPs.

       683.    Endo sponsored publications specifically aimed at seeking access to TPP

formularies. One such article, Pain Management, appeared in the P&T Digest, a “Peer-

Reviewed Compendium of Formulary Considerations.” The self-described “Tool for Formulary

Decision Makers” explained its utility:

               The purpose of this publication is to provide P&T committees with
               an understanding of options for addressing patients’ chronic pain.
               This peer-reviewed digest examines current guidelines for pain
               management, therapeutic approaches to care, and strategies for
               managing patients with various types of pain. In consolidating this
               information, it serves as a valuable tool for formulary committees
               and is an important contribution to the medical literature.
       684.    Among its many misrepresentations aimed at securing formulary access, Pain

Management stated that most specialists in pain medicine and addiction medicine agree that

patients treated with prolonged opioid therapy do not usually develop addictive disorders. The




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term usually was never defined, but the presentation as a whole suggested that the rate of

addiction was so low as to be immaterial.

                               TPPs Were the Intended Targets of Allergan’s False and
                               Misleading Messages

        685.    As part of Allergan’s marketing scheme, it developed a dedicated “managed care”

group that relied on and disseminated false and misleading studies and abstracts that were

intended to influence placement of Allergan’s opioid drugs on the formularies used by TPPs. It

also engaged third parties, like InVentiv, to help lead the discussions with health plans and

PBMs.

                               TPPs Were the Intended Targets of Mallinckrodt’s False and
                               Misleading Messages

        686.    Mallinckrodt’s sales division included a dedicated “Managed Markets and Trade

Team aiming for “key formulary wins.” These specialized Managed Care representatives

disseminated false and misleading studies and abstracts that were intended to influence

placement of Mallinckrodt’s opioid drugs on formularies used by TPPs. Part of Mallinckrodt’s

Managed Care strategy was having “large, impactful AMCP presence,” recognizing this as

creating “additional opportunities to engage customers in MNK795 [Xartemis].” Mallinckrodt’s

Managed Markets team also identified the American Journal of Managed Care’s “opioid

summit” and corresponding publication as an opportunity to increase awareness of the benefits

of Xartemis for an audience of “Payers – Medical Directors, Pharmacy Directors, Clinical

Pharmacists.”

                3.     TPPs Relied on PBMs to Design Their Formularies

        687.    Plaintiffs did not design their own formularies. Rather, the Plaintiffs contracted

with PBMs to manage its pharmacy benefits and to design appropriate formularies for Plaintiffs

and their plan beneficiaries. Plaintiffs relied on the expertise of their PBMs to provide



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formularies that would encouraging high-quality and cost-effective prescribing in the interests of

Plaintiffs and their beneficiaries.

        688.    Even if Plaintiffs were technically given final say over the formularies they

adopted, Plaintiffs lacked the information, expertise, or resources to design a formulary or to

second-guess the formularies offered to them by their PBMs.

        689.    During the relevant time period, Plaintiffs used the following PBMs: Express

Scripts, MaxCare Rx, LLC, and MaxCare, LLC.

        690.    Plaintiffs were not offered a formulary with meaningful restrictions on

prescription opioids. As a result, Plaintiff covered, and paid for, prescription opioids without

meaningful restrictions. Had Plaintiffs been offered a formulary with restrictions on opioid

prescribing, they would have paid for fewer prescription opioids, and for the treatment of OUD

in fewer plan beneficiaries.

        691.    The formularies offered to the Plaintiffs were the result of, and reflected the

misinformation disseminated through, the campaign of misrepresentations and omissions about

prescription opioids perpetrated by the Marketing Defendants. The various PBMs with which

Plaintiffs contracted were the conduits for those misrepresentations and omissions regardless of

whether those PBMs were deceived by the Marketing Defendants or were knowing participants

with them in the fraud. To the extent that Plaintiffs’ PBMs were deceived, they were deceived in

their capacity as agents for the Plaintiffs and their other TPP clients. To the extent Plaintiffs’

PBMs were complicit with the Marketing Defendants, they ensured that the fraud was

perpetrated on Plaintiffs and on their other TPP clients.




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       D.      The Marketing Defendants’ Scheme Succeeded in Expanding Opioid
               Prescribing

       692.    The Marketing Defendants’ scheme was resoundingly successful. Chronic opioid

therapy—the prescribing of opioids long-term to treat chronic pain—has become a

commonplace, and often first-line, treatment. The Marketing Defendants’ deceptive marketing

caused prescribing not only of their opioids, but of opioids as a class, to skyrocket. According to

the CDC opioid prescriptions, as measured by number of prescriptions and MME per person,

tripled from 1999 to 2015. In 2015, on an average day, more than 650,000 opioid prescriptions

were dispensed in the U.S. While previously a small minority of opioid sales, as of 2018

between 80% and 90% of opioids (measured by weight) used are for chronic pain.

Approximately 20% of the population between the ages of 30 and 44, and nearly 30% of the

population over 45, have used opioids. Opioids are the most common treatment for chronic pain,

and 20% of office visits now include the prescription of an opioid.

       693.    The Marketing Defendants necessarily expected a return on the enormous

investment they made in their deceptive marketing scheme, and worked to measure and expand

their success. Their own documents show that they knew they were influencing prescribers and

increasing prescriptions. Studies also show that in doing so, they fueled an epidemic of

addiction and abuse.

       694.    Endo, for example directed the majority of its marketing budget to sales

representatives, with good results: 84% of its prescriptions were from the doctors they detailed.

Moreover, as of 2008, cancer and post-operative pain accounted for only 10% of Opana ER’s

uses; virtually all of Endo’s opioid sales—and profits—were from a market that did not exist ten

years earlier. Internal emails from Endo staff attributed increases in Opana ER sales to the

aggressiveness and persistence of sales representatives. Similarly, according to an internal



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Janssen training document, sales representatives were told that sales calls and call intensity have

high correlation to sales.

       695.    Teva also recognized the return of its efforts to market Actiq and Fentora off-label

for chronic pain. In 2000, Actiq generated $15 million in sales. By 2002, Actiq sales had

increased by 92%, which Teva attributed to “a dedicated sales force for ACTIQ” and “ongoing

changes to [its] marketing approach including hiring additional sales representatives and

targeting our marketing efforts to pain specialists.”100 Actiq became Teva’s second best-selling

drug. By the end of 2006, Actiq’s sales had exceeded $500 million. Only 1% of the 187,076

prescriptions for Actiq filled at retail pharmacies during the first six months of 2006 were

prescribed by oncologists. One measure suggested that “more than 80 percent of patients who

use[d] the drug don’t have cancer.”101

       696.    Each of the Marketing Defendants tracked the impact of their marketing efforts to

measure their impact in changing doctors’ perceptions and prescribing of their drugs. They

purchased prescribing and survey data that allowed them to closely monitor these trends, and

they did actively monitor them. They monitored doctors’ prescribing before and after detailing

visits, and at various levels of detailing intensity, and before and after speaker programs, for

instance. Defendants continued and, in many cases, expanded and refined their aggressive and

deceptive marketing for one reason: it worked. As described in this Complaint, both in specific

instances (e.g., the low abuse potential of various Defendants’ opioids), and more generally,

Defendants’ marketing changed prescribers’ willingness to prescribe opioids, led them to




100
    Cephalon, Inc., Annual Report (Form 10-K) at 28 (Mar. 31, 2003),
https://www.sec.gov/Archives/edgar/data/873364/000104746903011137/a2105971z10-k.htm.
101
    John Carreyrou, Narcotic ‘Lollipop’ Becomes Big Seller Despite FDA Curbs, Wall St. J.
(Nov. 3, 2016, 12:01am), https://www.wsj.com/articles/SB116252463810112292.


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prescribe more of their opioids, and persuaded them not to stop prescribing opioids or to switch

to “safer” opioids, such as ADF opioids.

       697.    This success would have come as no surprise. Drug company marketing

materially impacts doctors’ prescribing behavior. The effects of sales calls on prescribers’

behavior is well documented in the literature, including a 2017 study that found that physicians

ordered fewer promoted brand-name medications and prescribed more cost-effective generic

versions if they worked in hospitals that instituted rules about when and how pharmaceutical

sales representatives were allowed to detail prescribers. The changes in prescribing behavior

appeared strongest at hospitals that implemented the strictest detailing policies and included

enforcement measures. Another study examined four practices, including visits by sales

representatives, medical journal advertisements, direct-to-consumer advertising, and pricing, and

found that sales representatives have the strongest effect on drug utilization. An additional study

found that doctor meetings with sales representatives are related to changes in both prescribing

practices and requests by physicians to add the drugs to hospitals’ formularies.

       698.    Marketing Defendants spent millions of dollars to market the Manufacturer

Defendants’ drugs to prescribers and patients and meticulously tracked their return on that

investment. In one recent survey published by the AMA, even though nine in ten general

practitioners reported prescription drug abuse to be a moderate to large problem in their

communities, 88% of the respondents said they were confident in their prescribing skills, and

nearly half were comfortable using opioids for chronic non-cancer pain. These results are

directly due to the Marketing Defendants’ fraudulent marketing campaign focused on several

misrepresentations.




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       699.    Thus, both independent studies and Marketing Defendants’ own tracking confirm

that Defendants’ marketing scheme dramatically increased their sales.

       700.    These increased sales included prescriptions under circumstances, in quantities,

and for durations that, but for the Marketing Defendants’ fraudulent misrepresentations, would

not have been written. The prescription opioids that Plaintiffs paid for included drugs that, but

for the Marketing Defendants’ fraudulent misrepresentations, would not have been prescribed

and Plaintiffs would not have paid for.

IV.    Supply Chain Defendants and Co-Conspirators Throughout the Supply Chain
       Deliberately Disregarded Their CSA and State Law Duties in Order to Maximize
       Their Opioid Profits

       701.    Not only did Plaintiffs pay for opioids dispensed pursuant to prescriptions that,

but for the Marketing Defendants’ misrepresentations about the risks and benefits of opioids,

would never have been written and/or filled, but Plaintiffs also paid for opioids dispensed

pursuant to prescriptions that were not valid and written for a legitimate medical purpose. This

occurred because the Manufacturer Defendants, Independent Distributors and the Pharmacy

Defendants, who were registrants under the federal CSA, failed to provide the requisite controls

against diversion. They shipped suspicious orders with indicia of diversion without performing

the required due diligence, and/or they dispensed prescriptions with red flag indications of

diversion, again without performing the due diligence required by law.

       702.    For over a decade, the Supply Chain Defendants aggressively sought to bolster

their revenues, increase profits, and grow their shares of the prescription opioid market by

unlawfully and surreptitiously increasing the volume of opioids they sold nationwide.

       703.    However, the Supply Chain Defendants are not permitted to engage in a limitless

expansion of their market shares through the unlawful sale of highly addictive controlled




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substances. Rather, as described below, the Supply Chain Defendants are subject to various

duties under the federal Controlled Substances Act and state law—duties they failed to perform.

       704.    As detailed below, the Supply Chain Defendants’ failure to comply with their

duties under the CSA and state law resulted in the dispensing of opioids pursuant to invalid

prescriptions. Among the prescription opioids that Plaintiffs paid for were opioids dispensed

pursuant to invalid prescriptions that, but for the Supply Chain Defendants’ failure to carry out

their CSA and state law duties, would not have been dispensed and Plaintiffs would not have

paid for.

       A.      The Supply Chain Defendants Had Obligations Under the CSA and State
               Law to Provide Effective Controls Against Diversion

       705.    The CSA requires any “person” that manufactures, distributes, or dispenses

controlled substances to register with the federal Drug Enforcement Administration (“DEA”).

The CSA and its implementing regulations then impose specific duties on registrants to provide

safeguards against the diversion of controlled substances. The CSA thus creates a “closed

system” in which every participant in the supply chain for controlled substances is known,

registered, and subject to regulation. Controlled substances are categorized on “schedules”

according to the degree of danger they pose. Prescription opioids are controlled substances

under the CSA and most of them are categorized as “Schedule II” substances, the most restrictive

category of drugs that can lawfully be prescribed.

       706.    The Defendant entities that manufacture, distribute, and/or dispense prescription

opioids are DEA registrants under the CSA and thus are required to comply with the statutory

and regulatory requirements imposed on registrants.

       707.    The fundamental duty imposed by the CSA is the obligation to provide effective

controls against diversion. See 21 C.F.R § 1301.71. Every DEA registrant is subject to this duty.



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       708.    The Defendant entities that manufacture, distribute, and/or dispense prescription

opioids are also subject to duties under state law, which similarly require that Defendants

provide effective controls against diversion.

               1.      CSA Duties of Manufacturers and Wholesaler Distributors

       709.    In addition to their overall duty to provide effective controls against diversion,

registrants that are manufacturers or wholesale distributors (a) must design and implement a

system, to identify suspicious orders; (b) report suspicious orders to the DEA; and (c) not ship

suspicious orders unless and until they are able to establish, through due diligence, that they are

not likely to be diverted. See 21 C.F.R. § 1301.74; see also Masters Pharm. Inc., 80 Fed. Reg.

55418-01, 2015 WL 5320504 (DEA Sept. 15, 2015); In re Nat’l Prescription Opiate Litig., 2019

WL 3917575, at *4-10 (N.D. Ohio Aug. 19, 2019); City & County of San Francisco v. Purdue

Pharma L.P., 620 F. Supp. 3d 936, 951-52 (N.D. Cal. 2022).

       710.    Suspicious orders include orders of unusual size, orders deviating substantially

from a normal pattern, and orders of unusual frequency. Other factors that may raise suspicions

may include, for example, “[o]rdering the same controlled substance from multiple distributors.”

These criteria are disjunctive and are not all inclusive. For example, if an order deviates

substantially from a normal pattern, the size of the order does not matter and the order should be

reported as suspicious. Likewise, a distributor or manufacturer need not wait for a normal

pattern to develop over time before determining whether a particular order is suspicious. The

size of an order alone, regardless of whether it deviates from a normal pattern, is enough to

trigger the responsibility to report the order as suspicious. The determination of whether an

order is suspicious depends not only on the ordering patterns of the particular customer but also

on the patterns of the entirety of the customer base and the patterns throughout the relevant

segment of the industry.


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       711.    Once a registrant has identified a suspicious order, it must refuse to ship that order

unless and until it can establish, through due diligence, that the order is unlikely to be diverted.

       712.    The Federal Trade Commission (“FTC”) has recognized the unique role of

distributors in the CSA controlled system. Since their inception, the Independent Distributors

have continued to integrate vertically by acquiring businesses that are related to the distribution

of pharmaceutical products and health care supplies. In addition to the actual distribution of

pharmaceuticals, as wholesalers, Independent Distributors also offer their pharmacy, or

dispensing, customers a broad range of added services. For example, distributors offer their

pharmacy customers sophisticated ordering systems and access to an inventory management

system and distribution facility that allows customers to reduce inventory carrying costs.

Distributors are also able to use the combined purchase volume of their customers to negotiate

the cost of goods with manufacturers and offer services that include software assistance and

other database management support. See Fed. Trade Comm’n v. Cardinal Health, Inc., 12 F.

Supp. 2d 34, 41 (D.D.C. 1998) (granting the FTC’s motion for preliminary injunction and

holding that the potential benefits to customers did not outweigh the potential anti-competitive

effect of a proposed merger between Cardinal Health, Inc. and Bergen Brunswig Corp.). As a

result of their acquisition of a diverse assortment of related businesses within the pharmaceutical

industry, as well as the assortment of additional services they offer, the Independent Distributors

have a unique insight into the ordering patterns and activities of their dispensing customers.

       713.    The Manufacturer Defendants also have specialized and detailed knowledge of

the potential suspicious prescribing and dispensing of opioids through their regular visits to

doctors’ offices and pharmacies, and from their purchase of data from commercial sources, such

as IMS Health. (Because the IMS Health data comes from the Pharmacy Defendants, the




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Pharmacy Defendants, too, have access to the same detailed information as the Manufacturer

Defendants.) Their extensive boots-on-the-ground activity through their sales force allows

Manufacturer Defendants to observe the signs of suspicious prescribing and dispensing discussed

elsewhere in the Complaint—lines of seemingly healthy patients, out-of-state license plates, and

cash transactions, to name only a few. In addition, Manufacturer Defendants regularly mined

data, including chargeback data, which allowed them to monitor the volume and type of

prescribing of doctors, including sudden increases in prescribing and unusually high dose

prescribing, which would have alerted them, independent of their sales representatives, to

suspicious prescribing. This information gave Manufacturer Defendants insight into prescribing

and dispensing conduct that enabled them to play a valuable role in preventing diversion and

fulfilling their obligations under the CSA.

       714.    Manufacturer Defendants and Independent Distributors have a duty, and are

expected, to be vigilant in deciding whether a prospective customer can be trusted to deliver

controlled substances only for lawful purposes.

       715.    As described below, the Manufacturer Defendants and Independent Distributors

breached these duties by failing to: (a) provide effective controls against diversion; (b) design

and implement appropriate systems to identify suspicious orders; (c) report suspicious orders;

and (d) halt shipments of opioids in quantities they knew or should have known could not be

justified and were indicative of serious problems of overuse of opioids.

               2.      CSA Duties of Dispensers

       716.    In addition to their overall duty to provide effective controls against diversion,

registrants that dispense opioids are prohibited from filling prescriptions that are not written for a

legitimate medical purpose. See 21 C.F.R. § 1306.04(a); see also In re Nat’l Prescription Opiate

Litig., 589 F. Supp. 3d 739, 784-85 (N.D. Ohio 2022) (quoting jury instruction that described


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CSA duties of dispensers); City & County of San Francisco v. Purdue Pharma L.P., 620 F. Supp.

3d 936, 958-59 (N.D. Cal. 2022). Dispensers must review prescriptions for red flags, perform

due diligence on prescriptions that raise red flags, and refuse to fill prescriptions for which red

flags cannot be resolved. Not only the pharmacists at the dispensing counter, but the pharmacy

itself and its corporate parents, are required to ensure that only valid prescriptions are filled.

       717.    DEA has identified several types of “unresolvable red flags” that, when present in

a prescription, must prevent the prescription from being filled by the overseeing pharmacist.

These unresolvable red flags include: a prescription issued by a practitioner lacking valid

licensure or registration to prescribe the controlled substances; multiple prescriptions issued by

the same practitioner to patients from the same address, prescribing the same controlled

substances in each prescription; a high volume of patients presenting prescriptions and paying

with cash; and a prescription presented by a customer who has traveled significant and

unreasonable distances from their home to see a prescriber and/or to fill the prescription at the

pharmacy.

       718.    DEA guidance also instructs pharmacies to monitor for red flags that include:

(1) prescriptions written by a prescriber who writes significantly more prescriptions (or in larger

quantities or higher doses) for controlled substances as compared to other practitioners in the

area, and (2) prescriptions for antagonistic drugs, such as depressants and stimulants, taken at the

same time as opioids. Most of the time, these attributes are not difficult to detect and should be

easily recognizable by the Pharmacy Defendants’ diversion-control systems.

       719.    The DEA has also explained these red flags in individual meetings with the

Pharmacy Defendants. For example, in December 2010, DEA hosted a meeting with CVS’s

representatives and counsel and advised CVS of the “red flags . . . that a pharmacy should be




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familiar with in order to carry out its corresponding responsibility to ensure that the controlled

substances are dispensed for a legitimate medical purpose.”102

       720.    Examples of red flags that the DEA identified during its meeting with CVS

include:

               a.      many customers receiving the same combination of prescriptions (i.e.,

oxycodone and alprazolam);

               b.      many customers receiving the same strength of controlled substances (i.e.,

30 milligrams of oxycodone with 15 milligrams of oxycodone and 2 milligrams of alprazolam);

               c.      many customers paying cash for their prescriptions;

               d.      many customers with the same diagnosis codes written on their

prescriptions (i.e., back pain, lower lumbar, neck pain, or knee pain); and

               e.      individuals driving long distances to visit physicians and/or to fill

prescriptions.103

       721.    In a 2016 presentation to the American Pharmacists Association, the DEA

reiterated that retail pharmacies must watch for red flags such as large numbers of customers

who receive the same combination of prescriptions, receive the same strength of controlled

substance prescription (often for the strongest dose), have prescriptions from the same prescriber,

and have the same diagnosis code.

       722.    Many of these red flags are acknowledged in a “Stakeholders” memorandum

created by many of the Pharmacy Defendants, including CVS and Walgreens, and others in the

business of selling controlled substances for profit, like Purdue, Express Scripts, Cardinal, and



102
    Declaration of J. Rannazzisi in Holiday CVS, L.L.C. v. Holder, 839 F. Supp.2d 145 (D.D.C.
2012).
103
    Id.


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their trade organizations, including the Healthcare Distribution Management Association

(“HDMA”) (now known as the Healthcare Distribution Alliance (“HDA”), the National

Association of Chain Drug Stores (“NACDS”), and the Pharmaceutical Care Management

Association (“PCMA”).

       723.    In the context of bellwether cases brought by governmental plaintiffs, the MDL

Court held that “both pharmacists and pharmacies bear all the obligations imposed [by the CSA]

upon practitioners and dispensers.” CT3 MTD Order, Doc. No. 3403 (Aug. 6, 2020). The Court

further held that, in light of the data that pharmacies are required, by law, to collect, they must

make use of that data to provide effective controls against diversion. Id. As the Court explained:

       [A] pharmacy is required to: (1) collect and maintain specific records and data
       regarding its dispensing activity; (2) employ a properly licensed pharmacist; and
       (3) properly dispense controlled substances and avoid diversion. Therefore, both
       the pharmacy and the pharmacist must cooperatively identify and resolve “red
       flags” prior to dispensing controlled substances. The Court concludes these
       requirements collectively mean that the Pharmacy Defendants cannot collect data
       as required by the statute, employ a licensed pharmacist as required by the statute,
       identify red flags as required by Agency decisions, but then do nothing with their
       collected data and leave their pharmacist-employees with the sole responsibility
       to ensure only proper prescriptions are filled. Possessing, yet doing nothing with,
       information about possible diversion would actually facilitate diversion, and thus
       violate the CSA’s fundamental mandate that “All applicants and registrants shall
       provide effective controls and procedures to guard against theft and diversion of
       controlled substances.” 21 C.F.R. § 1301.71(a).

Id. at 25 (emphasis by the Court).

       724.    Similarly, in a case remanded from the MDL, Judge Charles Breyer of the United

States District Court for the Northern District of California held that the CSA “requires

pharmacists and pharmacies to identify and resolve objective signs ‘arising during the

presentation of a prescription’ that create ‘a reasonable suspicion that the prescription is not, on

its face, legitimate.’” No. 18-cv-07591, ECF No. 1578, at 97 (N.D. Cal. Aug. 10, 2022). Judge

Breyer further held that the elements of a CSA violation in this context are that “(1) a pharmacy



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dispensed a controlled substance, (2) “a red flag was or should have been recognized at or before

the time the controlled substance was dispensed,” and (3) “the question created by the red flag

was not resolved conclusively prior to the dispensing of the controlled substance.” The Court

further noted that “Prescriptions with unresolved red flags cannot be dispensed.” Id. at 98.

               3.      State Law Duties of Manufacturers, Distributors, and Dispensers

       725.    In addition to the duties imposed by federal law, under states’ laws, Defendants

have a duty to detect, investigate, refuse to fill, and report suspicious orders of opioids.104

       726.    For example, the Oklahoma State Board of Pharmacy requires that all registrants

shall “establish and maintain effective controls against the diversion of prescription drugs and/or

controlled dangerous drugs.” Okla. Rev. Stat. § 535:25-9-8(2). The New York State Controlled

Substances Act imposes similar requirements for manufacturers and distributors. See N.Y. Pub.

Health Law § 3312(1)(c) (applicants seeking to manufacture or distribute controlled substances

must maintain “effective control against diversion of the controlled substances”); accord 21

U.S.C. § 823 (mandating that registration be consistent with the public interest, which, in turn,

requires “maintenance of effective controls against diversion . . . into other than legitimate

medical, scientific, research, or industrial channels” and “compliance with applicable State and

local law”); 21 C.F.R. § 1301.74 (imposing duty to monitor, detect, investigate, refuse to fill, and

report suspicious orders under federal law).

       727.    Oklahoma regulations further mandate that suspicious orders, defined as unusual

in size or frequency or deviation from buying patterns, be reported to the Oklahoma State Board

of Pharmacy: “Failure to establish and maintain suspicious order monitoring records in a


104
   While the statutory basis for Defendants’ state law duties is described in detail here,
references to Defendants’ duties under the CSA should otherwise, throughout this Complaint, be
read to encompass Defendants’ analogous duties under state law.



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suspicious order monitoring program; and failure to notify the Board of confirmed suspicious

orders” are “violations of registrant conduct.” Okla. Rev. Stat. § 535:25-9-8(5). Similarly, in

New York, “licensee[s] shall establish and operate a system to disclose . . . suspicious orders for

controlled substances and inform the department of such suspicious orders.” N.Y. Comp. Codes

R. & Regs. 10 § 80.22. Any of the red flags identified by law trigger a duty to report, but this list

is not exhaustive. Other factors – such as whether the order is skewed toward high dose pills, or

orders that are skewed towards drugs valued for abuse, rather than other high-volume drugs, such

as cholesterol medicines – also should alert distributors to potential problems. Distributors also

have a duty to know their customers and the communities they serve. To the extent that, through

this process of customer due diligence, a distributor observes suspicious circumstances—such as

cash transactions or young and seemingly healthy patients filling prescriptions for opioids at a

pharmacy they supply—those observations can also trigger reasonable suspicion. A single order

can warrant scrutiny, or it may be a pattern of orders, or an order that is unusual given the

customer’s history or its comparison to other customers in the area.

       728.    Defendants were required by state law to operate in compliance with federal laws,

including the federal Controlled Substances Act, 21 U.S.C. § 801, et seq. and its implementing

regulations. For example, the New York Controlled Substances Act requires licensees to be in

“compliance by the applicant with the requirements of the federal controlled substances act.”

N.Y. Pub. Health Law § 3315(2)(b)(ii). And the Oklahoma State Board of Pharmacy Board

regulations further mandate that “[f]ailure to establish and maintain effective controls against the

diversion of prescription drugs and/or controlled dangerous drugs into other than legitimate

medical, scientific, or industrial channels as provided by federal, state or local laws or rules” and

the “[f]ailure to establish and maintain suspicious order monitoring records in a suspicious order




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monitoring program; and failure to notify the Board of confirmed suspicious orders” are

violations of law. Okla. Rev. Stat. § 535:25-9-8(2), (5).

         B.     Manufacturer Defendants and Independent DistributorsDeliberately
                Disregarded Their CSA Obligations Regarding Suspicious Orders to
                Maximize Their Opioid Profits

         729.   The Healthcare Distribution Management Association (“HDMA,” now known as

the Healthcare Distribution Alliance (“HDA”), and prior to 2000, known as the National

Wholesale Druggists’ Association (“NWDA”)), is a national trade association that has long

taken the position that distributors have responsibilities to “prevent diversion of controlled

prescription drugs” not only because they have statutory and regulatory obligations do so, but “as

responsible members of society.” Guidelines established by the HDA also explain that

distributors “[a]t the center of a sophisticated supply chain . . . are uniquely situated to perform

due diligence in order to help support the security of the controlled substances they deliver to

their customers.”

         730.   In 2007 and 2008, the HDA began developing “Industry Compliance Guidelines”

(“ICG”) that aimed to outline certain “best practices” for distributors of controlled substances.

As part of its development of the ICG, the HDA met with the DEA on at least three occasions.

The HDA also sought extensive input from its membership, as well as other groups such as the

Pain Care Forum (“PCF”). Internal discussions concerning the ICG further demonstrate the

industry’s knowledge of what was expected of them. For example, when deciding whether or not

the guidelines should permit a distributor to still ship a part of an order identified as suspicious,

the HDA noted that one potential downside of this approach was that “DEA

correspondence/interpretation do not support this practice.”105



105
      HDA_MDL_000213058.


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       731.    The HDA released the ICG in 2008 and, in doing so, it emphasized that

distributors were “[a]t the center of a sophisticated supply chain” and “uniquely situated to

perform due diligence in order to help support the security of the controlled substances they

deliver to their customers.”106

       732.    In 2016, in the appeal that arose from DEA’s enforcement action against

wholesaler Masters Pharmaceuticals, Inc. for its distribution of opioids, the HDA and NACDS

submitted a joint amicus brief regarding the legal duty of distributors that acknowledged that

“HDMA and NACDS members” had a duty to prevent diversion. See Masters Pharmaceuticals,

Inc. v. U.S. Drug Enforcement Admin., 2016 WL 1321983 (D.C. Cir. April 4, 2016). As

described below, both the HDA and NACDS have both long taken the position that distributors

have responsibilities to “prevent diversion of controlled prescription drugs” not only because

they have statutory and regulatory obligations do so, but “as responsible members of society.”

       733.    In addition, the DEA, for example, in April 1987, sponsored a three-day

“Controlled Substances Manufacturers and Wholesalers Seminar” that was attended by “over

fifty security and regulatory compliance professionals representing forty-three major

pharmaceutical manufacturers and wholesalers.”107 According to the executive summary of the

event, Ronald Buzzeo held a session on “excessive order monitoring programs,” wherein he

explained:

       [A]ny system must be capable of both detecting individual orders which are
       suspicious, or orders which become suspicious over time due to frequency,
       quantity, or pattern. The NWDA system, for example, provides an excellent
       lookback, or trend system, but the ability to identify one time suspicious orders
       should not be overlooked as an element of the program.” Another area at issue


106
    Healthcare Distribution Management Association (HDMA) Industry Compliance Guidelines:
Reporting Suspicious Orders and Preventing Diversion of Controlled Substances, filed in Cardinal
Health, Inc. v. Holder, No. 12-5061 (D.C. Cir. Mar. 7, 2012), Doc. No. 1362415 (App’x B at 1).
107
    US-DEA-00025657.


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       was whether DEA would take action against a registrant which reported an order
       and then shipped it. DEA pointed out that the company is still responsible under
       their registrations for acting in the public interest. Reporting the order does not in
       any way relieve the firm from the responsibility for the shipment.

       734.    Specifically, in August 2005, the DEA’s Office of Diversion Control launched the

“Distributor Initiative.” The Distributor Initiative did not impose any new duties on distributors,

but simply reminded them of their duties under existing law. The stated purpose of the program

was to “[e]ducate and inform distributors/manufacturers of their due diligence responsibilities

under the CSA by discussing their Suspicious Order Monitoring System, reviewing their

[Automation of Reports and Consolidated Orders System (“ARCOS”)] data for sales and

purchases of Schedules II and III controlled substances, and discussing national trends involving

the abuse of prescription controlled substances.”108 The CSA requires that distributors (and

manufacturers) report all transactions involving controlled substances to the United States

Attorney General. This data is captured in ARCOS, the “automated, comprehensive drug

reporting system which monitors the flow of DEA controlled substances from their point of

manufacture through commercial distribution channels to point of sale or distribution at the

dispensing/retail level—hospitals, retail pharmacies, practitioners, mid-level practitioners, and

teaching institutions,”109 described above, from which certain data was recently made public.

       735.    As part of the Distributor Initiative, the DEA gave several presentations to

distributors both individually and through presentations and discussions at Defendants’ trade

groups meetings directly targeted at some of the red flags of diversion that the Defendants were

obligated to consider and monitor as part of their requirements under the law.



108
    Thomas W. Prevoznik, Office of Diversion Control, Distributor Initiative presentation (Oct.
22,2013), https://www.deadiversion.usdoj.gov/mtgs/distributor/conf_2013/prevoznik.pdf.
109
    U.S. Dept. of Justice, Drug Diversion Administration, Diversion Control Division
website,https://www.deadiversion.usdoj.gov/arcos/index.html.


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        736.    The DEA has hosted many different conferences throughout the years, including

Pharmacy Diversion Awareness Conferences, to provide registrants with updated information

about diversion trends and their regulatory obligations. The DEA also frequently presented at

various other conferences for registrants at the national, state, or local level.

        737.    Through presentations at industry conferences and on its website, the DEA

provided detailed guidance to distributors on what to look for in assessing their customers’

trustworthiness. As an example, the DEA published “Suggested Questions a Distributor Should

Ask Prior to Shipping Controlled Substances.”110




110
   U.S. Dept. of Justice DEA, Diversion Control Division website, Pharmaceutical Industry
Conference (Oct 14 & 15, 2009), Suggested Questions a Distributor should ask prior to shipping
controlled substances, Drug Enforcement Administration available at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf; Richard
Widup, Jr., Kathleen H. Dooley, Esq., Pharmaceutical Production Diversion: Beyond the PDMA,
Purdue Pharma and McGuireWoods LLC, available at https://www.mcguirewoods.com/news-
resources/publications/lifesciences/product_diversion_beyond_pdma.pdf.


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       738.    In addition, the DEA sent a series of letters, beginning on September 27, 2006, to

every commercial entity registered to distribute controlled substances. The 2006 letter

emphasized that distributors are:

       one of the key components of the distribution chain. If the closed system is to
       function properly . . . distributors must be vigilant in deciding whether a
       prospective customer can be trusted to deliver controlled substances only for
       lawful purposes. This responsibility is critical, as . . . the illegal distribution of
       controlled substances has a substantial and detrimental effect on the health and
       general welfare of the American people.111

       739.    The letter also warned that “even just one distributor that uses its DEA

registration to facilitate diversion can cause enormous harm.”

       740.    The DEA sent a second letter to distributors on December 27, 2007. Again, the

letter instructed that, as registered distributors of controlled substances, they must each abide by

statutory and regulatory duties to “maintain effective controls against diversion” and “design and

operate a system to disclose to the registrant suspicious orders of controlled substances.”112

       741.    The DEA’s December 27, 2007 letter reiterated the obligation to detect, report,

and not fill suspicious orders and provided detailed guidance on what constitutes a suspicious

order and how to report (e.g., by specifically identifying an order as suspicious, not merely

transmitting data to the DEA). Finally, the letter references the Revocation of Registration

issued in Southwood Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which




111
    Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Off. of Diversion Control, Drug
Enf’t Admin., U.S. Dep’t of Justice, to Cardinal Health (Sept. 27, 2006), filed in Cardinal Health,
Inc. Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-51 (“2006
Rannazzisi Letter”); see also CVS-MDLT1000091513; WAGMDL00757797.
112
    Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control,
Drug.Enf’t Admin., U.S. Dep’t of Justice, to Cardinal Health (Dec. 27, 2007), filed in Cardinal
Health,Inc. v. Holder, No. 1:12-cv00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-8 (“2007
Rannazzisi Letter”).


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discusses the obligation to report suspicious orders and “some criteria to use when determining

whether an order is suspicious.”

         742.   In September 2007, the NACDS, among others, also attended a DEA conference

at which the DEA reminded registrants that not only were they required to report suspicious

orders, but also to halt shipments of suspicious orders. Walgreens, specifically, registered for the

conference.

         743.   The DEA’s regulatory actions against the three largest wholesale distributors

further underscore the fact that distributors such as Defendants were well aware of their legal

obligations. There is a long history of enforcement actions against registrants for their

compliance failures. For example, in 2007, the DEA issued an Order to Show Cause and

Immediate Suspension Order against three of Cardinal Health’s distribution centers and on

December 23, 2016, Cardinal Health agreed to pay the United States $44 million to resolve

allegations that it violated the CSA in Maryland, Florida, and New York. Similarly, on May 2,

2008, McKesson entered into an Administrative Memorandum of Agreement with the DEA

related to its failures in maintaining an adequate compliance program. Subsequently, in January

2017, McKesson entered into an Administrative Memorandum Agreement with the DEA

wherein it agreed to pay a $150 million civil penalty for, inter alia, failure to identify and report

suspicious orders at several of its facilities.

                1.      AmerisourceBergen113 Distributed Prescription Opioids in Violation
                        of Its CSA Duties

         744.   AmerisourceBergen’s (“ABDC”) SOMS failed to adhere to even the most basic

requirements of the CSA. For instance, prior to 2007, AmerisourceBergen’s SOMS policies only

attempted to identify “excessive” orders that exceeded a particular threshold, rather than


113
      AmerisourceBergen is now known as Cencora, Inc.


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“suspicious” orders of unusual size, pattern, or frequency, as is required by the CSA. At that

time, AmerisourceBergen had no meaningful due diligence process in place to investigate

whether such “excessive” orders otherwise qualified as “suspicious,” other than to confirm a

customer was licensed with the state and registered with the DEA. In fact, up until 2007,

AmerisourceBergen’s official national policy was to ship all orders of opioids it received,

regardless of size, frequency, deviations from prior orders, deviations from averages, deviations

from defined thresholds, or even whether that order was deemed “suspicious.”

       745.    In 2007, the DEA initiated an Enforcement Action against AmerisourceBergen

which resulted in the suspension of its Orlando Distribution Center, due to its improper filling

and shipment of suspicious opioid orders. To obtain authorization to re-open the facility,

AmerisourceBergen was forced to update its diversion control program, including adding (1) a

more in-depth due diligence process, and (2) a requirement to stop shipping suspicious orders to

customers.

       746.    After the 2007 Enforcement Action, ABDC implemented a “Know Your

Customer” due diligence policy which was effectuated through the Form 590 retail pharmacy

questionnaire. The Form 590 process was flawed in that it exempted existing customers and

retail chain pharmacies from the form requirements. Moreover, a vast number of the forms that

ABDC did collected were either illegibly filled out or contained substantial omissions. Against

this backdrop, AmerisourceBergen implemented a “CSRA 590 Validation Project,” which

revealed that it had only received about 10% of the required documents it sought from its

customers.

       747.    In 2015, ABDC engaged an outside consultant, FTI Consulting Inc. (“FTI”) to

review its SOMS. FTI issued a damning report documenting the findings of its audit of ABDC’s




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compliance activities. The FTI report disclosed a litany of problems, including a lack of

resources, a lack of formal training, crushing administrative demands, inconsistent policies and

communication break-downs. In addition to the report, FTI highlighted its concerns with

AmerisourceBergen’s regulatory compliance obligations relating to diversion control in a forty-

five page chart discussing FTI’s findings. ABDC took no action and made no changes to its

diversion policies or procedures in response to these alarming findings.

       748.    AmerisourceBergen’s SOMs deficiencies had real consequences in the

communities in which AmerisourceBergen does business. For example, a DEA Suspension

Order concerning one of AmerisourceBergen’s Ohio customers, East Main Street Pharmacy,

documented deaths that occurred as a result of a failure to prevent diversion. Julie Fuller, an

AmerisourceBergen sales representative who was responsible for East Main Street Pharmacy,

testified in the suspension proceedings. Notwithstanding the obvious signs of illegal activity

occurring at the East Main Street Pharmacy, including the fact that more than half of the

pharmacy’s prescriptions were written by an out-of-area doctor prescribing high volumes of

controlled substances, Ms. Fuller “acknowledged that the purpose of her visits was not ‘to

observe [the pharmacist]’ in the practice of pharmacy but to get his business.” Ms. Fuller also

stated that as an account manager, AmerisourceBergen only provided her general sales training,

and did not provide any training or information on (a) how to identify questionable pharmacy

behavior like suspicious dispensing, sales, or prescription filling practices, (b) how to report

concerns regarding those behaviors, or (c) how to ensure that account managers only signed up

and maintained accounts with legitimate pharmacies




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        749.    Despite a reported shift in its due diligence policies after the 2007 settlement with

the DEA, AmerisourceBergen’s order monitoring program was a failure both in its

implementation and its ability to adequately prevent diversion.

                2.      Cardinal Health Distributed Prescription Opioids in Violation of Its
                        CSA Duties

        750.    Cardinal Health has admitted that it failed to comply with the requirements of the

CSA. In a May 2012 agreement with the DEA, Cardinal stated that it “admits that its due

diligence efforts for some pharmacy customers and its compliance with the 2008 MOA, in

certain respects, were inadequate.” Cardinal also failed to meet its duties to maintain effective

controls under the CSA prior to January 2008. In the 18 months prior, Cardinal had accumulated

nearly $1 billion in fines, settlements, and lost business as a result of multiple regulatory actions,

including the suspension of Cardinal’s distribution centers’ licenses for failure to maintain

effective controls against the diversion of opioids.

        751.    In late 2007 and early 2008 the DEA served immediate suspension orders or

orders to show cause on four Cardinal distribution centers in Washington, Texas, Florida, and

New Jersey for distributing opioids to pharmacies Cardinal knew, or should have known, were

diverting opioids. This action by the DEA resulted in a Settlement and Release Agreement and

Memorandum of Agreement that covered the “alleged failure of Cardinal to maintain adequate

controls against the diversion of controlled substances, on or prior to September 30, 2008, at all

distribution facilities. . . operated, owned, or controlled by it.”

        752.    The DEA’s 2008 action was in direct response to the fact that Cardinal did not

have a SOMS in place that would allow it to sufficiently detect and report suspicious orders of

opioids. Specifically, Cardinal did not have a specific protocol to monitor possible drug




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diversion (outside of ARCOS) activity with internet pharmacies or wholesaler accounts. Cardinal

simply did not monitor what these accounts purchased.

       753.    Cardinal’s own counsel admitted in 2008 that Cardinal “does not yet have a

system for detecting all suspicious orders.” Prior to 2008, Cardinal primarily reported suspicious

orders to the DEA in the form of monthly summaries called Ingredient Limit Reports (“ILR”)

after they had already been shipped. In a company of over 30,000 employees, Cardinal tasked

just three employees with reviewing the ILRs for the entire country.

       754.    In 2007, Cegedim Dendrite was hired to conduct an audit of Cardinal’s SOMS.

The audit concluded, among other things, that because the ILRs were based on historical

information they were not sufficient to monitor deviations in ordering patterns on a real time

basis and did not substitute for real time automated analysis of pattern and frequency.

       755.    By its own admission, Cardinal did not have a policy to stop shipment of

suspicious orders until 2008. Internal Cardinal documents indicate that nationwide, Cardinal

reported only a few dozen suspicious orders from 2008-2013.

       756.    As an additional indication of its failure to maintain effective controls against

diversion, Cardinal provided preferential treatment to chain pharmacies, treating them differently

than retail independent pharmacies with respect to setting thresholds and conducting due

diligence. Cardinal refused to impose the same requirements on chain customers that it did on

retail independents because, as stated in Cardinal’s June 27, 2006 letter, large national pharmacy

chains can “take their billions upon billions of dollars in business to any wholesaler in the

country.”

       757.    Cardinal failed to conduct due diligence on its retail pharmacy chain customers

and instead relied on the chains’ inhouse loss prevention departments to report this information.




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However, Cardinal did not make any effort to evaluate chain pharmacies anti-diversion

programs.

       758.    In 2012, the DEA began another prosecution of Cardinal for failing to prevent

diversion and for not complying with the 2008 MOA. As a result, the DEA served another

Immediate Suspension Order on Cardinal’s distribution facility in Lakeland, Florida (also one of

the facilities at issue in the 2008 action) for distributing excessive amounts of oxycodone to retail

pharmacies, including some chain pharmacy stores.

       759.    In response to the 2012 investigation, Cardinal admitted that it failed to comply

with the 2008 MOA and had not engaged in proper due diligence in evaluating its customers for

diversion. Complying with the CSA was simply not a priority at Cardinal Health.

               3.      McKesson Distributed Prescription Opioids in Violation of Its CSA
                       Duties

       760.    McKesson’s systemic failure to follow the CSA requirements has been

documented in two large settlements with the DEA. In the January 2017 settlement with the

DEA, McKesson accepted responsibility for violating the CSA and expressly acknowledged that:

       at various times during the period of January 1, 2009, up through and including
       the Effective Date of this Agreement (the “Covered Time Period”) it did not
       identify or report to the DEA certain orders placed by certain pharmacies which
       should have been detected by McKesson as suspicious based on the guidance
       contained in the DEA Letters about the requirements set forth in 21 C.F.R. §
       1301.74(b) and 21 U.S.C. § 8942(a)(5).

       761.    From at least 1997 until May 2007, the sole system utilized by McKesson to

identify and report suspicious orders of controlled substances was found in Section 55 of the

McKesson Drug Operations Manual. McKesson’s “Section 55” Program was a rudimentary

system that failed to meet the most basic CSA requirements. McKesson’s own regulatory

employees have acknowledged that this system did not flag true suspicious orders as required by

the CSA.


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       762.    McKesson’s Section 55 Program was also flawed in that it did not include a

requirement to block orders that were deemed “excessive” and ultimately reported to the DEA.

In fact, McKesson made no effort to block suspicious orders until it began utilizing the

Controlled Substance Monitoring Program in May 2008. McKesson did not attempt to

investigate the legitimacy of excessive orders under the Section 55 program either.

       763.    The shortcomings of Section 55 are best illustrated in DEA’s investigation into

large shipments of opioids provided by McKesson to rogue internet pharmacies in 2005 and

2006. In January of 2006, DEA notified McKesson that it had identified more than 2 million

doses of hydrocodone delivered by McKesson to several rogue internet pharmacies during a

three week period. McKesson conceded that these extremely large orders were not flagged under

its Section 55 system, in part, because McKesson did not track the sale of generic drugs for

suspicious order monitoring purposes under that system.

       764.    In May 2007, McKesson launched its Lifestyle Drug Monitoring Program

(“LDMP”) but it was short-lived and did little to improve upon Section 55’s shortcomings.

LDMP was a threshold system that was limited to four drugs (oxycodone, hydrocodone,

alprazolam and phentermine). The system triggered once a customer ordered above an 8000

dosage unit threshold in a given month. However, the LDMP had no mechanism by which to

block orders once the 8,000 unit threshold was met and while investigations were ongoing. In

fact, pharmacy customers were routinely permitted to exceed the 8,000 monthly dosage

thresholds prior to a due diligence review being completed by McKesson.

       765.    On May 2, 2008, McKesson entered into a settlement agreement with the DEA

and DOJ and paid $13,250,000 in fines for numerous violations of the CSA concerning the

distribution of opioids.




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       766.    Even with the adoption of its new Controlled Substances Monitoring Program

(“CSMP”) in 2008, McKesson still failed to identify and report suspicious orders. The CSMP

continued to apply monthly thresholds, but unlike the LDM, the CSMP’s monthly thresholds

applied to all opioid products. However, thresholds could be adjusted pursuant to a threshold

change request and the records are devoid of evidence of anything resembling adequate due

diligence. The CSMP was also the first time that McKesson established a process for blocking

opioids orders that were identified as suspicious. Not surprisingly, CSMP contained multiple

loopholes to ensure as few orders as possible were blocked, ensuring that the controls that were

put into place remained completely ineffective.

       767.    Although McKesson established thresholds under the CSMP, those thresholds

were frequently set far too high ever to be triggered and McKesson routinely increased

thresholds without obtaining adequate justification for the increase. Like Cardinal, McKesson

displayed a pattern of absolute deference to retail national account customers when it came to

threshold increases. Moreover, McKesson took affirmative steps to reduce the number of

blocked controlled substance orders by warning customers that they were approaching a

threshold. This process ensured that customers could seek an increase before McKesson would

be forced to block their orders.

       768.    It was not until November of 2013 that McKesson, acknowledging the

impropriety of providing these warning reports to customers, implemented a new policy

prohibiting the communication of specific thresholds or providing threshold warning reports.

       769.    While the CSMP could have been used as a tool to identify suspicious orders and

properly investigate them, significant efforts were undertaken by McKesson to thwart the

effectiveness of the system as a whole.




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         770.   Ultimately, DEA and DOJ concluded that McKesson’s desire for increased sales

and customer retention had overridden its obligations to report suspicious orders and jeopardized

the health and safety of people around the country. DEA and DOJ described McKesson’s due

diligence failures as to opioids as both “nationwide” and “systemic.” As a result of these broad

sweeping due diligence failures, McKesson agreed to a $150,000,000 settlement with the DEA

and DOJ.

         771.   Additionally, as noted above, McKesson accepted responsibility for its

nationwide due diligence failures as to opioid distribution spanning 2009-2017 and

acknowledged that it had not fulfilled its obligation under the CSA during this period.

McKesson itself, through its corporate designee, Nate Hartle, has testified that as a result of its

conduct McKesson accepts partial responsibility for the society costs of the opioid epidemic

today.

         C.     The Pharmacy Defendants Deliberately Disregarded Their Duties to
                Maintain Effective Controls Against Diversion in Both Their Distribution
                and Their Dispensing of Controlled Substances

                1.     The Pharmacy Defendants Were on Notice of Their CSA Obligations
                       and of the Fact That Opioids Were Being Dispensed Without
                       Legitimate Prescriptions

         772.   The Pharmacy Defendants are members of the National Association of Chain

Drug Stores (“NACDS”), a trade association advancing the interests of pharmacies. NACDS has

partnered with HDA; the two groups viewed their relationship as a strategic “alliance.” CVS

also has been an “allied” member of the HDMA.

         773.   In 2006, the NACDS issued a “Model Compliance Manual” intended to “assist

NACDS members” in developing their own compliance programs. The Model Compliance

Manual notes that a retail pharmacy may:




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       “[G]enerate and review reports for its own purposes” and refers to the assessment
       tools identified by CMS in its Prescription Drug Benefit Manual chapter on fraud,
       waste and abuse, including:

        Drug Utilization Reports, which identify the number of prescriptions filled for a
       particular customer and, in particular, numbers for suspect classes of drugs such
       as narcotics to identify possible therapeutic abuse or illegal activity by a
       customer. A customer with an abnormal number of prescriptions or prescription
       patterns for certain drugs should be identified in reports, and the customer and his
       or her prescribing providers can be contacted and explanations for use can be
       received.

        Prescribing Patterns by Physician Reports, which identify the number of
       prescriptions written by a particular provider and focus on a class or particular
       type of drug such as narcotics. These reports can be generated to identify possible
       prescriber or other fraud.

        Geographic Zip Reports, which identify possible “doctor shopping” schemes or
       “script mills” by comparing the geographic location (zip code) of the patient to
       the location of the provider who wrote the prescription and should include the
       location of the dispensing pharmacy.

       774.    Each of the Pharmacy Defendants does substantial business throughout the United

States. This business includes the dispensing of prescription opioids and has, at times, also

involved the distribution of prescription opioids.

       775.    Statewide ARCOS data confirms that the Pharmacy Defendants distributed and

dispensed substantial quantities of prescription opioids, including fentanyl, hydrocodone, and

oxycodone in the communities where Plaintiffs’ plan participants and beneficiaries reside.

       776.    The Pharmacy Defendants developed and maintained extensive data on opioids

they distributed and dispensed. Through this data, they had direct knowledge of patterns and

instances of improper distribution, prescribing, and use of prescription opioids in communities

throughout the country, and specifically in the communities where Plaintiffs’ plan participants

and beneficiaries reside. They used the data to evaluate their own sales activities and workforce.

The Pharmacy Defendants also provided data regarding, inter alia, individual doctors to drug




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companies, which targeted those prescribers with their marketing, in exchange for rebates or

other forms of consideration. The Pharmacy Defendants’ data is a valuable resource that they

could and should have used to prevent them from dispensing invalid prescriptions, but, as

described in detail below, they failed to do so.

       777.    Performance metrics and prescription quotas adopted by the Pharmacy

Defendants for their retail stores contributed to their failure. Under CVS’s Metrics System, for

example, pharmacists are directed to meet high goals that make it difficult, if not impossible, to

comply with applicable laws and regulations. There is no measurement for pharmacy accuracy

or customer safety. Moreover, the bonuses for pharmacists are calculated, in part, on how many

prescriptions that pharmacist fills within a year.

       778.    This problem was compounded by the Pharmacy Defendants’ failure to

adequately train their pharmacists and pharmacy technicians on how to properly and adequately

handle prescriptions for opioid painkillers, including what constitutes a proper inquiry into

whether a prescription is legitimate, whether a prescription is likely for a condition for which the

FDA has approved treatments with opioids, and what measures and/or actions to take when a

prescription is identified as phony, false, forged, or otherwise illegal, or when suspicious

circumstances are present, including when prescriptions are procured and pills supplied for the

purpose of illegal diversion and drug trafficking.

       779.    The Pharmacy Defendants also failed to adequately use data available to them to

identify doctors who were writing suspicious numbers of prescriptions and/or prescriptions of

suspicious amounts of opioids, or to adequately use data available to them to do statistical

analysis to prevent the filling of invalid prescriptions.




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         780.    The Pharmacy Defendants failed to analyze some or all of the following: (a) the

number of opioid prescriptions filled by individual pharmacies relative to the population of the

pharmacy’s community; (b) the increase in opioid sales relative to past years; (c) the number of

opioid prescriptions filled relative to other drugs; and (d) the increase in annual opioid sales

relative to the increase in annual sales of other drugs.

         781.    The Pharmacy Defendants also failed to conduct adequate internal or external

audits of their opioid sales to identify patterns regarding prescriptions that should not have been

filled and to create policies accordingly, or if they conducted such audits, they failed to take any

meaningful action as a result.

         782.    The Pharmacy Defendants also failed to effectively respond to concerns raised by

their own employees regarding inadequate policies and procedures regarding the filling of opioid

prescriptions.

         783.    The Pharmacy Defendants were, or should have been, fully aware that the

quantity of opioids being distributed and dispensed by them was untenable, and in many areas

patently absurd; yet, they did not take meaningful action to investigate or to ensure that they

were complying with their duties and obligations under the law with regard to controlled

substances.

                 2.     All Pharmacy Defendants Distributed and Dispensed Prescription
                        Opioids in Violation of Their CSA Duties

         784.    The Pharmacy Defendants failed to fulfill their legal duties and instead routinely

distributed and/or dispensed controlled substances while ignoring red flags of diversion and

abuse.




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                               CVS

          785.   CVS operates pharmacies throughout the United States, including a number of

pharmacies in New York and Oklahoma, and has, at times, also acted as a wholesale distributor

supplying opioids to those stores. CVS failed to comply with its CSA duties as a distributor to

monitor for and refuse to ship suspicious orders, and it failed to comply with its CSA duties as a

dispenser to ensure that it only dispensed legitimate opioid prescriptions. This conduct by CVS

resulted in excessive and unreasonable amounts of opioids shipped to and dispensed throughout

the United States, including in New York and Oklahoma, and caused Plaintiffs’ damages.

                               (i)     CVS Failed to Maintain An Effective Suspicious Order
                                       Monitoring System or to Complete Necessary Due
                                       Diligence.

          786.   CVS distribution centers, in tandem with outside wholesalers, such as Cardinal,

supplied opioids to CVS pharmacy stores until October 2014. CVS self-distributed hydrocodone

and HCPs to its own stores, of which CVS had approximately 6,000 by 2006 and 9,700 by 2014.

Hydrocodone was previously a Schedule 3 opioid, but rescheduled to FDA Schedule II status

October 6, 2014. CVS ceased self-distributing hydrocodone the same day the rescheduling took

effect.

          787.   CVS pharmacies nationwide placed orders with CVS distribution centers through

CVS’s central mainframe computer ordering system.

          788.   Before 2009, CVS, which stocked and sold opioids at more than 9,000 stores

across the country, lacked any meaningful system for suspicious order monitoring (“SOM”).

Instead, CVS relied on the gut instincts of pickers and packers of the drugs in the distribution

center – workers responsible for pulling items off distribution shelves for delivery to pharmacy

stores – to identify “really big” orders that they believed were simply too large.




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       789.    Moreover, CVS lacked a training program to train its pickers and packers how to

identify unusual orders of size, frequency, or pattern. CVS also did not have any written policies,

procedures, or protocols with respect to the pickers’ and packers’ obligations until August 2013.

And, there were no formal job requirements to be employed as a picker and packer.

       790.    In 2007, with the help of an outside consultant, CVS began work on a Standard

Operating Procedure Manual (“SOP”) that was intended to cover all facets of DEA controlled

substances compliance, including suspicious order monitoring. However, by the summer of

2010, neither the final manual nor the SOM section was complete: Internal documents from that

time acknowledge that CVS was “still in the process of writing the suspicious order monitoring

section of this standard operating procedure.” In fact, the section of the Standard Operating

procedures for Suspicious Order Monitoring stated: “BEING DEVELOPED AND

WRITTEN.” It was not completed until August of 2010. Even then, however, CVS did not

have a compliant SOMs system.

       791.    Although CVS in theory had a “CVS DEA compliance coordinator,” the title was

a sham and did not reflect actual responsibility for compliance. A CVS employee who held the

position from 2008 to 2014 said that her title was only “for reference in SOPs,” not her real job.

For “personnel purposes,” she was never considered the CVS DEA compliance coordinator.

Moreover, she had nothing to do with suspicious order monitoring, other than “updating the SOP

with what was provided for the program.”114




114
   Deposition testimony of CVS employee Amy Propatier (Nov. 29, 2018) at 79:20-80:7;
80:21-81:2; 82:19-22. 138:21-140:1.


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       792.    It was only in 2009 that CVS began using a computer algorithm that flagged

potentially suspicious orders needing additional investigation. The automated program was

delivered by an outside vendor to CVS in December of 2008.

       793.    CVS called the output of the flagged orders an Item Review Report (“IRR”).

       794.    The SOM algorithm delivered in December 2008 was designed to “pend” (or

identify) an order with a score of 0.15 or higher as potentially suspicious. The higher the score

the more likely the order was potentially suspicious. In July 2009 CVS reported to the algorithm

designer that the SOM model was pending a large number of orders that CVS believed were “not

suspicious on their face” and it requested that the model be changed. As a result, revised co-

efficients for the algorithm were delivered to CVS on August 27, 2009, but the pend score of

0.15 remained the same. Between June 2010 and August 2010, CVS adjusted the IRR pend

score from 0.15 to 0.65. The higher the score, the less sensitive the model, flagging fewer

potentially suspicious orders for investigation. On February 8, 2011 a completely retuned SOM

algorithm with another set of co-efficients was again delivered to CVS by the algorithm

designer. The February 2011 changes returned the pend score to 0.15. CVS again changed the

pend score to 0.65.

       795.    CVS’s IRR system was deficient and failed in many respects to meet CVS’s

obligations.as a distributor.

       796.    CVS also learned in 2010 that its SOM algorithm was not working properly

because it monitored by drug, not active ingredient, meaning that changes in a drug’s description

or name caused historical data to be lost. Thus, the system was unable to determine that orders

for these drugs exceeded or diverged from prior volumes or patterns.




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       797.    CVS’s SOM algorithm also failed to consider outside vendors orders. In other

words, CVS’s SOM system would not track how many opioids CVS was ordering from third-

party distributors such as Cardinal when evaluating whether to distribute opioids to one of its

pharmacies. CVS knew this was a problem, as a “[s]tore may order a little from both the OV

[outside vendor] and DC [CVS distribution center] to stay under the radar.” It also knew that

excluding outside vendor data meant CVS “may ship a potentially reportable suspicious order

from [its] DC.” Stores, including one that had a “68,000 hydrocodone pill loss,” could also place

telephone orders to outside vendors, into which there was “no visibility . . . until a later time.”

This deficiency is particularly glaring because, at a corporate level, CVS had full access to the

orders its pharmacies placed to outside vendors.

       798.    Acknowledging the ineffectiveness and deficiencies within its SOM system, CVS

hired new consultants in 2012 to troubleshoot its existing SOM system for the purpose of either

fixing the deficient system or developing a new SOM system so as to attempt to become

compliant with the law.

       799.    Still, as late as July 2013, internal e-mail reflects that CVS’s primary tool for

investigating suspicious orders relied on data that was months or even years old and made any

analysis, “for the most part, irrelevant and pointless.”115

       800.    Not until mid to late 2014 did CVS fully implement a new SOM system. Even

then, CVS encountered problems in evaluating suspicious orders for opioids and its SOM was

entirely lacking. A risk analysis of the new system was conducted in June of 2014. The risk level

was determined to be high for the SOM system in the following categories covering seemingly




115
  CVS-MDLT1-000078116- 000078119; Deposition testimony of CVS employee Kelly
Baker(Jan. 24, 2019) at 259:16–262:19.


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every aspect of its operation: inconsistent due diligence in SOM analysts reaching out to stores to

investigate suspicious orders; inconsistency in documenting due diligence investigations of

suspicious orders; lack of engagement by the Management Team; lack of communication

between the SOM Management Team and SOM Analysts; lack of resources to handle the rollout

of the new SOM system to all distribution centers; and lack of clarity in how the new SOM

system is identifying suspicious orders. Essentially, the new system lacked the key components

of a compliant and effective SOMs system. That same year, CVS stopped distributing opioids to

its retail pharmacies.

       801.    Meanwhile, on August 5, 2013, the DEA began another audit and investigation of

the CVS distribution center in Indiana. CVS’s own documents acknowledge that the DEA’s

investigation was focused on its failure to maintain a SOM program for controlled substances.

       802.    In response to queries from the DEA, CVS wrote a letter to the DEA revealing

that it had only stopped seven suspicious orders across the entire country. Right before sending

the letter the author, Mark Nicastro, head of the CVS distribution center in Indiana, conceded

internally that “I wish I had more stopped orders that went back further.” During that audit,

neither Mr. Nicastro nor CVS’s Sr. Manager for Logistics, Quality, and Compliance were able

locate the final version of the SOP for the SOM program.

       803.    The DEA issued its closing letter on its investigation, concluding that CVS failed

to design and maintain a system to detect suspicious and report suspicious orders for Schedule

III-V Controlled Substances as required by Title 21 United States Code (U.S.C.) § 821, Title 21

U.S.C. § 823(b)(1), and Title 21 Code of Federal Regulations (C.F.R.) § 1301.74(b) in violation

of Title 21 U.S.C. § 842(a)(5).




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       804.    All orders that appeared on the IRR required a thorough due diligence

investigation, but only a very small percentage were subjected to appropriate due diligence. At

select times in 2013, CVS had only one full-time employee in the position of “SOM analyst”

reviewing all potentially suspicious orders for every pharmacy in the country. The SOM system

would identify orders as potentially suspicious based on a number of factors and “pend” the

order. Even though the orders had been identified as potentially suspicious, the CVS SOM

analysts would conduct an “in depth” dive on only select orders. In fact, while the SOM program

could identify as many as 1,000 suspicious orders a day; the CVS employee would only do a

“deep dive” on one to six orders per day.

       805.    Even as late as 2012 CVS’s SOMS was clearly little more than window dressing.

As of November 21, 2013, CVS had only reported seven suspicious orders to the DEA across all

of its distribution centers and pharmacies in the United States — none of which were in

Oklahoma. The first suspicious order CVS ever reported was on February 29, 2012.

                              (ii)   CVS Conspired with Cardinal and McKesson to
                                     Prevent Suspicious Order Monitoring of Its Retail
                                     Pharmacies.

       806.    CVS’s collaboration with distributors went from lobbying to actually preventing

adequate due diligence investigations of suspicious opioid orders. CVS knows that Cardinal and

McKesson have independent due diligence obligations under the CSA to monitor all sales of

controlled substances for orders which deviate in size, pattern or frequency. CVS understood

that, to do so effectively, Cardinal and McKesson would require access to its dispensing

information. CVS did not provide dispensing information to Cardinal or McKesson. In an email

from Paul Farley to Michael Mone, both Cardinal employees, Farley wrote, “I spoke with Brian

Whalen at CVS a couple of times this morning . . . . They will not provide the doctor or patient

information you requested unless it is requested by the DEA. He was quite adamant about


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this.”116 CVS prevented Cardinal and McKesson from obtaining access to critical dispensing

information for its pharmacies to enable Cardinal and McKesson to conduct adequate due

diligence of its pharmacies. Prior to 2013, Cardinal and McKesson did not investigate CVS by

calling its pharmacists or visiting CVS stores as they did with other pharmacies. Instead,

distributors were instructed to contact CVS’s loss prevention offices at corporate headquarters to

inquire about suspicious orders, ensuring that any investigation into CVS ordering of opioids was

conducted by CVS alone.

       807.    As a result, CVS controlled all “due diligence investigations” of its opioid orders.

This chart produced by Cardinal depicts the due diligence “investigations” of CVS orders:




       808.    CVS also prevented its distributors from independently determining the

appropriate order thresholds for opioids at CVS stores. CVS contractually protected its right to

establish and change its threshold requirement for Schedule II controlled substances with




116
  See Exhibit 4 to Deposition testimony of Donald Morse, Anti-Diversion of Controlled
Substances at Cardinal (Dec. 13, 2018), at 2-3.


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Cardinal. The agreement expressly states that CVS has the discretion under the contract to set its

threshold quantities for controlled substances at any level CVS deems appropriate:

       CVS requires the ability to adjust (up or down) the quantity of product our stores
       receive, this adjustment will be made on an NDC by NDC basis and will include a
       Threshold Quantity and an Adjustment Percentage. Both the Threshold
       Quantity and Adjustment Percentage can be set to any value CVS deems
       appropriate.117

                               (iii)   CVS Acquired Omnicare Knowing of Systemic Failures
                                       to Control Against Diversion, But Instead of Reform,
                                       Continued Business As Usual.

       809.    In 2015, CVS Health Corp. acquired Omnicare, which provides pharmacy-related

services to long-term care facilities and other health care facilities throughout the United States.

Omnicare dispenses controlled substances under Certificates of Registration issued by the DEA.

       810.    When CVS acquired Omnicare, CVS was fully aware the DEA had previously

investigated Omnicare for “alleged errors and deficiencies in paperwork requirements for

controlled-substances dispensing at several of the company’s pharmacies in Ohio.”118 Omnicare

publicly acknowledged the DEA’s Ohio investigation in its 2010 SEC filings, which Omnicare

later settled in 2012. CVS was also aware the DEA had previously investigated Omnicare in

2007 for countrywide violations of the CSA that also led to a settlement with the DEA. In Ohio,

the DEA determined that between 2007 and 2012 Omnicare:

               a.      dispensed controlled substances to residents of long-term care facilities

without valid prescriptions, including but not limited to dispensing controlled substances

pursuant to written orders that did not contain all of the elements of a valid prescription including




117
    See Deposition testimony of Senior Vice President of Logistics at CVS Ron Link (Dec.
11,2018) at 65-67; CVS-MDLT1-000030817 at CVS-MDLT1-000030869 (emphasis added).
118
    Dinah Wisenberg Brin, Omnicare Faces Federal Probe, Wall St. J. (Oct. 28, 2010),
https://www.wsj.com/articles/SB10001424052702303362404575580664079558640.


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the signature of the prescribing practitioner, in violation of 21 U.S.C. §§ 353(b), 829 and

842(a)(1) and 21 C.F.R. §§ 1306.11 and 1306.21;

                b.     failed to comply with all of the elements of the emergency oral

prescription requirements set forth in 21 C.F.R. § 1306.11(d), including but not limited to

dispensing Schedule II controlled substances or authorizing facility staff to remove Schedule II

controlled substances from emergency supplies located at long-term care facilities without oral

authorizations directly from prescribing practitioners and failing to notify the nearest office of

DEA if the prescribing individual practitioner failed to deliver a written prescription to the

pharmacy within seven days, in violation of 21 U.S.C §§ 8429(a)(1) and (a)(5);

                c.     dispensed controlled substances to residents of long-term care facilities

without prescriptions meeting the requirements of 21 C.F.R. §§ 1306.05(a) and 1306.11(f),

including but not limited to dispensing controlled substances pursuant to pre- populated

prescriptions prepared by the pharmacies and dispensing controlled substances pursuant to

written orders that lacked one or more of the following: the signature of the practitioner, the date

of issuance, the full name and address of the patient, the drug name, strength, dosage form,

quantity prescribed, directions for use, or the name, address and DEA registration number of the

practitioner, in violation of 21 U.S.C § 842(a)(1);

                d.     not maintaining records of prescriptions for controlled substances listed in

Schedule II in compliance with 21 C.F.R. part 1304, in violation of 21 U.S.C. § 842(a)(5).119

         811.   In 2012, Omnicare paid $50 million to resolve these allegations.




119
      Settlement Agreement between DEA and Omnicare dated May 10, 2012.


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       812.    Since its acquisition by CVS, Omnicare has continued to violate the CSA. In

2020, Omnicare settled additional charges made by the DEA paying $15.3 million. The DEA

found that Omnicare violated the CSA:

       in its handling of emergency prescriptions, its controls over the emergency kits,
       and its processing of written prescriptions that had missing elements. The federal
       investigation found that Omnicare failed to control emergency kits by improperly
       permitting long-term care facilities to remove opioids and other controlled
       substances from emergency kits days before doctors provided a valid prescription.
       The investigation also revealed that Omnicare had repeated failures in its
       documentation and reporting of oral emergency prescriptions of Schedule II
       controlled substances.120

       813.    Many of these recent allegations made by the DEA repeat precisely those

violations Omnicare engaged in before 2012. The Acting Administrator of the DEA stated,

“Omnicare failed in its responsibility to ensure proper controls of medications used to treat some

of the most vulnerable among us.”121 CVS, fully aware of the past compliance failures and fully

aware of the enormous danger posed to the public from the diversion of opioids, failed to

properly monitor and create a corporate system through which it could ensure that its subsidiaries

complied with the CSA.

                              (iv)    CVS’s Violations of Its CSA Duties as a Distributor and
                                      as a Dispenser Caused Excessive and Unreasonable
                                      Amounts of Opioids to Be Shipped to and Dispensed
                                      from CVS Pharmacies in Oklahoma.

       814.    In Oklahoma, as a distributor, CVS shipped more than 85 million DUs of

prescription opioids to its stores from 2006-2014, when it stopped self-distributing opioids.

       815.    As a vertically integrated distributor and dispenser of prescription opioids, CVS

knew or should have known that an excessive volume of pills was being sold into Oklahoma.



120
    Press Release May 13, 2020, “Omnicare, Inc. agrees to pay more than $15 million to
resolveallegations it improperly dispensed narcotics at long term care facilities.”
121
    Id.


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       816.    CVS violated the standard of care for a distributor by failing to: (a) control the

supply chain; (b) prevent diversion; (c) report suspicious orders; and (d) halt shipments of

opioids in quantities it knew or should have known could not be justified and signaled potential

diversion.

       817.    The sheer volume of prescription opioids distributed to and dispensed by CVS

pharmacies in and around Oklahoma, with a population of approximately 3.8 million residents

during the same time period, is indicative of potential diversion and required appropriate due

diligence.

       818.    CVS funneled far more opioids into New York and Oklahoma than could have

been expected to serve legitimate medical use, including but not limited to suspicious orders.

       819.    It cannot be disputed that CVS, was aware of the suspicious orders that flowed

from its distribution facilities into its own stores. CVS simply refused to identify, investigate,

and report suspicious orders even though CVS knew, or should have been fully aware, that it was

shipping excessive quantities of opioids into New York and Oklahoma, and that some of those

opioids were likely to be diverted.

       820.    Upon information and belief, CVS failed to analyze: (a) the number of opioid

prescriptions filled by its pharmacies relative to the population of the pharmacy’s community;

(b) the increase in opioid sales relative to past years; and (c) the number of opioid prescriptions

filled relative to other drugs.

       821.    CVS did not take meaningful action to investigate or to ensure that it was

complying with its duties and obligations with regard to controlled substances, including its

responsibility to report suspicious orders and not to ship such orders unless and until due

diligence allayed the suspicion.




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       822.    Because of its vertically integrated structure, CVS has access to complete

information regarding red flags of diversion across its pharmacies in and around Oklahoma, but

CVS chose not to utilize this information and failed to effectively prevent diversion.

       823.    By 2009, CVS Pharmacy, Inc. owned and/or operated more than 9,000

pharmacies in the United States. According to its website, CVS now has more than 9,900 retail

locations. At all times relevant herein, CVS pharmacies sold controlled substances, including

FDA Schedule II and FDA Schedule III controlled substances otherwise known as opiate

narcotics or opioids.

       824.    “CVS Corporation,” not any individual CVS store, is the DEA registrant for each

of CVS’s pharmacies across the country. CVS renews the DEA licenses for its pharmacies

through a “Registration Chain Renewal.” From October 2013 through December 2016, CVS

headquarters paid more than $5 million to renew the licenses for 7,597 CVS locations, including

one or more CVS pharmacies in Oklahoma.

       825.    As described above, until October 6, 2014, CVS pharmacies ordered and were

supplied FDA Schedule III HCPs from a combination of outside vendors and CVS distribution

centers. CVS pharmacies also received Schedule II opioids from outside vendors, with Cardinal

acting as its exclusive outside supplier for the entire period for which ARCOS is available. Upon

information and belief, McKesson also acts or has acted as an outside vendor for CVS.

       826.    In total, at the pharmacy level, CVS purchased more than 213 million DUs (1.96

billion MME) of oxycodone and hydrocodone shipped to its stores in Oklahoma from 2006 to

2019. CVS also purchased more than 1.01 billion DUs and 9.80 billion MME of Oxycodone and

Hydrocodone shipped to New York from 2006 to 2019. And it purchased more than 22.49

billion DUs (206.13 billion MME) nationwide.




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       827.    CVS Pharmacy, Inc. instituted, set-up, ran, directed and staffed with its own

employees the majority of the SOM functions for its pharmacy stores.

       828.    CVS lacked meaningful policies and procedures to guide its pharmacy staff in

complying with their CSA duties, even as they evolved over time. Not until 2012 did CVS create

guidelines explaining in more detail the “red flags” or cautionary signals that CVS pharmacists

should be on the lookout for in order to uphold their corresponding responsibilities to ensure that

all controlled substances are only dispensed for a legitimate medical purpose. In addition, CVS

knew, or deliberately turned a blind eye, to its pharmacies’ role in the oversupply of opioids. At

the pharmacy level, discovery will reveal that CVS knew or should have known that its

pharmacies in [AREA], and the surrounding area, including [location], were (a) filling multiple

prescriptions for the same patient using the same doctor; (b) filling multiple prescriptions for the

same patient using different doctors; (c) filling prescriptions of unusual size and frequency for

the same patient; (d) filling prescriptions of unusual size and frequency from out-of-state

patients; (e) filling an unusual or disproportionate number of prescriptions paid for in cash; (f)

filling prescriptions paired with other drugs frequently abused with opioids, like

benzodiazepines, or prescription “cocktails”;122 (g) filling prescriptions in volumes, doses, or

combinations that suggested that the prescriptions were likely being diverted or were not issued

for a legitimate medical purpose; and (h) filling prescriptions for patients and doctors in

combinations that were indicative of diversion and abuse. Also, upon information and belief, the

volumes of opioids distributed to and dispensed by these pharmacies were disproportionate to

non-controlled drugs and other products sold by these pharmacies, and disproportionate to the




122
   According to definitions applied by CVS for suspicious order monitoring purposes, “cocktails
for opioids are methadone, muscle relaxants, stimulants and benzodiazepines.”


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sales of opioids in similarly sized pharmacy markets. CVS had the ability, and the obligation, to

look for these red flags on a patient, prescriber, and store level, and to refuse to fill and to report

prescriptions that were not legitimate.

        829.    CVS failed to use data held at the corporate level to assist pharmacists in

evaluating the propriety of the prescription opioids dispensed by its pharmacies. CVS’s later

dispensing policies and procedures make clear that for the majority of the time CVS has been

engaged in the sale and dispensing of opioids, there was no meaningful integration of data and

information that was within the possession and control of CVS corporate personnel.

        830.    Notably, with respect to CVS’s SOMS for its wholesale distribution, the MDL

Court has denied a motion for summary judgment contesting the evidence regarding the

inadequacy of its SOM system in that litigation. See Opinion and Order Denying CVS’s Motion

for Summary Judgment, In re National Prescription Opiate Litig., MDL No. 2804 (N.D. Ohio

Jan. 27, 2020), Doc. 3099.

                                Walgreens

        831.    Walgreens operates pharmacies throughout the United States, including a number

of pharmacies in New York and Oklahoma, and has, at times, also acted as a wholesale

distributor supplying opioids to those stores. Walgreens failed to comply with its CSA duties as

a distributor to monitor for and refuse to ship suspicious orders, and it failed to comply with its

CSA duties as a dispenser to ensure that only dispensed legitimate opioid prescriptions. This

conduct by Walgreens resulted in excessive and unreasonable amounts of opioids to be shipped

to and dispensed in New York and Oklahoma and throughout the United States, and caused

Plaintiffs’ damages.




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                              (i)     Walgreens Dragged Its Feet on Developing a SOMs
                                      Program, Instead Relying on After-the-Fact Reports of
                                      “Excessive” Orders While Ignoring Red Flags.

        832.   At least as early as 1998, and perhaps as early as 1988, Walgreens began to utilize

a series of formulas to identify orders that Walgreens deemed to be suspicious based on the

orders’ extraordinary size. These orders were listed on a report called the Suspicious Control

Drug Order report.

        833.   Walgreens used two different formulas: one formula from (at least) 1998-2007

and one formula from March 2007 through 2012. These formulas were alike in that they each

utilized an average number based on historical orders, applied a three times multiplier to that

base number, and then deemed certain orders which were greater than that number to be

suspicious. Under the later formula, orders were only listed on the report as being suspicious if

the orders exceeded the three times multiplier for two consecutive months in a given time period.

Walgreens based this second formula on the DEA’s Chemical Handler’s Manual’s order

monitoring system for listed chemicals.123

        834.   The first variation on this formula was in place until March 2007, even though the

DEA warned Walgreens that the “formulation utilized by the firm for reporting suspicious

ordering of controlled substances was insufficient,” in a May 2006 Letter of Admonition. The

letter cited Walgreens for controlled substances violations at its Perrysburg, Ohio Distribution

Center, but highlighted problems that went far beyond that particular facility.

        835.   The DEA also reminded Walgreens that its suspicious ordering “formula should

be based on (size, pattern, frequency),” though Walgreens failed to even examine anything other

than the size of an order. When Walgreens updated its program some ten months later, however,



123
      WAGMDL00400357.


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it still did not perform the size, pattern, and frequency analysis prescribed by the DEA,

continuing to use another “three times” formula.

       836.    Even with its generous threshold, each Walgreens Suspicious Control Drug Order

report could be thousands of pages or more in length.

       837.    Walgreens did not perform any due diligence on the thousands of orders identified

as “suspicious” on the Suspicious Control Drug Order reports, but instead shipped the orders

without review.

       838.    Walgreens did not report the suspicious orders listed on the Suspicious Control

Drug Order report until after the orders were already filled and shipped. The report was

generated on a monthly, nationwide basis, directly contravening the regulatory requirement that

suspicious orders be reported when discovered. 21 C.F.R. § 1301.74(b). In some instances,

months may have elapsed between an order’s shipment and its subsequent reporting to the DEA,

given the requirement, described above, of two consecutive months of exceeding the three times

multiplier to trigger reporting.

       839.    In September 2012, the DEA issued an immediate suspension order (“ISO”)

regarding one of Walgreens’s three Schedule II distribution centers, finding Walgreens’s

distribution practices constituted an “imminent danger to the public health and safety” and were

“inconsistent with the public interest.” The DEA further found that Walgreens’s Jupiter, Florida

distribution center failed to comply with DEA regulations that required it to report to the DEA

suspicious drug orders that Walgreens received from its retail pharmacies, resulting in at least

tens of thousands of violations, particularly concerning massive volumes of prescription opiates.

The DEA stated: “Notwithstanding the ample guidance available, Walgreens has failed to

maintain an adequate suspicious order reporting system and as a result, has ignored readily




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identifiable orders and ordering patterns that, based on the information available throughout the

Walgreens Corporation, should have been obvious signs of diversion occurring at [its] customer

pharmacies.”

         840.   In the ISO, the DEA also specifically considered the Suspicious Control Drug

Order reports and made numerous findings of fact and conclusions of law124 regarding the

reports and Walgreens’s SOMS—applicable across Walgreens’s operations. These findings

showed beyond any doubt that Walgreens’s SOM program was not in compliance with its

regulatory obligations. Walgreens nominally employed additional procedures within its

distribution centers; however, these systems did not address the failings of the Suspicious

Control Drug Order reports. These “DC” (distribution center) systems were not designed to

detect suspicious orders of controlled substances, but rather were designed to detect typos or

errors in order entry by the stores. Walgreens admits that its Distribution Centers are “more akin

to supply warehouses,” are “not designed to be a backstop to pharmacists,” and that they are not

well “equipped to ensure compliance” or to “assist in combatting controlled substance abuse,”

and “do not have the ability to detect trends in local markets.”

         841.   There is no evidence that any orders were ever reported as suspicious or halted as

a result of Walgreens’s DC level policies. There is no evidence these procedures resulted in

timely reporting of, due diligence on, or non-shipment of any order, including those listed as

being “suspicious” on the Suspicious Control Drug Order reports.

         842.   Walgreens’s documents effectively acknowledge that it did not begin creating a

suspicious order monitoring [“SOM”] system until March 2008. Specifically, in March 2008,

Walgreens finally formed a five department “team” to “begin creating” a SOM program. The



124
      See WAGMDL00387654.


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new SOM program was not piloted until more than a year later, in August 2009, and even then,

the pilot included orders from just seven stores. Not until September 2010 would the program,

implemented in pieces and phases, be rolled out chain-wide, and from that point it took several

more years to fully implement.

         843.   Through 2012, Walgreens continued to populate the Suspicious Control Drug

Order report with thousands of orders that exceeded Walgreens’s “three times” test, showing that

Walgreens’s post-2009 SOM program did little to mitigate the extraordinary volume of

controlled substances being shipped by Walgreens to its pharmacies.

                               (ii)    Walgreens Knew Its After-the-Fact Excessive Purchase
                                       Reports Failed to Satisfy Its Obligations to Identify,
                                       Report, and Halt Suspicious Orders.

         844.   Walgreens knew its procedures were inadequate well before the 2012 ISO issued.

         845.   In addition to the guidance described above, in 1988, the DEA specifically

advised Walgreens that “[t]he submission of a monthly printout of after-the-fact sales does not

relieve the registrant of the responsibility of reporting excessive or suspicious orders.”125 The

DEA further advised Walgreens that, while “[a]n electronic data system may provide the means

and mechanism for complying with the regulations . . . the system is not complete until the data

is carefully reviewed and monitored by the registrant.”126

         846.   Despite this instruction, there is no evidence that Walgreens ever took any action

related to the Suspicious Control Drug Order report besides generating it and mailing it out.

Walgreens has admitted that there is no evidence that Walgreens ever performed a due diligence

review on any of the orders listed on the Suspicious Control Drug Order report before shipment.

One of the managers for Walgreens’s Pharmaceutical Integrity (“RX Integrity”) Department


125
      US-DEA-00025683.
126
      Id.


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stated that, when he was with the Loss Prevention Department, he “basically burned the data on a

CD and sent it off. I didn’t dive into each individual report or CD” and that he “would look at it

briefly, but just to see if the data transferred to the CD, but that’s about the extent.”127 In an

errata submitted in connection with a deposition in the MDL, Walgreens acknowledged that it “is

currently unaware of due diligence that was performed based on orders being flagged . . .”128

          847.   In a December 2008 Internal Audit of its Perrysburg Distribution Center,

Walgreens admitted to systemic and longstanding failures in the systems surrounding DEA

compliance.

                                (iii)   Even as it Rolled Out its New SOM Program,
                                        Walgreens Left Significant Gaps and Loopholes in
                                        Place and Failed to Report and Perform Due Diligence
                                        on Orders It Flagged.

          848.   Walgreens did not prioritize compliance when instituting its SOM system. Even

as late as 2012, 2013, and 2014, Walgreens viewed the SOM system as an inventory-control

mechanism rather than as a compliance-control mechanism.

          849.   Perhaps because keeping supply moving, as opposed to preventing diversion, was

Walgreens’s primary focus, the SOM program Walgreens slowly developed had significant gaps

and loopholes. For example, for the first few years, the program did not include orders that

Walgreens stores were also placing to outside vendors, like Cardinal and AmerisourceBergen,

allowing stores to order opioids from Walgreens distribution centers and from Cardinal and

AmerisourceBergen, effectively permitting double dipping. It also did not prevent stores from

placing an order to an outside vendor if the store attempted to place the order to a Walgreens DC,

but was rejected by the new SOM system.



127
      E. Stahmann Dep. at 287:16-23.
128
      See E. Bratton 30(b)(6) Dep. Erratum No. 3, Ex. 333.


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       850.    The new SOM-lite system also allowed Walgreens stores to transfer controlled

substances between stores and did not review these transfers (known as “interstores”) within the

SOM program, so that these transfers were not factored into SOM analytics. Additionally, stores

could also place ad hoc “PDQ” (“pretty darn quick”) orders for controlled substances outside of

their normal order days and outside of the SOM analysis and limits. Walgreens could even

remove a store entirely from SOM review.

       851.    Further, although the new SOM algorithm identified more than 389 pages of

suspicious orders per week as of August 2010, it failed to identify all the orders that Walgreens

had marked as suspicious under its “three times” formulas and previously listed on its Suspicious

Control Drug Order reports and submitted to the DEA “on a monthly basis.” This “discrepancy”

prompted an internal email from an employee in Walgreens’s Loss Prevention Department, to

Walgreens’s Vice President, Distribution Centers and Logistics, suggesting that “the new system

should be tested further and enhanced to provide broader coverage of controlled substance

activity. The same e-mail stated that “we are not equipped to handle the 389+ pages of ADR4

[suspicious order monitoring] data which are compiled nationwide each week,” and asked if his

department had “a resource available” to assist. An email in response “recall[ed] the old paper

report as being inches thick” and an instruction “in 1985 not to review or contact anyone on the

data,” and inquired, among other things, “[w]ho from your group has been reviewing the data

collected for the past twenty-five years?” and “[a]t present is anyone doing any review on what

would be considered suspicious quantities that are physically ordered and are releasing to

stores?”

       852.    Starting in 2010, certain orders that exceeded store-based limits imposed by

Walgreens’s new SOM system were reduced to the store limit and shipped out. These orders




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were not reported to the DEA as suspicious, nor were they halted for review. The DEA found

that Walgreens’s policy of reducing and then filling and shipping suspicious orders without

reporting them violated the law. Walgreens’s post-2009 SOM system flagged thousands of items

per month as being suspicious. Internal Walgreens documents indicate that, in July 2011 alone,

as many as 20,699 orders for controlled substances were “marked suspicious” by the new

algorithm. However, very few of these orders received any review, and any review performed

was nominal at best. Meanwhile, Walgreens failed to adequately staff the program and to train its

employees regarding its requirements.

       853.    Walgreens cited two people as being primarily responsible for performing due

diligence on suspicious orders in the 2009-2012 time period under the new SOM system. The

first was a representative from the Loss Prevention Department who said her department was

“not equipped” to handle review and data analysis for the hundreds of pages of reports being

compiled nationwide each week. The second was Barbara Martin, who estimated that she spent

somewhere between one and three hours a week reviewing suspicious orders, reviewing only

between 10 to 100 of the thousands of orders that were deemed suspicious under the new

algorithm. Walgreens did not provide Ms. Martin access to information about the area the store

was serving, the order history for comparable stores, or any other data beyond the sales and order

history for that store. If an order did not “make sense” to her based on those limited resources,

she testified that she would call the store or district manager or pharmacy supervisor. She lacked

authority to take “direct action” on an order.

       854.    In the ISO regarding the Distribution Center, the DEA found that Walgreens

“failed to conduct any meaningful investigation or analysis to ensure that the massive amounts of

commonly abused, highly addictive controlled substances being ordered by these pharmacies




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were not being diverted into other than legitimate channels.” The DEA noted that “[Walgreens]

has been unable to provide any files related to any effort to adequately verify the legitimacy of

any particular order it shipped to its customer stores.”

       855.    These failures reflect systemic failures of Walgreens’s SOM system that impacted

its distribution in Oklahoma. Walgreens admits that the SOM systems and procedures at all of its

DCs were the same, including those at the facilities that shipped opioids into the communities of

Plaintiffs’ plan participants and beneficiaries. Accordingly, it is not surprising that, in February

2013, the DEA issued similar Subpoenas and Warrant of Inspection on the Perrysburg DC in

Ohio to those issued to the Jupiter DC in Florida. Walgreens employees made plans in

preparation for the Perrysburg DC being “shut down” by the DEA, like the Jupiter DC. Within

weeks of receiving the six subpoenas and warrant, Walgreens decided to “discontinue

distribution of controlled substances from the Perrysburg facility” in order to “eliminate any

immediate need for further DEA administrative action” regarding the Perrysburg facility.

       856.    Walgreens has admitted that both the Florida and Ohio DCs distributed

prescription opioids into Oklahoma.

       857.    Even as of November 2012, Walgreens SOM program still did not halt suspicious

orders for due diligence evaluation or report the orders as suspicious. Further, at that time, the

program began to automatically reduce orders that violated ceiling thresholds.

       858.    In December 2012, a further enhanced SOM system flagged “14,000 items that

the stores ordered across the chain that would have to be investigated” before they could be

shipped. Walgreens admitted that yet again it did not have sufficient resources to timely review

these orders. Walgreens noted that “[t]he DEA would view this as further failures of our internal

processes, which could potentially result in additional pharmacies and distribution centers being




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subjected to regulatory actions and ultimately prohibited from handling controlled substances.”

At the time these 14,000 orders were flagged Walgreens Rx Integrity Team was comprised of

fewer than five people. Even at its height, Rx Integrity had only eleven employees. Instead of

sufficiently staffing the SOM program, Walgreens recognized it had the ability to control its due

diligence workload by increasing the stores’ ceiling levels, and thereby reducing the number of

orders that would hit that ceiling and result in a flag.

        859.    As described below, Walgreens admits to failures in its suspicious order

monitoring prior to 2012. Comparing the 2013 SOM system to the previous system, one of

Walgreens’s Pharmaceutical Integrity Managers in August 2013 explained:

        The Controlled Substances Order Monitoring system now in place sets limits for
        each item based on the chain average for that item for stores of similar size. If a
        particular store fills more of this item than normal and needs additional product
        we would need to document the reason and increase via a CSO Override The
        purpose for this is to ensure we have performed adequate review before sending
        in additional inventory.

        860.    Yet, even in 2013, orders being flagged as suspicious for review before shipment

were “a week old” before they made it to the review team, often “ha[d] already been shipped,”

and were not being reported.

        Walgreens never equipped its distribution operations to properly monitor for,
        report, and halt suspicious orders. When it became clear Walgreens would need to
        devote significant resources to achieve compliance, Walgreens chose instead to
        cease controlled substance distribution all together. Walgreens stated that “while
        the financial impact of no longer . . . [self distributing] from the Walgreens DCs
        was taken into consideration, there is a greater risk to the company in fines and
        loss of licenses if we continue to sell these items in our warehouses.”

                                (iv)    Walgreens Failed to Put in Place Adequate Polices to
                                        Ensure Compliance with Its CSA Obligations for
                                        Dispensing Opioids.

        861.    Although Walgreens purported to have in place “Good Faith Dispensing”

(“GFD”) Policies for many years, it failed to meaningful apply those policies and procedures, or




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to train employees in its retail pharmacies on identifying and reporting potentially illegitimate

prescriptions.

       862.      From at least 2006 through 2012, Walgreens’s GFD policies explicitly instructed

pharmacists who “receive[] a questionable prescription” or otherwise were “unable to dispense a

prescription in good faith” to “contact the prescriber” and, if “confirm[ed]” as “valid” by the

prescriber, to then “process the prescription as normal.” Further, though Walgreens’s policies

listed a handful of “questionable circumstances,” such as “increased frequency of prescriptions

for the same or similar controlled drugs by one prescriber[,] for large numbers of patients [,] for

quantities beyond those normally prescribed,” it is unclear what, if any, resources Walgreens

made available to its pharmacists for checking these vague criteria, which, in any event, became

meaningless if a pharmacist “confirm[ed]” the prescription as “valid,” by calling the prescriber.

For example, in 2010 when a pharmacy manager expressed concern about significant numbers of

opioid prescriptions from pain clinics, and being held responsible for “excessive c2 rx

dispensing,” her district supervisor instructed her “not [to] refuse script for large quantities” but

simply to “call the MD’s, document it on the hard copy[,] and that is all that is needed to protect

your license.” Despite internally recognizing that “a prescriber of a controlled substance

prescription [may be] involved in diversion,” Walgreens’s GFD policies continued to endorse

calling the doctor as a greenlight to any “questionable” prescription.

       863.      In 2012, Walgreens finally removed the “process the prescription as normal”

language from its formal GFD policies, admitting that under the law “it is not enough to get

confirmation that the prescriber wrote the prescription.” However, Walgreens still failed to

ensure it complied with its duties.




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       864.      Upon information and belief, Walgreens failed to adequately train its pharmacists

and pharmacy technicians, including what measures and/or actions to take when a prescription is

identified as phony, false, forged, or otherwise illegal, or when other suspicious circumstances

are present. As a CSA registrant, Walgreens was obligated, and failed, to implement policies and

procedures at a corporate level to ensure that its pharmacies are complying with the CSA.

       865.      Indeed, during the course of a 2009 DEA investigation into Walgreens dispensing

noncompliance, Walgreens internally noted that it currently had “no training” for employees

dispensing controlled substances. Meanwhile, Walgreens corporate officers turned a blind eye to

these abuses. In fact, a Walgreens corporate attorney suggested, in reviewing the legitimacy of

prescriptions coming from Florida, that “if these are legitimate indicators of inappropriate

prescriptions perhaps we should consider not documenting our own potential noncompliance,”

underscoring Walgreens’s attitude that profit outweighed compliance with the law or protecting

public health.

       866.      Ultimately, in 2011, Walgreens and the DEA entered a Memorandum of

Agreement regarding all “Walgreens . . . pharmacy locations registered with the DEA to

dispense controlled substances,” requiring Walgreens to implement significant nationwide

controls lacking in its operations. Walgreen Co. was required to create a nationwide “compliance

program to detect and prevent diversion of controlled substances as required by the … [CSA]

and applicable DEA regulations.” Pursuant to the MOA, the “program shall include procedures

to identify the common signs associated with the diversion of controlled substances including but

not limited to, doctor- shopping and requests for early refills” as well as “routine and periodic

training of all Walgreens walk-in, retail pharmacy employees responsible for dispensing

controlled substances on the elements of the compliance program and their responsibilities under




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the CSA.” Further, Walgreens was required to “implement and maintain policies and procedures

to ensure that prescriptions for controlled substances are only dispensed to authorized individuals

pursuant to federal and state law and regulations.”

       867.    Walgreens would make more promises in a 2013 Memorandum with the DEA,

described further below, related to failures to that lead to the ISOs described above.

       868.    Even after development and a relaunch of its GFD policy in response to

settlements with the DEA, however, Denman Murray, Director of Rx Supply Chain Retail, stated

in an MDL deposition that, “traditionally, we’ve always treated a controlled substance like any

other, [a] widget’s a widget to the system.”129

       869.    Further, after the GFD “relaunch” in April 2014, a Walgreens “RxIntegrity”

presentation focused on Walgreens “Market 25,” but also assessing “average market” trends,

reported that “pharmacists [were] not being too strict with GFD, nor [were] they losing

volume.”130

       870.    As with distribution, Walgreens failed to allocate appropriate resources to

dispensing compliance and supervision. Walgreens has approximately 26,000 pharmacists, each

of whom may receive as many as 400-500 prescriptions a day. In 2013, however, Walgreens

internally reported that its District Managers and Pharmacy Supervisors were “challenged to get

into the stores” and in a 90-day period, more than a thousand stores did not receive a visit from

the managers or supervisors. These supervisory personnel were assigned a “high number of

stores” and their time was consumed with “people processes, business planning, market and




129
  See D. Murray Dep., 31:20-22 (Jan. 15, 2019).
130
  Market 25 consisted of Indiana, Kentucky, and West Virginia. Similar results reported for
Market 3, Florida.


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district meetings,” such that supervision in store was being handled informally by “community

leaders” who have “limited formal authority.”

        871.    A Walgreens internal audit performed after the 2013 DEA settlement confirms

that Walgreens’s supervision and compliance failures continued. Among other failings, the audit

team noted no formal monitoring program existed to confirm that pharmacies across the chain

are complying with controlled substance documentation and retention requirements, no

monitoring outside of the deficient “store walk program” existed to monitor target drug good

faith dispensing requirements and no corporate reporting was being generated, and employees

were failing to timely complete Good Faith Dispensing training, such that, at the time of the

audit, over 35,000 employees had not completed their required training for that year.

Management’s response largely was to seek to incorporate additional compliance measures into

the store walk procedure.

        872.    However, documents from 2016 regarding monthly store compliance walks

indicate that during the monthly “Compliance Walks” to “verify compliance … [with] regulatory

requirements in… pharmacy areas,” substantially no dispensing compliance supervision

occurred, outside of ensuring the pharmacy was verifying the patient’s address on five sample

prescription fills.

        873.    In 2014, Walgreens discovered a pharmacist who failed to follow GFD for five to

six months without being discovered by supervisors. In 2014, Rx Integrity noted dozens of stores

dispensing opioids without performing the required checks. In certain cases, the pharmacists

were unaware of the GFD procedures or had been told by supervisors to disregard them.

        874.    In 2015, Walgreens performed a “business continuity” audit of a random sample

of approximately 2,400 pharmacies to determine whether Walgreens was “compliant with the




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policies/procedures put in place” regarding dispensing pursuant to Walgreens’s agreement with

the DEA. In Walgreens’s own words, “Results were unfavorable.” Fewer than 60% of stores

were complying with GFD policies with respect to filled prescriptions, 1,160 stores did not have

a single refused prescription, and an additional 1,182 stores had refused fewer than 25

prescriptions total in a nine-month period. Only 63 out of 2,400 pharmacies had refused 26 or

more prescriptions during that same nine months in 2015.

                               (v)    Walgreens Discouraged Outside Vendors from
                                      Exercising Their Own Oversight.

       875.    The “Big Three” wholesalers, Cardinal, McKesson, and AmerisourceBergen,

gave deferential treatment to chain pharmacies, such as Walgreens. An internal Cardinal

document for example, stresses that “certain chain pharmacies refuse to allow any sort of

administrative inspection by Cardinal or to make certifications” and that large, national chains

can “take their billions upon billions of dollars in business to any wholesaler in the country.”

       876.    Thus, for example, in 2008, Cardinal prepared talking points for an NACDS

Conference about its planned retail chain SOM program, making it clear that the program would

“minimize the disruption” to retail chains and that they would “work together” with the

pharmacies “ to ensure that our Suspicious Order Monitoring program for retail chains does not

interrupt” business. Cardinal also provided warnings to chain pharmacies, including Walgreens,

that they were approaching thresholds so that the chains could avoid triggering SOM reporting

and adjust ordering patterns by, for example, delaying orders or, more often, obtaining a

threshold increase. Such “early warnings” were so helpful to Walgreens that as of 2012

Walgreens adopted the concept for its own SOM system for self-distribution, noting internally

that by “flagging the stores at 75%,” it could “avoid cutting/reducing orders and subsequently

not have to report a SOM to the DEA.”



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       877.    Preferential treatment of Walgreens ultimately was not enough for Cardinal to

keep Walgreens’s business, however. In 2013, Walgreens entered a ten-year agreement with

AmerisourceBergen. The shift to AmerisourceBergen as its exclusive supplier prompted

Cardinal to complain: “we bailed you guys out when you had your [DEA] issues.”

       878.    By 2017, Walgreens accounted for 30% of AmerisourceBergen’s revenue.131 Like

Cardinal, AmerisourceBergen was also deferential, allowing Walgreens to police their own

orders and block any order to AmerisourceBergen that would exceed AmerisourceBergen’s

threshold and trigger a suspicious order notice to be sent to DEA from AmerisourceBergen.

Additionally, when AmerisourceBergen received orders from Walgreens “outside the expected

usage,” Walgreens and AmerisourceBergen met to discuss adjusting thresholds or using “soft

blocking.” Contrary to DEA guidance and its own stated policy, AmerisourceBergen also shared

the threshold limits set by its “order monitoring program” with Walgreens, and also provided

Walgreens with weekly SOM statistics. AmerisourceBergen generally would not take action on

Walgreens orders that exceeded its thresholds without first talking to Walgreens.

       879.    Walgreens also previously owned 26% of AmerisourceBergen’s stock, until

recently reducing its shares in the company to approximately 15% in 2023. In 2018, after a

coalition of AmerisourceBergen shareholders sought greater transparency from its Board related

to the “financial and reputational risks associated with the opioid crisis,” Walgreens, together




131
   As a part of its distribution agreement, Walgreens gained purchase rights to
AmerisourceBergen equity, allowing it to further participate in the prescription opioid shipment
boom in America. Walgreens subsequently exercised these purchase rights, ultimately owning
approximately 26% of AmerisourceBergen. As part of the transaction, Walgreens has the ability
to nominate up to two members of the Board of Directors of AmerisourceBergen. Currently,
Walgreen’s Co-Chief Operating Officer sits on the AmerisourceBergen Board of Directors.


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with other insiders, reportedly leveraged this position to defeat the proposal, which enjoyed

majority support among the independent shareholders.

                              (vi)    Walgreens’s Violations of Its CSA Duties as a
                                      Distributor and Dispenser Caused Excessive and
                                      Unreasonable Amounts of Opioids to Be Shipped to and
                                      Dispensed from Walgreens Pharmacies in Oklahoma.

       880.    In Oklahoma, as a distributor, Walgreens shipped more than 383.88 million DUs

(5.18 billion MME) of prescription opioids from 2006-2014, when it stopped self-distributing

opioids. Even this supply, however, was not enough for its stores in Oklahoma. In total, at the

pharmacy level, Walgreens purchased more than 750 million DUs (12.32 billion MME) of

prescription opioids for its stores in Oklahoma from 2006 to 2019.

       881.    In New York, as a distributor, Walgreens shipped more than 303.31 million DUs

(5.82 billion MME) of prescription opioids from 2006-2014. In total, at the pharmacy level,

Walgreens purchased more than 603.90 million DUs (15.09 billion MME) of prescription

opioids for its stores in New York from 2006 to 2019.

       882.    Nationwide, as a distributor, Walgreens shipped more than 17.33 billion DUs

(256.10 billion MME) of prescription opioids from 2006-2014. In total, at the pharmacy level,

Walgreens purchased more than 32.24 billion DUs (589.96 billion MME) of prescription opioids

for its stores nationwide from 2006 to 2019.

       883.    As a vertically integrated distributor and dispenser of prescription opioids,

Walgreens knew or should have known that an excessive volume of pills was being dispensed

into Oklahoma.

       884.    Walgreens violated the standard of care for a distributor by failing to: (a) control

the supply chain; (b) prevent diversion; (c) report suspicious orders; and (d) halt shipments of




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opioids in quantities it knew or should have known could not be justified and signaled potential

diversion.

       885.    The volume of opioids Walgreens shipped into, and dispensed from locations in,

New York and Oklahoma was so high as to suggest that not all of the prescriptions could be for

legitimate medical use.

       886.    Yet, upon information and belief, Walgreens did not make any suspicious order

report of an order in New York and Oklahoma between 2007 and 2014. Instead, Walgreens

funneled far more opioids into New York and Oklahoma than could have been expected to serve

legitimate medical use.

       887.    Walgreens developed and maintained highly advanced data collection and

analytical systems. These sophisticated software systems monitor the inventory and ordering

needs of customers in real-time and depicted the exact amounts of pills, pill type, and anticipated

order threshold for its own stores.

       888.    Through this proprietary data, Walgreens had direct knowledge of patterns and

instances of improper distribution, prescribing, and use of prescription opioids in Oklahoma. It

used this data to evaluate its own sales activities and workforce. Walgreens also was in

possession of extensive data regarding individual doctors’ prescribing and dispensing to its

customers, the percentage of a prescriber’s prescriptions that were controlled substances,

individual prescription activity across all Walgreens stores, and the percentages of prescriptions

purchased in cash. Such data are a valuable resource that Walgreens could have used to help

identify when prescriptions were not legitimate, but it did not.

       889.    Upon information and belief, Walgreens, by virtue of its data analytics, was

actually aware of indicia of prescriptions that were not legitimate, such as (a) individuals




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traveling long distances to fill prescriptions; (b) prescriptions for drug “cocktails,” known for

their abuse potential, such as oxycodone and Xanax; (c) individuals who arrived together with

identical or nearly identical prescriptions; (d) high percentage of cash purchases; and (e) doctors

prescribing outside the scope of their usual practice or geographic area. However, Walgreens

ignored these obvious red flags.

       890.    Upon information and belief, based on other enforcement actions against the

company, Walgreens also failed to adequately use data available to it to identify doctors who

were writing suspicious numbers of prescriptions and/or prescriptions of suspicious amounts or

doses of opioids, or to adequately use data available to it to prevent the filling of prescriptions

that were illegally diverted or otherwise contributed to the opioid crisis.

       891.    Upon information and belief, Walgreens failed to adequately analyze and address

its opioid sales relative to: (a) the number of opioid prescriptions filled by its pharmacies relative

to the population of the pharmacy’s community; (b) the increase in opioid sales relative to past

years; and (c) the number of opioid prescriptions filled relative to other drugs.

       892.    Upon information and belief, based on other enforcement actions against the

company, Walgreens also failed to adequately analyze and address its opioid sales to identify

patterns regarding prescriptions that should not have been filled and to create policies

accordingly, or if it conducted such reviews, it failed to take any meaningful action as a result.

       893.    Discovery will reveal that Walgreens knew or should have known that its

pharmacies in New York, Oklahoma, and throughout the United States were (a) filling multiple

prescriptions to the same patient using the same doctor; (b) filling multiple prescriptions by the

same patient using different doctors; (c) filling prescriptions of unusual size and frequency for

the same patient; (d) filling prescriptions of unusual size and frequency from out-of-state




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patients; (e) filling an unusual or disproportionate number of prescriptions paid for in cash;

(f) filling prescriptions paired with other drugs frequently abused with opioids, like

benzodiazepines, or prescription “cocktails”; (g) filling prescriptions in volumes, doses, or

combinations that suggested that the prescriptions were likely being diverted or were not issued

for a legitimate medical purpose; and (h) filling prescriptions for patients and doctors in

combinations that were indicative of diversion and abuse. Also, upon information and belief, the

volumes of opioids distributed to and dispensed by these pharmacies were disproportionate to

non-controlled drugs and other products sold by these pharmacies, and disproportionate to the

sales of opioids in similarly sized pharmacy markets. Walgreens had the ability, and the

obligation, to look for these red flags on a patient, prescriber, and store level, and to refuse to fill

and to report prescriptions that were not legitimate.

        894.    Walgreens admits its role in the opioid epidemic, stating it has the “ability –

and . . . critical responsibility – to fight the opioid crisis” as the “nation’s largest pharmacy

chain” in a time when “[a]ddiction to prescription painkillers, heroin, and other opioids has

surged, with opioid overdoses quadrupling in this decade” and “drug overdose deaths – the

majority from prescription and illicit opioids” resulting in “more fatalities than from motor

vehicle crashes and gun homicides combined.” Walgreens also admits the “opioid crisis” is

caused by “misuse, abuse and addiction” that result from the “flow of opioids that fuel the

epidemic.”

                                Walmart

        895.    Walmart is the largest private employer in the United States by far. It employs

more than 1.5 million people. But for years, Walmart chose not to assign a single employee to

design or operate a system to detect suspicious orders of controlled substances. Walmart chose to




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do nothing while hundreds of thousands of people were dying, and waited until 2014 to begin to

take meaningful action. By that time, it was too late.

                               (i)     Walmart Lacked a Suspicious Order Monitoring
                                       System for Most of the Relevant Time Period.

       896.    Walmart self-distributed opioids to its retail stores. Specifically, Walmart

operated registered distribution centers to supply its own pharmacies with controlled substances

from the early 2000s until 2018 when it ceased self-distributing controlled substances. Walmart’s

conduct is particularly troubling given that it acted both as a self-distributing and dispensing

pharmacy for such a long period of time.

       897.    Prior to 2011, Walmart had not designed any formal system to identify suspicious

orders of controlled substances and, therefore, utterly failed to meet its statutory obligations.

       898.    Walmart has claimed that its hourly employees and associates — who were also

responsible for filling orders at Walmart Distribution Centers — monitored the orders they were

filling for unusual size, pattern, and frequency. Typically, this “review” involved between 700

and 800 orders a day.132 Walmart has also claimed that these hourly associates were instructed to

alert a supervisor if an order appeared unusual based on their experience and memory.133

       899.    Upon information and belief, Walmart can produce no written evidence of any

such instructions to Walmart associates, no evidence of any training that would be required to

implement such a procedure, or anyone actually being alerted about an unusual order or

performing any follow up inquiry.




132
   See Abernathy Dep. at 40:13-21, Nov. 15, 2018.
133
   See id. at 15-18 (“[I]f a quantity stood out that seemed to be not normal or what they
perceivedas normal, they would report that to one of the managers, and we would call the store
and ask about, ‘Is this order correct?’” (emphasis added)).


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          900.   Walmart failed to provide any guidance to the associates as to what constitutes a

“suspicious” order. Instead, Walmart relied on its associates’ subjective judgment based on their

“knowledge and experience” as distribution center employees. There is no evidence that any

Walmart employee ever flagged an order as suspicious prior to 2011.

          901.   Walmart purportedly implemented a “monitoring program” that would identify

suspicious orders of controlled substances in 2011. This system purportedly was in place until

2015.

          902.   Walmart’s monitoring program was insufficient to identify suspicious orders of

controlled substances. The program flagged only very large orders of controlled substances.

Specifically, it flagged weekly orders for controlled substances of 50 bottles (5,000 DUs) or

more and orders or more than 20 bottles (2,000 DUs) that were 30% higher than a rolling four-

week average for that item. Orders under 2,000 units per week were never flagged, meaning that

a pharmacy could order 8,000 units per month without ever being flagged. Moreover, that meant

that even if an order was more than 30% greater than the four-week average, it could not draw an

alert unless it also was more than 20 bottles.

          903.   Under this system, an alert did not mean Walmart would report the order or halt it

pending necessary due diligence. To the contrary, upon information and belief, Walmart never

reported an order flagged by its monitoring program to the DEA as suspicious. In addition, rather

than halting the order, Walmart simply cut the order to the amount of the 50 bottles threshold and

shipped it. Walmart never reported cut orders to the DEA. Although information regarding

flagged orders was available and sent daily to Walmart’s headquarters in Arkansas (the “Home

Office”), no one from the Home Office ever reviewed or took any action regarding flagged

orders.




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       904.    This practice continued until mid-2012, when Walmart implemented “hard limits”

on opioid orders. Under this approach, weekly orders of Oxycodone 30mg (“Oxy 30”) were

automatically reduced to 20 bottles. Still, Walmart failed to report the orders to the DEA.

       905.    During this time period, Walmart also monitored weekly orders of other

controlled substances in quantities of more than 20 bottles. Specifically, an “Over 20 Report”

was provided to the Home Office in the morning and if nothing was done by mid-afternoon, the

orders were filled and shipped. Upon information and belief, there is no evidence of any order in

fact being held or reviewed pursuant to this practice.

       906.    Further, cutting the order did not mean that the Walmart pharmacy would not

receive the full supply. Walmart pharmacies also purchased opioids from outside suppliers,

including McKesson and AmerisourceBergen. Pharmacies could place another order with these

outside vendors to make up the difference, or in some cases, have orders fulfilled by both

Walmart and a third-party distributor at the same time. Thus, even though Walmart had the

ability to monitor such orders, it chose not to, which allowed its pharmacies to surpass its already

high thresholds by simply ordering drugs from a third party.

       907.    Walmart knew that its monitoring program was insufficient to fulfill its

obligations to prevent diversion. For example, in 2013, Walmart acknowledged in an internal

presentation that it had not yet designed a compliant system for suspicious order identification,

monitoring, and reporting. It also stated that it was “TBD” when Walmart would develop such a

system. In June 2014, Walmart again acknowledged that it lacked a compliant monitoring

program. Moreover, Walmart acknowledged in 2014 that it had “no process in place” to comply

with government regulations and that this created the “severe” risk of “financial or reputational

impact to the company.”




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       908.    It was not until late 2014 that Walmart’s written policies and procedures required

orders of interest to be held and investigated.

                               (ii)    Walmart’s “Enhanced” Monitoring Program Failed to
                                       Remedy Deficiencies in its Monitoring Program.

       909.    In 2015, Walmart enhanced its suspicious order monitoring policy by

implementing store-specific thresholds. Upon information and belief, it based these thresholds on

the standard deviation of a specific pharmacy’s order history for each controlled substance. The

thresholds also included minimum amounts, below which no orders were flagged under any

circumstance, regardless of pattern or frequency.

       910.    Walmart’s corporate designee, testifying on its behalf in the MDL, conceded that

thresholds were set for business purposes, not for the purpose of “main[taining] of effective

controls against diversion . . . into other than legitimate . . . channels.” 21 U.S.C.A. § 823(a)(1),

       911.    Further, for almost all Walmart pharmacies, this minimum was set at 2,000 DUs

per week (or 8,000 DUs per month). Accordingly, even when Walmart implemented a store

specific policy that took into consideration a pharmacy’s order history, the program was still

woefully deficient because it did not account for changes in ordering patterns. A pharmacy

could, for example, go from ordering 10 DUs of Oxycodone 10 mg per month to 7,999 per

month without any order being flagged or reviewed.

                               (iii)   Walmart’s Violations of Its CSA Duties as a Distributor
                                       and Dispenser Caused Excessive and Unreasonable
                                       Amounts of Opioids to Be Shipped to and Dispensed
                                       from Walmart Pharmacies throughout the United
                                       States, including in New York and Oklahoma.

       912.    According to data from the ARCOS database, between 2006 and 2018 (when it

stopped self-distributing opioids), Walmart shipped more than 421 million DUs (4.48 billion

MME) of prescription opioids to Walmart pharmacies in Oklahoma. The volume of opioids




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Walmart shipped into Oklahoma was so high as to raise a red flag that not all of the prescriptions

being ordered could be for legitimate medical uses. During the same timeframe, Walmart also

shipped more than 208.68 million DUs (2.21 billion MME) of prescription opioids to Walmart

pharmacies in New York, alone, and more than 11.09 billion DUs (115.47 billion MME) of

prescription opioids to Walmart pharmacies nationwide.

       913.    Yet, upon information and belief, Walmart did not report a single suspicious order

in New York and Oklahoma. Instead, Walmart funneled far more opioids into New York and

Oklahoma than could have been expected to serve legitimate medical use, and ignored other

indicia of suspicious orders.

       914.    In New York, Oklahoma, and throughout the United States, Walmart violated the

standard of care for a distributor by failing to: (a) control the supply chain; (b) prevent diversion;

(c) report suspicious orders; and (d) halt shipments of opioids in quantities it knew or should

have known could not be justified and signaled potential diversion.

       915.    Indeed, as a vertically integrated, national retail pharmacy chain, Walmart had the

ability to detect inappropriate and excessive opioid shipments in ways third-party wholesale

distributors could not by examining the dispensing data from their own retail pharmacy

locations.

       916.    Given the volume and pattern of opioids distributed throughout the United States,

including in Oklahoma and New York, Walmart was, or should have been aware that opioids

were being oversupplied nationwide and should have detected, reported, and rejected suspicious

orders. Yet, the information available shows it did not.

       917.    Walmart by virtue of the data available to it, was actually aware of indicia of

illegitimate opioid prescriptions, such as (a) individuals traveling long distances to fill




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prescriptions; (b) prescriptions for drug “cocktails” known for their abuse potential, such as

oxycodone and Xanax; (c) individuals who arrived together with identical or nearly identical

prescriptions; (d) high percentage of cash purchases; and (e) doctors prescribing outside the

scope of their usual practice or geographic area. However, Walmart ignored these obvious red

flags.

         918.   Walmart failed to analyze: (a) the number of opioid prescriptions filled by its

pharmacies relative to the population of the pharmacy’s community; (b) increase in opioid sales

relative to past years; and (c) the number of opioid prescriptions filled relative to other drugs.

         919.   Given Walmart’s retail pharmacy operations, in addition to its role as a wholesale

distributor, Walmart knew or reasonably should have known about the disproportionate flow of

opioids throughout the United States, including into New York and Oklahoma and the operation

of “pill mills” that generated opioid prescriptions that, by their quantity or nature, were red flags

for, if not direct evidence of, illicit supply and diversion.

         920.   Walmart, throughout the relevant time period, owned and operated pharmacies

throughout the United States, including pharmacies in New York and Oklahoma. Through its

wholly owned or controlled subsidiary companies, Walmart operates over 4,500 retail

pharmacies across the United States, a mail-order pharmacy, a specialty pharmacy, and six

pharmacy distribution centers that distribute to other Walmart entities.

         921.   Walmart set policies for its pharmacies at the corporate level.134 Walmart also

presented, through nationwide advertising, a public image of the safety and excellence of all the

pharmacists the company hired. In a recruitment video for pharmacists on Walmart’s YouTube




134
   See, e.g., WMT_IN_AG_00000066 (“Walmart has adopted a uniform national policy that is
designed to meet or exceed the federal rules and the laws of all states.”).


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channel, the company shows Walmart pharmacists speaking about working at the company: “the

safety and the excellence we carry to our patients is phenomenal,” adding that “the culture that

our company has [is] respect for the individual, service, and excellence, and, of course, we

always have integrity.”135 The commercial also states that Walmart’s pharmacists “strive for

excellence” and are “passionate about providing quality healthcare.”136

       922.    As a vertically integrated distributor and dispenser of prescription opioids,

Walmart had unique insight into all distribution and dispensing level data, and knew or should

have known that it was dispensing an excessive volume of pills throughout the United States,

including into New York and Oklahoma.

       923.    Discovery will reveal that Walmart knew or should have known that its

pharmacies were: (a) filling multiple prescriptions to the same patient using the same doctor; (b)

filling multiple prescriptions by the same patient using different doctors; (c) filling prescriptions

of unusual size and frequency for the same patient; (d) filling prescriptions of unusual size and

frequency from out-of-state patients; (e) filling an unusual or disproportionate number of

prescriptions paid for in cash; (f) filling prescriptions paired with other drugs frequently abused

with opioids, like benzodiazepines or prescription “cocktails”; (g) filling prescriptions in

volumes, doses, or combinations that suggested that the prescriptions were likely being diverted

or were not issued for a legitimate medical purpose; and (h) filling prescriptions for patients and

doctors in combinations that were indicative of diversion and abuse. Also, upon information and

belief, the volumes of opioids distributed to and dispensed by these pharmacies were

disproportionate to non-controlled drugs and other products sold by these pharmacies, and



135
    Walmart, Your Career as a Walmart Pharmacist (Sept. 25, 2014), available at
https://www.youtube.com/watch?v=9VD12JXOzfs (last visited May 13, 2020).
136
    Id.


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disproportionate to the sales of opioids in similarly sized pharmacy markets. Walmart had the

ability, and the obligation, to look for these red flags on a patient, prescriber, and store level, and

to refuse to fill and to report prescriptions that were not legitimate.

       924.    Yet, Walmart failed to put in place effective policies and procedures for the

dispensing of prescription opioids and failed to provide adequate guidance to its pharmacists on

dispensing opioids. Moreover, Walmart’s pressure on pharmacists to fill more prescriptions

quickly was at odds with a culture and practice of compliance. Incentive awards were tied to the

number of prescriptions a pharmacy filled and profit that the pharmacy generated. Upon

information and belief, controlled substances were included in Walmart’s pharmacy incentive

program for most of the relevant time period. In addition, pharmacists were under constant

pressure to increase the number of prescriptions they filled, and to increase the overall

percentage of pharmacy sales. As a result, upon information and belief, because of Walmart’s

drive for speed, pharmacists often did not have enough time to sufficiently review a prescription

and conduct the appropriate due diligence.

       925.    Even when Walmart pharmacists suspected diversion based on an individual

prescriber’s prescribing practices, for years, Walmart did not allow its pharmacists to request

blanket refusals to fill. Walmart, however, had always had the ability to do so. Finally, in 2017,

Walmart implemented a policy by which individual pharmacists could request such blanket

refusals, which would permit the pharmacist to refuse to fill future prescriptions from that

prescriber without evaluating each prescription individually. In addition, Walmart also always

had the ability to “centrally block” problematic prescribers across all Walmart and Sam’s Club

pharmacies, but did not establish a procedure to do so until 2017. In the “Practice Compliance”




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document describing this policy, Walmart admitted that it may, “in certain situations,” have

information about prescribing practices that is not available to individual pharmacists:

       While pharmacists are in the best position to determine whether individual
       prescriptions are appropriate, additional information may be obtained that is not
       available to our pharmacists. Therefore, in certain situations, a prescriber may be
       identified whose prescribing practices raise concerns about prescribing controlled
       substances for legitimate medical purposes. After a thorough review, these
       additional insights may lead Walmart to place a block in Connexus on controlled
       substance prescriptions from these prescribers.

       926.    These systemic issues are reflected in numerous enforcement actions and

investigations that demonstrate the Walmart put profits and sales ahead of compliance, its

customers and communities, and public safety. In 2009, for example, the DEA issued a Show

Cause order seeking to revoke the registration of a Walmart pharmacy in California. The order

alleged that the pharmacy:

       (1) improperly dispensed controlled substances to individuals based on purported
       prescriptions issued by physicians who were not licensed to practice medicine in
       California; (2) dispensed controlled substances . . . based on Internet prescriptions
       issued by physicians for other than a legitimate medical purpose and/or outside
       the usual course of professional practice . . . ; and (3) dispensed controlled
       substances to individuals that [the pharmacy] knew or should have known were
       diverting the controlled substances.

       927.    In addition, a 2011 Memorandum of Agreement (“2011 MOA”) arising out of the

investigation states that the DEA also learned that the same pharmacy was allegedly dispensing

controlled substances based on prescriptions that lacked valid DEA numbers and allegedly

refilling controlled-substances prescriptions too early.

       928.    Upon information and belief, the failures described in the 2011 MOA were not

limited to California but reflected systemic failures at the corporate level. Indeed, the 2011

MOA, which required Walmart to maintain a “compliance program” states that it is applicable to

“all current and future Walmart Pharmacy locations.”




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        929.    Following the 2011 MOA, Walmart was supposed to revamp its dispensing

compliance program, but still, its policies and procedures remained deficient.

        930.    Instead, systemic failures continued, and Walmart’s national corporate office not

only failed to insist that Walmart implement adequate controls against diversion, they ignored

concerns raised by Walmart pharmacists.

        931.    One internal document from 2015, for example, notes concerns from a Walmart

pharmacist that “his leadership would not support his refusing to fill any ‘legitimate’ (written by

a doctor) prescriptions and he stated that his current volume/staffing structure doesn’t allow time

for individual evaluation of prescriptions[.]” When this pharmacist refused to fill a customer’s

controlled substance prescription because the customer was attempting to fill it too soon, the

Market Health & Wellness Director for that store complained to management that the pharmacist

“sent a customer to a competitor” and “expressed significant concern about how ‘sending

customers away’ would impact the sales figures for the store,” and insisted that “the store needs

to fill every available prescription.”

        932.    In October 2018, the DOJ had evidence that Walmart pharmacies in Texas

dispensed opioids that killed customers who overdosed on the drugs. “The pharmacists who

dispensed those opioids had told the company they didn’t want to fill the prescriptions because

they were coming from doctors who were running pill mills,” but their pleas “for help and

guidance from Walmart’s corporate office” fell on deaf ears.137 Pharmacists in a number of other

states also sought help from Walmart’s corporate office, also to no avail. Walmart compliance




137
   Jesse Eisinger and James Bandler, Walmart Was Almost Charged Criminally Over
Opioids.Trump Appointees Killed the Indictment., ProPublica, (March 25, 2020),
https://www.propublica.org/article/walmart-was-almost-charged-criminally-over-opioids-trump-
appointees-killed-the-indictment.


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officials failed to take action in response to these alarms. “Instead, they repeatedly admonished

pharmacists that they could not cut off any doctor entirely.”138 Even if pharmacists believed the

doctor was operating a pill mill, rather than providing genuine medical care, “[t]hey could only

evaluate each prescription on an individual basis.”139 In fact, a 2011 document from Walmart

Regulatory Affairs regarding the “Proper Prescriber-Patient Relationship” stated, “Blanket

refusals of prescriptions are not allowed. A pharmacist must make an individual assessment of

each prescription and determine that it was not issued based on a valid prescriber- patient

relationship or a valid medical reason before refusing to fill.”

       933.    A Texas federal prosecutor, in connection with an investigation that began in

2016, described a systemic problem. The investigation showed Walmart’s issue was not a few

rogue employees. Rather, “Walmart had a national problem.”140 The investigation reportedly

revealed that between 2011 and 2017, “Walmart pharmacists repeatedly filled prescriptions that

they worried were not for legitimate medical purposes, including large doses of opioids and

mixtures of drugs the DEA considered red flags for abuse.141 They did so even though Walmart

pharmacists in Texas, Maine, North Carolina, Massachusetts, Kansas and Washington all “raised

alarms to the company’s national compliance department about doctors.”142 Regarding one

Texas doctor who was later convicted of illegal distribution of opioids, a Walmart pharmacist

wrote; “We are all concerned about our jobs and about filling for a pill mill doctor. . . Please




138
    Id.
139
    Id.
140
    Id.
141
    Jesse Eisinger and James Bandler, Walmart Was Almost Charged Criminally Over Opioids.
Trump Appointees Killed the Indictment., ProPublica, (March 25, 2020),
https://www.propublica.org/article/walmart-was-almost-charged-criminally-over-opioids-trump-
appointees-killed-the-indictment.
142
    Id.


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help us.”84 Another described the same doctor as a “problem,” a “liability for us,” and a “risk

that keeps [him] up at night,” cautioning “[t]his is a serious situation.”85 Similarly, in September

2016, a Walmart pharmacist in Pennsylvania advised that a doctor was “under investigation by

the DEA for what we believe is a pill mill operation,” and that Rite Aid had begun refusing to fill

his prescriptions, prompting prescriptions from this prescriber, which were “almost solely

narcotic and controlled prescriptions” to double.86 Still, Walmart adhered to its policy of

requiring a case-by-case analysis of each prescription from the suspected pill mill placed with

any Walmart pharmacy; it would not block the prescriber in its system or allow a “blanket”

refusal to fill. Walmart was more concerned with the potential sale than it was with dispensing

an illegitimate prescription.

               3.      Multiple Enforcement Actions Against the Pharmacy Defendants
                       Confirm Their Compliance Failures

       934.    The Pharmacy Defendants have long been on notice of their failure to abide by

state and federal law and regulations governing the distribution and dispensing of prescription

opioids. Indeed, Pharmacy Defendants have been repeatedly penalized for their illegal

prescription opioid practices. Upon information and belief, based upon the widespread nature of

these violations, these enforcement actions are the product of, and confirm, national policies and

practices of the Pharmacy Defendants.

                                CVS

       935.    CVS is one of the largest companies in the world, with annual revenue of more

than $150 billion. According to news reports, it manages medications for nearly 90 million

customers at 9,700 retail locations.

       936.    CVS is a repeat offender and recidivist: the company has paid fines totaling over

$40 million as the result of a series of investigations by the DEA and the DOJ. It nonetheless




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treated these fines as the cost of doing business and has allowed its pharmacies to continue

dispensing opioids in quantities significantly higher than any plausible medical need would

require, and to continue violating its recordkeeping and dispensing obligations under the CSA.

          937.   Confirming its systemic failures to comply with its CSA obligations, CVS has

repeatedly faced enforcement actions. In 2020, CVS’s Omnicare subsidiary agreed to pay a

$15.3 million civil penalty as part of a settlement with the DEA resolving allegations that it

improperly dispensed opioids and other controlled substances to long- term care facilities

without a valid prescription.

          938.   In November 2021, a jury in an MDL bellwether case found that CVS had failed

to comply with its CSA obligations and had dispensed red-flag prescriptions without appropriate

due diligence.

          939.   In March 2019, CVS Pharmacy, Inc. (including all of its relevant subsidiaries and

affiliates) entered into a $535,000 settlement with the U.S. Attorney’s Office for the District of

Rhode Island, acting on behalf of the United States and the DEA’s Providence Office. In

connection with the settlement, a DEA agent stated: “Pharmacies put patients at risk when they

dispense Schedule II narcotics, which have the highest potential for abuse, without a valid and

legal prescription.143

          940.   In August of 2018, CVS paid $ 1 million to resolve allegations that CVS

pharmacies throughout the Northern District of Alabama violated record-keeping requirements

under the CSA and its implementing regulations, the largest civil fine paid in Alabama by a DEA

registrant.




143
      https://www.dea.gov/press-releases/2019/04/16/cvs-pay-535000-filling-invalid-prescriptions.


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       941.    In June of 2018, CVS paid $1.5 million to resolve allegations that CVS

pharmacies in Long Island, New York failed to timely report the loss or theft of controlled

substances, including hydrocodone, recognized as one of the most commonly diverted controlled

substances.

       942.    In July 2017, CVS entered into a $5 million settlement with the U.S. Attorney’s

Office for the Eastern District of California regarding allegations that its pharmacies failed to

keep and maintain accurate records of Schedule II, III, IV, and V controlled substances.144

       943.    This fine was preceded by numerous others throughout the country.

       944.    In February 2016, CVS paid $8 million to settle allegations made by the DEA and

the DOJ that from 2008-2012, CVS stores and pharmacists in Maryland violated their duties

under the CSA and filling prescriptions with no legitimate medical purpose.

       945.    In October 2016, CVS paid $600,000 to settle allegations by the DOJ that stores

in Connecticut failed to maintain proper records in accordance with the CSA.

       946.    In September 2016, CVS entered into a $795,000 settlement with the

Massachusetts Attorney General wherein CVS agreed to require pharmacy staff to access the

state’s prescription monitoring program website and review a patient’s prescription history

before dispensing certain opioid drugs.

       947.    In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve allegations that

50 of its stores violated the CSA by filling forged prescriptions for controlled substances –

mostly addictive painkillers – more than 500 times between 2011 and 2014.




144
   Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office E. Dist. of Cal., CVS Pharmacy Inc.
Pays $5M to Settle Alleged Violations of the Controlled Substance Act (July 11, 2017),
https://www.justice.gov/usao-edca/pr/cvs-pharmacy-inc-pays-5m-settle-alleged-violations-
controlled-substance-act.


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       948.    In August 2015, CVS entered into a $450,000 settlement with the U.S. Attorney’s

Office for the District of Rhode Island to resolve allegations that several of its Rhode Island

stores violated the CSA by filling invalid prescriptions and maintaining deficient records. The

United States alleged that CVS retail pharmacies in Rhode Island filled a number of forged

prescriptions with invalid DEA numbers, and filled multiple prescriptions written by psychiatric

nurse practitioners for hydrocodone, despite the fact that these practitioners were not legally

permitted to prescribe that drug. Additionally, the government alleged that CVS had

recordkeeping deficiencies.

       949.    In May 2015, CVS agreed to pay a $22 million penalty following a DEA

investigation that found that employees at two pharmacies in Sanford, Florida, had dispensed

prescription opioids “based on prescriptions that had not been issued for legitimate medical

purposes by a health care provider acting in the usual course of professional practice. CVS also

acknowledged that its retail pharmacies had a responsibility to dispense only those prescriptions

that were issued based on legitimate medical need.”

       950.    In September 2014, CVS agreed to pay $1.9 million in civil penalties to resolve

allegations it filled prescriptions written by a doctor whose controlled-substance registration had

expired.

       951.    In 2013, CVS agree to pay $ 11 million to resolve allegations it violated the CSA

and related federal regulations at its retail stores in Oklahoma and elsewhere by: (a) creating and

using “dummy” DEA registration numbers on dispensing records, including records provided to

state prescription drug monitoring programs; (b) filling prescriptions from prescribers who

lacked current or valid DEA numbers; and (c) substituting the DEA number of non-prescribing

practitioners for the DEA numbers of prescribers on prescription records,




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       952.    In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy Board for

improperly selling prescription narcotics in at least five locations in the Oklahoma City

metropolitan area.

       953.    Dating back to 2006, CVS retail pharmacies in Oklahoma and elsewhere

intentionally violated the CSA by filling prescriptions signed by prescribers with invalid DEA

registration numbers.

                                 Walgreens

       954.    Walgreens is the second-largest pharmacy store chain in the United States behind

CVS, with annual revenue of more than $118 billion. According to its website, Walgreens

operates more than 8,100 retail locations and filled 990 million prescriptions on a 30-day

adjusted basis in fiscal 2017.

       955.    Walgreens also has been penalized for serious and flagrant violations of the CSA.

Indeed, Walgreens agreed to the largest settlement in DEA history – $80 million – to resolve

allegations that it committed an unprecedented number of recordkeeping and dispensing

violations of the CSA, including negligently allowing controlled substances such as oxycodone

and other prescription painkillers to be diverted for abuse and illegal black-market sales. These

actions demonstrate Walgreens’s knowledge of, and disregard for, its obligations to comply with

the CSA.

       956.    On September 30, 2009, the DEA issued an Order to Show Cause against a

Walgreens retail facility in San Diego, California based in part on allegations that it was

dispensing controlled substances, including opioids, to individuals that it knew or should have

known were diverting the controlled substances. Although the Order addressed this specific

location, the response, including Walgreens’s internal assessment of its compliance, or lack




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thereof, revealed systemic failures from which its Trumbull County pharmacies would not have

been exempt.

       957.    In April 2011, Walgreens entered into an Administrative Memorandum of

Agreement (“2011 MOA”) with the DEA arising from the San Diego OTSC and expressly

agreed that it would “maintain a compliance program to detect and prevent diversion of

controlled substances as required under the CSA and applicable DEA regulations” including

regarding the dispensing practices at all of its nationwide pharmacies.

       958.    On September 14, 2012, however, the DEA also issued an Order to Show Cause

and Immediate Suspension Order (“ISO”), described above against Walgreens’s Distribution

Center in Jupiter, Florida, as well as Orders to Show Cause related to certain Walgreens

pharmacies. Evidencing the existence of systemic failures, the ISO stated that, “[DEA’s]

concerns with [Walgreens’] distribution practices are not limited to the six Walgreens

pharmacies [discussed in the ISO].”

       959.    In 2013, Walgreens agreed to the largest settlement in DEA history at the time—

$80 million—to resolve allegations that it committed an unprecedented number of recordkeeping

and dispensing violations of the CSA, including negligently allowing controlled substances such

as oxycodone and other prescription painkillers to be diverted for abuse and illegal black-market

sales. In addition to the monetary payment, the Jupiter, Florida distribution center lost its

authority to distribute or dispense controlled substances, including opioids, for two years. The

DOJ, in describing the settlement, explained that the conduct at issue included Walgreens’s

“alleged failure to sufficiently report suspicious orders was a systematic practice that resulted in




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at least tens of thousands of violations and allowed Walgreens’s retail pharmacies to order and

receive at least three times the Florida average for drugs such as oxycodone.”145

        960.    The settlement resolved investigations into, and allegations of, CSA violations in

Florida, New York, Michigan, and Colorado that resulted in the diversion of millions of opioids

into illicit channels.

        961.    As part of the 2013 MOA described above, Walgreens “acknowledge[d] that

certain Walgreens retail pharmacies did on some occasions dispense certain controlled

substances in a manner not fully consistent with its compliance obligations under the CSA . . .

and its implementing regulations.”146 The 2013 MOA required Walgreens to, among other

things, “maintain a compliance program in an effort to detect and prevent diversion of controlled

substances” as required by law.147

        962.    Walgreens’s Florida operations at issue in this settlement highlight its egregious

conduct regarding its failure to comply with the CSA in its dispensing practices. Walgreens’s

Florida pharmacies each allegedly ordered more than one million DUs of oxycodone in 2011—

more than ten times the average amount.

        963.    They increased their orders over time, in some cases as much as 600% in the

space of just two years, including, for example, supplying a town of 3,000 with 285,800 orders

of oxycodone in a one-month period. Yet Walgreens corporate officers not only turned a blind

eye, but provided pharmacists with incentives through a bonus program that compensated them




145
    Press Release, U.S. Attorney’s Office S. Dist. of Fla., Walgreens Agrees To Pay A Record
Settlement Of $80 Million For Civil Penalties Under The Controlled Substances Act, U.S. Dep’t
of Just. (June 11, 2013), https://www.justice.gov/usao-sdfl/pr/walgreens-agrees-pay-record-
settlement-80-million-civil-penalties-under-controlled.
146
    WAGMDL00490963 at WAGMDL00490964.
147
    Id. at WAGMDL00490968.


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based on the number of prescriptions filled at the pharmacy. Yet Walgreens corporate officers

turned a blind eye to these abuses. In fact, the long-term Controlled Substance Compliance

Officer148 at Walgreens suggested, in reviewing the legitimacy of prescriptions coming from pain

clinics, that “if these are legitimate indicators of inappropriate prescriptions perhaps we should

consider not documenting our own potential noncompliance,” underscoring Walgreens’s attitude

that profit outweighed compliance with the CSA or the health of communities.149

       964.    Walgreens’s settlement with the DEA stemmed from the DEA’s investigation into

Walgreens’s distribution center in Jupiter, Florida, which was responsible for significant opioid

diversion in Florida. According to the Order to Show Cause, Defendant Walgreens’s corporate

headquarters pushed to increase the number of oxycodone sales to Walgreens’s Florida

pharmacies, and provided bonuses for pharmacy employees based on number of prescriptions

filled at the pharmacy in an effort to increase oxycodone sales. In July 2010, Defendant

Walgreens ranked all of its Florida stores by number of oxycodone prescriptions dispensed in

June of that year, and found that the highest-ranking store in oxycodone sales sold almost 18

oxycodone prescriptions per day. All of these prescriptions were filled by the Jupiter Center, a

distribution center that also distributed into New York and Oklahoma.

       965.    An August 2013 email shows Walgreens understood the consequences of its

actions, explaining that Walgreens’s “previous system would continue to send additional product

to the store without limit or review which made possible the runaway growth of dispensing

products like Oxycodone.”150




148
    WAGMDL00815828; WAGFLDEA00000127
149
    WAGFLDEA00001890
150
    WAGMDL00021425.


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       966.    Walgreens has also settled with a number of state attorneys general, including

West Virginia ($575,000) and Massachusetts ($200,000).

       967.    The Massachusetts Attorney General’s Medicaid Fraud Division found that, from

2010 through most of 2015, multiple Walgreens stores across the state failed to monitor the

opioid use of some Medicaid patients who were considered high-risk.

       968.    In January 2017, an investigation by the Massachusetts Attorney General found

that some Walgreens pharmacies failed to monitor patients’ drug use patterns and didn’t use

sound professional judgment when dispensing opioids and other controlled substances—despite

the context of soaring overdose deaths in Massachusetts. Walgreens agreed to pay $200,000 and

follow certain procedures for dispensing opioids.

       969.    The actions against Walgreens as both a distributor and a retail pharmacy

demonstrate it routinely, and as a matter of standard operating procedure, violated its legal

obligations under the CSA and other laws and regulations governing the distribution and

dispensing of prescription opioids.

       970.    In August 2022, Judge Breyer in the Northern District of California, ruling in a

bench trial, found that Walgreens had failed to comply with the CSA in its dispensing of

controlled substances in San Francisco. The Court further held that “[t]he evidence presented at

trial makes clear that Walgreens . . . which had a history of failing to comply with federal

regulations, filled a significant volume of illegitimate opioid prescriptions.” No. 3:18-cv-07591-

CRB, ECF No. 1578, at 95 (N.D. Cal. Aug. 10, 2022).

                              Walmart

       971.    In addition to the actions described above against Walmart, a prosecution against

a Virginia prescriber revealed failures at Walmart pharmacies from 2007 to 2012. A Decision

and Order in that case revealed that a Walmart pharmacy would fill prescriptions pursuant to a


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telephone message from a staff member of the prescriber, purportedly on behalf of the prescriber,

even though she failed to provide the prescriber’s DEA number. Despite the absence of

information required by DEA regulations, the Walmart pharmacy would fill the prescription.151

       972.       By mid-November of 2008, three Walmart pharmacies had dispensed more than

200 hydrocodone prescriptions and refills on behalf of the prescriber. In 2012, the prescriber

learned that someone was fraudulently using his DEA number. He called a Walmart pharmacy

regarding refill requests faxed from his office, and advised “that somebody was fraudulently

using [his] DEA number.”152 Although he asked that his DEA number be blocked, the same

pharmacy still filled two prescriptions on his behalf after this alert. Although Walmart did not

face sanctions for its conduct, the Opinion and Order described “the fact that prescriptions which

were missing [the] Respondent’s DEA number were routinely filling notwithstanding that they

were facially invalid,” and “that the prescriptions were for hydrocodone in quantities and dosings

that were clearly outside the scope of what is usually prescribed by podiatrists” as “deeply

disturbing.”153

       973.       Federal prosecutors had also taken action against five Walmart and Sam’s Club

Pharmacies in Texas, alleging that they failed to keep records required to help prevent diversion

of controlled substances as required by the CSA. Specifically, “accountability audits did not

match the drugs on hand, revealing major overages and shortages in the accountability of

controlled substances, and there were missing invoices for controlled substances all in violation




151
    DOJ, DEA, Docket No. 15-26, [FR Doc. No. 2017-13158] Peter F. Kelly, D.P.M.; Decision
and Order, https://www.deadiversion.usdoj.gov/fed regs/actions/2017/fr0623.htm.
152
    https://www.deadiversion.usdoj.gov/fed regs/actions/2017/fr0623.htm
153
    Id.


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of the CSA.”154 A U.S. Attorney further explained that “[b]ecause of the pharmacies’ lack of

proper record keeping, a variety of Schedule II, III, IV and V controlled substances were lost or

stolen and possibly diverted.”155

          974.   As recently as September 2018, minutes of an Oklahoma State Board of

Pharmacy meeting reflect that an Oklahoma “Wal-Mart Pharmacy was charged with multiple

violations of state and federal regulations and rules including establishing and maintaining

effective controls against diversion of prescription drugs.”156 Walmart agreed to pay a fine to

resolve the seven alleged violations.

          D.     Defendants Colluded to Circumvent Limits on Opioid Sales

                 1.     Defendants Worked Together to Avoid Meaningful Controls on the
                        Distribution and Dispensing of Opioids

          975.   Finding it impossible to legally achieve their ever-increasing sales ambitions, all

Defendants engaged in the common purpose of avoiding meaningful controls on suspicious

orders.

          976.   Wholesale distributors such as the Independent Distributors had close financial

relationships with both the Manufacturer Defendants and Pharmacy Defendants, for whom they

provide a broad range of value-added services that render them uniquely positioned to obtain

information and control against diversion. These services often otherwise would not be provided

by manufacturers to their dispensing customers and would be difficult and costly for the

dispenser to reproduce. For example, “[w]holesalers have sophisticated ordering systems that

allow customers to electronically order and confirm their purchases, as well as to confirm the



154
    Associated Press, Wal-Mart Settles Drug Records Accusation (Jan 7, 2009),
http://prev.dailyherald.com/story/?id=262762.
155
    Id.
156
    https://www.ok.gov/pharmacy/documents/Min%20September%202018.pdf.


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availability and prices of wholesalers’ stock.” Fed. Trade Comm’n v. Cardinal Health, Inc., 12

F. Supp. 2d 34, 41 (D.D. C. 1998). Through their generic source programs, wholesalers are also

able “to combine the purchase volumes of customers and negotiate the cost of goods with

manufacturers.” Wholesalers typically also offer marketing programs, patient services, and other

software to assist their dispensing customers.

        977.    Manufacturer Defendants provided financial incentives to Independent

Distributors and Pharmacy Defendants to distribute higher volumes, and thus to refrain from

reporting or declining to fill suspicious orders. Wholesale drug distributors acquire

pharmaceuticals, including opioids, from manufacturers at an established wholesale acquisition

cost. Discounts and rebates from this cost may be offered by manufacturers based on market

share and volume. As a result, higher volumes may decrease the cost per pill to distributors.

Decreased cost per pill in turn, allows wholesale distributors to offer more competitive prices, or

alternatively, pocket the difference as additional profit. Either way, the increased sales volumes

result in increased profits.

        978.    The Manufacturer Defendants engaged in the practice of paying rebates and/or

chargebacks to the Independent Distributorsfor sales of prescription opioids as a way to help

them boost sales and better target their marketing efforts. The Washington Post has described

the practice as industry-wide, and the HDA includes a “Contracts and Chargebacks Working

Group,” suggesting it is a standard practice. Further, in a recent settlement with the DEA,

Mallinckrodt acknowledged that “[a]s part of their business model Mallinckrodt collects

transaction information, referred to as chargeback data, from their direct customers

(distributors).” The transaction information contains data relating to the direct customer sales of

controlled substances to “downstream” registrants, meaning pharmacies or other dispensaries,




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such as hospitals. The Marketing Defendants buy data from pharmacies as well. This exchange

of information, upon information, and belief, would have opened channels providing for the

exchange of information revealing suspicious orders as well.

       979.    The contractual relationships among the Defendants also include vault security

programs. Defendants are required to maintain certain security protocols and storage facilities

for the manufacture and distribution of their opioids. The manufacturers negotiated agreements

whereby the Manufacturer Defendants installed security vaults for the Independent Distributorsin

exchange for agreements to maintain minimum sales performance thresholds. These agreements

were used by the Defendants as a tool to violate their reporting and diversion duties in order to

reach the required sales requirements.

       980.    In addition, Defendants worked together to achieve their common purpose

through trade or other organizations, such as the PCF and the HDA.

       981.    The PCF has been described as a coalition of drug makers, trade groups and

dozens of non-profit organizations supported by industry funding, including the Front Groups

described in this Complaint. The PCF became a national news story when it was discovered that

lobbyists for members of the PCF quietly shaped federal and state policies regarding the use of

prescription opioids for more than a decade.

       982.    The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drug makers and their allies shaped the national

response to the ongoing wave of prescription opioid abuse.” Specifically, PCF members spent

over $740 million lobbying in the nation’s capital and in all 50 statehouses on an array of issues,

including opioid-related measures.




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       983.    The Defendants who stood to profit from expanded prescription opioid use are

members of and/or participants in the PCF. In 2012, membership and participating organizations

included Endo, Purdue, Allergan and Teva. Each of the Marketing Defendants worked together

through the PCF. But the Marketing Defendants were not alone. Independent Distributors

actively participated in the PCF, at a minimum, through their trade organization, the HDA. The

Independent Distributors participated directly in the PCF as well.

       984.    Additionally, the HDA led to the formation of interpersonal relationships and an

organization among the Defendants. Although the entire HDA membership directory is private,

the HDA website confirms that each of the Independent Distributors and several of the

Marketing Defendants, including Allergan, Endo, Purdue, Mallinckrodt, and Teva, were

members of the HDA. Additionally, the HDA and each of the Independent Distributors, eagerly

sought the active membership and participation of the Marketing Defendantsby advocating for

the many benefits of members, including “strengthen[ing] . . . alliances.”

       985.    Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, “network one on one with manufacturer executives at HDA’s

members-only Business and Leadership Conference,” “networking with HDA wholesale

distributor members,” “opportunities to host and sponsor HDA Board of Directors events,”

“participate on HDA committees, task forces and working groups with peers and trading

partners,” and “make connections.” Clearly, the HDA and the Defendants believed that

membership in the HDA was an opportunity to create interpersonal and ongoing organizational

relationships and “alliances” between the Marketing Defendants and Independent Distributors.

       986.    The application for manufacturer membership in the HDA further indicates the

level of connection among the Defendants and the level of insight that they had into each other’s




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businesses. For example, the manufacturer membership application must be signed by a “senior

company executive,” and it requests that the manufacturer applicant identify a key contact and

any additional contacts from within its company.

       987.    The HDA application also requests that the manufacturer identify its current

distribution information, including the facility name and contact information. Manufacturer

members were also asked to identify their “most recent year end net sales” through wholesale

distributors, including the Independent Distributors.

       988.    The closed meetings of the HDA’s councils, committees, task forces and working

groups provided the Marketing Defendants and Independent Distributors with the opportunity to

work closely together, confidentially, to develop and further the common purpose and interests

of the enterprise.

       989.    The HDA also offers a multitude of conferences, including annual business and

leadership conferences. The HDA and the Independent Distributorsadvertise these conferences

to the Marketing Defendants as an opportunity to “bring together high-level executives, thought

leaders and influential managers . . . to hold strategic business discussions on the most pressing

industry issues.” The conferences also gave the Marketing Defendants “unmatched opportunities

to network with [their] peers and trading partners at all levels of the healthcare distribution

industry.” The HDA and its conferences were significant opportunities for the Marketing

Defendants and Independent Distributorsto interact at a high-level of leadership. It is clear that

the Marketing Defendants embraced this opportunity by attending and sponsoring these events.

       990.    After becoming members of HDA, Defendants were eligible to participate on

councils, committees, task forces and working groups, including:




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               a.     Industry Relations Council: “This council, composed of distributor and

manufacturer members, provides leadership on pharmaceutical distribution and supply chain

issues.”

               b.     Business Technology Committee: “This committee provides guidance to

HDA and its members through the development of collaborative e-commerce business solutions.

The committee’s major areas of focus within pharmaceutical distribution include information

systems, operational integration and the impact of e-commerce.” Participation in this committee

includes distributor and manufacturer members.

               c.     Logistics Operation Committee: “This committee initiates projects

designed to help members enhance the productivity, efficiency and customer satisfaction within

the healthcare supply chain. Its major areas of focus include process automation, information

systems, operational integration, resource management and quality improvement.” Participation

in this committee includes distributor and manufacturer members.

               d.     Manufacturer Government Affairs Advisory Committee: “This committee

provides a forum for briefing HDA’s manufacturer members on federal and state legislative and

regulatory activity affecting the pharmaceutical distribution channel. Topics discussed include

such issues as prescription drug traceability, distributor licensing, FDA and DEA regulation of

distribution, importation and Medicaid/Medicare reimbursement.” Participation in this

committee includes manufacturer members.

               e.     Contracts and Chargebacks Working Group: “This working group

explores how the contract administration process can be streamlined through process

improvements or technical efficiencies. It also creates and exchanges industry knowledge of




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interest to contract and chargeback professionals.” Participation in this group includes

manufacturer and distributor members.

       991.    The Pharmacy Defendants, Manufacturer Defendants, and Independent

Distributors also participated, through the HDA, in Webinars and other meetings designed to

exchange detailed information regarding their prescription opioid sales, including purchase

orders, acknowledgements, ship notices, and invoices. For example, on April 27, 2011, the HDA

offered a Webinar to “accurately and effectively exchange business transactions between

distributors and manufacturers . . . .” The Manufacturer Defendants used this information to

gather high-level data regarding overall distribution and direct the Independent Distributorson

how to most effectively sell prescription opioids.

       992.    Taken together, the amount of interaction and the length of the relationships

between and among the Manufacturer Defendants and Independent Distributorsreflect a deep

level of cooperation between two groups in a tightly knit industry. The Marketing Defendants

and Independent Distributorswere not two separate groups operating in isolation or two groups

forced to work together in a closed system. Rather, they operated together as a united entity,

working together on multiple fronts, to engage in the unlawful sale of prescription opioids.

       993.    The HDA and the PCF are but two examples of the overlapping relationships, and

concerted joint efforts to accomplish common goals and demonstrates that the leaders of the

Manufacturer Defendants and Independent Distributorswere in communication and cooperation.

       994.    Publications and guidelines issued by the HDA nevertheless confirm that the

Manufacturer Defendants and Independent Distributors utilized their membership in the HDA to

form agreements. Specifically, in the fall of 2008, the HDA published the Industry Compliance

Guidelines: Reporting Suspicious Orders and Preventing Diversion of Controlled Substances.




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As the HDA explained in an amicus brief, these Industry Compliance Guidelines were the result

of “[a] committee of HDMA members contribut[ing] to the development of this publication”

beginning in late 2007.

       995.    This statement by the HDA and the Industry Compliance Guidelines support the

allegation that the Manufacturer Defendants and Independent Distributorsutilized the HDA to

form agreements about their approach to their duties under the CSA. As John M. Gray,

President/CEO of the HDA stated to the Energy and Commerce Subcommittee on Health in

April 2014, is “difficult to find the right balance between proactive anti-diversion efforts while

not inadvertently limiting access to appropriately prescribed and dispensed medications.” Here,

it is apparent that all of the Manufacturer Defendants and Independent Distributors found the

same balance—an overwhelming pattern and practice of selling as many opioids as possible.

       996.    Defendants also worked together through HDA and the National Association of

Chain Drugstores (“NACDS”). The respective CEOs of the HDA and NACDS have spoken

with one voice with respect to portraying their members as committed to safeguarding the

integrity of the supply chain when opposing efforts to promote the importation of prescription

drugs as a means of mitigating the escalating costs of medications. These statements support the

inference that Defendants worked together in other ways as well to mislead the public regarding

their commitment to complying with their legal obligations and safeguarding against diversion.

       997.    The Defendants’ scheme had a decision-making structure driven by the

Manufacturer Defendants and corroborated by the Independent Distributors. The Manufacturer

Defendants worked together to control the state and federal government’s response to the

manufacture and distribution of prescription opioids by increasing production quotas through a




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systematic refusal to maintain effective controls against diversion, and failing to identify

suspicious orders and report them to the DEA.

       998.    The Defendants worked together to control the flow of information and influence

state and federal governments to pass legislation that supported the use of opioids and limited the

authority of law enforcement to rein in illicit or inappropriate prescribing and distribution. The

Manufacturer Defendants and Independent Distributorsdid this through their participation in the

PCF and HDA.

       999.    The Defendants also worked together to ensure that the Aggregate Production

Quotas, Individual Quotas and Procurement Quotas allowed by the DEA remained artificially

high and ensured that suspicious orders were not reported to the DEA in order to ensure that the

DEA had no basis for refusing to increase production quotas (or decreasing production quotas)

due to suspected diversion.

       1000. The Defendants also had reciprocal obligations under the CSA to report

suspicious orders of other parties if they became aware of them. Defendants were thus

collectively responsible for each other’s compliance with their reporting obligations.

       1001. Defendants thus knew that their own conduct could be reported by other

distributors or manufacturers and that their failure to report suspicious orders they filled could be

brought to the DEA’s attention. As a result, Defendants had an incentive to communicate with

each other about the reporting of suspicious orders to ensure consistency in their dealings with

the DEA.

       1002. The desired consistency was achieved. As described below, none of the

Defendants reported suspicious orders and the flow of opioids continued unimpeded.




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               2.      Defendants and Co-Conspirators WorkedTogether to Increase Their
                       Profits and Lobbied Against Restrictions on Opioid Use and DEA
                       Enforcement

       1003. Beginning as early as the 1990s, outside distributors, largely through the HDA,

began to convene with the Pharmacy Defendants through NACDS to discuss “concerns

regarding statutory requirements to report to DEA what are commonly referred to as suspicious

orders.”

       1004. The DEA’s suspensions of the registrations of three major distributors in 2007 lit

a fuse within the industry. The very real threat of DEA enforcement prompted a flurry of

communications between NACDS members and members of the HDA, described above, as well

as the now-notorious PCF, a forum run by opioid manufacturers. A goal of HDA, which it

shared with NACDS, was to “develop a comprehensive DEA strategy” to avoid enforcement

actions against distributors.

       1005. The NACDS and Defendants’ other trade groups saw their role in influencing

diversion policy as being one that was absolutely critical, considering all that was at stake. At

times, these groups adopted militaristic strategies and used terminology ironically similar to the

“War on Drugs,” developing “task forces” and viewing the DEA’s crackdown on distributors and

chain pharmacies as an assault on the companies themselves. Only this time, the war was being

waged against the very regulatory authorities and government entities fighting to deal with the

ever-growing problem of abuse and diversion in this country:




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       1006. Manufacturers’ participation in Defendants’ trade groups as a means to effectuate

favorable policies is clear when evaluated in the context of how Defendants and other

stakeholders viewed the DEA’s attempts to curb the opioid epidemic.




       1007. Walgreens, like the other Defendants, recognized the importance of being able to

control and influence trade groups such as the NACDS in the context of influencing policy

related to opioid drug abuse and diversion. The efforts taken by the NACDS and other trade

groups on behalf of Defendants were so important to their bottom line that Defendants spared no

expense in supporting such groups. Walgreens took a particularly aggressive view of this

mutually beneficial relationship, at times, being its top donor across the country.



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       1008. NACDS worked with the HDA, the Alliance to Prevent the Abuse of Medicines

(“APAM”), and the PCF to support the Marino Blackburn Bill, also known as S.483 or the

“Marino Bill.” NACDS, and Defendants intended the Marino Bill to “tie the hands” of the DEA

in its efforts to actively and aggressively address diversion and compliance with the CSA.”

NACDS worked together with others in the opioid supply chain to influence the language in the

bill to make it most favorable for them and more restrictive on the DEA. Notably, masking the

influence of industry, when the APAM was asked to sign on to a 2014 letter of support it was

“signed by the Alliance, not the individual members.” The final letter that was sent to Senators

Hatch and Whitehouse was signed by the members of the Pain Care Forum as well as the

Alliance, the NACDS, American Academy of Pain Management, and U.S. Pain Foundation.

       1009. The Marino Bill effectively removed the DEA’s ability to issue immediate

suspension orders regarding manufacturer or distributor registrations. The Marino Bill permitted

a non-compliant registrant an opportunity to cure its noncompliance before the DEA could take

enforcement action and changed the standard upon which revocation occurred. In the midst of a

growing opioid crisis, the Marino Bill removed the most effective deterrent and constrained DEA

enforcement actions. With respect to its efforts to tie the hands of the DEA in its ability to

pursue and hold accountable Defendants and other stakeholders for violations of law related to

the sale and distribution of prescription opioids, CVS appreciated NACDS’s influence.




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       1010. CVS as a member of the HDA, NACDS and the APAM was actively involved in

efforts to curb the enforcement power of the DEA in its support of the Marino Bill. Its history

and ties to the HDA and NACDS run deep.

       1011. The APAM is a trade group launched in the fall of 2013 and compromised of

members of the American Medical Association, Cardinal, CVS, HDMA, Prime Therapeutics and

Teva Pharmaceuticals.




       1012. CVS and Defendants used trade groups like the HDA, NACDS, and APAM to

gain favorable results when it came to regulations and roadblocks that were seen as being in the

way of the Defendants’ ability to capitalize on the opioid business. In particular, CVS would

often hide behind the APAM when it knew its position could be controversial as it related to


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abuse and diversion. This particular letter was one in support of the controversial Marino Bill, a

bill that CVS fought hard to push through, supporting it on three different fronts.




       1013. In August of 2011, NACDS worked with others on a joint letter opposing DEA

fee increases for registrants that were intended to fund the “hir[ing of] more agents and do[ing]

more inspections.”

       1014. HDA’s Crisis Handbook, developed in 2013, was a direct response to the

“threats” perceived by HDA’s members and affiliates, including Defendants, to their bottom line:

profits derived from the distribution and sale of prescription opioids. Defendants, did and

continue, to rely on and employ the strategies discussed in the Crisis Playbook. Curiously, there

are no slides on how HDA and its members, including Defendants, might best work to curb the

crisis that is the opioid epidemic.




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       1015. In 2016, the NACDS Policy Council discussed ongoing efforts to shape opioid

legislation, including their success in removing a requirement that pharmacists have to check

their state drug monitoring program before filling controlled prescriptions. NACDS also fought

regulatory efforts to require Defendants to use available dispensing related data and red flags to

prevent diversion, opposing what it described as “recent DEA actions in which DEA is expecting

pharmacists to be enforcement agents” with respect to prescriptions for pain medications.

       1016. NACDS and HDA sought to slow down and impede DEA enforcement activities

by requiring the DEA to “work with the [Food and Drug Administration] on all drug diversion

issues,” ostensibly on the grounds that the DEA’s diversion enforcement activities – including

“clos[ing] drug distribution centers and pharmacies” and “actions against pharmacies” were




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harmful in “leading to patients not being able to receive their medications.” This purported

concern, however, was industry code for impediments to sales.

       1017. NACDS and HDA agreed that the pharmacies should “be more aggressive” and

“lead the charge” with respect to certain DEA issues. NACDS members coordinated regarding

pharmacy diversion and “DEA red flags” through a “DEA Compliance Workgroup.” Defendants

further used an NACDS “Pharmacy Compliance Roundtable” to discuss avoiding criminal and

civil liability for issues related to controlled substances, SOM, and diversion. And, in May 2012,

the NACDS formed a Policy Council “Task Group” to “discuss issues and develop strategies”

concerning “ongoing problems that NACDS members are having with DEA enforcement

actions,” through which it sought to influence the government and media set meetings with

legislators seeking to “address the problems with DEA actions,” and “collaborate with, and

support others’ efforts” including HDA.

       1018. NACDS members coordinated regarding pharmacy diversion and “DEA red

flags” through a “DEA Compliance Workgroup.” Defendants further used an NACDS

“Pharmacy Compliance Roundtable” to discuss avoiding criminal and civil liability for issues

related to controlled substances, SOM, and diversion. And, in May 2012, the NACDS formed a

Policy Council “Task Group” to “discuss issues and develop strategies” concerning “ongoing

problems that NACDS members are having with DEA enforcement actions,” through which it

sought to influence the government and media, set meetings with legislators seeking to “address

the problems with DEA actions,” and “collaborate with, and support others’ efforts” including

HAD.




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               3.      Defendants and Co-Conspirators Kept Careful Track of Prescribing
                       Data and Knew About Suspicious Orders and Prescribers

       1019. The conclusion that Defendants and Co-Conspirators were on notice of the

problems of abuse and diversion follows inescapably from the fact that they flooded

communities with opioids in quantities that they knew or should have known exceeded any

legitimate market for opioids-even the wider market for chronic pain that they fraudulently

created and unlawfully fueled.

       1020. At all relevant times, the Defendants and Co-Conspirators were in possession of

national, regional, state, and local prescriber- and patient-level data that allowed them to track

prescribing patterns over time. They obtained this information from data companies, including,

but not limited to: IMS Health, QuintilesIMS, IQVIA, Pharmaceutical Data Services, Source

Healthcare Analytics, NDS Health Information Services, Verispan, Quintiles, SDI Health,

ArcLight, Scriptline, Wolters Kluwer, and/or PRA Health Science, and all of their predecessors

or successors in interest (the “Data Vendors”).

       1021. The Independent Distributors developed “know your customer” questionnaires

and files. This information, compiled pursuant to comments from the DEA in 2006 and 2007

was intended to help the Independent Distributorsidentify suspicious orders or customers who

were likely to divert prescription opioids. The “know your customer” questionnaires informed

the Independent Distributorsof the number of pills that the pharmacies sold, how many non-

controlled substances were sold compared to controlled substances, whether the pharmacy buys

from other distributors, the types of medical providers in the area, including pain clinics, general

practitioners, hospice facilities, cancer treatment facilities, among others, and these

questionnaires put the recipients on notice of suspicious orders.




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       1022. Defendants and Co-Conspirators purchased nationwide, regional, state, and local

prescriber- and patient-level data from the Data Vendors that allowed them to track prescribing

trends, identify suspicious orders, identify patients who were doctor shopping, identify pill mills,

etc. The Data Vendors’ information purchased by the Defendants and Co-Conspirators allowed

them to view, analyze, compute, and track their competitors’ sales, and to compare and analyze

market share information.

       1023. IMS Health (now IQVIA), for example, provided Defendants and Co-

Conspirators with reports detailing prescriber behavior and the number of prescriptions written

between competing products.

       1024. Similarly, Wolters Kluwer, an entity that eventually owned data mining

companies that were created by McKesson (Source) and Cardinal (ArcLight), provided the

Defendants and Co-Conspirators with charts analyzing the weekly prescribing patterns of

multiple physicians, organized by territory, regarding competing drugs, and analyzed the market

share of those drugs.

       1025. This information allowed the Defendants and Co-Conspirators to track and

identify instances of overprescribing. In fact, one of the Data Vendors’ experts testified that the

Data Vendors’ information could be used to track, identify, report and halt suspicious orders of

controlled substances.

       1026. According to testimony by the Cardinal Executive Chairman of the Board at a

hearing before the House of Representatives’ Energy and Committee Subcommittee on

Oversight and Investigations on May 8, 2018, a distributor has the ability to request drug

dispensing reports, which include all drugs dispensed by a pharmacy, not only those provided by




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Cardinal, and had requested such reports in the past. Upon information and belief, other

wholesale distributors could request similar reports.

       1027. Defendants and Co-Conspirators were, therefore, collectively aware of the

suspicious orders that flowed daily from their manufacturing and distribution facilities.

       1028. Defendants and Co-Conspirators refused to identify suspicious orders and

diverted drugs despite the DEA issuing final decisions against distributors in 178 registrant

actions between 2008 and 2012 and 117 recommended decisions in registrant actions from The

Office of Administrative Law Judges. These numbers include 76 actions involving orders to

show cause and 41 actions involving immediate suspension orders, all for failure to report

suspicious orders.

       1029. Moreover, the Manufacturer Defendants’ sales incentives rewarded sales

representatives who happened to have pill mills within their territories, enticing those

representatives to look the other way even when their in-person visits to such clinics should have

raised numerous red flags. In one example, a pain clinic in South Carolina was diverting

massive quantities of OxyContin. People traveled to the clinic from towns as far as 100 miles

away to get prescriptions, the DEA’s diversion unit raided the clinic, and prosecutors eventually

filed criminal charges against the doctors. But Purdue’s sales representative for that territory,

Eric Wilson, continued to promote OxyContin sales at the clinic. He reportedly told another

local physician that this clinic accounted for 40% of the OxyContin sales in his territory. At that

time, Wilson was Purdue’s top-ranked sales representative. In response to news stories about

this clinic, Purdue issued a statement, declaring that “if a doctor is intent on prescribing our

medication inappropriately, such activity would continue regardless of whether we contacted the

doctor or not.”




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       1030. In another example, a Purdue sales manager informed her supervisors in 2009

about a suspected pill mill in Los Angeles, reporting over email that when she visited the clinic

with her sales representative, “it was packed with a line out the door, with people who looked

like gang members,” and that she felt “very certain that this an organized drug ring[.]” She

wrote, “This is clearly diversion. Shouldn’t the DEA be contacted about this?” But her

supervisor at Purdue responded that while they were “considering all angles,” it was “really up to

[the wholesaler] to make the report.” This pill mill was the source of 1.1 million pills trafficked

to Everett, Washington, a city of around 100,000 people. Purdue waited until after the clinic was

shut down in 2010 to inform the authorities.

       1031. A Kadian prescriber guide discusses abuse potential of Kadian. It is full of

disclaimers that Allergan has not done any studies on the topic and that the guide is “only

intended to assist you in forming your own conclusion.” However, the guide includes the

following statements: 1) “unique pharmaceutical formulation of KADIAN may offer some

protection from extraction of morphine sulfate for intravenous use by illicit users,” and 2)

“KADIAN may be less likely to be abused by health care providers and illicit users” because of

“Slow onset of action,” “Lower peak plasma morphine levels than equivalent doses of other

formulations of morphine,” “Long duration of action,” and “Minimal fluctuations in peak to

trough plasma levels of morphine at steady state.”

       1032. Defendants’ obligation to report suspicious prescribing ran head-on into their

marketing strategy. Defendants did identify doctors who were their most prolific prescribers, not

to report them, but to market to them. It would make little sense to focus on marketing to

doctors who may be engaged in improper prescribing only to report them to law enforcement.




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       1033. Defendants purchased data from IMS Health (now IQVIA) or other proprietary

sources to identify doctors to target for marketing and to monitor their own and competitors’

sales. Marketing visits were focused on increasing, sustaining, or converting the prescriptions of

the biggest prescribers, particularly through aggressive, high frequency detailing visits.

       1034. For example, at a national sales meeting presentation in 2011, Allergan pressed its

sales representatives to focus on its high prescribers: “To meet and exceed our quota, we must

continue to get Kadian scripts from our loyalists. MCOs will continue to manage the pain

products more closely. We MUST have new patient starts or we will fall back into ‘the big leak’.

We need to fill the bucket faster than it leaks.” “The selling message should reflect the

opportunity and prescribing preferences of each account. High Kadian Writers / Protect and

Grow/ Grow = New Patient Starts and Conversions.” In an example of how new patients plus a

high volume physician can impact performance: “102% of quota was achieved by just one high

volume physician initiating Kadian on 2-3 new patients per week.”

       1035. The same is true for other Defendants. Teva directed its sales representatives to

make a “minimum of seven Fentora calls per day” and focus “on high prescribers to maintain

and grow their contribution.” Another chart showed Teva ensured that the majority highest-

volume or “core prescribers” were detailed at least five times in ten months.

       1036. This focus on marketing to the highest prescribers demonstrates that

manufacturers were keenly aware of the doctors who were writing large quantities of opioids.

But instead of investigating or reporting those doctors, Defendants were singularly focused on

maintaining, capturing, or increasing their sales.

       1037. As discussed below, Endo knew that Opana ER was being widely abused. Yet,

the New York Attorney General revealed, based on information obtained in an investigation into




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Endo, that Endo sales representatives were not aware that they had a duty to report suspicious

activity and were not trained on the company’s policies or duties to report suspicious activity,

and Endo paid bonuses to sales representatives for detailing prescribers who were subsequently

arrested for illegal prescribing.

        1038. Sales representatives making in-person visits to such clinics were likewise not

fooled. But because pill mills were lucrative for the manufacturers and individual sales

representatives alike, the Marketing Defendants and their employees turned a collective blind

eye, allowing certain clinics to dispense staggering quantities of potent opioids and feigning

surprise when the most egregious examples eventually made the nightly news.

        1039. For example, on January 5, 2017, McKesson entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil penalty

for, inter alia, failure to identify and report suspicious orders at its facilities in Aurora, CO;

Aurora, IL; Delran, NJ; LaCrosse, WI; Lakeland FL; Landover, MD; La Vista, NE; Livonia, MI;

Methuen, MA; Santa Fe Springs, CA; Washington Courthouse, OH; and West Sacramento, CA.

McKesson admitted that, at various times during the period from January 1, 2009 through the

effective date of the Agreement (January 17, 2017), it “did not identify or report to [the] DEA

certain orders placed by certain pharmacies which should have been detected by McKesson as

suspicious based on the guidance contained in the DEA Letters.”

        1040. McKesson further admitted that, during this time period, it “failed to maintain

effective controls against diversion of particular controlled substances into other than legitimate

medical, scientific and industrial channels by sales to certain of its customers in violation of the

CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300, et seq., at the McKesson

Distribution Centers.” Due to these violations, McKesson agreed to a partial suspension of its




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authority to distribute controlled substances from certain of its facilities, some of which

investigators found “were supplying pharmacies that sold to criminal drug rings.”

       1041. Similarly, in 2017, the DOJ fined Mallinckrodt $35 million for failure to report

suspicious orders of controlled substances, including opioids, and for violating recordkeeping

requirements. The government alleged that “Mallinckrodt failed to design and implement an

effective system to detect and report ‘suspicious orders’ for controlled substances – orders that

are unusual in their frequency, size, or other patterns . . . [and] Mallinckrodt supplied

distributors, and the distributors then supplied various U.S. pharmacies and pain clinics, an

increasingly excessive quantity of oxycodone pills without notifying DEA of these suspicious

orders.”

       1042. On December 23, 2016, Cardinal agreed to pay the United States $44 million to

resolve allegations that it violated the Controlled Substances Act in Maryland, Florida, and New

York by failing to report suspicious orders of controlled substances, including oxycodone, to the

DEA. In the settlement agreement, Cardinal admitted, accepted, and acknowledged that it had

violated the CSA between January 1, 2009 and May 14, 2012 by failing to:

               a.      “timely identify suspicious orders of controlled substances and inform the

DEA of those orders, as required by 21 C.F.R. § 1301.74(b)”;

               b.      “maintain effective controls against diversion of particular controlled

substances into other than legitimate medical, scientific, and industrial channels, as required by

21 C.F.R. § 1301.74, including the failure to make records and reports required by the CSA or

DEA’s regulations for which a penalty may be imposed under 21 U.S.C. § 842(a)(5)”; and




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               c.      “execute, fill, cancel, correct, file with the DEA, and otherwise handle

DEA ‘Form 222’ order forms and their electronic equivalent for Schedule II controlled

substances, as required by 21 U.S.C. § 828 and 21 C.F.R. Part 1305.”

       1043. In 2012, the State of West Virginia sued AmerisourceBergen and Cardinal, as

well as several smaller wholesalers, for numerous causes of action, including violations of the

CSA, consumer credit and protection, and antitrust laws and the creation of a public nuisance.

Unsealed court records from that case demonstrate that AmerisourceBergen, along with

McKesson and Cardinal, together shipped 423 million pain pills to West Virginia between 2007

and 2012. AmerisourceBergen itself shipped 80.3 million hydrocodone pills and 38.4 million

oxycodone pills during that time period. These quantities alone are sufficient to show that the

Defendants failed to control the supply chain or to report and take steps to halt suspicious orders.

In 2016, AmerisourceBergen agreed to settle the West Virginia lawsuit for $16 million to the

state; Cardinal settled for $20 million.

       1044. Thus, as various governmental agencies have alleged or found – and as

Defendants themselves have admitted – Defendants, acting in disregard of their duties, pumped

massive quantities of opioids into communities around the country despite their obligations to

control the supply, prevent diversion, and report and take steps to halt suspicious orders.

               4.      Defendants and Co-Conspirators Also Entered into Joint Ventures
                       That Further Undermined Their Outside Vendors’ Incentive to
                       Conduct Due Diligence, While Increasing Their Own Access to
                       Information.

       1045. The collaboration between Defendants, Co-Conspirators, and other industry

partners extended beyond their mutual interest in limiting regulations and enforcement that

constrained their ability to sell opioids. Indeed, the companies had direct financial relationships

that, quite literally, invested them in each others’ success.



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       1046. As described above, Walgreens entered into an exclusive arrangement with

AmerisourceBergen as its supplier, with Walgreens obtaining both equity in AmerisourceBergen

and a seat on its Board. As part of a three-year extension of that arrangement, in 2016, the two

agreed to include a requirement that AmerisourceBergen “make certain working capital

investments in the relationship and will proceed with additional capital investments in its

distribution network.”

       1047. The merger between Walgreens and AmerisourceBergen had begun in 2012,

when the two formed Walgreens Boots Alliance Development, a joint venture based in

Switzerland. AmerisourceBergen was described as being able to gain from Walgreens’s

“purchasing synergies” through the companies’ relationship.

       1048. In 2014, CVS entered into a 50/50 joint venture with Cardinal to create Red Oak

Sourcing, LLC (“Red Oak”). Red Oak uses the combined generic purchasing power of CVS and

Cardinal to negotiate with generic drug manufacturers, and its website touts its management of a

“multi billion dollar pharmaceutical portfolio.” To fund the venture, Cardinal would make

quarterly payments of $25.6 million to CVS, and also would contribute additional funds if the

joint venture reached certain milestones.

       1049. In 2016, McKesson and Walmart formed ClarusOne Sourcing Services LLP to

source generic pharmaceuticals for their respective U.S. operations. As part of this “partnership,”

McKesson and Walmart “established an organization in London to provide strategic sourcing

services for both companies,” according to a job posting on McKesson’s website.

       1050. Given that Walgreens, CVS, Walmart, on the one hand, and the largest

wholesalers, on the other, considered themselves partners invested in one another’s success, they




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had even less incentive to turn away from the blind deference the Pharmacy Defendants received

when buying and selling controlled substances.

       1051. The Marketing Defendants all marketed their products and disseminated their

misrepresentations throughout the United States, including in New York and Oklahoma. The

Pharmacy Defendants all distributed and/or dispensed opioids and failed to meet their regulatory

obligations throughout the United States, including inNew York and Oklahoma.

       E.      Defendants Targeted the TPPs in Their Distribution and Dispensing
               Misconduct

       1052. All Defendants were aware that the ultimate payors for the drugs they were

selling were TPPs. As described above, unless the formularies used by TPPs included opioids

without meaningful restrictions, doctors would not prescribe, and patients would not fill

prescriptions for, the increased volumes of opioids Defendants sought to sell.

       1053. As recognized by this Court, Defendants’ and Co-Conspirators’ challenged

conduct in the promotion, sale, possession, distribution, and dispensing of controlled substances

was for the purpose of fraudulently expanding the prescription opioid market. See In re Nat’l

Prescription Opiate Litig., 2019 WL 4279233, at *2 (N.D. Ohio Sept. 10, 2019). They were

motivated by the specific goal of maximizing the amount of money they could extract from

payors who pay for virtually all commercial patient prescriptions for residents of the United

States and its territories. Not only did Defendants know this, it was the overall target of their

scheming. Without regard to their particular role in the industry, each of Defendants’ revenue

streams starts with and consists primarily of payor reimbursement dollars.

       1054. As noted above, concern and attention to payor reimbursement revenue is

ubiquitous within the operations of all Defendants. Furthermore, all Defendants were aware that

the growing evidence of prescription opioid diversion could lead TPPs to adopt formularies that



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would drastically reduce access to opioids, and to implement controls to prevent diversions—

both of which would have cut into Defendants’ opioid sales. All Defendants accordingly

suppressed information regarding diversion of opioids for non-medical uses by failing to comply

with their obligations under the CSA to report and not ship suspicious orders and to investigate

and not dispense red flag prescriptions. If TPPs, their PBMs and/or other agents had been aware

of this information, they would have imposed greater restrictions on the circumstances under

which, or the conditions for which, they would provide coverage for opioid prescriptions.

V.     The Devastating Effects of the Opioids Crisis on Third Party Payors

       1055. Starting in the 1990s, employee health plans have increasingly included

prescription drug coverage. Thus, insurers have assumed an increasing share of prescription drug

expenditures.

       1056. Prescription opioid drug spending grew dramatically from 1999 to 2012.

Americans spent $2.3 billion on prescription opioids in 1999. By 2006, spending had almost

tripled to more than $7.0 billion. Since 2006, expenditures have been relatively stable compared

to this earlier increase, with total expenditures of $7.4 billion in 2012.157

       1057. Researchers at the National Center for Injury Prevention, part of the Centers for

Disease Control (CDC) now believe that public and private insurers pay the majority of

prescription drug costs for opioid pain relievers.158

       1058. Researchers used data from the Medical Expenditure Panel Survey (MEPS) to

examine trends in opioid prescribing and expenditures by payer type. They found that consumer


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    Tracey Walker, New payer trends for opioids coincide with epidemic , Managed Healthcare
Executive (May 10, 2016), http://managedhealthcareexecutive.modernmedicine.com/managed-
healthcare-executive/news/new-payer-trends-opioids-coincide-epidemic.
158
    Chao Zhou, et al., Payments For Opioids Shifted Substantially To Public And Private
Insurers While Consumer Spending Declined, 1999–2012, Health Affairs (Vol. 35, No. 5),
available at https://www.healthaffairs.org/doi/abs/10.1377/hlthaff.2015.1103.


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out-of-pocket spending on opioids per 100 morphine mg equivalents, a standard reference

measure of strength for various opioids, declined from $4.40 in 2001 to 90 cents in 2012, with

insurers paying an increasingly larger share of the cost.

       1059. Whereas in 1999, 53% of spending on opioid pain relievers was out-of-pocket, by

2012, out-of-pocket spending had declined to 18% of all expenditures.

       1060. The retrospective cohort study revealed that hospitalizations related to opioid

abuse/dependence rose significantly from 301,707 in 2002 to 520,275 in 2012, an increase

of 72%. Overall hospitalizations during the same time period remained largely consistent:

slightly growing from 36.52 million to 36.48 million.159

       1061. The estimated total charge per hospitalization related to opioid abuse/dependence

in 2012 was more than $28,000. For cases associated with an infection: $107,000 for

hospitalizations.

       1062. One of the authors of the study, Dr. Matthew Ronan, a hospitalist and an

instructor at Harvard Medical School, said injection opioid abuse leads to many complications—

one of the most known is serious infection.

       1063. Opioid-related hospitalizations with serious infection jumped 91% to 6,535 over

the ten year time period reviewed.

       1064. More than quadrupling between 2002 and 2012, total inpatient charges related to

opioid abuse and dependence reached $14.85 billion in 2012. Approximately $700 million of

that went to paying hospitalizations related to opioid-associated infections.




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   C.J. Arlotta, How Opioid Abuse Contributes To Rising Healthcare Costs, Forbes (May 3,
2016), https://www.forbes.com/sites/cjarlotta/2016/05/03/opioid-abuse-contributes-to-rising-
health-care-costs/#7e36c30873a3.


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       1065. The study characterizes the sobering impact of opioid-related infections on

healthcare systems, and on the patients themselves who are suffering from addiction.

       1066. Dr. Matthew Ronan also emphasized that, “Up to 5% of patients presenting to the

hospital with an infection related to their opioid abuse will die during hospitalization. Of those

that survive to hospital discharge, more than a quarter will be too functionally impaired to return

home immediately and will need to spend time in a rehab or skilled nursing facility. These are

sobering statistics in a patient population with an average age of 43 years.”

       1067. In 2014, there were 18,893 deaths involving prescription opioids in 2014,

up 16% from the previous year, according to the National Center for Health Statistics.

       1068. In 2016, traditional opioid painkillers, such as OxyContin and Percocet, were

involved in about 14,400 overdose deaths and non-methadone synthetic opioids like fentanyl,

were linked to more than 20,100 overdose deaths based on the preliminary figures from the

National Center for Health Statistics.

       A.      Plaintiffs’ Rising Costs of Treating Opioid Addiction

       1069. Plaintiffs’ experience treating opioids illustrates these national trends.

       1070. Plaintiffs purchased (directly or indirectly), paid for, and reimbursed for opioids

intended for consumption by their employees, members, retirees, and their families.

       1071. Bios’s costs for treatment related to the misuse, addiction, and/or overdose of

opioids have risen as a result of Defendants’ conduct.

       1072. Payments for emergency department visits for opioid misuse, addiction, and/or

overdose have increased.

       1073. Payments for emergency department visits for infections related for opioid

misuse, addiction, and/or overdose have increased.




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       1074. Payments for hospitalizations related to the misuse, addiction, and/or overdose of

opioids have increased.

       1075. Payments for medicines to treat HIV and/or hepatitis C related to the opioid

misuse, addiction, and/or overdose have increased.

       1076. Payments for opioid overdose reversal medication such as Naloxone

Hydrochloride (Narcan) have increased.

       B.      TPPs’ Plan Participants and Beneficiaries Lives Are Being Ravaged by
               Prescription Opioids

       1077. As explained above, Marketing Defendants overcame barriers to widespread

prescribing of opioids for chronic pain with deceptive messages about the risks and benefits of

long-term opioid use. All Defendants compounded these harms by supplying opioids beyond

even what this expanded market could bear, funneling so many opioids throughout the United

States that they could only have been delivering opioids for diversion and illicit use. The

massive amount of opioids that flooded the nation as a result of Defendants’ wrongful conduct

has devastated those living throughout the United States, including the areas where Plaintiffs’

plan participants and beneficiaries reside.

       1078. For example, New York has been hard hit by the opioid epidemic. As in many

other locations throughout the country, opioid use has been and continues to be at crisis levels.

“According to the National Center for Health Statistics of the Centers for Disease Control and

Prevention (CDC), between 2010 and 2017, deaths from drug overdoses grew 83 percent

nationally and 152 percent in New York, peaking at almost 4,000 deaths in New York in

2017.”160


160
   Continuing Crisis, Drug Overdose Deaths in New York, November 2022, New York State
Comptroller Thomas P. DiNapoli, https://www.osc.ny.gov/reports/continuing-crisis-drug-
overdose-deaths-new-york (citing Centers for Disease Control and Prevention (CDC), National


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          1079. Since that time, the opioid epidemic in New York has grown substantially worse.

“In 2021, the number of deaths surged to nearly 107,000 nationally and more than 5,800 in New

York.”8 8 Id. “At the core of this crisis is a shocking rise in opioid-related deaths, which grew by

almost 300 percent between 2010 and 2020 to comprise 85 percent of all drug overdose deaths in

New York in 2020.”161 “In 2020, opioid overdose deaths increased 38 percent nationally and 44

percent in New York and, according to provisional counts, grew by 17 percent nationally and in

New York to 80,401 and 4,946, respectively, in 2021. The increase in opioid overdose deaths in

New York between 2019 and 2021 was about 68 percent.”162 “The share of drug overdose

deaths in New York involving opioids increased to 85 percent in both 2020 and 2021, from 69

percent in 2010.”163 “In 2021, 30 New Yorkers per 100,000 died from drug overdoses; 25 per

100,000 New Yorkers died from opioid overdoses in that year, compared to 5 in 2010. New

York’s opioid overdose death rates exceeded national rates in both 2020 and 2021.”164

“Fatalities and death rates grew across all racial and ethnic groups, increasing nearly five-fold for

Black New Yorkers, quadrupling for Hispanic or Latino New Yorkers, and tripling for White

New Yorkers. In 2020, death rates were highest for White New Yorkers at 28.7 per 100,000

people.”165




Center for Health Statistics, National Vital Statistics System, Mortality 1999-2020 on CDC
WONDER Online Database, released in 2021. Data are from the Multiple Cause of Death Files,
1999-2020, as compiled from data provided by the 57 vital statistics jurisdictions through the
Vital Statistics Cooperative Program, accessed July 11, 2022, at http://wonder.cdc.gov/mcd-
icd10.html.)
161
    Id.
162
    Id.
163
    Id.
164
    Id.
165
    Id.


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          1080. The following figure represents New York and U.S. Opioid Overdose Death

Rates, 2010 – 2021:166




          1081. Among New York state residents, the number of newborns with Neonatal

Abstinence Syndrome (NAS) and/or affected by maternal use of drugs of addiction increased 5.8

percent from 1,632 in 2019 to 1,726 in 2020, and the crude rate per 1,000 newborn discharges

increased from 7.9 to 8.8.167

          1082. Similarly, Oklahoma is another leading state in prescription painkiller sales per

capita, with 128 painkiller prescriptions dispensed per 100 people in 2012. According to 2016

statistics, Oklahoma ranks number one in the nation in milligrams of opioids distributed per adult

resident with approximately 877 milligrams of opioids distributed per adult resident.




166
      Id.
167
      www.health.ny.gov/statistics/opioid/data/pdf/nys_opioid_annual_report_2022.pdf


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       1083. A National Survey on Drug Use and Health revealed Oklahoma leads the nation

in non-medical use of painkillers, with nearly 5% of the population aged 12 and older abusing or

misusing painkillers, and Oklahoma’s death rate from opioids increased a staggering 63% from

2016 to 2017.

       1084. According to the National Institute on Drug Abuse, there were 388 overdose

deaths in Oklahoma involving opioids in 2017, while deaths involving heroin increased threefold

between 2011 and 2017.

       1085. In 2023, Oklahoma saw a 55% increase in fentanyl deaths from the previous year.

       1086. These deaths represent a tip of the iceberg small portion of the damage.

According to 2009 data, for every overdose death that year, there were nine abuse treatment

admissions, 30 emergency department visits for opioid abuse or misuse, 118 people with abuse

or addiction problems, and 795 non-medical users.

       1087. Defendants’ conduct has had severe and far-reaching health consequences for

TPPs throughout the United States, including the fueling of addiction and overdose from illicit

drugs such as heroin. The costs are largely borne by Plaintiffs and other TPPs. These necessary

and costly responses to the nationwide opioid crisis include the handling of emergency responses

to overdoses, providing addiction treatment, and paying for treatment of opioid-dependent

newborns in neonatal intensive care units.

       C.       Defendants Actively Promoted Opioids Nationwide and Were Aware of the
                Excessive Prescribing Practices That Followed

       1088. As discussed above, Defendants actively promoted opioids nationwide, including

in Oklahoma and New York, and were aware of excessive prescribing practices.

       1089. For example, Purdue made thousands of payments to physicians nationwide,

including in New York and Oklahoma, ostensibly for activities including participating on



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speakers’ bureaus, providing consulting services, assisting in post-marketing safety surveillance,

and other services, but in fact to deceptively promote and maximize the use of opioids.

       1090. Defendant Teva’s internal records compiling data related to its Actiq marketing

and promotional activities show that it organized and held meetings with prescribers. For

example, from late January through late September 2006, Teva held approximately 29 programs

either in the prescribers’ offices or at an outside venue in Oklahoma on such topics as

“Assessment and Treatment of Breakthrough Cancer Pain,” Pharmacologic Management of

Cancer Pain,” and “Actiq Pharmacology.”168 Similarly, in New York, Teva held approximately

78 programs either in the prescribers’ offices or at an outside venue in New York on the same

topics, and nationally, Teva held approximately 1287 events on the above-mentioned topics, as

well as others such as “Abuse, Addiction, and Diversion.”169

       1091. For its brand opioid Fentora, Teva held more than 100 similar programs in

Oklahoma on such topics as “FENTORA for Breakthrough Pain in Patients with Cancer,”170 In

New York, Teva held approximately 634 programs on the same topic and others such as

“Managing Breakthrough Pain in Patients with Cancer.”171 Nationally, Teva held approximately

8299 events on the above-mentioned topics, as well as others such as “New Dimensions in Pain

Dialogues,” and “Perspectives in Palliative Care, Treating Breakthrough Pain.”172 These

promotional/educational events were held between mid-October 2006 through November

2015.173




168
    TEVA_MDL_A_00696811.
169
    Id.
170
    TEVA_MDL_A_00696812.
171
    Id.
172
    Id.
173
    Id.


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       1092. Teva hired outside speakers to present the discussion topics to whom it paid a fee

or honorarium.174

       1093. Defendant Actavis implemented a “Kadian RepOn Call Program which it

describes as a call report containing data such as names of physicians contacted since the start of

the 2012 program.175 For example, one such call report for nine months between September 1,

2012 through January 1, 2013 shows efforts made calling physicians in New York and

Oklahoma as well as other prescribers throughout the U.S.176 According to its records, these call

reports show attempts and completed calls by Actavis sales representatives.

       1094. Actavis also encouraged physicians to request dosing information for Kadian via

email. Sales representatives had a written script to communicate to these physicians about co-

pay cards offering $50 off for a prescription to be used multiple times up to twice a month.177

       1095. In February 2002, Defendant Janssen was committed to pushing its opioid

Duragesic to various regions throughout the U.S., including in New York and Oklahoma.178

       1096. Janssen hired “Sales Representatives” responsible for specific geographic areas

and tasked them with marketing their drugs, including their opioid drugs.179 These sales

representatives were overseen by a “District Manager” who was responsible for a larger

geographic area. For example, Janssen maintained two “Districts” in Oklahoma: Oklahoma City

and Tulsa. The Sales Representatives also were divided into “Primary Care Representatives,”

who were tasked with marketing the opioid drugs to individual doctors, and “Hospital




174
    Id.
175
    ACTAVIS0990448.
176
    ACTAVIS0990454.
177
    ALLERGAN_MDL_00003093.
178
    JAN-MS-00313816 and JAN-MS-00313818.
179
    E.G. Deposition of Drue Diesselhorst, JAN-AL-DCH-00025997


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Representatives” who were tasked with marketing the opioid drugs to hospitals in their assigned

regions.180 The Sales Representatives were paid incentive bonuses if, among other things, the

number of prescriptions for Janssen’s opioid drugs increased in their assigned regions.

       1097. Janssen also tracked pharmacies in Oklahoma, New York, and nationally to

determine whether they stocked its opioid drugs. For example, in the first half of 2011, Janssen

noted 109 pharmacies in Oklahoma, 793 pharmacies in New York, and 7,497 pharmacies

nationally, carrying various forms of its Nucynta opioid.181

       1098. Janssen also monitored PBMs and other insurers in Oklahoma, New York, and

nationally, tracking their decisions on whether to include Janssen drugs, including its opioid

drugs, on their formularies. For example, in May 2013, Janssen tracked the formularies of 32

commercial insurers and 70 Medicare Part D providers, as well as the formularies of at least 17

large employers in Oklahoma.182 Similarly, during the same time in New York, Janssen tracked

the formularies of 126 commercial insurers and 202 Medicare Part D providers, as well as the

formularies of at least 163 large employers.183 Nationally, Janssen tracked the formularies of at

least 2,123 commercial insurers and 4,347 Medicare Part D providers, as well as the formularies

of at least 2,310 large employers across the country.184 Janssen’s employees and salespeople

targeted these entities in order to get and keep its drugs, including its opioid drugs, on their

formularies.




180
    JAN-AZ-00087185
181
    JAN-AR-00020163
182
    JAN-JEFFCO-00051118
183
    Id.
184
    Id.


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         D.     Defendants Distributed Hundreds of Millions of Pills

         1099. According to data recovered from the United States Government’s ARCOS

database regarding some of the most frequently abused categories of opioids,185 distributors

registered with the DEA, including Defendants, moved approximately 3,580,911,146 DUs

(representing 67,201,307,442 MMEs) of these opioids into Oklahoma alone, between 2006 and

2019. To put these numbers in perspective, these totals amount to more than 67 opioid pills for

every man, woman, and child in Oklahoma each year. The amount of frequently abused opioids

that distributors registered with the DEA, including Defendants, moved into New York and

nationwide are also staggering:

                         Nationwide                OK                        NY
Dosage Units                       200,610,062,322           3,580,911,146             8,636,920,479
MME                              4,436,418,125,715          67,201,307,442           273,968,882,034
DU per Capita per Year                       45.53                   67.11                     31.60

         1100. Whatever the exact tally, the unconscionable proliferation of opioids contributed

to the public health emergency now unfolding in Oklahoma.

         E.     The Opioid Epidemic Has Become a Costly Public Health Emergency

         1101. According to the CDC, in 2018, more than 67,000 people died from drug

overdoses, and of those deaths, almost 70% involved an opioid.

         1102. In 2017, the estimated economic cost of opioid use disorder nationwide was $471

billion, and the cost of fatal opioid overdose was $550 billion (i.e., a combined cost of $1.021

trillion).




185
  These figures are based on the ARCOS data for the following opioids: Oxycodone,
Hydrocodone, Buprenorphine, Codeine, Dihydrocodeine, Fentanyl, Hydromorphone,
Levorphanol, Methadone, Meperidine, Morphine, Opium (Powdered), Oxymorphone, and
Tapentadol.



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        1103. These costs reverberated in states such as Oklahoma, which bore a cost of

approximately $5.752 billion related to OUD alone, with a per capita cost of opioid use disorder

approximately $1,463. Healthcare costs associated with opioid use disorder were approximately

$382.3 million and substance use treatment cost approximately $43.2 million in Oklahoma in

2017.

        1104. New York also experienced the heightened cost of opioid use disorder, with an

amount estimated at $22.786 billion in 2017 alone, and a per capita cost that year of

approximately $1,148. Healthcare costs associated with opioid use disorder were approximately

$1.514 billion and substance use treatment cost approximately $171 million in New York in

2017.

        1105. The deaths, addictions, massive economic costs and stunting of lives –requiring

costly treatment – demonstrate the effects the massive wave of prescription opioids has had

across the United States on Plaintiff and their plan participants and beneficiaries.

VI.     Defendants Conspired to Engage in the Wrongful Conduct Complained of Herein
        and Intended to Benefit Both Independently and Jointly from Their Conspiracy

        A.     Conspiracy Among Marketing Defendants

        1106. The Marketing Defendants agreed among themselves to set up, develop, and fund

an unbranded promotion and marketing network to promote the use of prescription opioids for

the management of pain in order to mislead physicians, patients, health care providers, and

health care payors through misrepresentations and omissions regarding the appropriate uses,

risks, and safety of opioids, to increase sales, revenue, and profit from their opioid products.

        1107. This interconnected and interrelated network relied on the Marketing Defendants’

collective use of unbranded marketing materials, such as KOLs, scientific literature, CMEs,

patient education materials, and Front Groups developed and funded collectively by the




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Marketing Defendants intended to mislead consumers and medical providers of the appropriate

uses, risks, and safety of opioids.

       1108. The Marketing Defendants’ collective marketing scheme to increase opioid

prescriptions, sales, revenues, and profits centered around the development, dissemination, and

reinforcement of several false propositions: (a) the risk of addiction from chronic opioid therapy

is low; (b) to the extent there is a risk of addiction, it can be easily identified and managed;

(c) signs of addictive behavior are “pseudoaddiction,” requiring more opioids; (d) opioid

withdrawal can be avoided by tapering; (e) opioid doses can be increased without limit or greater

risks; (f) long-term opioid use improves functioning; and (g) alternative forms of pain relief pose

greater risks than opioids.

       1109. The Marketing Defendants knew that none of these propositions was true and that

there was no evidence to support them.

       1110. Each Marketing Defendant worked individually and collectively to develop and

actively promulgate these false propositions in order to mislead physicians, patients, health care

providers, and healthcare payors regarding the appropriate uses, risks, and safety of opioids.

       1111. What is particularly remarkable about the Marketing Defendants’ effort is the

seamless method in which the Marketing Defendants joined forces to achieve their collective

goal: to persuade consumers and medical providers of the safety of opioids, and to hide their

actual risks and dangers. In doing so, the Marketing Defendants effectively built a new—and

extremely lucrative—opioid marketplace for their select group of industry players.

       1112. The Marketing Defendants’ unbranded promotion and marketing network was a

wildly successful marketing tool that achieved goals which would have been impossible to meet

by a single or even a handful of the network’s distinct corporate members.




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       1113. For example, the network members pooled their vast marketing funds and

dedicated them to expansive and normally cost-prohibitive marketing ventures, such as the

creation of Front Groups. These collaborative networking tactics allowed each Marketing

Defendant to diversify its marketing efforts, all the while sharing any risk and exposure, financial

and/or legal, with other Marketing Defendants.

       1114. The most unnerving tactic utilized by the Marketing Defendants’ network was

their unabashed mimicry of the scientific method of citing “references” in their materials. In the

scientific community, cited materials and references are rigorously vetted by objective unbiased

and disinterested experts in the field and an unfounded theory or proposition would, or should,

never gain traction.

       1115. Marketing Defendants put their own twist on the scientific method: they worked

together to manufacture wide support for their unfounded theories and propositions involving

opioids. Due to their sheer numbers and resources, the Marketing Defendants were able to create

a false consensus through their materials and references.

       1116. An illustrative example of the Marketing Defendants’ utilization of this tactic is

the wide promulgation of the Porter and Jick letter described above, which declared the

incidence of addiction “rare” for patients treated with opioids. The authors had analyzed a

database of hospitalized patients who were given opioids in a controlled setting to ease suffering

from acute pain. These patients were not given long-term opioid prescriptions or provided

opioids to administer to themselves at home, nor was it known how frequently or infrequently

and in what doses the patients were given their narcotics. Rather, it appears the patients were

treated with opioids for short periods of time under in-hospital doctor supervision.




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        1117. Nonetheless, the Marketing Defendants widely and repeatedly cited this letter as

proof of the low addiction risk in connection with taking opioids despite its obvious

shortcomings. The Marketing Defendants’ egregious misrepresentations based on this letter

included claims that less than one percent of opioid users became addicted.

        1118. The Marketing Defendants’ collective misuse of the Porter and Jick letter helped

the opioid manufacturers convince patients and healthcare providers that opioids were not a

concern. The enormous impact of the Marketing Defendants’ misleading amplification of this

letter was well documented in another letter published in the NEJM on June, 1, 2017, describing

the way the one-paragraph 1980 letter had been irresponsibly cited and, in some cases, “grossly

misrepresented.” In particularly, the authors of this letter explained:

        [W]e found that a five-sentence letter published in the Journal in 1980 was
        heavily and uncritically cited as evidence that addiction was rare with long-term
        opioid therapy. We believe that this citation pattern contributed to the North
        American opioid crises by helping to shape a narrative that allayed prescribers’
        concerns about the risk of addiction associated with long-term opioid therapy . . .

        1119. By knowingly misrepresenting the appropriate uses, risks, and safety of opioids,

the Marketing Defendants committed overt acts in furtherance of their conspiracy.

        B.      Conspiracy Among All Defendants

        1120. In addition, and on an even broader level, all Defendants took advantage of the

industry structure, including end-running its internal checks and balances, to their collective

advantage. Defendants and Independent Distributors agreed among themselves to increase the

supply of opioids and fraudulently increase the quotas that governed the manufacture and supply

of prescription opioids. They did so to increase sales, revenue, and profit from opioid sales and

their interrelated roles in the industry.

        1121. The amount of interaction and length of the relationships between and among

Defendants and Independent Distributors reflect a deep level of cooperation between Defendants


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in a tightly knit industry. The Marketing, PBM, and Pharmacy Defendants, together with the

Independent Distributors, were not separate groups operating in isolation or groups forced to

work together in a closed system. They operated together effectively as a united entity, working

alongside one another on multiple fronts, to engage in the fraudulent promotion and unlawful

sale of prescription opioids.

       1122. They collaborated to expand the opioid market in an interconnected and

interrelated network in the following ways, including, for example, through membership in the

NACDS, PCMA, and HDA.

       1123. Defendants and Independent Distributors utilized their membership in the

NACDS and HDA and other forms of collaboration to form agreements about their approach to

their duties under the CSA to report suspicious orders. They overwhelmingly agreed on the

same approach: to fail to identify, report or halt suspicious opioid orders so as to maximize the

number of opioids manufactured, distributed, and dispensed, and then paid for by TPPs such as

Plaintiffs, thus completing the circle of profit. Defendants and Independent Distributors’

agreement to restrict reporting provided an added layer of insulation from DEA scrutiny for the

entire industry as Defendants and Independent Distributors were thus collectively responsible for

each other’s compliance with their reporting obligations. Defendants and Independent

Distributors were aware, both individually and collectively aware of the suspicious orders that

flowed directly from their facilities.

       1124. Defendants knew that their own conduct could be reported by other Defendants or

Independent Distributors and that their failure to report suspicious orders they filled could be

brought to the DEA’s attention. As a result, Defendants and Independent Distributors had an




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incentive to communicate with each other about the reporting or suspicious orders to ensure

consistency in their dealings with the DEA.

       1125. The decision by all Defendants and Independent Distributors not to report

suspicious orders had an additional effect: It would ensure that the opioid quotas allowed by the

DEA remained artificially high and would deprive the DEA of any basis for refusing to increase

opioid production quotas or decrease production quotas.

       1126. The desired consistency, and collective end goal was achieved. Defendants and

Independent Distributors achieved blockbuster profits through higher opioid sales by

orchestrating the unimpeded flow of opioids.

VII.   Statutes of Limitations Are Tolled, and Defendants Are Estopped from Asserting
       Statutes of Limitations as Defenses

       A.      Continuing Conduct

       1127. Plaintiffs contend they continues to suffer harm from the unlawful actions by

Defendants.

       1128. The continued tortious and unlawful conduct by Defendants causes a repeated or

continuous injury. The damages have not occurred all at once but have continued to occur and

have increased as time progresses. The tort is not completed nor have all the damages been

incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants

have not ceased. The conduct causing Plaintiffs’ damages remains unabated.

       B.      Equitable Estoppel and Fraudulent Concealment

       1129. Defendants are also equitably estopped from relying upon a statute of limitations

defense because they undertook active efforts to deceive Plaintiffs and to purposefully conceal

their unlawful conduct and fraudulently assure the public, including the government, Plaintiffs,

and the community in which Plaintiffs’ plan participants and beneficiaries reside, that they were




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undertaking efforts to comply with their obligations under the state and federal controlled

substances laws, all with the goal of protecting their registered manufacturer or distributor status

in the state and to continue generating profits. Notwithstanding the allegations set forth above,

Defendants affirmatively assured the public, including the government, Plaintiffs, and the

community in which Plaintiffs’ plan participants and beneficiaries reside, that they are working

to curb the opioid epidemic.

       1130. Defendants were deliberate in taking steps to conceal their conspiratorial behavior

and active role in the deceptive marketing and unlawful oversupply of opioids, all of which

fueled the opioid epidemic.

       1131. As set forth herein, the Marketing Defendants deliberately worked through Front

Groups purporting to be patient advocacy and professional organizations, through public

relations companies hired to work with the Front Groups and through paid KOLs to secretly

control messaging, influence prescribing practices and drive sales. The Marketing Defendants

concealed their role in shaping, editing, and approving the content of prescribing guidelines,

informational brochures, KOL presentations and other false and misleading materials addressing

pain management and opioids that were widely disseminated to regulators, prescribers and the

public at large. They concealed the addictive nature and dangers associated with opioid use and

denied blame for the epidemic attributing it instead solely to abuse and inappropriate prescribing.

They manipulated scientific literature and promotional materials to make it appear that

misleading statements about the risks, safety and superiority of opioids were actually accurate,

truthful, and supported by substantial scientific evidence. Through their public statements,

omissions, marketing, and advertising, the Marketing Defendants’ deceptions deprived Plaintiffs

of actual or implied knowledge of facts sufficient to put Plaintiffs on notice of potential claims.




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       1132. Defendants also concealed from Plaintiffs the existence of Plaintiffs’ claims by

hiding their lack of cooperation with law enforcement and affirmatively seeking to convince the

public that their legal duties to report suspicious sales had been satisfied through public

assurances that they were working to curb the opioid epidemic. They publicly portrayed

themselves as committed to working diligently with law enforcement and others to prevent

diversion of these dangerous drugs and curb the opioid epidemic, and they made broad promises

to change their ways insisting they were good corporate citizens. These repeated

misrepresentations misled regulators, prescribers and the public, including Plaintiffs, and

deprived Plaintiffs of actual or implied knowledge of facts sufficient to put Plaintiffs on notice of

potential claims.

       1133. Plaintiffs did not discover the nature, scope and magnitude of Defendants’

misconduct, and its full impact on Plaintiffs, and could not have acquired such knowledge earlier

through the exercise of reasonable diligence.

       1134. The Marketing Defendants’ campaign to misrepresent and conceal the truth about

the opioid drugs that they were aggressively pushing throughout the country, including the

communities in which Plaintiffs’ plan participants and beneficiaries reside, deceived the medical

community, consumers, the government, and Plaintiffs.

       1135. Further, Defendants have also concealed and prevented discovery of information,

including data from the ARCOS database, that will confirm their identities and the extent of their

wrongful and illegal activities. On April 11, 2018, the MDL Court ordered the transactional

ARCOS data be produced, over Defendants’ strenuous objections. In so doing, the Court

reviewed its previous decisions on this data and held that, because the transaction data had not




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yet been produced, Plaintiffs could not identify the potential defendants in this litigation, and

further held that such information was “critical”:

       This means Plaintiff still does not know: (a) which manufacturers (b) sold what
       types of pills (c) to which distributors; nor do they know (d) which distributors (e)
       sold what types of pills (f) to which retailers (g) in what locations. In any given
       case, therefore, the Plaintiff[s] still cannot know for sure who are the correct
       defendants, or the scope of their potential liability. For example, the ARCOS
       spreadsheets produced by DEA show the top five distributors of oxycodone in
       [AREA] in 2014 were Cardinal Health, AmerisourceBergen, McKesson,
       Walmart, and Miami-Luken; but there is no way to know whether (or how much)
       any of these five entities distributed oxycodone into Seneca County, [AREA] (or
       any other particular venue). . . . [The] DEA and [the] defendants . . . [have]
       conceded the data was relevant and necessary to litigation . . . . Discovery of
       precisely which manufacturers sent which drugs to which distributors, and which
       distributors sent which drugs to which pharmacies and doctors, is critical not only
       to all of plaintiff[s’] claims, but also to the Court’s understanding of the width and
       depth of this litigation.

Order of April 11, 2018 [ECF No. 233] at 6-7 (footnotes omitted).

       1136. Defendants intended that their actions and omissions would deceive Plaintiffs,

who did not know and did not have the means to know the truth, due to Defendants’ actions and

omissions.

VIII. Facts Pertaining to Punitive Damages

       1137. As set forth above, Defendants acted deliberately to increase sales of, and profits

from, opioid drugs. The Marketing Defendants knew there was no support for their false and

fraudulent claims about opioids. Yet, they knowingly promoted these falsehoods in order to

increase the market for their addictive drugs.

       1138. All of the Defendants, moreover, knew that unreasonably large and suspicious

quantities of opioids were being poured into communities throughout the United States, yet,

despite this knowledge, took no steps to control the supply of opioids. Indeed, as described

above, Defendants acted in concert together to maintain high levels of quotas for their products




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and to ensure that the flow of opioids would be unimpeded so that their profits would be

maximized.

       1139. Defendants’ conduct was so willful and deliberate that it continued in the face of

numerous enforcement actions, fines, and other warnings from state and local governments and

regulatory agencies. Defendants paid their fines, made promises to do better, and continued on

with their marketing and diversion schemes. This ongoing course of conduct knowingly,

deliberately, and repeatedly threatened and accomplished harm and the risk of harm to public

health and safety, and large-scale economic loss to communities and governmental entities

across the country, as well as to TPPs like Plaintiffs.

       1140. Defendants’ actions demonstrated both malice and also aggravated and egregious

fraud. Defendants engaged in the conduct alleged herein with a conscious disregard for the

rights and safety of other persons, even though that conduct had a great probability of causing

substantial harm. The Marketing Defendants’ fraudulent wrongdoing was done with a

particularly gross and conscious disregard.

       A.      The Marketing Defendants Persisted in Their Fraudulent Scheme Despite
               Repeated Admonitions, Warnings, and Even Prosecutions

       1141. So determined were the Marketing Defendants to sell more opioids that they

simply ignored multiple admonitions, warnings, and prosecutions. These governmental and

regulatory actions are described below.

               1.      FDA Warnings to Janssen Failed to Deter Janssen’s Misleading
                       Promotion of Duragesic

       1142. On February 15, 2000, the FDA sent Janssen a letter concerning the dissemination

of “homemade” promotional pieces that promoted the Janssen drug Duragesic in violation of the

Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA

explained that the “homemade” promotional pieces were “false or misleading because they


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contain misrepresentations of safety information, broaden Duragesic’s indication, contain

unsubstantiated claims, and lack fair balance.” The March 30, 2000 letter detailed numerous

ways in which Janssen’s marketing was misleading.

       1143. The letter did not stop Janssen. On September 2, 2004, the U.S. Department of

Health and Human Services (“HHS”) sent Janssen a warning letter concerning Duragesic due to

“false or misleading claims about the abuse potential and other risks of the drug, and . . .

unsubstantiated effectiveness claims for Duragesic,” including, specifically, “suggesting that

Duragesic has a lower potential for abuse compared to other opioid products.” The September 2,

2004, letter detailed a series of unsubstantiated, false, or misleading claims.

       1144. One year later, Janssen was still at it. On July 15, 2005, the FDA issued a public

health advisory warning doctors of deaths resulting from the use of Duragesic and its generic

competitor, manufactured by Mylan N.V. The advisory noted that the FDA had been

“‘examining the circumstances of product use to determine if the reported adverse events may be

related to inappropriate use of the patch’” and noted the possibility “that patients and physicians

might be unaware of the risks” of using the fentanyl transdermal patch, which is a potent opioid

analgesic approved only for chronic pain in opioid-tolerant patients that could not be treated by

other drugs.

               2.      Governmental Action, Including Large Monetary Fines, Failed to
                       Stop Teva from Falsely Marketing Actiq for Off-Label Uses

       1145. On September 29, 2008, Teva finalized and entered into a corporate integrity

agreement with the Office of the Inspector General of HHS and agreed to pay $425 million in

civil and criminal penalties for its off-label marketing of Actiq and two other drugs (Gabitril and

Provigil). According to a DOJ press release, Teva trained sales representatives to disregard

restrictions of the FDA-approved label, employed sales representatives and healthcare



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professionals to speak to physicians about off-label uses of the three drugs and funded CME to

promote off-label uses.

       1146. Notwithstanding letters, an FDA safety alert, DOJ and state investigations, and

the massive settlement, Teva continued its deceptive marketing strategy.

               3.      FDA Warnings Did Not Prevent Teva from Continuing False and Off-
                       Label Marketing of Fentora

       1147. On September 27, 2007, the FDA issued a public health advisory to address

numerous reports that patients who did not have cancer or were not opioid tolerant had been

prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

“Fentora should not be used to treat any type of short-term pain.” Indeed, FDA specifically

denied Teva’s application, in 2008, to broaden the indication of Fentora to include treatment of

non-cancer BTP and use in patients who were not already opioid-tolerant.

       1148. Flagrantly disregarding the FDA’s refusal to broaden the indication for Fentora,

Teva nonetheless marketed Fentora beyond its approved indications. On March 26, 2009, the

FDA warned Teva against its misleading advertising of Fentora (“Warning Letter”). The

Warning Letter described a Fentora Internet advertisement as misleading because it purported to

broaden “the indication for Fentora by implying that any patient with cancer who requires

treatment for breakthrough pain is a candidate for Fentora . . . when this is not the case.” It

further criticized Teva’s other direct Fentora advertisements because they did not disclose the

risks associated with the drug.

       1149. Despite this warning, Teva continued to use the same sales tactics to push Fentora

as it did with Actiq. For example, on January 13, 2012, Teva published an insert in Pharmacy

Times titled “An Integrated Risk Evaluation and Mitigation Strategy (REMS) for FENTORA

(Fentanyl Buccal Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate).” Despite the



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repeated warnings of the dangers associated with the use of the drugs beyond their limited

indication, as detailed above, the first sentence of the insert states: “It is well recognized that the

judicious use of opioids can facilitate effective and safe management of chronic pain.”

                4.      A Guilty Plea and a Large Fine Did Not Deter Purdue from
                        Continuing Its Fraudulent Marketing of OxyContin

        1150. In May 2007, Purdue and three of its executives pled guilty to federal charges of

misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In its

plea, Purdue admitted that its promotion of OxyContin was misleading and inaccurate, it

misrepresented the risk of addiction and was unsupported by science. Additionally, Michael

Friedman, the company’s president, pled guilty to a misbranding charge and agreed to pay $19

million in fines; Howard R. Udell, Purdue’s top lawyer, also pled guilty and agreed to pay $8

million in fines; and Paul D. Goldenheim, its former medical director, pled guilty as well and

agreed to pay $7.5 million in fines.

        1151. Nevertheless, even after the settlement, Purdue continued to pay doctors on

speakers’ bureaus to promote the liberal prescribing of OxyContin for chronic pain and fund

seemingly neutral organizations to disseminate the message that opioids were non-addictive as

well as other misrepresentations. At least until early 2018, Purdue continued to deceptively

market the benefits of opioids for chronic pain while diminishing the associated dangers of

addiction. After Purdue made its guilty plea in 2007, it assembled an army of lobbyists to fight

any legislative actions that might encroach on its business. Between 2006 and 2015, Purdue and

other prescription opioid stakeholders, along with their associated nonprofits, spent nearly $900

million dollars on lobbying and political contributions – eight times what the gun lobby spent

during that period.



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       B.      Repeated Admonishments and Fines Did Not Stop Defendants from Ignoring
               Their Obligations to Control the Supply Chain

       1152. Defendants were repeatedly admonished and even fined by regulatory authorities,

but continued to disregard their obligations to control the supply chain of dangerous opioids and

to institute controls to prevent diversion.

       1153. In a 60 Minutes interview last fall, former DEA agent Joe Rannazzisi described

Defendants’ industry as “out of control,” stating that “[w]hat they wanna do, is do what they

wanna do, and not worry about what the law is. And if they don’t follow the law in drug supply,

people die. That’s just it. People die.” He further explained that:

       JOE RANNAZZISI: The three largest distributors are Cardinal Health,
       McKesson, and AmerisourceBergen. They control probably 85 or 90 percent of
       the drugs going downstream.

       [INTERVIEWER]: You know the implication of what you’re saying, that these
       big companies knew that they were pumping drugs into American communities
       that were killing people.

       JOE RANNAZZISI: That’s not an implication, that’s a fact. That’s exactly what
       they did.

       1154. Another DEA veteran similarly stated that these companies failed to make even a

“good faith effort” to “do the right thing.” He further explained that “I can tell you with 100

percent accuracy that we were in there on multiple occasions trying to get them to change their

behavior. And they just flat out ignored us.”

       1155. Government actions against Defendants, as well as against the Independent

Distributors, with respect to their obligations to control the supply chain include:

               a.      On April 24, 2007, the DEA issued an Order to Show Cause and

Immediate Suspension Order against the AmerisourceBergen Orlando, Florida distribution center

(“Orlando Facility”) alleging failure to maintain effective controls against diversion of controlled




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substances. On June 22, 2007, AmerisourceBergen entered into a settlement that resulted in the

suspension of its DEA registration.

               b.     On November 28, 2007, the DEA issued an Order to Show Cause and

Immediate Suspension Order against the Cardinal Auburn, Washington Distribution Center

(“Auburn Facility”) for failure to maintain effective controls against diversion of hydrocodone.

               c.     On December 5, 2007, the DEA issued an Order to Show Cause and

Immediate Suspension Order against the Cardinal Lakeland, Florida Distribution Center

(“Lakeland Facility”) for failure to maintain effective controls against diversion of hydrocodone.

               d.     On December 7, 2007, the DEA issued an Order to Show Cause and

Immediate Suspension Order against the Cardinal Swedesboro, New Jersey Distribution Center

(“Swedesboro Facility”) for failure to maintain effective controls against diversion of

hydrocodone.

               e.     On January 30, 2008, the DEA issued an Order to Show Cause against the

Cardinal Stafford, Texas Distribution Center (“Stafford Facility”) for failure to maintain

effective controls against diversion of hydrocodone.

               f.     On September 30, 2008, Cardinal entered into a Settlement and Release

Agreement and Administrative Memorandum of Agreement with the DEA related to its Auburn,

Lakeland, Swedesboro and Stafford Facilities. The document also referenced allegations by the

DEA that Cardinal failed to maintain effective controls against the diversion of controlled

substances at its distribution facilities located in McDonough, Georgia (“McDonough Facility”),

Valencia, California (“Valencia Facility”) and Denver, Colorado (“Denver Facility”).




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               g.      On February 2, 2012, the DEA issued an Order to Show Cause and

Immediate Suspension Order against the Cardinal’s Lakeland Facility for failure to maintain

effective controls against diversion of oxycodone.

               h.      On December 23, 2016, Cardinal agreed to pay a $44 million fine to the

DEA to resolve the civil penalty portion of the administrative action taken against its Lakeland

Facility.

        1156. McKesson’s conscious and deliberate disregard of its obligations was especially

flagrant. On May 2, 2008, McKesson Corporation entered into an Administrative Memorandum

of Agreement (“2008 McKesson MOA”) with the DEA which provided that McKesson would

“maintain a compliance program designed to detect and prevent the diversion of controlled

substances, inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the

procedures established by its Controlled Substance Monitoring Program.”

        1157. Despite its 2008 agreement with the DEA, McKesson continued to fail to report

suspicious orders between 2008 and 2012 and did not fully implement or follow the monitoring

program it agreed to. It failed to conduct adequate due diligence of its customers, failed to keep

complete and accurate records in the Controlled Substance Monitoring Program (“CSMP”) files

maintained for many of its customers and bypassed suspicious order reporting procedures set

forth in the CSMP. It failed to take these actions despite its awareness of the great probability

that its failure to do so would cause substantial harm.

        1158. On January 5, 2017, McKesson Corporation entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil penalty for

violation of the 2008 MOA as well as failure to identify and report suspicious orders at its

facilities in Aurora CO, Aurora IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La




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Vista NE, Livonia MI, Methuen MA, Santa Fe Springs CA, Washington Courthouse OH and

West Sacramento CA. McKesson’s 2017 agreement with DEA documents that McKesson

continued to breach its admitted duties by “fail[ing] to properly monitor its sales of controlled

substances and/or report suspicious orders to DEA, in accordance with McKesson’s obligations.”

       1159. As The Washington Post and 60 Minutes previously reported, DEA staff

recommended a much larger penalty than the $150 million ultimately agreed to for McKesson’s

continued and renewed breach of its duties, as much as a billion dollars, and delicensing of

certain facilities. A DEA memo outlining the investigative findings in connection with the

administrative case against 12 McKesson distribution centers included in the 2017 settlement

stated that McKesson “[s]upplied controlled substances in support of criminal diversion

activities”; “[i]gnored blatant diversion”; had a “[p]attern of raising thresholds arbitrarily”;

“[f]ailed to review orders or suspicious activity”; and “[i]gnored [the company’s] own

procedures designed to prevent diversion.”

       1160. On December 17, 2017, CBS aired an episode of 60 Minutes featuring Assistant

Special Agent Schiller, who described McKesson as a company that killed people for its own

financial gain and blatantly ignored the CSA requirement to report suspicious orders:

       DAVID SCHILLER: If they would stayed in compliance with their authority and
       held those that they’re supplying the pills to, the epidemic would be nowhere near
       where it is right now. Nowhere near.

       *       *       *

       They had hundreds of thousands of suspicious orders they should have reported,
       and they didn’t report any. There’s not a day that goes by in the pharmaceutical
       world, in the McKesson world, in the distribution world, where there’s not
       something suspicious. It happens every day.

       [INTERVIEWER:] And they had none.

       DAVID SCHILLER: They weren’t reporting any. I mean, you have to
       understand that, nothing was suspicious?



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       1161. Following the 2017 settlement, McKesson shareholders made a books and records

request of the company. According to a separate action pending on their behalf, the company’s

records show that the company’s Audit Committee failed to monitor McKesson’s information

reporting system to assess the state of the company’s compliance with the CSA and McKesson’s

2008 settlements. More particularly, the shareholder action alleges that the records show that in

October 2008, the Audit Committee had an initial discussion of the 2008 settlements and results

of internal auditing, which revealed glaring omissions; specifically:

               a.      some customers had “not yet been assigned thresholds in the system to

flag large shipments of controlled substances for review”;

               b.      “[d]ocumentation evidencing new customer due diligence was

incomplete”;

               c.      “documentation supporting the company’s decision to change thresholds

for existing customers was also incomplete”; and

               d.      The Internal Audit “identified opportunities to enhance the Standard

Operating Procedures.”

       1162. Yet, instead of correcting these deficiencies, the shareholder action’s description

of McKesson’s internal documents reveals that, for a period of more than four years, the Audit

Committee failed to address the CSMP or perform any more audits of McKesson’s compliance

with the CSA or the 2008 settlements. During that period, McKesson’s Audit Committee failed

to inquire whether the company was in compliance with obligations set forth in those agreements

and with the controlled substances regulations more generally. It was only in January 2013 that

the Audit Committee received an Internal Audit report touching on these issues.




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       1163. In short, McKesson, was “neither rehabilitated nor deterred by the 2008

[agreement],” as a DEA official working on the case noted. Quite the opposite, “their bad acts

continued and escalated to a level of egregiousness not seen before.” According to statements of

“DEA investigators, agents and supervisors who worked on the McKesson case” reported in the

Washington Post, “the company paid little or no attention to the unusually large and frequent

orders placed by pharmacies, some of them knowingly supplying the drug rings.” “Instead, the

DEA officials said, the company raised its own self-imposed limits, known as thresholds, on

orders from pharmacies and continued to ship increasing amounts of drugs in the face of

numerous red flags.”

       1164. At a hearing before the House of Representatives’ Energy and Committee

Subcommittee on Oversight and Investigations, on May 8, 2018, the chief executives of

McKesson and Cardinal, among others, testified regarding their anti-diversion programs and

their roles in the opioid epidemic. The Chairman of Miami-Luken, Inc., another distributor,

alone acknowledged, in response to questions, that his company failed in the past to maintain

effective controls to prevent diversion and that its actions contributed to the opioid crisis. He

also testified that Miami-Luken had severed relationships with many customers that continue to

do business with other distributors. Despite the frequent prior enforcement actions described

above, neither McKesson nor Cardinal admitted any deficiencies in their compliance. In fact,

both executives’ answers confirmed gaps and breakdowns in past and current practices.

       1165. For example, Cardinal’s Executive Chairman, George Barrett, denied that

“volume in relation to size of population” is a “determining factor” in identifying potentially

suspicious orders. Despite regulatory and agency direction to identify, report, and halt

suspicious orders, Cardinal focused on whether a pharmacy was legitimate, not whether its




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orders suggested evidence of diversion. In 2008, a Cardinal employee alerted the company to a

pharmacy filling prescriptions for a known pill mill rejected by other pharmacies, Cardinal

continued to supply the pharmacy for another six years. Cardinal increased another pharmacy’s

threshold twelve times, but could not explain what factors it applied or how it made decisions to

increase thresholds.

       1166. According to records produced to the Subcommittee, McKesson’s due diligence

file on one of the pharmacies in West Virginia that it supplied with a massive volume of opioids

consisted of a single two-page document. Despite McKesson’s claim that it reviewed every

single customer for high volume orders for certain drugs, including hydrocodone and oxycodone,

set a threshold of 8,000 pills per month, and examined and documented every order over that

threshold, the company still shipped more than 36 times the monthly threshold to one pharmacy

– 9,650 pills per day.

       1167. Since at least 2002, Purdue has maintained a database of health care providers

suspected of inappropriately prescribing OxyContin or other opioids. Physicians could be added

to this database based on observed indicators of illicit prescribing such as excessive numbers of

patients, cash transactions, patient overdoses, and unusual prescribing of the highest-strength

pills (80 mg OxyContin pills or “80s,” as they were known on the street, were a prime target for

diversion). Purdue claims that health care providers added to the database no longer were

detailed, and that sales representatives received no compensation tied to these providers’

prescriptions.

       1168. Yet, Purdue failed to cut off these providers’ opioid supply at the pharmacy

level—meaning Purdue continued to generate sales revenue from their prescriptions—and failed

to report these providers to state medical boards or law enforcement. Purdue’s former senior




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compliance officer acknowledged in an interview with the Los Angeles Times that in five years

of investigating suspicious pharmacies, the company never stopped the supply of its opioids to a

pharmacy, even where Purdue employees personally witnessed the diversion of its drugs.

           1169. The same was true of prescribers. For example, as discussed above, despite

Purdue’s knowledge of illicit prescribing from one Los Angeles clinic which its district manager

called an “organized drug ring” in 2009, Purdue did not report its suspicions until long after law

enforcement shut it down and not until the ring prescribed more than 1.1 million OxyContin

tablets.

           1170. The New York Attorney General found that Purdue placed 103 New York health

care providers on its “No-Call” List between January 1, 2008 and March 7, 2015, and yet that

Purdue’s sales representatives had detailed approximately two-thirds of these providers, some

quite extensively, making more than a total of 1,800 sales calls to their offices over a six-year

period.

           1171. The New York Attorney General similarly found that Endo knew, as early as

2011, that Opana ER was being abused in New York, but certain sales representatives who

detailed New York health care providers testified that they did not know about any policy or duty

to report problematic conduct. The New York Attorney General further determined that Endo

detailed health care providers who were subsequently arrested or convicted for illegal prescribing

of opioids a total of 326 times, and these prescribers collectively wrote 1,370 prescriptions for

Opana ER (although the subsequent criminal charges at issue did not involve Opana ER).

           1172. As all of the governmental actions against the Marketing Defendants and against

all the Defendants show, Defendants knew that their actions were unlawful, and yet deliberately




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refused to change their practices because compliance with their legal obligations would have

decreased their sales and their profits.

IX.    ALTER EGO LIABILITY

       1173. To the extent that the wrongful acts or omissions alleged herein were committed

or omitted by wholly owned or majority-owned entities, the parent entities are liable for those

acts or omissions as alter egos because (a) they dominated and controlled the wholly owned or

majority-owned entity and (b) exercised that domination and control to perpetrate a wrong or

injustice. The details regarding the foregoing facts are particularly within the knowledge and

control of the respective Defendants charged with wrongdoing and cannot be pleaded in greater

detail by Plaintiffs without discovery

       A.        Allergan plc Is Subject to Specific Personal Jurisdiction Under the Alter-Ego
                 Theory

       1174. Allergan plc’s186 incorporation document, the Constitution of Allergan Public

Limited Company Memorandum of Association, states that the Company was established “[t]o

carry on the business of a pharmaceuticals company, and to research, develop, design,

manufacture, produce, supply, buy, sell, distribute, import, export, provide, promote and

otherwise deal in pharmaceuticals, active pharmaceutical ingredients and dosage

pharmaceuticals.”

       1175. The plc’s prior SEC filings provided that its “administrative headquarters” were

in New Jersey.

       1176. Though incorporated in Ireland as a result of a 2013 corporate tax inversion, The

plc never ceased running nationwide operations from its longstanding New Jersey home,


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  Allergan plc was formerly known as Actavis plc and is now known as Allergan Unlimited
Company. To avoid confusion, Allergan plc/Actavis plc will be referred to as “The plc” or “the
Company” for the purposes of this section, except as required by a direct quotation or context.


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including those related to the marketing and sales of opioids in Louisiana. As its Chief

Executive Officer (“CEO”) stated at the time of the inversion: “Everybody loves New Jersey too

much, so nobody is willing to go.”

       1177. Similarly, when The plc completed the acquisition of Allergan, Inc., The plc’s

CEO stated that it “remain[ed] strongly committed to Irvine,” California, where Allergan, Inc.

had maintained its headquarters. Prior to the Abbvie sale, The plc’s top executives all worked in

New Jersey.
       1178.
               In 2018, more than 77% of The plc’s $15.8 billion in net revenues came from the

United States, with that 25% of its overall revenues deriving from a single customer

headquartered in San Francisco throughout substantially all of the relevant time period—

defendant McKesson Corporation (“McKesson”).
       1179.
               Until 2016, The plc was the second largest manufacturer of generic opioids in the

U.S. In 2016, it sold its generic drug business (including the generic opioid business) to

defendant Teva Pharmaceuticals Ltd. for $40 billion.

       1180. Allergan plc is the alter ego of its United States subsidiaries, with whom it shares

a unity of interest and ownership.

       1181. A Management Service Agreement places American employees of U.S.

subsidiaries, including defendant Allergan Sales, LLC, headquartered in Irvine, California, in

charge of The plc’s “executive management,” “strategic direction,” and “General and

Administrative Services.” The Management Service Agreement between The plc, Allergan

Sales, LLC (headquartered in Irvine, California), and one other U.S.-based subsidiary puts the

American employees of The plc’s subsidiaries in charge of, among other aspects of The plc’s

operations, its “executive management,” “strategic direction,” and “General and Administrative




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Services.” And the enterprise-wide confidential accounting policies require The plc’s approval

for “any new loan and/or cash movement” taken out or made by its subsidiaries.

       1182. The “Management Service Agreement” between The plc, on the one hand, and

Allergan, Inc. and Allergan Sales, LLC on the other, shows that The plc was, and remains, an

integrated group of entities with common decision makers, common office managers, and a

common goal. The agreement puts the U.S. entities Allergan, Inc. and Allergan Sales, LLC in

charge of The plc’s “executive management,” its “strategic direction in terms of business

operations, financial goals and long-term growth,” and its “General and Administrative

Services.” Thus, The plc is the shareholder (through a series of largely employee-less holding

companies) of entities that, despite being far removed on the tax department organizational chart,

manage it.

       1183. The corporate hierarchy from The plc to Allergan Finance, LLC proceeded

through 11 entities incorporated in 4 countries: The plc (Ireland), Allergan WC Ireland Holdings

Ltd. (Ireland), Warner Chilcott Limited (Bermuda), Warner Chilcott Holdings Company II, Ltd.

(Bermuda), Warner Chilcott Holdings Company III, Ltd. (Bermuda), Allergan Ireland Limited

(Ireland), Allergan Capital S.a.r.l. (Luxembourg), Allergan Pharma Inc. (Delaware), Allergan

Akarna LLC (Delaware), and Allergan W.C. Holding Inc. (Delaware), to Allergan Finance, LLC

(Nevada). Allergan Sales, LLC is four entities further down the chain: continuing from Allergan

Finance, LLC to Allergan, Inc. (Delaware), and Allergan Holdco US, Inc. (Delaware) and

Allergan Holdings, Inc. (Delaware) jointly, to Allergan Sales. This permeable mishmash of

responsibility, power, and control disproves Allergan’s contention that The plc and its

subsidiaries operate independently.




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       1184. The plc regularly held itself out as the Allergan family entity with relevant

information regarding opioids. For example, in response to a request seeking the prescribing

information for the opioid Norco, a responsive letter providing that information was sent on

Allergan plc letterhead. The letter also repeatedly references Allergan plc (and no other

Allergan-related entity): “Allergan, plc. makes no recommendation regarding unapproved uses”;

“Any publication of the provided information or use beyond this intent is prohibited without

written authorization from Allergan, plc.”; “Thank you for your interest in Allergan, plc.

products.”

       1185. Internal emails concerning national opioids policies and opioid-related

discussions were also circulated among persons located in the United States stating they worked

for The plc:

                     In 2017, the Executive Director, Customer Relations Operations at
                      “Allergan plc” circulated a request seeking information about Allergan’s
                      suspicious order monitoring (“SOM”) program, including emails from the
                      DEA to block or stop sales, notations or emails regarding specific
                      measures to monitor oxycodone, and other key information directly related
                      to Plaintiffs’ SOM-related allegations.

                     In 2016, in response to an inquiry in The Wall Street Journal about the
                      opioid Norco, the Director, Corporate Affairs for “Allergan plc”
                      circulated an internal email including a draft response.

                     In 2015, “the Vice President, Ethics & Compliance – Americas for Actavis
                      plc.” sent a letter concerning the opioid hydrocodone to the Office of
                      Criminal Investigations of the U.S. Food and Drug Administration
                      (“FDA”) and copying Joseph Rannazzisi of the DEA.

                     In 2015, Senior Director for Clinical Development from “Allergan plc.”
                      sent an email discussing “a consortium that deals with opioid REMS.”

                     In 2015, a Senior Scientist from “ALLERGAN, plc.” sent a request for a
                      list of legacy Actavis/Watson-branded products, which included the
                      opioids Kadian and Norco.

                     In 2015, a Business Insights & Analytics employee from “Allergan plc”
                      sent annual report information concerning the opioid Kadian.



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                      Regularly circulated “Daily Inventory Report[s],” some of which
                       contained specific information about opioids, were sent widely (including
                       to CEO Bisaro) by the Inventory Optimization Co-op from “Allergan
                       plc.”

       1186. Invoices for opioid-related services were also sent by third parties to The plc. For

example, in 2017, inVentiv Health Consulting – Risk and Program Management sent an invoice

to Allergan plc for “ER/LA Opioid [Post-Marketing Requirements] February Fee Installment”

and another for “Opioid [Post-Marketing Requirements] Support.”

       1187. The plc’s ledgers fail to appropriately account for all transactions it has with its

subsidiaries. For example, The plc sold its “Global Generics Business” to defendant Teva for

$33.4 billion in cash and approximately $5.4 billion in Teva stock. The 2013-2015 ledger shows

only 18 transactions over a three-year period, a low number for a company that was, among other

things, the third-largest generic pharmaceutical distributor in the United States.

       1188. Through the relevant time period, The plc’s administrative headquarters was

located at the same address that fellow defendants Allergan Finance, LLC and Allergan Sales,

LLC were located.

       1189. The plc “retained all of Actavis, Inc.’s officers in the same positions” upon its

creation. And as of March 2018, six of The plc’s eight executive officers still served as the top

officers of Allergan Finance, LLC.

       1190. The plc expressly adopted the debts and liabilities of Actavis, Inc.

       1191. When The plc was created to effectuate the merger of Actavis, Inc. and Warner

Chilcott, each common share of Actavis, Inc. stock was converted into a common share of The

plc stock on a one-to-one basis. The owners of Actavis, Inc. became the owners of The plc in

equal measure. As such, ownership was identical.




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       B.      Teva Ltd. Is Subject to Jurisdiction Where Its Subsidiaries Acted as U.S.
               Alter Egos

       1192. The acts carried out by Teva USA, Cephalon, and the Actavis Generic Entities

directed atNew York, Oklahoma, and nationally—the marketing and sale of opioids in

Louisiana, including misrepresentations to providers throughout the United States, icluding in

New York and Oklahoma, and failure to comply with the federal Controlled Substances Acts and

state laws for suspicious orders placed by its United States-based customers,including customers

in New York and Oklahoma—are properly attributable to Teva Ltd. via an alter ego theory.

       1193. Teva Ltd. exerts or has exerted sufficient control over Teva USA, Cephalon, and

the Actavis Generic Entities to subject it to U.S. jurisdiction.

       1194. Teva Ltd. presents itself as a leading global pharmaceutical drug company and

“one of the most competitive operational networks in the industry,” with 57,000 employees

worldwide, 87 production sites, manufacturing 120 billion pills annually, distributing

pharmaceuticals in approximately 100 markets globally, and having revenues of $18.9 billion.

       1195. Teva Ltd. is the leading generic drug company in the world, as well as in the

United States, in terms of both total and new prescriptions.

       1196. Teva Ltd. has fully integrated Teva USA into its organizational structure, and

Teva Ltd. and Teva USA present themselves as “One global brand, One story, One Teva.” One

of Teva’s “core therapeutic areas” is pain, including opioid products.

       1197. Teva, through Teva USA, began selling its first opioid medications in the United

States in July 1980 and started selling its first Schedule II opioids beginning in 1997. In early

2007, Teva Ltd. announced in a press release that it would continue to sell “its generic version of

OxyContin tablets” in the United States through 2007, after settling a patent dispute with Purdue.




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       1198. In 2016, Teva Ltd. saw so-called abuse-deterrent opioids as its chief opioid

money-making specialty opportunity under its pain segment.

       1199. Over the years, Teva Ltd. has built a vast portfolio of opioid products through

various acquisitions of U.S. pharmaceutical drug companies.

       1200. In 2011, Teva Ltd. acquired Cephalon, and Teva USA immediately began selling

its brand opioid products, Fentora and Actiq.

       1201. In 2016, Teva Ltd. acquired from Allergan plc its Actavis/Watson generic

business, and Teva USA immediately began selling their generic opioid products.

       1202. Teva USA, Cephalon, and the Actavis Generic Entities are indirect subsidiaries of

Teva Ltd. through several holding companies. Teva USA and Cephalon are sister corporations,

while the Actavis Generic Entities are subsidiaries of Teva USA.

       1203. Teva Ltd. is managed by an Executive Committee (“Executive Management”),

which consists of Chief Executive Officer Kare Schultz and 11 high-ranking Teva Ltd. corporate

officers. All of these Executive Management officers are paid by Teva Ltd., whether employed

in Israel, the United States, or Europe.

       1204. All Teva USA employees report up a chain through Teva Ltd.’s Executive

Management and ultimately to Teva Ltd.’s CEO.

       1205. In addition to the global responsibilities of Teva Ltd.’s Executive Management,

Teva Ltd. has employees around the world who have ultimate reporting responsibility for various

operations and who in turn report to a Teva Ltd. Executive Manager. For instance, Teva Ltd.’s

corporate designee, Doron Herman, is “S[enior] VP, Head of Global Tax, Teva

Pharmaceuticals.” As Global Head of Tax, Mr. Herman is responsible for tax compliance and




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tax planning for Teva Ltd. and all its subsidiaries, and the Teva USA Head of Tax reports

directly to him.

       1206. Teva Ltd. reports revenue by “segments.” Before 2018, segment revenue was

reported by region (United States, Europe, and the Rest of the World) and by product type (i.e.,

“Generics” and “Specialty”) and consolidated under “One Teva” as a single economic unit. In

2018, revenues were reported under three segments: North America, Europe, and International

Markets.

       1207. Teva Ltd. controls the operations of its subsidiaries, or “regional commercial

units,” through another layer of integrated management team via Global Divisions that it

established, such as Teva Global Operations and Quality, Teva Global R&D, and many Global

Departments or Support Functions including Finance, Legal, IT, Human Resources, Corporate

Marketing and Communications Group, and the Business Strategy and Innovation Group. All

are managed by Teva Ltd.’s global officers.

       1208. Teva Ltd.’s CEO is identified as the Chief Operating Decision Maker (“CODM”),

and in a 2018 “Segment Memorandum,” Teva Ltd. stated that “the business will continue to be

managed and orchestrated by Teva’s CEO, who regularly reviews its results, is directly

involved in assessing performance and making decisions on overall resource allocation, and

ultimately responsible for the allocation of resources.” Significantly:

                     “The operating results of the component are regularly reviewed by the
                      entity’s CODM to assess the performance of the individual component and
                      make decisions about resources to be allocated to the component.”

                     The CEO “reviews flash Reports” that contain key financial data such as
                      “daily revenues . . . and sales information based on product line” and
                      “presentations comparing actual results vs. Latest Best Estimates and
                      Annual Operating Plan” for all “business segments or components.”

                     “Decisions about Teva’s overall resource allocation are made by the
                      CODM . . . . Certain Decisions may be made at lower management levels


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                       (such as vice presidents, regional CEO’s etc.) where more detailed
                       disaggregated information is reviewed, however the CODM is involved in
                       assessing performance and making decisions on overall resource
                       allocation.”

       1209. In 2017, Teva Ltd. announced “a new organizational structure and leadership

changes to enable strategic alignment across our portfolios, regions and functions . . . under this

new structure our business will be integrated into one commercial organization.”

       1210. Teva Ltd. maintains extensive financial control over its subsidiaries, including its

U.S. subsidiaries in this action, and “enjoys substantial financial benefit from U.S. Subsidiaries

and has [s]ole discretion over financing.”

       1211. Teva Ltd. files its financial results with the U.S. Securities and Exchange

Commission (“SEC”) offsetting its losses against its gains as “One Teva” with “functional units

unified organization,” “integrated into one commercial organization” as a single economic unit.

       1212. Teva Ltd., through its integrated management team, is involved in establishing its

consolidated Annual Operating Plan (“AOP”) from the early stages of the AOP plan through

final approval. The “AOP, as well as forecasts and budgets,” are consolidated and “are reviewed

and approved by the CEO & BoD” and by Teva Ltd.’s outside auditors.

       1213. Teva Ltd., through its common officers, is also involved in approval of

subsidiaries’ capital expenditures and procurement of supplies and services.

       1214. Teva Ltd. also securitizes the trade receivables of its subsidiaries so that they are

controlled by Teva Ltd., not by its subsidiaries. To do this, Teva Ltd. “established a trade

receivables securitization program” that took control and commingled its subsidiaries’

receivables and collections via a Special Purpose Entity (“SPE”) that it owns.

       1215. Teva Ltd. formed its SPE “for the sole purpose of purchasing trade receivables

from Teva subsidiaries and the subsequent transfer of such receivables to BNP Bank conduit for



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a cash price less a discount.” The SPE is a Variable Business Entity and is owned and controlled

by Teva Ltd., which is also the “primary beneficiary” of the SPE.

       1216. “Teva” is defined in Teva Ltd.’s SEC Form 10-K as “Teva Pharmaceutical

Industries Limited and its subsidiaries.” “Teva” is defined variously elsewhere as Teva

Pharmaceutical Industries Limited.

       1217. Even if the subsidiaries ultimately receive the collections from the SPE or Teva

Ltd. (an element of commingling), SPE took control of the receivables and collections, and Teva

Ltd. is the “primary beneficiary” of the SPE. Teva Ltd.’s U.S. subsidiaries essentially have

mortgaged their future receivables and placed the proceeds in Teva Ltd.’s sole control and use;

and they are protected from Teva’s U.S. subsidiaries’ creditors, including in bankruptcy.

       1218. Other indicia of financial control by Teva Ltd. over its subsidiaries include the

following:

                     Teva Ltd. used subsidiaries’ cash flows to repurchase its own shares

                     Teva Ltd. used its subsidiaries’ cash flows to pay dividends to its
                      shareholders

                     Teva Ltd. imposed a Contract Policy so it controlled larger contracts
                      signed by its subsidiaries to protect itself from third-party claims from
                      those subsidiaries

                     Teva Ltd. authorized a bonus policy applicable to all its employees,
                      including its employees of its U.S. subsidiaries

                     Teva Ltd. received tax benefits in Israel from owning its U.S. and other
                      foreign subsidiaries in the same line of business under “One Teva”; and

                     Teva Ltd. received tax benefits in the United States from the U.S. Tax
                      Cuts and Jobs Act under “One Teva.”

       1219. Because it has near total domination and financial control over its subsidiaries,

which it used to market and distribution massive quantities of opioids into the United States,




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including Louisiana, as further described herein, the exercise of personal jurisdiction over Teva

Ltd. for the actions of its subsidiaries is warranted in this case.

        1220. In addition to Teva Ltd. having control over its subsidiaries’ operations and

resources through Teva Ltd.’s CEO as CODM, and through the reporting lines through their

corporate officers and Teva Ltd.’s Executive Management Team, Teva Ltd. further exerts control

over its subsidiaries in a number of other ways.

        1221. For example, Teva Ltd. maintains a Global Research and Development (“R&D”)

“Division” under its control to dominate and control “its products formulation, development

design of its generic and specialty pharmaceutical products . . . including products portfolio

management and selection, and product launch and commercial execution.” “Global R&D is

responsible for research and development of specialty products and includes regulatory affairs

and pharmacovigilance,” and is managed by Dr. Hafrun Fridriksdottir, who is a member of Teva

Ltd.’s Executive Management Team.

        1222. As a specific example of Teva Ltd.’s control over the products Teva USA

markets, Teva had obtained approval from the U.S. Food and Drug Administration (“FDA”) of a

specialty abuse deterrent opioid called Vantrela ER. On December 17, 2017, Brendan O’Grady,

acting in his capacity as Teva Ltd.’s Executive V.P. and Head of North America, sent an e-mail

to other members of Teva Ltd.’s Executive Management and others recommending that Vantrela

not be launched due to lack of projected profitability. He wrote: “If we do not intend to launch

and we have no potential buyer, my assumption would be that we pull the plug on the NDA but

that is probably Kare’s [Teva Ltd.’s CEO Kare Schultz] call.” He further wrote, “let’s withdraw

the file as Hafrun [Fridriksdottir] recommended.” In short, it was the recommendation of Teva




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Ltd.’s Executive Management, with Teva Ltd.’s CEO’s ultimate approval, that decided not to

launch a Teva opioid product in the United States for which it already had FDA approval.

       1223. As a further example of Teva Ltd.’s control, Teva Ltd. has directed global

pharmacovigilance and quality monitoring for its global subsidiaries, including for the United

States. Teva Ltd.’s Head of Global Pharmacovigilance was Hedva Voliovitch, who worked out

of Teva Ltd.’s offices in Israel. She also had authority to make binding decisions on Teva USA

related to safety information. No quality monitoring or pharmacovigilance was done in the

United States. Teva Ltd. maintained the global adverse event database, including for opioids

sold in the United States. Teva Ltd. also provided global standard operating procedures

(“SOPs”) for pharmacovigilance and drug safety monitoring, and Teva USA was expected to

comply with those SOPs. Pharmacovigilance was conducted by Teva Ltd.’s Global Patient

Safety and Pharmacovigilance Department, including review of adverse events for opioid abuse.

As of 2014, Ms. Voliovich was still the Teva Ltd. safety officer responsible for drug safety

worldwide, including in the United States. Ms. Voliovitch also signed off as Teva Ltd.’s drug

safety officer on an opioid to be sold in the United States.

       1224. Further, Teva Ltd., through its global officers and its staff, oversees, monitors,

and audits its subsidiaries’ compliance to make sure that they are adhering to Teva Ltd.’s policies

and standards established by Teva Ltd.

       1225. For example, Teva Ltd., through its Global Drug Safety and Pharmacovigilance

Department, conducted an internal audit of Teva USA’s pharmacovigilance system in 2011. The

audit states: “The safety system in Teva US has multiple gaps and the reporting of safety matters

to the FDA . . . cannot be assured.” It further stated that: “The safety system in Teva US is




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largely out of control and the reporting of safety matters to FDA (and by extension other

regulatory agencies and business partners) cannot be assured.”

       1226. Teva Ltd. also conducted at least one audit in 2015 of Teva USA’s U.S. DEA

compliance department and suspicious order monitoring program. On August 19, 2015, Itai

Rigbi, Teva Ltd.’s Senior Director, Global Internal Audit – Head of Operations and R&D,

forwarded to McGinn and others the final August 19, 2015 Global Internal Audit report. That

report found that the DEA Department was in “non-compliance with DEA requirements” and

was at “High Risk” of DEA enforcement action, and that the SOM program was at “Moderate

Risk” for such action. These are critical areas, during a critical time period in the opioid crisis in

which Teva Ltd. monitored safety with regard to its opioid products.

       1227. Teva Ltd. had other areas of direct control over its global and U.S. subsidiaries.

For example, in 2016, Teva Ltd. implemented visual guidelines that governed all brand, visuals,

and logos on all its subsidiaries to convey a consistent message about Teva products.

       1228. Teva Ltd. also imposed a Global Publication Policy on its subsidiaries with

directives they were expected to follow.

       1229. Teva Ltd. also prepared and maintained a single Teva website portal that all

subsidiaries were required to utilize.

       1230. Teva Ltd. has an insurance team that handles insurance for all its subsidiaries.

       1231. Teva Ltd. established and implemented guidelines to dominate and control its

subsidiaries through an integrated management system whereby the nomination of Board

Members of First Tier Subsidiaries is subject to the approval of Teva Ltd.’s Secretary; sub-

committee members of Teva Ltd.’s Executive Committee are selected by the CEO and approved

by the Board of Directors (“Board”), which results in a management team with common officers




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who are officers of both Teva Ltd. and its U.S. subsidiaries. For “First Tier Subsidiaries” such as

Teva USA and Cephalon, Teva Ltd.’s guidelines direct that “[a]t least one of the members will

be a TEC [Teva Executive Committee] member responsible for the main activity of the

subsidiary.” This refers to the main Teva Ltd. officers who are part of Executive Management

reporting to Teva Ltd.’s CEO.

       1232. As a result of the “Guidelines,” nomination, selection, and approval process of

Teva Ltd.’s Executive Committee and Sub-committee Members and management of its Global

Operations, Teva Ltd. itself created a management team with common officers who are officers

of both Teva Ltd. and its U.S. subsidiaries. There are numerous Teva Ltd. employees who are

also employees of Teva Ltd.’s U.S. subsidiaries. For example, Brendan O’Grady, who currently

is a Teva Ltd. corporate officer and member of Teva Ltd.’s Executive Management reporting

directly to Teva Ltd.’s CEO, is also an officer of Teva USA, as well as Teva’s Actavis

subsidiaries. And Sigadur Olafsson, Teva Ltd.’s former CEO, was Cephalon’s President and

Teva USA’s President/Director/CEO.

       1233. Teva Ltd., through its overlapping officers, controls its subsidiaries’ “Global

Marketing,” “Administration,” R&D, purchase of supplies, raw materials and manufacturing of

subsidiaries’ pharmaceutical products, finance, and other significant supporting operations

conducted in “shared and commingled assets,” and created additional significant layers of

controls via shared Global “Divisions” and Global Departments that it controls via its own

officers. “Teva manages its assets on a company basis, not by segments, as many of its assets

are shared or commingled.”




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       1234. As part of its Global Operations, Teva Ltd. maintains offices worldwide with

Teva employees supporting its subsidiaries through various departments, collectively identified

as “Support Function Employees.”

       1235. Teva Ltd. also has control of messaging about the opioid epidemic at the highest

levels. On September 27, 2017, Yitzak Peterburg, Teva Ltd.’s CEO at the time, directed Teva

Ltd.’s “Government Affairs: Opioid Workgroup” “to review the U.S. opioid epidemic and

consider Teva response options.” Debra Barrett, one of the meeting invite recipients, was head

of Teva Ltd.’s global government affairs department and responsible for developing Teva Ltd.’s

policy and lobbying in this area.

       1236. Teva Ltd.’s Board also had ultimate control of the firing of thousands of

employees, including in the United States. In 2017, Teva Ltd.’s Board announced “a

comprehensive restructuring plan” that included a “global workforce reduction of approximately

14,000 employees, more than 25% of our workforce.”

       1237. Teva Ltd. exerted so much control over its U.S. subsidiary Defendants that the

separate personalities of the entities no longer exist.

X.     SUCCESSOR LIABILITY

       1238. To the extent that the wrongful acts or omissions alleged herein were committed

or omitted by predecessor entities, their respective successor entities are liable for those acts or

omissions because (a) they expressly or impliedly assumed the predecessor’s liability, (b) there

was a consolidation or merger of predecessor and successor, or (c) the surviving entity was a

mere continuation of the predecessor. To the extent there was no formal merger of predecessor

and successor, the respective successor entities are also liable for the wrongful acts or omissions

of their respective predecessors based on the doctrine of de facto merger based on the factors of

(a) continuity of ownership; (b) cessation of ordinary business and dissolution of the


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predecessor; (c) assumption by the successor of liabilities ordinarily necessary for the

uninterrupted continuation of the business of the predecessor; (d) continuity of management,

personnel, physical location, assets and general business operation of the predecessor, and

(e) assumption of an identical or nearly identical name. The details regarding the foregoing facts

are particularly within the knowledge and control of the respective Defendants charged with

wrongdoing and cannot be pleaded in greater detail by Plaintiffs without discovery.

        A.     Allergan plc Is Subject to Specific Personal Jurisdiction as a Successor to
               Actavis, Inc.

        1239. The plc is also subject to jurisdiction because it was a successor to Actavis, Inc.,

i.e., the transaction that formed The plc amounted to a consolidation, merger, or similar

restructuring of the two corporations or the purchasing corporation was a mere continuation of

the seller.

        1240. When The plc was created, each common share of Actavis, Inc. stock was simply

converted into a common ordinary share of The plc. There was no cash consideration. Thus, the

sine qua non of the consolidation or merger successor liability exists here.

        1241. The plc simply continued the business of Actavis, Inc. In its first SEC filing after

creating The plc, the Company described itself in terms almost identical to the way Actavis, Inc.

had been described. Actavis, Inc. said it was “a leading integrated global specialty

pharmaceutical company engaged in the development, manufacturing, marketing, sale and

distribution of generic, branded generic, brand, biosimilar and over-the-counter (‘OTC’)

pharmaceutical products.” So did The plc. The plc continues to refer to itself as a “U.S.

pharmaceutical manufacturer[]” in its SEC filings.

        1242. The plc’s SEC filings also defined references to “we, our, us, the Company or

Actavis [to] refer to [the] financial information” of Actavis, Inc. for the period of time



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immediately before the creation of The plc, and defined such references to refer to The plc after

its creation.

        1243. Moreover, despite transitioning from Actavis, Inc. to Allergan, the Company’s

administrative headquarters and executives, and the substantial majority of its workforce,

remained the same. Actavis, Inc.’s U.S. headquarters had been at Morris Corporate Center III,

400 Interpace Parkway, Parsippany, New Jersey; The plc’s “administrative headquarters”

continued to be located in precisely the same place.

        1244. That’s because The plc was created to reduce the U.S. corporate income tax paid

by Actavis, Inc. As described in a Fortune article titled, with aptly placed scare quotes,

“Actavis: The latest Fortune 500 company to ‘leave’ the U.S. for tax reasons,” none of Actavis,

Inc.’s employees moved to Ireland. In fact, approximately 1,300 employees worked at The plc’s

administrative headquarters in New Jersey.

        1245. Indeed, the executive management of Actavis, Inc. merely rolled over and became

the executive management of the newly created plc. The plc “retained all of Actavis, Inc.’s

officers in the same positions.”

        1246. And The plc maintained the “same website as Actavis, Inc.”

        1247. Allergan corporate structure spread Actavis Inc.’s functions among several

internal successors, including Allergan Finance LLC, that then shared power and responsibility.

In fact, Actavis, Inc.’s responsibilities were divided between several successors, including

Allergan Finance, LLC, The plc, and Allergan Sales, LLC.

        1248. Allergan Sales, LLC employed all of The plc’s officers, paying those individuals

to run “executive management,” “strategic direction” and “General and Administrative Services”




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on behalf of the entire conglomerate from California. The Irvine facility has been the site of the

majority of The plc’s branded drug research and development.

        1249. The plc, in turn, succeeded Actavis, Inc. as the primary deal-making decision

maker for its subsidiaries. For example, when Teva purchased the generic opioid portfolio, The

plc reached down into and through various subsidiaries to select the particular assets to sell. In

return, Teva paid (and then indemnified) The plc, not Allergan Finance, LLC, against liability in

opioids cases.

        1250. The plc is the executive center of the corporation, and it follows in the footsteps

of Actavis, Inc. in that regard.

        1251. Last, The plc has expressly and impliedly assumed the liability of numerous

defendants in this action. The plc expressly and impliedly adopted liability for Actavis, Inc.’s

debts and liabilities. In The plc’s 2013 annual report, The plc stated it has “provided a full and

unconditional guarantee of Actavis, Inc.’s obligations” for $4.7 billion of debt, extending out to

as far as 2042.

        1252. Further, the indemnification agreement between it and Teva implies The plc’s

acknowledgment that it may be found liable for the actions of its former generic subsidiaries that

were sold to Teva in 2016 for $33.4 billion in cash and about $5.4 billion in Teva stock.

Included in that sale was The plc’s generic opioid business – at the time, it was the second

largest manufacturer of generic opioids in the United States. In 2018, The plc and Teva entered

into a contract whereby Teva agreed to indemnify The plc for claims in opioid litigation related

to the generic opioids it sold to Teva. The existence of such a provision implies that The plc

acknowledges potential liability for actions related to its former generic opioid business in

actions such as this one.




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       B.        Teva Ltd. Is Subject to Jurisdiction as a Successor to Cephalon and the
                 Actavis Generic Entities

       1253. The acts carried out by Teva USA, Cephalon, and the Actavis Generic Entities

directed at Louisiana—the marketing and sale of opioids in Louisiana, including

misrepresentations to Louisiana providers, and failure to comply with the federal Controlled

Substances Acts and Louisiana law for suspicious orders placed by its Louisiana-based

customers—are properly attributable to Teva Ltd. via a successor-in-interest theory.

       1254. Teva Ltd. effectively assumed the liabilities of Cephalon and the Actavis Generic

Entities via merger and continuation.

       1255. Teva Ltd. acquired Cephalon in 2011 for $6.5 billion as the result of a merger

between Cephalon and Teva Ltd. “Teva Pharmaceuticals Industries Ltd. . . . announced today

that it had completed its acquisition of Cephalon, Inc. . . . Pursuant to the merger agreement

between the parties, each share of Cephalon common stock has been converted into the right to

receive $81.50 in cash.”

       1256. Cephalon sold brand opioids (Fentora and Actiq) at the time of the merger with

Teva Ltd., and Teva USA continued to manufacture, sell, and distribute these opioids after the

merger. In addition, Teva USA has operated a combined SOM program.

       1257. Separately, Teva Ltd.’s Board approved the Master Purchase and Stockholder

Agreement with Allergan plc to acquire the “Actavis Generics business” in August 2016 for

$40.5 billion.

       1258. On January 31, 2018, Teva Ltd. and Allergan plc agreed to a Settlement

Agreement & Mutual Release. The Settlement Agreement states that: “Teva shall be responsible

for the defense of Third-Party Claims involving opioid drugs to the extent such Third-Party

Claims are based upon generic opioid drugs that are Products.”



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        1259. Here, Teva Ltd. acquired the Actavis Generic Entities and absorbed them into

Teva Ltd.’s global operations and assumed their liability in the opioid litigation.

        1260. Further, Teva Ltd. has previously and expressly stepped in and assumed the

liabilities of its U.S. subsidiaries for other misconduct. For example, in an action by the Federal

Trade Commission against Cephalon in 2015, Teva Ltd. agreed to submit to personal jurisdiction

of the district court and its order to pay $1.2 billion in monetary relief.

        1261. Teva Ltd. is subject to jurisdiction through its predecessors because with

Cephalon, it entered into a “Merger Agreement” approved by its Board, and with the Actavis

Generic Entities, it acquired them from Allergan plc in 201 and agreed to indemnify Allergan plc

for the liabilities those entities.

        1262. All of these U.S. subsidiaries were sellers of opioids in the United States,

including in Louisiana, and after each merger or acquisition, Teva Ltd. took over the

uninterrupted sale of their opioid products and absorbed them into Teva Ltd.’s global operations.

             ADDITIONAL FACTS PERTAINING TO CLAIMS UNDER RICO

I.      The Opioid Enterprise

        1263. All Defendants joined together to form an association-in-fact enterprise (the

“Opioid Enterprise”) for the common purpose of increasing and maintaining sales of prescription

opioids for the financial gain of the members of the Opioid Enterprise.

        1264. Through their personal relationships, contractual relationships, and participation

in groups like the PCF, HDA, NACDS, NWDA, and PCMA, and through their use of the same

Front Groups and KOLs, Defendants had the opportunity to form relationships and agreements,

and to take actions in furtherance of the Opioid Enterprise’s common purpose.

        1265. The “closed system” created by the CSA for the manufacture, distribution, and

dispensing of controlled substances facilitated the creation of the Opioid Enterprise and the


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coordination between and among its members. Manufacturers, who were registrants under the

CSA, could sell only to distributors and dispensers who were also registrants. Distributors, in

turn, could sell only to dispensers who were also registrants. This “closed system” ensured a

finite universe of participants as well as common regulatory oversight, which allowed

Defendants to form their association-in-fact and develop common “standards” and approaches, in

which they would all work to maintain for the common purpose of increasing the sales of

prescription opioids for their collective profit.

        1266. Defendants did not merely work separately or in parallel to accomplish their

common purpose. Rather, Defendants recognized and understood that they needed to work

together to subvert the limits placed on opioids as controlled substances in order to accomplish

their goal of increasing opioid sales. Only through cooperative and coordinated actions could

Defendants change the paradigm for opioid prescribing and ensure that their failures to provide

effective controls against diversion would not be detected by others.

        1267. As alleged more fully below, each category of Defendants took actions to grow

the market for prescription opioids and allowed every entity in the Opioid Enterprise to continue

amassing profits. The Defendant members of the enterprise played different roles in bringing

about their common purpose. Specifically:

                a.      Manufacturer Defendants: Manufacturer Defendants, working with

Pharmacy and the PBM Defendants, engaged in a massive marketing campaign to promote

prescription opioids as a class of drugs in order to increase the frequency and amount of opioid

prescribing. Were it not for their marketing campaign, coordinated through their trade

associations, Front Groups, and KOLs, the common purpose of the Opioid Enterprise could not

have been fulfilled. Manufacturer Defendants also coordinated with the other Defendants




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regarding their common failure to identify, report, and halt suspicious orders of opioids, in order

to ensure that controls against diversion did not interfere with increasing sales of prescription

opioids.

               b.      PBM Defendants: PBM Defendants worked together with the

Manufacturer Defendants to affirmatively increase opioid prescribing, including using their

influence to get health plans to limit restrictions on prescribing opioids, in order to maximize

rebates and other benefits to the PBMs’ profits. PBM Defendants also participated in the

distribution of misinformation about the safety and efficacy of opioids in chronic pain treatment

and the risks of opioid addiction.

               c.      Pharmacy Defendants: Pharmacy Defendants worked with Manufacturer

and the PBM Defendants to promote prescription opioids as a class of drugs in order to increase

the frequency and amount of opioid prescribing. They also coordinated with other Defendants

through their trade associations to ensure a common course of conduct with respect to the

identification, reporting, and halting of suspicious orders (on the distribution side), and the

treatment of red flag prescriptions (on the dispensing side).

       1268. There was regular communication between and among the Defendants in which

information was shared, marketing campaigns were coordinated, and payments were exchanged.

Typically, the coordination, communication, and payment occurred through the repeated and

continuing use of the wires and mail, in which the Defendants shared information regarding

overcoming objections and resistance to the use of opioids for chronic pain about suspicious

orders, illegitimate prescriptions, and payments for prescription opioid sales. The Defendants

functioned as a continuing unit for the purpose of accomplishing the Opioid Enterprise’s




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common purpose, and each Defendant agreed and took actions to accomplish those purposes and

continue the enterprise’s existence

II.    Defendants Conducted the Opioid Enterprise’s Affairs Through a Pattern of
       Racketeering Activity

       1269. Defendants used the Opioid Enterprise to perpetrate two unlawful schemes: the

Opioid Marketing Scheme, and the Opioid Diversion Scheme. Through the Opioid Marketing

Scheme, the Marketing Defendants fraudulently promoted prescription opioids, disseminating

the misrepresentations and omissions described above. Through the Opioid Diversion Scheme,

all Defendants acted to evade the diversion controls on opioids sales, distribution, and dispensing

required by the CSA, and fraudulently to portray themselves as being in compliance with the

law. In perpetrating the Opioid Marketing Scheme and the Opioid Diversion Scheme,

Defendants used fraudulent and unlawful means to accomplish the purpose of the Opioid

Enterprise to increase sales of prescription opioids in order to extract greater profits for the

members of the Opioid Enterprise.

       1270. As public scrutiny and media coverage focused on how opioids ravaged

communities in Oklahoma and throughout the United States, no member of the Opioid Enterprise

challenged or corrected misrepresentations, sought to correct their previous misrepresentations,

terminated their role in the Opioid Enterprise, reported suspicious orders, refused illegitimate

prescriptions, or publicly disclosed their conduct or participation in the Opioid Enterprise.

       1271. The impact of the Opioid Enterprise’s schemes has been devastating, the effects

of which remain felt throughout the country, injuring Plaintiffs in their business, causing

economic loss, and consuming Plaintiffs’ resources.

       1272. As a result, it is clear that the Defendants were willing participants in one or both

of the Opioid Marketing Scheme and the Opioid Diversion Scheme, and the Defendants had a



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common purpose and interest in the objects of the schemes, and functioned within a structure

designed to effectuate the Opioid Enterprise’s common purpose.

       1273. In order to carry out the Opioid Marketing and Diversion Schemes, each

Defendant conducted and participated in the conduct of the Opioid Enterprise through a

continuing pattern of racketeering activity. Predicate acts making up this pattern included mail

fraud, wire fraud, and felonious violation of the CSA and Code of Federal Regulations (CFR).

The Marketing Defendants used the mail and wire facilities of the United States in order to

effectuate the campaign of fraudulent misrepresentations and omissions that constituted the

Opioid Marketing Scheme. All Defendants used the mail and wire facilities of the United States

in order to effectuate their scheme to evade the diversion controls required by the CSA.

Defendants also violated the CSA in failing to comply with their obligations to provide effective

controls against diversion. Defendants’ felony violations involved multiple violations of the

CSA and CFR that may be punishable as felonies as alleged below. All told, Defendants

engaged in thousands of instances of mail fraud, wire fraud, and felony violation of the CSA and

CFR.

       1274. The Defendants’ predicate acts constituted a variety of unlawful activities, each of

which was conducted with the common purpose of obtaining significant monies and revenues

from the manufacture, distribution, and dispensing of prescription opioids. The predicate acts

also had the same or similar results, participants, victims, and methods of commission. The

predicate acts were related and not isolated events.

       1275. The predicate acts all had the purpose of contributing to the oversupply that

substantially injured Plaintiffs’ business and property, while simultaneously generating billion-




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dollar revenue and profits for the Defendants. The predicate acts were committed or caused to

be committed by the Defendants through their participation in the Opioid Enterprise.

       1276. Each instance of racketeering activity alleged herein was related, had similar

purposes, and involved the same or similar participants and methods of commission. The

Defendants calculated and intentionally crafted their schemes to increase and maintain profits

from unlawful sales of opioids, without regard to the effect such behavior would have on

Plaintiffs and their plan participants and beneficiaries.

       1277. Indeed, as alleged elsewhere in this Complaint, Defendants were aware that their

sought-after increases in opioid prescribing would be paid for by TPPs including Plaintiffs.

Extracting money from TPPs was, in fact, the goal of the Opioid Enterprise, and of two schemes

Defendants perpetrated through it, as TPP payments were the primary source of funds to pay for

the volume of opioids that Defendants sought to sell.

       A.      The Opioid Marketing Scheme

       1278. In order to unlawfully increase the demand for opioids, the Marketing Defendants

perpetrated a scheme (the “Opioid Marketing Scheme”) with each other, with the PBM

Defendants, Front Groups, and KOLs described above, and with certain unwitting participants.

Through their personal relationships, participants in the Opioid Marketing Scheme had the

opportunity to form and take actions in furtherance of the Opioid Enterprise’s common purpose.

The Marketing Defendants’ substantial financial contributions as part of the Opioid Marketing

Scheme, the contractual relationships between and among Manufacturer and Major PBM

participants in the scheme to promote opioids, and the collective advancement of misleading

opioid-friendly messaging together fueled the U.S. opioids epidemic.

       1279. The Marketing Defendants’ Opioid Marketing Scheme concealed the true risks

and dangers of opioids from the medical community and the public, including Plaintiffs, and


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made misleading statements and misrepresentations about opioids that downplayed the risk of

addiction and exaggerated the benefits of opioid use. The misleading statements included, inter

alia: (a) that addiction is rare among patients taking opioids for pain; (b) that addiction risk can

be effectively managed; (c) that symptoms of addiction exhibited by opioid patients are actually

symptoms of an invented condition the Marketing Defendants named “pseudoaddiction”; (d) that

withdrawal is easily managed; (e) that increased dosing present no significant risks; (f) that long-

term use of opioids improves function; and (g) that the risks of alternative forms of pain

treatment are greater than the adverse effects of opioids.

       1280. The Opioid Marketing Scheme devised, implemented, and conducted by the

Marketing Defendants was designed to ensure that the Marketing Defendants were able to

unlawfully increase their sales and profits through concealment and misrepresentations about the

addictive nature and effective use of the Manufacturer Defendants’ drugs. The Marketing

Defendants, PBM Defendants, Front Groups, KOLs, and others acted together for the common

purpose of increasing opioid sales and perpetrated the Opioid Marketing Scheme.

       1281. At all relevant times, the Front Groups were aware of the Marketing Defendants’

conduct and were knowing and willing participants in and beneficiaries of that conduct. Each

Front Group also knew, but did not disclose, that the other Front Groups were engaged in the

same scheme, to the detriment of consumers, prescribers, and TPPs, including Plaintiffs. But for

the Opioid Marketing Scheme, the Front Groups would have had incentive to disclose the deceit

by the Marketing Defendants to their members and constituents. By failing to disclose this

information, Front Groups perpetuated the Opioid Marketing Scheme and reaped substantial

benefits.




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       1282. At all relevant times, the KOLs were aware of the Marketing Defendants’

conduct, were knowing and willing participants in that conduct, and reaped benefits from that

conduct. The Manufacturer Defendants selected KOLs solely because they favored the

aggressive treatment of chronic pain with opioids. The Manufacturer Defendants’ support

helped the KOLs become respected industry experts. And, as they rose to prominence, the KOLs

falsely touted the benefits of using opioids to treat chronic pain, repaying the Manufacturer

Defendants by advancing their marketing goals. The KOLs also knew, but did not disclose, that

the other KOLS and Front Groups were engaged in the same scheme, to the detriment of

consumers, prescribers, and TPPs, including Plaintiffs. But for the Opioid Marketing Scheme,

the KOLs would have had incentive to disclose the deceit by the Manufacturer Defendants, and

to protect their patients and the patients of other physicians. By failing to disclose this

information, KOLs furthered the Opioid Marketing Scheme and common purpose, and reaped

substantial benefits.

       1283. The Marketing Defendants, PBM Defendants, Front Groups, and KOLs engaged

in certain discrete categories of activities in furtherance of the Opioid Marketing Scheme. Those

activities involved: (1) misrepresentations regarding the risk of addiction and safe use of

prescription opioids for long-term chronic pain (described in detail above); (2) lobbying to defeat

measures to restrict over-prescription; (3) efforts to criticize or undermine CDC guidelines;

(4) efforts to limit prescriber accountability; (5) devising and executing plans to increase opioid

use and sales, and circumvent CDC guidelines in doing so; (6) efforts to ensure that no UM

would be placed on prescription opioids and that no Manufacturer Defendants’ prescription

opioids would be disadvantaged against any others; and (7) ensure that prescriptions from

Marketing Defendants’ mail-order pharmacies would be dispensed without any interruption.




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       1284. In addition to disseminating misrepresentations about the risks and benefits of

opioids, the Opioid Marketing Scheme also functioned to criticize or undermine the CDC

Guideline. Members of the Opioid Enterprise criticized or undermined the CDC Guideline,

which represented “an important step—and perhaps the first major step from the federal

government—toward limiting opioid prescriptions for chronic pain.”

       1285. Several Front Groups, including the USPF and the AAPM, criticized the draft

CDC guidelines in 2015, arguing that the “CDC slides presented on Wednesday were not

transparent relative to process and failed to disclose the names, affiliation, and conflicts of

interest of the individuals who participated in the construction of these guidelines.”

       1286. The AAPM criticized the prescribing guidelines in 2016, through its immediate

past president, stating “that the CDC guideline makes disproportionately strong

recommendations based upon a narrowly selected portion of the available clinical evidence.”

       1287. The Marketing Defendants alone could not have accomplished the Opioid

Marketing Scheme without the assistance of the PBM Defendants, Front Groups, and KOLs,

whose messaging and/or marketing activities were perceived as “neutral” and more “scientific”

than the Marketing Defendants themselves. Without the work of the Front Groups and KOLs,

the Opioid Marketing Scheme could not have been achieved.

               1.      The Marketing Defendants’ Conduct in the Opioid Marketing Scheme

       1288. From approximately the late 1990s to the present, each of the Marketing

Defendants exerted control over the Opioid Enterprise, participated in the operation or

management of the affairs of the Opioid Enterprise, directly or indirectly, and worked towards

achieving the Opioid Marketing Scheme in the following ways:

               a.      Creating and providing a body of deceptive, misleading and unsupported

medical and popular literature about opioids that (i) understated the risks and overstated the


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benefits of long-term use; (ii) appeared to be the result of independent, objective research; and

(iii) was thus more likely to be relied upon by physicians, patients, and payors;

               b.      Implementing various joint programs (between and among Marketing

Defendants and PBM Defendants) with the goal of spreading deceptive, misleading, and

unsupported messaging about the use of opioids to treat chronic pain and the risks of opioid

addiction;

               c.      Through information obtained pursuant to their contractual relationships

(between and among Marketing Defendants and PBM Defendants), identifying and targeting the

highest opioid prescribers with deceptive, misleading, and unsupported marketing material about

the use of opioids to treat chronic pain and the risks of opioid addiction;

               d.      Creating and providing a body of deceptive, misleading and unsupported

electronic and print advertisements about opioids that (i) understated the risks and overstated the

benefits of long-term use; (ii) appeared to be the result of independent, objective research; and

(iii) was thus more likely to be relied upon by physicians, patients, and payors;

               e.      Creating and providing a body of deceptive, misleading and unsupported

sales and promotional training materials about opioids that (i) understated the risks and

overstated the benefits of long-term use; (ii) appeared to be the result of independent, objective

research; and (iii) was thus more likely to be relied upon by physicians, patients, and payors;

               f.      Creating and providing a body of deceptive, misleading and unsupported

CMEs and speaker presentations about opioids that (i) understated the risks and overstated the

benefits of long-term use; (ii) appeared to be the result of independent, objective research; and

(iii) was thus more likely to be relied upon by physicians, patients, and payors;




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               g.      Selecting, cultivating, promoting and paying KOLs based solely on their

willingness to communicate and distribute the Manufacturer Defendants’ messages about the use

of opioids for chronic pain;

               h.      Providing substantial opportunities for KOLs to participate in research

studies on topics the Manufacturer Defendants suggested or chose, with the predictable effect of

ensuring that many favorable studies appeared in the academic literature;

               i.      Paying KOLs to serve as consultants or on the Manufacturer Defendants’

advisory boards, on the advisory boards and in leadership positions on Front Groups, and to give

talks or present CMEs, typically over meals or at conferences;

               j.      Selecting, cultivating, promoting, creating, and paying Front Groups based

solely on their willingness to communicate and distribute the Manufacturer Defendants’

messages about the use of opioids for chronic pain;

               k.      Providing substantial opportunities for Front Groups to participate in

and/or publish research studies on topics the Manufacturer Defendants suggested or chose (and

paid for) with the predictable effect of ensuring that many favorable studies appeared in the

academic literature;

               l.      Paying significant amounts of money to the leaders and individuals

associated with Front Groups;

               m.      Donating to Front Groups to support talks or CMEs that were typically

presented over meals or at conferences;

               n.      Disseminating many of their false, misleading, imbalanced, and

unsupported statements through unbranded materials that appeared to be independent

publications from Front Groups;




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                o.      Sponsoring CME programs put on by Front Groups that focused

exclusively on the use of opioids for chronic pain;

                p.      Developing and disseminating pro-opioid treatment guidelines with the

help of KOLs as authors and promoters and Front Groups as publishers and supporters;

                q.      Encouraging Front Groups to disseminate their pro-opioid messages to

patient groups targeted by the Marketing Defendants, such as veterans and the elderly, and then

funding that dissemination;

                r.      Identifying high prescribers of opioids and disseminating marketing

materials to those prescribers, and then funding that dissemination;

                s.      Concealing their contractual and interpersonal relationships (between and

among the Marketing Defendants and PBM Defendants) from the Plaintiffs and the public at

large;

                t.      Concealing their relationship to and control of Front Groups and KOLs

from Plaintiffs and the public at large;

                u.      Intending that Front Groups and KOLs would distribute through the U.S.

mail and interstate wire facilities, promotional and other materials that claimed opioids could be

safely used for chronic pain, and causing such materials to be distributed through the U.S. mail

and interstate wire facilities;

                v.      Communicating misrepresentations and pro-opioid messages to

prescribers and pharmacies; and

                w.      Filling prescriptions without any interruption, including prescription that

raised red flags about which pharmacists had conducted no due diligence.




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       1289. The Opioid Enterprise members, to achieve the Opioid Marketing Scheme, had a

hierarchical decision-making structure that was headed by the Marketing Defendants and

corroborated by the PBM Defendants, KOLs, and Front Groups. The Marketing Defendants

controlled representations made about prescription opioids and worked together to conduct

research using the PBM Defendants’ data, doled out funds to PBM Defendants and payments to

KOLs, and ensured that representations made by PBM Defendants, KOLs, Front Groups, and the

Marketing Defendants’ sales detailers were consistent with the Marketing Defendants’

messaging throughout the United States and Oklahoma. As described above, the PBM

Defendants were dependent on the other Marketing Defendants for a significant amount of

revenue received as a result of their collaboration. The PBM Defendants, Front Groups, and

KOLs in the Opioid Enterprise depended on the Marketing Defendants for their financial

structure and for career development and promotion opportunities.

       1290. The Front Groups also conducted and participated in the Opioid Marketing

Scheme, directly or indirectly, in the following ways:

               a.       The Front Groups promised to, and did, make representations regarding

opioids and the Manufacturer Defendants’ drugs that were consistent with the Marketing

Defendants’ messages;

               b.       The Front Groups distributed, through the U.S. mail and interstate wire

facilities, promotional and other materials which claimed that opioids could be safely used for

chronic pain without addiction, and misrepresented the benefits of using opioids for chronic pain

outweighed the risks;

               c.       The Front Groups echoed and amplified messages favorable to increased

opioid use and, ultimately, the financial interests of the Marketing Defendants;




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                 d.      The Front Groups issued guidelines and policies minimizing the risk of

opioid addiction and promoting opioids for chronic pain;

                 e.      The Front Groups strongly criticized the 2016 guidelines from the CDC

that recommended limits on opioid prescriptions for chronic pain; and

                 f.      The Front Groups concealed their connections to the KOLs and the

Marketing Defendants.

          1291. The Marketing Defendants’ Front Groups, “with their large numbers and

credibility with policymakers and the public – have ‘extensive influence in specific disease

areas.’” The larger Front Groups “likely have a substantial effect on policies relevant to their

industry sponsors.”187 “By aligning medical culture with industry goals in this way, many of the

groups described in this report may have played a significant role in creating the necessary

conditions for the U.S. opioid epidemic.”188

                 a.      The KOLs also participated in the Opioid Marketing Scheme, directly or

indirectly, in the following ways:

                 b.      The KOLs promised to, and did, make representations regarding opioids

and the Manufacturer Defendants’ drugs that were consistent with the Marketing Defendants’

messages themselves;

                 c.      The KOLs distributed, through the U.S. mail and interstate wire facilities,

promotional and other materials which claimed that opioids could be safely used for chronic pain

without addiction, and misrepresented the benefits of using opioids for chronic pain outweighed

the risks;




187
      Fueling an Epidemic, supra note 60, at 1.
188
      Id. at 2.


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               d.     The KOLs echoed and amplified messages favorable to increased opioid

use and, ultimately, the financial interests of the Marketing Defendants;

               e.     The KOLs issued guidelines and policies minimizing the risk of opioid

addiction and promoting opioids for chronic pain;

               f.     The KOLs strongly criticized the 2016 guidelines from the CDC that

recommended limits on opioid prescriptions for chronic pain; and

               g.     The KOLs concealed their connections to the Front Groups and the

Marketing Defendants, and their sponsorship by the Marketing Defendants.

       1292. The Opioid Marketing Scheme, devised and implemented by the Marketing

Defendants and members of the Opioid Enterprise, amounted to a common course of conduct

intended to increase the Marketing Defendants’ sales from prescription opioids by encouraging

the prescribing and use of opioids for long-term chronic pain. The scheme was a continuing

course of conduct, and many aspects of it continue through to the present.

       1293. The Marketing Defendants worked together with each other through the PBM

Defendants to achieve the Opioid Marketing Scheme.

       1294. As discussed in detail above, various Front Groups, including APF, AAPM/APS,

FSMB, APA, USPF, and AGS, were funded and controlled by Marketing Defendants. The Front

Groups, which appeared to be independent, but were not, transmitted Marketing Defendants’

misrepresentations and joint promotional materials. The Front Groups thus worked together with

Marketing Defendants to perpetrate the Opioid Marketing Scheme.

       1295. The Marketing Defendants worked together with each other through the PBM

Defendants, Front Groups, and KOLs to actualize the Opioid Enterprise’s goals.




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       1296. Similarly, as discussed in detail above, KOLs, including Drs. Portenoy, Fine,

Fishman, and Webster, were paid by Manufacturer Defendants to spread their misrepresentations

and promote their products. Manufacturer Defendants and KOLs thus worked together to

perpetrate the Opioid Marketing Scheme.

               2.      In Carrying out the Opioid Marketing Scheme, the Marketing
                       Defendants Engaged in a Pattern of Racketeering Activity

       1297. The Opioid Marketing Scheme described herein was perpetrated, in part, through

multiple acts of mail fraud and wire fraud, constituting a pattern of racketeering activity as

described herein.

       1298. The pattern of racketeering activity used by the Marketing Defendants in the

Opioid Marketing Scheme likely involved thousands of separate instances of the use of the U.S.

mail or interstate wire facilities in furtherance of the unlawful Opioid Enterprise, These mailings

and interstate wire transmissions included essentially uniform misrepresentations, concealments

and material omissions regarding the beneficial uses and non-addictive qualities for the long-

term treatment of chronic, non-acute and non-cancer pain, with the goal of profiting from

increased sales of the Marketing Defendants’ drugs induced by consumers, prescribers,

regulators, and Plaintiffs’ reliance on the Marketing Defendants’ misrepresentations.

       1299. Each of these fraudulent mailings and interstate wire transmissions constitutes

racketeering activity, and, collectively, these violations constitute a pattern of racketeering

activity, through which the Marketing Defendants, in conjunction with the PBM Defendants,

Front Groups, and KOLs, defrauded and intended to defraud Oklahoma consumers, Plaintiffs,

and other intended victims.

       1300. The Marketing Defendants devised and knowingly carried out an illegal scheme

and artifice to defraud by means of materially false or fraudulent pretenses, representations,



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promises, or omissions of material facts regarding the safe, non-addictive, and effective use of

opioids for long-term chronic, non-acute, and non-cancer pain. The Marketing Defendants and

members of the Opioid Enterprise knew that these representations violated the FDA-approved

use of these drugs, and were not supported by actual evidence. The Marketing Defendants

intended that the Opioid Marketing Scheme to defraud would, and did, use the U.S. mail and

interstate wire facilities, intentionally and knowingly with the specific intent to advance, and for

the purpose of executing, their illegal scheme.

       1301. By intentionally concealing the material risks and affirmatively misrepresenting

the benefits of using opioids for chronic pain to prescribers, regulators, and the public, including

Plaintiffs, the Marketing Defendants, PBM Defendants, Front Groups, and KOLs engaged in a

fraudulent and unlawful course of conduct constituting a pattern of racketeering activity.

       1302. The Marketing Defendants’ use of the U.S. mail and interstate wire facilities to

perpetrate the opioids marketing scheme involved thousands of communications, publications,

representations, statements, electronic transmissions, and payments, including:

               a.      Marketing materials about opioids, and their risks and benefits, which the

Marketing Defendants sent to health care providers and pharmacies, transmitted through the

internet and television, published, and transmitted to PBM Defendants, Front Groups, and KOLs

located across the country and the United States;

               b.      Written representations and telephone calls between the Marketing

Defendants and Front Groups regarding the misrepresentations, marketing statements, and claims

about opioids, including the non-addictive, safe use of chronic long-term pain generally;

               c.      Written representations and telephone calls between the Marketing

Defendants, PBM Defendants, Front Groups, and/or KOLs regarding the misrepresentations,




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marketing statements, and claims about opioids, including the non-addictive, safe use of chronic

long-term pain generally;

               d.     E-mails, telephone, and written communications between the Marketing

Defendants, PBM Defendants, Front Groups, and/or KOLs, agreeing to or implementing the

opioids marketing scheme;

               e.     E-mails, telephone, and written communications between the Marketing

Defendants, PBM Defendants, Front Groups, and/or KOLs, agreeing to or implementing the

opioids marketing scheme;

               f.     Contracts between PBM Defendants and the Marketing Defendants,

setting out aspects of their collaboration as part of the Opioid Marketing Scheme;

               g.     Communications between the Marketing Defendants and/or Front Groups

and the media regarding publication, drafting of treatment guidelines, and the dissemination of

the same as part of the Opioid Marketing Scheme;

               h.     Communications between the Marketing Defendants and/or KOLs and the

media regarding publication, drafting of treatment guidelines, and the dissemination of the same

as part of the Opioid Marketing Scheme;

               i.     Written and oral communications directed to State agencies, federal and

state courts, and private insurers throughout Oklahoma that fraudulently misrepresented the risks

and benefits of using opioids for chronic pain; and

               j.     Receipts of increased profits sent through the U.S. mail and interstate wire

facilities – the wrongful proceeds of the scheme.

       1303. In addition to the above-referenced predicate acts, it was intended by and

foreseeable to the Marketing Defendants that misrepresentations would be published throughout




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the U.S. mail and by interstate wire facilities and, in those publications, claim that the benefits of

using opioids for chronic pain outweighed the risks of doing so.

       1304. To achieve the common goal and purpose of the Opioid Enterprise, the Marketing

Defendants and members of the Opioid Enterprise hid from the consumers, prescribers,

regulators, and Plaintiff: (a) the fraudulent nature of the Opioid Marketing Scheme; (b) the

fraudulent nature of statements made by the Marketing Defendants, and by PBM Defendants,

KOLs, Front Groups, and other third parties regarding the safety and efficacy of prescription

opioids; and (c) the true nature of the relationship between and among the members of the

Opioid Enterprise.

       1305. The Marketing Defendants and each member of the Opioid Enterprise agreed,

with knowledge and intent, to the overall objective of the Opioid Marketing Scheme, and they

participated in the common course of conduct to commit acts of fraud and indecency in

marketing prescription opioids.

       1306. Indeed, for the Marketing Defendants’ fraudulent scheme to work, each of them

had to agree to implement similar tactics regarding fraudulent marketing of prescription opioids.

This conclusion is supported by the fact that the Manufacturer Defendants each financed,

supported, and worked through the same PBM Defendants, KOLs, and Front Groups, and the

Marketing Defendants collaborated on and mutually supported the same publications, CMEs,

presentations, and prescription guidelines.

       1307. The Marketing Defendants’ predicate acts all had the purpose of fraudulently

increasing the opioid market, by, inter alia, increasing the number of opioid prescriptions. This

scheme generated billion-dollar revenue and profits for the Marketing Defendants at the expense

of Plaintiffs and other TPPs, who paid for the excess opioids and related costs, and were the




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known and intended victims of the scheme. The predicate acts were committed or caused to be

committed by the Marketing Defendants through their participation in the Opioid Enterprise and

in furtherance of its fraudulent Opioid Marketing Scheme.

       B.      The Opioid Diversion Scheme

       1308. For more than a decade, the Defendants worked together in the Opioid Enterprise

to achieve the Opioid Diversion Scheme—conduct that was not only illegal, but in certain

respects anti-competitive, with the common purpose and achievement of vastly increasing their

respective profits and revenues by exponentially expanding a market for prescription opioids that

the law intended to restrict. The Defendants include three groups of entities: the Manufacturer

Defendants189 the Pharmacy Defendants,190 and the PBM Defendants.

       1309. Knowing that dangerous drugs have a limited place in our society, and that their

dissemination and use must be vigilantly monitored and policed to prevent the harm that drug

abuse and addiction causes to individuals, society and governments, Congress enacted the CSA.

Specifically, through the CSA, which created a closed system for controlled substances,

Congress established an enterprise for good. The CSA imposes a reporting duty that cuts across

company lines. Thus, regulations adopted under the CSA require that companies who are

entrusted with permission to operate within this system cannot simply operate in an “anything

goes” profit-maximizing market. Instead, the statute tasks them to watch over each other with a

careful eye for suspicious activity. Driven by greed, Defendants betrayed that trust and

subverted the constraints of the CSA’s closed system to conduct the enterprise to seek

illegitimate profit at the expense of Plaintiffs and other TPPs.


189
    Manufacturer Defendants include Purdue, Cephalon, Janssen, Endo, Mallinckrodt, and
Allergan.
190
    Pharmacy Defendants include CVS, Walgreens, and Walmart as both pharmacies and
distributors.


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               1.      The Defendants’ Conduct in the Opioid Diversion Scheme

       1310. As registrants under the CSA, the Manufacturer Defendants, Independent

Distributors, and Pharmacy Defendants are duty bound to identify and report “orders of unusual

size, orders deviating substantially from a normal pattern, and orders of unusual frequency.”191

Critically, these Defendants’ responsibilities do not end with the products they manufacture or

distribute—there is no such limitation in the law because their duties cut across company lines.

Thus, when these Defendants obtain information about the sales and distribution of other

companies’ opioid products, as they did through data mining companies like IMS Health, they

were legally obligated to report that activity to the DEA.

       1311. As registrants under the CSA, the Pharmacy Defendants are obligated to ensure

that they only dispense “to the extent authorized by their registration and in conformity with the

[CSA].192 Each of the Pharmacy Defendants registered their pharmacies with the DEA to

dispense Schedule II-V controlled substances. These DEA registrations authorized the Pharmacy

Defendants’ pharmacies to dispense controlled substance, which means “to deliver a controlled

substance to an ultimate user . . . by, or pursuant to the lawful order of, a practitioner.”193 The

CSA and Federal Regulations necessarily require pharmacies to investigate and perform due

diligence on prescriptions before filling them, especially if they raise red flags. Prescriptions for

which red flags cannot be resolved must be rejected.

       1312. The PBM Defendants were also part of the Opioid Diversion Scheme. In addition

to their role in the Opioid Marketing Scheme, the PBM Defendants have and have had



191
    21 C.F.R. § 1301.74(b).
192
    21 U.S.C. § 822(b).
193
    21 U.S.C. § 802(10); 21 U.S.C. § 829(a)-(b) (stating no Schedule II, III or IV drug may be
dispensed without the written prescription of a practitioner, and that no Schedule V drug may be
dispensed other than for a medical purpose); accord 21 U.S.C. § 823(f).


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contractual relationships with and control dispensing at their in-network pharmacies: They

install software on the in-network pharmacies’ computers that purports to provide information as

to when pharmacists should approve, reject, and/or conduct due diligence about prescriptions

submitted to them. The PBM Defendants also operate mail-order pharmacies which, like the

retail pharmacies of the Pharmacy Defendants, are under obligations to only fill prescriptions

that are issued pursuant to a lawful order of a practitioner.

        1313. Competition dictates that the Defendants would turn in their rivals when they had

reason to suspect and/or learned about fraudulent statements made to the DEA, suspicious

activity and/or ordering, or the filling of illegitimate prescriptions. Indeed, if any participant in

the Opioid Diversion Scheme could gain market share or profit by reporting a competitor’s

illegal behavior (causing it to lose a license to operate, or otherwise inhibit its activity), ordinary

business conduct dictates that it would do so. Unfortunately, however, that is not what

happened. Instead, knowing that investigations and DEA enforcement would only lead to

shrinking quotas and decreasing sales, the Defendants perpetrated a scheme that was designed to

have the opposite goal of the CSA. Instead of carefully monitoring and potentially limiting the

manufacture, distribution, and dispensing of controlled substances, the Defendants manufactured

and distributed in disregard of suspicious activity, and dispensed opioids pursuant to illegitimate

prescriptions and without conducting the requisite due diligence on red flags.

        1314. The Defendants’ scheme required the participation of all. If any one Defendant

broke rank, its compliance activities would highlight deficiencies of the others and derail the

goal of increasing and maintaining high quotas so that each member of the Opioid Enterprise

could continue to profit from increased sales within their business line. But, if all the members

of the enterprise conducted themselves in the ways described above, including with conduct that




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achieved nearly identical results within business lines (i.e., all Manufacturer Defendants,

Pharmacy Defendants, and Independent Distributors refusing to report suspicious orders, and

Pharmacy Defendants filling red-flagged prescriptions without conducting due diligence), it

would be difficult for the DEA to go after any one of them or detect any impropriety from

manufacture to dispensing. Accordingly, through the connections they made as a result of their

participation in industry groups such as the Pain Care Forum (PCF), PCMA, HDA, and NACDS,

with the active collaboration of the PBM Defendants, the Defendants chose to flout the closed

system designed to protect the citizens.

          1315. Publicly in 2008, for example, Defendants announced their formulation of

“Industry Compliance Guidelines: Reporting Suspicious Orders and Prevention Diversion of

Controlled Substances,” which was a joint effort of the Independent Distributors, with input and

cooperation from the PCF, HDA, and NACDS. Privately, Defendants refused to act and,

through their lobbying efforts, collectively sought to undermine the impact of the CSA. Indeed,

despite the issuance of these Industry Compliance Guidelines, which recognize these

Defendants’ duties under the law, as illustrated by the subsequent industry-wide enforcement

actions and consent orders issued after that time, none of them complied. John Gray, President

and CEO of the HDA said to Congress in 2014, it is “difficult to find the right balance between

proactive anti-diversion efforts while not inadvertently limiting access to appropriately

prescribed and dispensed medications.” Yet, Defendants apparently all found the same profit-

maximizing balance—intentionally remaining silent to ensure the largest possible financial

return.

          1316. As another example, common red flags of diversion are acknowledged in a

“Stakeholders” memorandum created by a number of the Defendants, including the Pharmacy




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Defendants. Even though they were keenly aware of the oversupply of prescription opioids,

Defendants continued to participate in and profit from this oversupply and ignore their

pharmacies’ routine dispensing of red-flagged prescription opioids.

       1317. As described above, at all relevant times, the Defendants conducted the Opioid

Diversion Scheme through the association-in-fact Opioid Enterprise, which scheme was

perpetrated for the purpose of unlawfully increasing sales, revenues, and profits by lying to the

DEA, failing to comply with their statutory and regulatory duties to identify and report

suspicious orders, and failing to comply with their statutory and regulatory duties to perform

adequate due diligence on red-flagged prescriptions and to refuse to fill those prescriptions

without resolving red flags. Through their actions, the Defendants fraudulently increased the

quotas set by the DEA that allowed them to collectively benefit from a greater pool of

prescription opioids to manufacture, distribute, and dispense, and to profit from unrestricted and

increasing sales of prescription opioids at every level of the supply chain—from manufacturing

to dispensing. In support of this common purpose and fraudulent scheme, the Defendants jointly

agreed to lie to the DEA and disregard their statutory duties to identify, investigate, halt, and

report suspicious orders of opioids and diversion of their drugs into the illicit market, and to

disregard their statutory duties to only fill legitimate prescriptions. The goal was to increase

orders, and prescriptions, thereby enlarging the market for prescription opioids.

       1318. At all relevant times, as described above, the Defendants exerted control over,

conducted, and/or participated in the Opioid Diversion Scheme as part of the Opioid Enterprise

by fraudulently claiming that they were complying with their respective duties under the CSA

applicable to their respective business lines, including, but not limited to: (1) identifying,

investigating, and reporting suspicious orders of opioids in order to prevent diversion of those




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highly addictive substances into the illicit market, and halting such unlawful sales so as to

increase production quotas and generate unlawful profits; and (2) only filling legitimate

prescriptions, conducting due diligence regarding prescriptions that presented red flags, and

refusing to fill prescriptions for which red flags could not be resolved, as set forth below.

       1319. The Defendants disseminated false and misleading statements to state and federal

regulators claiming that:

               a.      they were complying with their obligations to maintain effective controls

against diversion of their prescription opioids;

               b.      they were complying with their obligations to design and operate a system

to disclose to the registrant suspicious orders of their prescription opioids;

               c.      they were complying with their obligation to notify the DEA of any

suspicious orders or diversion of their prescription opioids;

               d.      they did not have the capability to identify suspicious orders of controlled

substances;

               e.      they were complying with their corresponding responsibility to conduct

adequate due diligence when dispensing prescription opioids; and

               f.      they were complying with their corresponding responsibility to refuse to

fill prescriptions for opioids if red flags were not fully resolved.

       1320. Participants in the Opioid Diversion Scheme applied political and other pressure

on the DOJ and DEA to halt prosecutions for failure to report suspicious orders of prescription

opioids and lobbied Congress to strip the DEA of its ability to immediately suspend registrations

pending investigation by passing the “Ensuring Patient Access and Effective Drug Enforcement




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Act.”194 Pharmacy Defendant participants in the Opioid Diversion Scheme disregarded multiple

federal regulatory enforcement actions aimed at rectifying their dispensing failures.

       1321. As described above, the CSA and the Code of Federal Regulations require the

Defendants to conduct specific activities pursuant to their status as registrants. For the

Manufacturer and Distributor registrants, the CSA and Code of Federal Regulations require them

to make reports to the DEA of any suspicious orders identified through the design and operation

of their system to disclose suspicious orders. The failure to make reports as required by the CSA

and Code of Federal Regulations amounts to a felony criminal violation of the statute. The CSA

and Code of Federal Regulations also require the Defendant pharmacies to meet their

corresponding responsibility in dispensing such that they perform due diligence on any red-

flagged prescriptions and refuse to fill prescriptions for which red flags cannot be resolved. The

failure to do so may also amount to a felony crime.

       1322. The Defendants knowingly and intentionally furnished false or fraudulent

information to the DEA in their assay documentation and in reports about suspicious orders,

and/or omitted material information from reports, records, and other documents required to be

filed with the DEA, and all Defendants’ applications for and renewal of their registrations.



194
    HDMA is Now the Healthcare Distribution Alliance, Pharmaceutical Commerce,
http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-
alliance/ (last updated July 6, 2016); Lenny Bernstein & Scott Higham, Investigation: The DEA
Slowed Enforcement While the Opioid Epidemic Grew Out of Control, Wash. Post (Oct. 22,
2016), https://www.washingtonpost.com/investigations/the-dea-slowed-enforcement-while-the-
opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls
for Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post (Mar. 6, 2017),
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-
enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric
Eyre, DEA Agent: “We Had no Leadership” in WV Amid Flood of Pain Pills, Charleston
Gazette-Mail (Feb. 18, 2017), http://www.wvgazettemail.com/news/20170218/dea-agent-we-
had-no-leadership-in-wv-amid-flood-of-pain-pills-.


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Specifically, the Defendants were aware of suspicious orders of prescription opioids, illegitimate

prescriptions for prescription opioids, and the diversion of their prescription opioids into the

illicit market through these suspicious orders and dispensing of illegitimate prescriptions, and yet

they failed to report this information to the DEA and/or state regulators in their mandatory

reports.

       1323. The Defendants used, directed the use of, and/or caused to be used, thousands of

interstate mail and wire communications in service of their scheme through virtually uniform

misrepresentations, concealments, and material omissions regarding their compliance with their

respective obligations under the CSA and Federal Regulations, and the actions necessary to carry

out their common purpose of profiting from the illegal and increasing sale of prescription

opioids.

               2.      In Carrying out the Opioid Diversion Scheme, Defendants Engaged in
                       a Pattern of Racketeering Activity

       1324. The Opioid Diversion Scheme described herein was perpetrated, in part, through

multiple acts of mail fraud and wire fraud, constituting a pattern of racketeering activity as

described herein.

       1325. In devising and executing the illegal Opioid Diversion Scheme, the Defendants

knowingly carried out a material scheme and/or artifice to defraud by means of materially false

or fraudulent pretenses, representations, promises, or omissions of material facts.

       1326. For the purpose of executing the illegal Opioid Diversion Scheme, the Defendants

committed racketeering acts, which number in the thousands, intentionally and knowingly with

the specific intent to advance the illegal scheme. These racketeering acts, which included

repeated acts of mail fraud and wire fraud, as well as felonious violations of the CSA, constituted

a pattern of racketeering.



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       1327. The Defendants’ use of the mail and wires includes, but is not limited to, the

transmission, delivery, or shipment of the following by the Manufacturer Defendants, Pharmacy

Defendants, PBM Defendants, and Independent Distributors, or third parties that were

foreseeably caused to be sent as a result of the Defendants’ illegal Opioid Diversion Scheme,

including but not limited to:

               a.      The prescription opioids themselves;

               b.      Documents and communications that facilitated the manufacture,

purchase, distribution, dispensing, and/or sale of prescription opioids;

               c.      Defendants’ DEA registrations;

               d.      Documents and communications that supported and/or facilitated

Defendants’ DEA registrations;

               e.      Defendants’ records and reports that were required to be submitted to the

DEA pursuant to 21 U.S.C. § 827;

               f.      Documents and communications related to the Defendants’ mandatory

DEA reports pursuant to 21 U.S.C. § 823 and 21 C.F.R. § 1301.74;

               g.      Documents intended to facilitate the manufacture, distribution, and

dispensing of the Defendants’ prescription opioids, including assay information and/or reports,

bills of lading, invoices, shipping records, suspicious order reports, due diligence reports, and

correspondence;

               h.      Payments from and to members of the Opioid Enterprise;

               i.      Rebates and chargebacks from and to members of the Opioid Enterprise;

               j.      Payments to the Defendants’ lobbyists through the PCF;




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                  k.     Payments to the Defendants’ trade organizations, like the HDA, PCF, and

NACDS, for memberships and/or sponsorships;

                  l.     Deposits of proceeds from the Defendants’ manufacture, distribution, and

dispensing of prescription opioids;

                  m.     Contracts negotiated and circulated between PBM Defendants and their

clients;

                  n.     Public representations and/or marketing materials by PBM Defendants

about their commitment to addressing misuse, abuse, and diversion of prescription opioids;

                  o.     Communications between PBM Defendants and their clients;

                  p.     Transmission of payments between PBM Defendants and their clients; and

                  q.     Other documents and things, including electronic communications.

           1328. The Defendants (and/or their agents), for the purpose of executing the illegal

Opioid Diversion Scheme, sent and/or received (or caused to be sent and/or received) by mail or

by private or interstate carrier, shipments of prescription opioids, payments for prescription

opioids, and related documents by mail or by private carrier affecting interstate commerce,

including the following:




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                                                                  Drugs
  Defendant
                   Company Names                                                  CSA
 Group Name                                    Drug Name    Chemical Name
                                                                                Schedule
                                                            Oxycodone
                                              OxyContin     hydrochloride      Schedule II
                                                            extended release
                                                            Morphine sulfate
                                              MS Contin                        Schedule II
                                                            extended release
               (1) Purdue Pharma, LP,                       Hydromorphone
                                              Dilaudid                         Schedule II
                                                            hydrochloride
               (2) Purdue Pharma, Inc.,
    Purdue                                                  Hydromorphone
               (3) The Purdue Frederick       Dilaudid-HP                      Schedule II
                                                            hydrochloride
               Company
                                              Butrans       Buprenorphine      Schedule II
                                                            Hydrocodone
                                              Hysinga ER                       Schedule II
                                                            bitrate
                                                            Oxycodone
                                              Targiniq ER                      Schedule II
                                                            hydrochloride
               (1) Cephalon, Inc.,            Actiq         Fentanyl citrate   Schedule II
               (2) Teva Pharmaceutical
               Industries, Ltd.,              Fentora       Fentanyl citrate   Schedule II
     Teva
               (3) Teva Pharmaceuticals       Generic       Oxycodone
                                                                               Schedule II
               USA, Inc.                      oxycodone     hydrochloride
                                                            Oxymorphone
                                              Opana ER      hydrochloride      Schedule II
                                                            extended release
                                                            Oxymorphone
                                              Opana                            Schedule II
                                                            hydrochloride
               (1) Endo Health Solutions,
               Inc.,                                        Oxymorphone
                                              Percodan      hydrochloride      Schedule II
               (2) Endo Pharmaceuticals                     and aspirin
               Inc.,
     Endo                                                   Oxymorphone
               (3) Qualitest                                hydrochloride
               Pharmaceuticals, Inc.          Percocet                         Schedule II
                                                            and
               (wholly owned subsidiary                     acetaminophen
               of Endo)
                                              Generic oxycodone                Schedule II
                                              Generic oxymorphone              Schedule II
                                              Generic hydromorphone            Schedule II
                                              Generic hydrocodone              Schedule II



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                                                                 Drugs
  Defendant
                    Company Names                                                  CSA
 Group Name                                      Drug Name   Chemical Name
                                                                                 Schedule
                                                             Hydromorphone
                (1) Mallinckrodt plc,           Exalgo                          Schedule II
                                                             hydrochloride
                (2) Mallinckrodt LLC
 Mallinckrodt
                (wholly owned subsidiary
                of Mallinckrodt plc)                         Oxycodone
                                                Roxicodone                      Schedule II
                                                             hydrochloride

                (1) Allergan plc f/k/a          Kadian       Morphine sulfate   Schedule II
                Actavis plc,                    Generic
                                                             Morphine sulfate   Schedule II
                (2) Actavis LLC,                Kadian
                (3) Actavis Pharma, Inc.                     Hydrocodone
                f/k/a/ Watson Pharma, Inc.,     Norco        and                Schedule II
                                                             acetaminophen
                (4) Allergan Sales, LLC,
                                                Generic
                (5) Allergan USA, Inc.,                      Fentanyl           Schedule II
                                                Duragesic
                (6) Allergan Finance, LLC,
                                                Generic      Oxymorphone
                f/k/a/ Actavis, Inc., f/k/a                                     Schedule II
                                                Opana        hydrochloride
                Watson Pharmaceuticals,
                Inc.,
                (7) Watson Laboratories,
                Inc.,
                (8) Warner Chilcott
   Allergan
                Company, LLC,
                (9) Actavis South Atlantic
                LLC,
                (10) Actavis Elizabeth
                LLC,                            Generic      Oxycodone
                                                                                Schedule II
                (11) Actavis Mid Atlantic       OxyContin    hydrochloride
                LLC,
                (12) Actavis Totowa LLC,
                (13) Actavis Kadian LLC,
                (14) Actavis Laboratories
                UT, Inc.,
                (15) Actavis Laboratories
                FL, Inc.




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                                                                       Drugs
  Defendant
                       Company Names                                                        CSA
 Group Name                                       Drug Name       Chemical Name
                                                                                          Schedule
                                                 Duragesic        Fentanyl               Schedule II
                                                                  Tapentadol
                  (1) Johnson & Johnson
                                                                  hydrocholoride,
    Janssen       (2) Janssen                    Nucynta                                 Schedule II
                                                                  immediate
                  Pharmaceuticals                                 release
                  (3) Ortho-McNeil-Janssen                        Tapentadol
                                                 Nucynta ER       hydrochloride,         Schedule II
                                                                  extended release

       1329. Each of the Defendants manufactured, distributed, paid for, dispensed, and/or

received payment for the drugs identified above, throughout the United States.

       1330. The Defendants used the internet and other electronic facilities to carry out the

Opioid Diversion Scheme and conceal the ongoing fraudulent activities. Specifically, the

Defendants made misrepresentations about their compliance with federal and state laws

regarding their manufacture of opioids, distribution of opioids, including the obligation to

identify, investigate, and report suspicious orders of prescription opioids, prescription opioids for

an illegitimate medical purpose, and/or diversion of the same into the illicit market.

       1331. At the same time, the Defendants made multiple misrepresentations. Defendants

misrepresented their compliance with distributions requirements, including the superior safety

features of their order monitoring programs, ability to detect suspicious orders, commitment to

preventing diversion of prescription opioids, and their compliance with all federal and state

regulations regarding the identification and reporting of suspicious orders; and dispensing

requirements to conduct due diligence on all red-flagged prescriptions and refuse to fill

prescriptions for which red flags could not be resolved.




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       1332. The Defendants utilized the internet and other electronic resources to exchange

communications, to exchange information regarding prescription opioid distribution, dispensing,

sales, and to transmit payments and rebates/chargebacks.

       1333. The Defendants also communicated by U.S. mail, by interstate facsimile, and by

interstate electronic mail with each other and with various other affiliates, regional offices,

regulators, distributors, pharmacies, PBMs, and other third-party entities in furtherance of the

scheme.

       1334. The mail and wire transmissions described herein were made in furtherance of the

Opioid Diversion Scheme and Defendants’ common course of conduct to deceive regulators, the

public, and Plaintiffs by convincing them that Defendants were complying with their federal and

state obligations to identify and report suspicious orders of prescription opioids, and to only fill

prescriptions written for a legitimate medical purpose and refuse to fill prescriptions for which

red flags could not be resolved, all while Defendants were knowingly allowing millions of doses

of prescription opioids to divert into the illicit drug market. The Opioid Diversion Scheme and

Defendants’ common course of conduct was to unlawfully manufacture, distribute, and dispense

an ever-increasing volume of prescription opioids—knowing that Plaintiffs and other TPPs

would be the ones paying for those prescription opioids, along with many of the costs associated

with increased opioid use.

       1335. Many of the precise dates of the fraudulent uses of the U.S. mail and interstate

wire facilities have been deliberately hidden by Defendants and cannot be fully alleged without

further access to Defendants’ books and records. However, Plaintiffs has described the types of

and, in some instances, occasions on which the predicate acts of mail and/or wire fraud occurred.




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They include thousands of communications to perpetuate and maintain the scheme, including the

things and documents described in the preceding paragraphs.

       1336. The Defendants did not undertake the practices described herein in isolation, but

in cooperation with the entirety of the Opioid Enterprise, as part of the Opioid Diversion

Scheme. Various other persons, firms, and corporations, including third-party entities and

individuals not named as defendants in this Complaint, contributed to and/or participated in the

scheme with Defendants in these offenses and have performed acts in furtherance of the scheme

to increase revenues, increase market share, and/or minimize the losses for the Defendants.

       1337. The predicate acts constituted a variety of unlawful activities, each conducted

with the common purpose of obtaining significant monies and revenues from the manufacture,

distribution, and dispensing of their highly addictive and dangerous drugs. The predicate acts

also had the same or similar results, participants, victims, and methods of commission. The

predicate acts were related and not isolated events.

       1338. The predicate acts all had the purpose of contributing to the oversupply of

prescription opioids. That oversupply substantially injured Plaintiffs’ business and property both

because Plaintiffs paid for over-prescribed, over-distributed, and over-dispensed opioids, and

because that oversupply brought about the opioid epidemic and attendant medical costs also

borne by Plaintiffs. The predicate acts were committed or caused to be committed by the

Defendants through their participation in the Opioid Enterprise and in furtherance of its

fraudulent Opioid Diversion Scheme.

       1339. As described herein, Defendants were repeatedly warned, fined, and found to be

in violation of applicable law and regulations, and yet they persisted. The sheer volume of

enforcement actions against Defendants supports this conclusion that the Defendants operated




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through a pattern and practice of willfully and intentionally omitting information from their

mandatory reports to the DEA as required by 21 C.F.R. § 1301.74, and otherwise flouting

compliance requirements set in the wake of DEA enforcement actions related to their distribution

and/or dispensing operations.

       1340. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, Plaintiffs’ plan participants and beneficiaries. The Defendants

calculated and intentionally crafted their scheme to increase and maintain profits from unlawful

sales of opioids, without regard to the effect such behavior would have on the public,

communities, Plaintiffs, and their plan participants and beneficiaries. The Defendants were

aware that Plaintiffs and their plan participants and beneficiaries rely on these Defendants to

maintain a closed system of manufacturing, distribution, and dispensing to protect against the

non-medical diversion and use of their dangerously addictive opioid drugs.

       1341. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, and failing to comply with their corresponding responsibility and due diligence

obligations in dispensing opioids, the Defendants engaged in a fraudulent scheme and unlawful

course of conduct constituting a pattern of racketeering activity.

                                CLASS ACTION ALLEGATIONS

       1342. Plaintiffs bring this suit as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure, on behalf of the following Third Party Payor Class:

       All entities that paid and/or reimbursed for (a) opioid prescription drugs
       manufactured, marketed, sold, distributed, or dispensed by any of the Defendants
       and/or Opioid Enterprise Members for purposes other than resale, and/or (b) paid
       or incurred costs for treatment related to the misuse, addiction, and/or overdose of
       opioid drugs, on behalf of individual beneficiaries, insureds, and/or members,
       during the time period from the initial formation of the RICO enterprise through
       the date of the Court’s grant of class certification. For clarity, the Class includes:


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        (a) private contractors of Federal Health Employee Benefits plans, (b) plans for
        self-insured local governmental entities that have not settled claims in MDL 2804,
        (c) managed Medicaid plans, (d) plans operating under Medicare Part C and/or D,
        (e) Taft Hartley plans, and (f) ERISA plans (group health plans as defined by 29
        U.S.C. § 1191b(a)(1) established or maintained by a private employer).

        Excluded from the Third Party Payor Class are (a) all federal and state
        governmental entities, (b) all tribal entities, (c) local governmental entities and
        school districts, (d) Pharmacy Benefit Managers (PBMs), (e) consumers, and (f)
        fully-insured plans. For the avoidance of doubt, entities that are otherwise
        members of the class are not excluded on the basis that they own an interest,
        including a controlling interest, in a PBM.

        1343. The following are also expressly excluded from the Class: (1) Defendants and

their parents, subsidiaries, joint ventures, affiliates, and controlled persons; (2) officers, directors,

agents, servants, or employees of Defendants, and the immediate family members of any such

persons; and (3) all entities that make a timely election to be excluded from the Class after its

certification.

        1344. The class is so numerous that individual joinder of its members is impractical.

Class members across the country were injured in their business and property by Defendants’

conduct of the RICO enterprise and their other unlawful conduct, which took place throughout

the United States and impacted the Class and the public nationwide.

        1345. Common questions of law and fact exist as to all members of the Class satisfying

Rule 23(a)(2), one or more such questions are appropriate for issue certification under Rule

23(c)(4), and common questions predominate over any questions affecting solely individual

members of the Class for purposes of Certification under Rule 23(b)(3). Among the common

questions of law and fact, regarding Defendants’ and Enterprise members’ knowledge, conduct,

duty, and resulting harm, are, without limitation:

                 a.     whether Defendants misrepresented, omitted, concealed, or suppressed the

facts regarding the risks, addictive properties, and other harmful properties of opioid drugs, to




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health care providers, the healthcare system, and the public, resulting in financial detriment to

the Class;

               b.      whether Defendants engaged in the conduct of an Enterprise that violated

Civil RICO and/or other applicable federal and state laws to promote, market, distribute, sell

and/or dispense opioid drugs of, to suppress and conceal adverse information about opioid drugs,

and otherwise to evade or avoid regulation and controls placed upon opioid drugs;

               c.      whether Plaintiffs and the Class paid more for opioid drugs than for other

efficacious drugs or therapies that were available at cheaper prices, and/or paid for more opioid

drugs due to addiction, and/or paid for treatment including drug addiction treatment, and

emergency medical care including the costs of Naloxone Hydrochloride (Narcan) as a result of

the abuse, misuse, addiction and/or overdose of opioid drugs.

               d.      whether Defendants knowingly omitted, suppressed and/or concealed

material facts about the unsafe, addictive, and defective nature of opioid drugs from government

regulators, the medical community, TPP’s, and/or the consuming public;

               e.      whether Defendants’ unlawful acts have injured and damaged Class

member ERISA Plans;

               f.      Whether Defendants’ unlawful conduct and continuing violations continue

to cause improper losses to Class member ERISA Plans requiring injunctive or other equitable

relief;

               g.      whether Plaintiffs and the Class have been damaged in their business and

property by reason of Defendants’ RICO-violative and/or other wrongful conduct;

               h.      whether Defendants were and are unjustly enriched by its acts and

omissions, at the expense of the Class;




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                i.      the amount of attorneys’ fees, prejudgment interest, and costs of the suit to

which the Class is entitled; and

                j.      whether Defendants engaged in a conspiracy to promote the sales of and

suppress adverse information about opioid drugs in violation of federal and state statutes.

         1346. Plaintiffs’ claims are typical of the claims of the members of the Class under Rule

23(a)(3), because Plaintiffs and the Class sustained damages arising out of the Defendants’

wrongful conduct as detailed herein. Specifically, Plaintiffs, having expended substantial sums

for the purchase of opioid drugs and treatment for their abuse, assert claims that are typical of the

claims of the entire Class, and wil1 fairly and adequately represent and protect the interest of the

Class.

         1347. Plaintiffs will fairly and adequately protect the interests of the Class members, has

no interests in conflict with or antagonistic to those of the Class members, and has retained

counsel competent and experienced in class action lawsuits, satisfying the adequacy requirement

of Rule 23(a)(4).

         1348. A class action is superior to other available methods for the fair and efficient

adjudication of this controversy under rule 23(b)(3). Joinder of all members of the Class is

impracticable. Furthermore, because the damages suffered by individual members of the Class

may in some instances be relatively smal1, the expense and burden of individual litigation make

it impossible for such Class members individually to redress the wrongs done to them. Also, the

adjudication of this controversy through a class action will avoid the possibility of inconsistent

and possibly conflicting adjudications of the claims asserted herein. There will be no undue

difficulty in the management of this action as a class action, compared with the expense, delay,




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strain on the Court and parties’ resources, and barriers to access that would attend consignment

to individual litigation. For many, the result would be no litigation or recourse at all.

        1349. Plaintiffs’ claims for equitable and injunctive relief are appropriate for

certification under Fed. R. Civ. P. 23(b)(2); and Plaintiffs’ claims against any Defendant whose

assets and insurance are determined to constitute a “limited fund” under the principles of Ortiz v.

Fibreboard, 527 U.S. 815 (1999) are appropriate for certification under Fed. R. Civ. P.

23(b)(1)(B).

        1350. Plaintiffs will seek, at an early practicable time, when and as directed or

authorized by the Court, to certify this action or specific claims or issues raised by this

Complaint for class treatment, or to resolve same by way of court-approved settlement, under the

appropriate provisions of Fed. R. Civ. P. 23, and recognize the authority and discetion of the

Court to appoint and designate appropriate class representatives, class counsel, subclasses, and

questions for class-wide adjudication.

                                      CLAIMS FOR RELIEF

                                   FIRST CLAIM FOR RELIEF
                         Violation of CIVIL RICO, 18 U.S.C. § 1961 et seq.
                                  (Against Marketing Defendants)

        1351. Plaintiffs repeat, re-allege, and incorporate by reference each and every allegation

set forth above as if fully set forth herein.

        1352. At all relevant times, the Marketing Defendants were and are “persons” under 18

U.S.C. § 1961(3) because they are entities capable of holding, and do hold, “a legal or beneficial

interest in property.”

        1353. As alleged more fully herein, all Defendants (including the Marketing

Defendants) formed an association-in-fact enterprise, as described above as the Opioid

Enterprise, for “the common purpose of expanding the prescription opioid market,” In re Nat’l


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Prescription Opiate Litig., 2019 WL 4279233, at *2, in order to maximize profits for themselves

in the promotion, sale, possession, distribution, and dispensing of controlled substances.

       1354. As alleged more fully herein, the Opioid Enterprise consisted of, inter alia,

business and personal relationships formed through contractual negotiations, conduct, and

racketeering activities consistent with and in advancement of the Opioid Enterprise’s purpose of

expanding the prescription opioid market, and participation in and through both formal and

informal coalitions and working groups.

       1355. The Marketing Defendants conducted the Opioid Enterprise through a pattern of

illegal activities (the predicate racketeering acts of mail and wire fraud) to carry out the

Marketing Scheme. In furtherance of the Marketing Scheme, the Marketing Defendants

disseminated multiple fraudulent misrepresentations and omissions, as described above, using

the multiple channels described above.

       1356. Through these racketeering activities, the Marketing Defendants sought to further

the common purpose of the enterprise through the Opioid Marketing Scheme, a fraudulent

scheme to change prescriber habits and public perception about the safety and efficacy of opioid

use by convincing them that each of the false propositions alleged earlier was true—all with the

ultimate goal of inducing more opioid prescriptions, which the Enterprise members knew would

be paid for TPPs like Plaintiffs. In so doing, each of the Marketing Defendants knowingly

conducted and participated in the conduct of the Opioid Marketing Scheme by engaging in mail

and wire fraud in violation of 18 U.S.C. §§ 1962(c) and (d).

       1357. The success of Marketing Defendants’ common purpose depended upon reliable

payments for prescription opioids from known entities, including private insurers such as

Plaintiffs. Payments from private insurers were the key to increasing and maximizing sales of




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Manufacturer Defendants’ prescription opioids. Private insurers such as Plaintiffs were the

intended victims of Marketing Defendants’ common purpose.

       1358. The Opioid Enterprise alleged above is an association-in-fact enterprise whose

Opioid Marketing Scheme consists of the Marketing Defendants (Purdue, Teva, Janssen, Endo,

Allergan, and Mallinckrodt); the PBM Defendants (Express Scripts, OptumRx, and CVS

Caremark); the Front Groups (APF, AAPM, APS, FSMB, USPF, and AGS); and the KOLs

(Dr. Portenoy, Dr. Webster, Dr. Fine, and Dr. Fishman).

       1359. Each of the Marketing Defendants and the other participants in the Opioid

Marketing Scheme conducted and participated in the conduct of the Opioid Marketing Scheme

by playing a distinct role in the scheme of maximizing profits and sales through the knowing and

intentional dissemination of false and misleading information about the safety and efficacy of

long-term opioid use, and the risks and symptoms of addiction, in order to unlawfully increase

the market for prescription opioids by changing prescriber habits and public perceptions.

       1360. Specifically, the Marketing Defendants each worked together to coordinate the

Opioid Marketing Scheme and conceal their role, and the enterprise’s existence, from the public

by, among other things, (i) funding, editing, and distributing publications that supported and

advanced their false messages; (ii) funding KOLs to further promote their false messages;

(iii) funding, editing, and distributing CME programs to advance their false messages; and

(iv) tasking their own employees to direct deceptive marketing materials and pitches directly at

physicians and, in particular, at physicians lacking the expertise of pain care specialists (a

practice known as sales detailing).

       1361. Each of the Front Groups helped disguise the role of the Marketing Defendants by

purporting to be unbiased, independent patient-advocacy and professional organizations in order




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to disseminate patient education materials, a body of biased and unsupported scientific

“literature” and “treatment guidelines” that promoted the Marketing Defendants false messages.

       1362. Each of the KOLs were physicians chosen and paid by each of the Manufacturer

Defendants to influence their peers’ medical practice by promoting the Manufacturer

Defendants’ false message through, among other things, writing favorable journal articles and

delivering supportive CMEs as if they were independent medical professionals, thereby further

obscuring the Marketing Defendants’ role in the enterprise and the enterprise’s existence.

       1363. Moreover, each of the Marketing Defendants, PBM Defendants, KOLs, and Front

Groups that furthered the Opioid Marketing Scheme had systematic links to and personal

relationships with each other through joint participation in lobbying groups, trade industry

organizations, contractual relationships, and continuing coordination of activities. The

systematic links and personal relationships that were formed and developed allowed participants

in the Opioid Marketing Scheme the opportunity to agree to conduct and participate in the

scheme. Specifically, each of the Marketing Defendants coordinated their efforts through the

same KOLs and Front Groups, based on their agreement and understanding that the Front

Groups and KOLs were industry friendly and would work together with the Marketing

Defendants to advance the Opioid Marketing Scheme; each of the individuals and entities who

formed the Opioid Enterprise and participated in the Opioid Marketing Scheme acted to enable

the common purpose and fraudulent scheme.

       1364. At all relevant times, the Opioid Enterprise: (a) had an existence separate and

distinct from each Marketing Defendant and its members; (b) was separate and distinct from the

pattern of racketeering in which the Marketing Defendants engaged; (c) was an ongoing and

continuing organization consisting of individuals, persons, and legal entities, including each of




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the Marketing Defendants; (d) was characterized by interpersonal relationships between and

among each participant in the Opioid Marketing Scheme, including between the Marketing

Defendants and each of the PBM Defendants, Front Groups, and KOLs; (e) had sufficient

longevity for the enterprise to pursue its purpose and functioned as a continuing unit.

       1365. The persons and entities engaged in the Opioid Enterprise’s Opioid Marketing

Scheme are systematically linked through contractual relationships, financial ties, personal

relationships, and continuing coordination of activities, as spearheaded by the Marketing

Defendants.

       1366. The Marketing Defendants conducted and participated in the Opioid Enterprise’s

Opioid Marketing Scheme through a pattern of racketeering activity that employed the use of

mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud), to

increase profits and revenue by changing prescriber habits and public perceptions in order to

increase the prescription and use of prescription opioids, and expand the market for opioids.

       1367. The Marketing Defendants each committed, conspired to commit, and/or aided

and abetted in the commission of at least two predicate acts of racketeering activity (i.e.,

violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of

racketeering activity that the Marketing Defendants committed, or aided and abetted in the

commission of, were related to each other, posed a threat of continued racketeering activity, and

therefore constitute a “pattern of racketeering activity.” The racketeering activity was made

possible by the Marketing Defendants’ regular use of the facilities, services, distribution

channels, and employees of the Opioid Enterprise, the U.S. mail, and interstate wire facilities.

The Marketing Defendants participated in the scheme to defraud by using mail, telephones, and

the internet to transmit mailings and wires in interstate or foreign commerce.




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       1368. The Marketing Defendants’ predicate acts of racketeering (18 U.S.C. § 1961(1))

include, but are not limited to:

               a.      Mail Fraud: The Marketing Defendants violated 18 U.S.C. § 1341 by

sending or receiving, or by causing to be sent and/or received, materials via U.S. mail or

commercial interstate carriers for the purpose of executing the unlawful scheme to design,

manufacture, market, and sell the prescription opioids by means of false pretenses,

misrepresentations, promises, and omissions.

               b.      Wire Fraud: The Marketing Defendants violated 18 U.S.C. § 1343 by

transmitting and/or receiving, or by causing to be transmitted and/or received, materials by wire

for the purpose of executing the unlawful scheme to design, manufacture, market, and sell the

prescription opioids by means of false pretenses, misrepresentations, promises, and omissions.

       1369. Indeed, as summarized herein, the Marketing Defendants used the mail and wires

to send or receive thousands of communications, publications, representations, statements,

electronic transmissions, and payments to carry out the Opioid Marketing Scheme.

       1370. Because the Marketing Defendants disguised their participation in the enterprise,

and worked to keep even the enterprise’s existence secret so as to give the false appearance that

their false messages reflected the views of independent third parties, many of the precise dates of

the Opioid Enterprise’s uses of the U.S. mail and interstate wire facilities (and corresponding

predicate acts of mail and wire fraud) to perpetrate the Opioid Marketing Scheme have been

hidden and cannot be alleged without access to the books and records maintained by the

Marketing Defendants, PBM Defendants, Front Groups, and KOLs. Indeed, an essential part of

the successful operation of the Opioid Enterprise alleged herein depended upon secrecy.

However, Plaintiffs have described the occasions on which the Marketing Defendants, PBM




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Defendants, Front Groups, and KOLs disseminated misrepresentations and false statements to

Oklahoma consumers, prescribers, regulators, and Plaintiffs, as well as how those acts were in

furtherance of the Opioid Marketing Scheme.

       1371. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including Oklahoma consumers, prescribers, regulators, and

Plaintiffs. The Marketing Defendants, PBM Defendants, Front Groups, and KOLs calculated

and intentionally crafted the Opioid Marketing Scheme and common purpose of the Opioid

Enterprise to ensure their own profits remained high. In designing and implementing the

scheme, the Marketing Defendants understood and intended that those in the distribution chain

rely on the integrity of the pharmaceutical companies and ostensibly neutral third parties to

provide objective and scientific evidence regarding the Manufacturer Defendants’ products.

       1372. The Marketing Defendants’ pattern of racketeering activity alleged herein and the

Opioid Enterprise are separate and distinct from each other. Likewise, the Marketing Defendants

are distinct from the Opioid Enterprise.

       1373. The pattern of racketeering activity alleged herein has continued for well over a

decade, is continuing as of the date of this Complaint, and, upon information and belief, will

continue into the future unless enjoined by this Court.

       1374. The racketeering activities conducted by the Marketing Defendants, PBM

Defendants, Front Groups, and KOLs amounted to a common course of conduct, with a similar

pattern and purpose, intended to deceive Oklahoma consumers, prescribers, regulators, and the

Plaintiffs. Each separate use of the U.S. mail and/or interstate wire facilities employed by

Marketing Defendants was related, had similar intended purposes, involved similar participants




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and methods of execution, and had the same results affecting the same victims, including

Oklahoma consumers, prescribers, regulators, and the Plaintiffs. The Marketing Defendants

have engaged in the pattern of racketeering activity for the purpose of conducting the ongoing

business affairs of the Opioid Enterprise.

       1375. Each of the Marketing Defendants aided and abetted others in the violations of the

above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343

offenses.

       1376. As described herein, the Marketing Defendants engaged in a pattern of related and

continuous predicate acts for years. The predicate acts constituted a variety of unlawful

activities, each conducted with the common purpose of obtaining significant money and revenue

from the marketing and sale of their highly addictive and dangerous drugs. The predicate acts

also had the same or similar results, participants, victims, and methods of commission. The

predicate acts were related and not isolated events.

       1377. The pattern of racketeering activity alleged herein has continued for well over a

decade, is continuing as of the date of this Complaint, and, upon information and belief, will

continue into the future unless enjoined by this Court. The last racketeering incident occurred

within five years of the commission of a prior incident of racketeering.

       1378. The Marketing Defendants’ violations of law and their pattern of racketeering

activity directly and proximately caused Plaintiffs injury in their business and property. The

Marketing Defendants’ pattern of racketeering activity logically, substantially. and foreseeably

caused an opioid epidemic. Plaintiffs’ injuries, as described below, were not unexpected,

unforeseen, or independent. Rather, as Plaintiffs allege, the Marketing Defendants knew that

opioids were unsuited to treatment of long-term chronic, non-acute, and non-cancer pain, or for




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any other use not approved by the FDA, and knew that opioids were highly addictive and subject

to abuse. Nevertheless, the Marketing Defendants engaged in a scheme of deception that utilized

the mail and wires in order to carry out the Opioid Enterprise’s fraudulent Opioid Marketing

Scheme, thereby increasing sales of their opioid products. It was foreseeable and expected that

the Marketing Defendants participating in the Opioid Enterprise through a pattern of racketeering

activities to carry out the Opioid Marketing Scheme would lead to a nationwide opioid epidemic,

including increased opioid addiction and overdose.

       1379. It was foreseeable to the Marketing Defendants and members of the Opioid

Enterprise that Plaintiffs would be harmed when they engaged in the fraudulent schemes that

form the common purpose of the Opioid Enterprise and the pattern of racketeering activities

alleged herein. Indeed, extracting money from commercial payors like Plaintiffs was a primary

goal of Defendants’ racketeering activities.

       1380. Specifically, the Marketing Defendants’ participation in the Opioid Enterprise

through a pattern of racketeering activities to carry out the fraudulent Opioid Marketing Scheme

has injured Plaintiffs in the form of substantial losses of money and property that logically,

directly, and foreseeably arise from the opioid addiction epidemic.

       1381. Plaintiffs’ injuries, as alleged throughout this Complaint and expressly

incorporated herein by reference, include:

               a.      Losses caused by purchasing and/or paying reimbursements for

Defendants’ prescription opioids that Plaintiffs would not have paid for or purchased but for

Defendants’ conduct;




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                b.      Costs for providing healthcare and medical care, additional therapeutic,

and prescription drug purchases, and other treatments for patients suffering from opioid-related

addiction or disease, including overdoses and deaths;

                c.      Costs for providing treatment of infants born with opioid-related medical

conditions, or born addicted to opioids due to drug use by a mother during pregnancy;

                d.      Costs for providing mental health services, treatment, counseling,

rehabilitation services, and social services to victims of the opioid epidemic and their families;

                e.      Payments for hospital and/or urgent care emergency department visits and

other treatment for opioid misuse, addiction, and/or overdose;

                f.      Payments for emergency department visits for infections related to opioid

misuse, addiction, and/or overdose;

                g.      Payments for hospitalizations related to the misuse, addiction, and/or

overdose of opioids;

                h.      Payments for medicines to treat HIV, hepatitis C, and other issues related

to the opioid misuse, addiction, and/or overdose; and

                i.      Payments for opioid overdose reversal medication such as Naloxone

Hydrochloride (Narcan).

        1382. Plaintiffs’ injuries were directly and proximately caused by Marketing

Defendants’ racketeering activities because they were the logical, substantial, and foreseeable

cause of Plaintiffs’ injuries.

        1383. Plaintiffs are the most directly harmed entities, and there are no other plaintiffs

better suited to seek a remedy for the economic harms at issue here.




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        1384. Plaintiffs seek all legal and equitable relief as allowed by law, including, inter

alia, actual damages; treble damages; equitable and/or injunctive relief in the form of court

supervised corrective communication, actions and programs; forfeiture as deemed proper by the

Court; attorney’s fees; all costs and expenses of suit; and pre- and post-judgment interest,

including, inter alia, as appropriate:

               a.      Actual damages and treble damages, including pre-suit and post-judgment

interest;

               b.      An order enjoining any further violations of RICO;

               c.      An order enjoining any further violations of any statutes alleged to have

been violated in this Complaint;

               d.      An order enjoining the commission of any tortious conduct, as alleged in

this Complaint;

               e.      An order enjoining any future marketing or misrepresentations regarding

the health benefits or risks of prescription opioids use, except as specifically approved by the

FDA;

               f.      An order enjoining any future marketing of opioids through non-branded

marketing including through the PBM Defendants, Front Groups, KOLs, websites, or in any

other manner alleged in this Complaint that deviates from the manner or method in which such

marketing has been approved by the FDA;

               g.      An order enjoining any future marketing to vulnerable populations,

including, but not limited to, persons over the age of 55, anyone under the age of 21, and

veterans;




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               h.         An order compelling the Defendants to make corrective advertising

statements that shall be made in the form, manner and duration as determined by the Court, but

not less than print advertisements in national and regional newspapers and medical journals,

televised broadcast on major television networks, and displayed on their websites, concerning:

(1) the risk of addiction among patients taking opioids for pain; (2) the ability to manage the risk

of addiction; (3) pseudoaddiction is really addiction, not a sign of undertreated addiction;

(4) withdrawal from opioids is not easily managed; (5) increasing opioid dosing presents

significant risks, including addiction and overdose; (6) long-term use of opioids has no

demonstrated improvement of function; (7) use of time-released opioids does not prevent

addiction; (8) ADFs do not prevent opioid abuse; and (9) that manufacturers and distributors

have duties under the CSA to monitor, identify, investigate, report and halt suspicious orders and

diversion but failed to do so;

               i.         An order enjoining any future lobbying or legislative efforts regarding the

manufacturer, marketing, distribution, diversion, prescription, or use of opioids;

               j.         An order requiring all Defendants to publicly disclose all documents,

communications, records, data, information, research or studies concerning the health risks or

benefits of opioid use;

               k.         An order prohibiting all Defendants from entering into any new payment

or sponsorship agreement with, or related to, any: Front Group, trade association, doctor,

speaker, CME, or any other person, entity, or association, regarding the manufacturer, marketing,

distribution, diversion, prescription, or use of opioids;




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               l.      An order establishing a national foundation for education, research,

publication, scholarship, and dissemination of information regarding the health risks of opioid

use and abuse to be financed by the Defendants in an amount to be determined by the Court;

               m.      An order enjoining any diversion of opioids or any failure to monitor,

identify, investigate, report and halt suspicious orders or diversion of opioids;

               n.      An order requiring all Defendants to publicly disclose all documents,

communications, records, information, or data, regarding any prescriber, facility, pharmacy,

clinic, hospital, manufacturer, distributor, person, entity or association regarding suspicious

orders for or the diversion of opioids;

               o.      An order divesting each Defendant of any interest in, and the proceeds of

any interest in, the Opioid Enterprise, including any interest in property associated with the

Opioid Enterprise;

               p.      Dissolution and/or reorganization of any trade industry organization, Front

Group, or any other entity or association associated with the Opioid Enterprise as described in

this Complaint, as the Court sees fit;

               q.      Dissolution and/or reorganization of any Defendant named in this

Complaint as the Court sees fit;

               r.      Suspension and/or revocation of the license, registration, permit, or prior

approval granted to any Defendant, entity, association or enterprise named in the Complaint as

related to prescription opioids;

               s.      Forfeiture as deemed appropriate by the Court; and

               t.      Attorney’s fees and all costs and expenses of suit.




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                               SECOND CLAIM FOR RELIEF
                       Violation of CIVIL RICO, 18 U.S.C. § 1961 et seq.
                                    (Against All Defendants)

        1385. Plaintiffs repeat, re-allege, and incorporate by reference each and every allegation

set forth above as if fully set forth herein.

        1386. At all relevant times, the Defendants were and are “persons” under 18 U.S.C.

§ 1961(3) because they are entities capable of holding, and do hold, “a legal or beneficial interest

in property.”

        1387. As alleged more fully herein, the Defendants formed an association-in-fact

enterprise, as described above as the Opioid Enterprise, for “the common purpose of expanding

the prescription opioid market,” In re Nat’l Prescription Opiate Litig., 2019 WL 4279233, at *2,

in order to maximize profits for themselves in the promotion, sale, possession, distribution, and

dispensing of controlled substances.

        1388. As alleged more fully herein, the Opioid Enterprise consisted of, inter alia,

business and personal relationships formed through contractual negotiations, conduct, and

racketeering activities consistent with and in advancement of the Opioid Enterprise’s purpose of

fraudulently and/or unlawfully expanding the prescription opioid market, and participation in and

through both formal and informal coalitions and working groups.

        1389. The Defendants together formed an association-in-fact enterprise, the Opioid

Enterprise, for the purpose of unlawfully increasing sales, revenues, and profits by lying to the

DEA, failing to comply with their statutory and regulatory duties to identify and report

suspicious orders, and failing to comply with their statutory and regulatory duties to perform

adequate due diligence on red-flagged prescriptions and to refuse to fill those prescriptions

without resolving red flags. Through their actions, the Defendants fraudulently increased the

quotas set by the DEA that allowed them to collectively benefit from a greater pool of


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prescription opioids to manufacture, distribute, and dispense throughout the United States, and to

profit from the unrestricted and increasing sales of prescription opioids at every level of the

supply chain—from manufacturing to dispensing. The Opioid Enterprise is an association-in-

fact enterprise within the meaning of § 1961.

       1390. The formation of the Opioid Enterprise’s Opioid Diversion Scheme began with

contractual relationships between the Manufacturer Defendants, who contract with Distributor

and Pharmacy Defendants, as well as contractual relationships between Distributor and

Pharmacy Defendants, and contractual relationships between PBM Defendants and each of

Manufacturer Defendants and Pharmacy Defendants. These contractual relationships provided

the interpersonal relationships that served as foundation for the Opioid Diversion Scheme.

       1391. The Defendants also formed interpersonal relationships through their participation

in formal and informal trade associations, industry organizations, alliances, coalitions, and

working groups. The factual record developed in the various tracks of this litigation provides a

plethora of evidence that all Defendants, whether Manufacturer, Distributor, or Pharmacy,

participated in Pharmaceutical Research and Manufacturers of America (“PhRMA”), Pain Care

Forum, the Healthcare Distribution Alliance (“HDA”) or its predecessors, the National

Association of Chain Drug Stores (“NACDS”), the Alliance to Prevent the Abuse of Medicines

(“APAM”), the New Jersey Pharmaceutical Industry Working Group, the Anti-Diversion

Industry Working Group (“ADIWG”), and the Midwest Controlled Substance Discussion Group

(“MWDG”).

       1392. Each of the Defendants deepened their interpersonal relationships with each other

through their membership in the entities and associations described above. Moreover, many of

the associations worked together on issues that affected the Defendants.




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       1393. For example, PCF, HDA, and NACDS all worked together on the 2007 Industry

Compliance Guidelines (ICGs) issued by the HDA on behalf of its members with the goal of

creating a comprehensive strategy in response to increasing DEA enforcement. The ICGs were

quickly withdrawn when the DEA used them as part of an enforcement action against Defendant

Walgreens. HDA and NACDS worked closely with the HDA, noting that the pharmacy

organizations appeared very anxious to help HDA persuade the DEA to change their current

tactics with respect to license suspension. To that end, the HDA represented to the DEA that the

ICGs would be promoted to its members and to allied trade associations such as NACDS and

manufacturer associations like PhRMA, and that ICGs would serve as an industry standard. True

to its word, HDA scheduled meetings with NACDS and PhRMA to roll out the ICGs that they

had already been working on together.

       1394. The Defendants came together again in the early 2010s to discuss suspicious order

monitoring, DEA actions, and thresholds. This time period was characterized by extensive

sharing of information and coordination between the Defendants regarding their systems and

procedures related to prescription opioids.

       1395. In addition to those initiatives that were coordinated by the Defendants’ trade and

industry organizations, the Defendants worked closely together. Manufacturers and Distributors

worked together to ensure that there was no interruption in the supply chain, and the PBM

Defendants both worked with the Pharmacies and acted through their mail-order pharmacies to

ensure that there was no interruption in the dispensing of prescription opioids.

       1396. In 2014 the PCF, HDA, NACDS, and APAM came together to coordinate a

response to the Marino Bill including, specifically, to advance and support language that made




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the bill more favorable to furthering the Opioid Diversion Scheme and undermined the

effectiveness and enforcement ability of the DEA.

       1397. The Defendants were members of the PCF, HDA, NACDS, and APAM. Each of

the Defendants is a member, participant, partner, and/or sponsor of the HDA, and has been since

at least 2006, and utilized the HDA to form the interpersonal relationships of the Opioid

Enterprise and to assist them in engaging in the pattern of racketeering activity that gives rise to

the Claim.

       1398. These examples demonstrate that not only did the Defendants share a common

purpose, but they worked together on issues that affected the Opioid Enterprise such as their

ability to continue to profit from unlawful sales of prescription opioids.

       1399. At all relevant times, the Opioid Enterprise: (a) had an existence separate and

distinct from each of the Defendants; (b) was separate and distinct from the pattern of

racketeering in which the Defendants engaged; (c) was an ongoing and continuing organization

consisting of legal entities, including each of the Defendants; (d) was characterized by

interpersonal relationships among the Defendants; (e) had sufficient longevity for the enterprise

to pursue its purpose; and (f) functioned as a continuing unit.

       1400. Each Defendant member of the Opioid Enterprise participated in the conduct of

the enterprise, including patterns of racketeering activity, and shared in the astounding growth of

profits supplied by fraudulently inflating opioid quotas and resulting sales.

       1401. The Defendants carried out, or attempted to carry out, a scheme to defraud federal

and state regulators and the American public by knowingly conducting or participating in the

Opioid Diversion Scheme through a pattern of racketeering activity within the meaning of 18

U.S.C. § 1961(1) that employed the use of mail and wire facilities, in violation of 18 U.S.C.




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§ 1341 (mail fraud) and § 1343 (wire fraud), and involved the felonious manufacture,

distribution, and dispensing of prescription opioids in violation of 18 U.S.C. §§ 841 and 843.

       1402. The Defendants committed, conspired to commit, and/or aided and abetted in the

commission of at least two predicate acts of racketeering activity (i.e., violations of 18 U.S.C.

§§ 1341 and 1343) within the past ten years. The multiple acts of racketeering activity that the

Defendants committed, or aided and abetted in the commission of, were related to each other,

posed a threat of continued racketeering activity, and therefore constitute a “pattern of

racketeering activity.” The racketeering activity was made possible by the Defendants’ regular

use of the facilities, services, distribution channels, and employees of the Opioid Enterprise. The

Defendants participated in the Opioid Diversion Scheme to defraud by using mail, telephone,

and the Internet to transmit mailings and wires in interstate or foreign commerce.

       1403. The Defendants also conducted and participated in the conduct of the affairs of

the Opioid Enterprise through a pattern of racketeering activity by the felonious manufacture,

receiving, concealment, buying, selling, or otherwise dealing in a controlled substance or listed

chemical (as defined in § 102 of the CSA), punishable under any law of the United States.

       1404. The Defendants committed crimes that are punishable as felonies under the laws

of the United States. Specifically, Manufacturer Defendants, Pharmacy Defendants, and

Independent Distributors (as registrants) violated 21 U.S.C. § 843(a)(4), which makes it unlawful

for any person to knowingly or intentionally furnish false or fraudulent information in, or omit

any material information from, any application, report, record or other document required to be

made, kept, or filed under this subchapter. A violation of § 843(a)(4) is punishable by up to four

years in jail, making it a felony. 21 U.S.C. § 843(d)(1).




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       1405. Each Defendant that is a registrant as defined in the CSA is under a statutory

requirement and duty to maintain effective controls against diversion of controlled substances in

Schedule I or II, design and operate a system to disclose to the registrant suspicious orders of

controlled substances, and inform the DEA of suspicious orders when discovered by the

registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

       1406. Each Defendant that is a pharmacy committed crimes punishable as felonies

under the laws of the United States. Specifically, 21 U.S.C. § 841 makes it unlawful for any

person to knowingly or intentionally manufacture, distribute, or dispense, or possess with intent

to manufacture, distribute, or dispense, a controlled substance except as authorized by

Subchapter I of the CSA. A violation of § 841 in the case of controlled substances on Schedule II

is punishable by not more than 20 years of imprisonment, or not less than 20 years imprisonment

if death or seriously bodily injury results from the use of such substance. A violation of § 841 in

the case of controlled substances on Schedule III is punishable by not more than 10 years

imprisonment, or not less than 15 year imprisonment if death or seriously bodily injury results

from the use of such substance. Similarly, a violation of § 841 in the case of controlled

substances in Schedule IV is punishable by not more than 5 years imprisonment. All three

violations of § 841 are felonies.

       1407. Each Pharmacy Defendant is a registrant as defined in the CSA. Their status as

registrants imposes obligations on them to ensure that they only dispense “to the extent

authorized by their registration and in conformity with the [CSA].” 21 U.S.C. § 822(b).

       1408. The Defendants’ predicate acts of racketeering (18 U.S.C. § 1961(1)) include, but

are not limited to:




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               a.     Mail Fraud: The Defendants violated 18 U.S.C. § 1341 by sending or

receiving, or by causing to be sent and/or received, materials via U.S. mail or commercial

interstate carriers for the purpose of executing the unlawful scheme to design, manufacture,

market, sell, and dispense the prescription opioids by means of false pretenses,

misrepresentations, promises, and omissions.

               b.     Wire Fraud: The Defendants violated 18 U.S.C. § 1343 by transmitting

and/or receiving, or by causing to be transmitted and/or received, materials by wire for the

purpose of executing the unlawful scheme to design, manufacture, market, sell, and dispense the

prescription opioids by means of false pretenses, misrepresentations, promises, and omissions.

       1409. Controlled Substances Act Violations: Independent Distributors and Pharmacy

Defendants violated 21 U.S.C. § 823 by knowingly or intentionally furnishing false or fraudulent

information in, and/or omitting material information from, documents filed with the DEA. The

Independent Distributors and Pharmacy Defendants violated 21 U.S.C. § 841 by knowingly or

intentionally possessing and dispensing controlled substances for reasons and purposes not

authorized by the Controlled Substances Act.

       1410. The Defendants conducted their pattern of racketeering activity in this jurisdiction

and throughout the United States through this enterprise.

       1411. The Defendants aided and abetted others in the violations of the above laws,

thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343 offenses.

       1412. The Defendants hid from the general public and suppressed and/or ignored

warnings from third parties, whistleblowers, and governmental entities about the reality of the

manufacture, and distribution of suspicious orders or prescription opioids, and the dispensing of




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illegitimate prescription opioids, that the Defendants were filling on a daily basis—leading to the

diversion of hundreds of millions of doses of prescription opioids into the illicit market.

       1413. As members of the Opioid Enterprise, the Defendants, with knowledge and intent,

agreed to the overall objective of their fraudulent Opioid Diversion Scheme and participated in

the common course of conduct to commit acts of fraud and indecency in manufacturing and

distributing prescription opioids.

       1414. Indeed, for the Defendants’ fraudulent Opioid Diversion Scheme to work, each

one had to agree to implement similar tactics regarding the manufacturing, distributing, and

dispensing of prescription opioids, while refusing to report suspicious orders and filling

illegitimate prescriptions without conducting due diligence on red flags.

       1415. As described herein, the Defendants engaged in a pattern of related and

continuous predicate acts for years. The predicate acts constituted a variety of unlawful

activities, each conducted with the common purpose of obtaining significant monies and

revenues from the sale of their highly addictive and dangerous drugs. The predicate acts also

had the same or similar results, participants, victims, and methods of commission. The predicate

acts were related and not isolated events.

       1416. The predicate acts all had the purpose of creating the opioid epidemic that

substantially injured Plaintiffs’ business and property, while simultaneously generating billion-

dollar revenue and profits for the Defendants. The predicate acts were committed or caused to

be committed by the Defendants through their participation in the Opioid Enterprise and in

furtherance of its fraudulent Opioid Diversion Scheme.

       1417. The pattern of racketeering activity alleged herein and the Opioid Enterprise are

separate and distinct from each other. Likewise, the Defendants are distinct from the enterprise.




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       1418. The pattern of racketeering activity alleged herein was continuing as of the date of

Plaintiffs’ original Complaint.

       1419. Many of the precise dates of the Defendants’ criminal actions at issue here have

been hidden by Defendants and cannot be alleged without access to Defendants’ books and

records. Indeed, an essential part of the successful operation of the Opioid Enterprise and its

Opioid Diversion Scheme alleged herein depended upon secrecy.

       1420. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in the fraudulent Opioid Diversion Scheme and its unlawful course

of conduct constituting a pattern of racketeering activity.

       1421. It was foreseeable to the Defendants that Plaintiffs would be harmed when they

refused to report and halt suspicious orders, and when they filled illegitimate prescriptions

without conducting due diligence to resolve red flags. Their violation of the duties imposed by

the Controlled Substances Act and Code of Federal Regulations allowed the widespread

oversupply of prescription opioids, causing the opioid epidemic that the CSA intended to

prevent, and causing Plaintiffs to pay for prescription opioids and opioid-related treatment for

which Plaintiff otherwise would not have paid.

       1422. It was foreseeable to the Defendants and members of the Opioid Enterprise that

Plaintiffs would be harmed when they engaged in the fraudulent schemes that form the common

purposes of the Opioid Enterprise and the pattern of racketeering activities alleged herein.

Indeed, extracting money from commercial payors like Plaintiffs was a primary goal of

Defendants’ racketeering activities.




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       1423. The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering. Plaintiffs did not learn of its injury resulting from Defendants’

racketeering activities more than four years prior to the filing of Plaintiffs’ original Complaint.

       1424. The Defendants’ violations of law and their pattern of racketeering activity

directly and proximately caused Plaintiffs’ injury in their business and property. The

Defendants’ pattern of racketeering activity, including their refusal to identify, report, and halt

suspicious orders of controlled substances, logically, substantially, and foreseeably cause an

opioid epidemic. Plaintiffs were injured by the Defendants’ pattern of racketeering activity and

the opioid epidemic that they created.

       1425. The Defendants knew that the opioids they manufactured and supplied were

unsuited to treatment of long-term, chronic, non-acute, and non-cancer pain, or for any other use

not approved by the FDA, and knew that opioids were highly addictive and subject to abuse.

Nevertheless, the Defendants engaged in a scheme of deception that utilized the mail and wires

as part of their fraud, in order to increase sales of their opioid products by refusing to identify,

report suspicious orders of prescription opioids that they knew were highly addictive, subject to

abuse, and were actually being diverted into the illegal market.

       1426. The Defendants’ predicate acts and pattern of racketeering activity were a cause

of the opioid epidemic which has injured Plaintiffs in the form of substantial losses of money and

property that logically, directly, and foreseeably arise from the opioid-addiction epidemic.

       1427. Specifically, Plaintiffs’ injuries, as alleged throughout this Complaint, and

expressly incorporated herein by reference, include:




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               a.      Losses caused by purchasing and/or paying reimbursements for

Defendants’ prescription opioids, that Plaintiffs would not have paid for or purchased but for

Defendants’ conduct;

               b.      Costs for providing healthcare and medical care, additional therapeutic,

and prescription drug purchases, and other treatments for patients suffering from opioid-related

addiction or disease, including overdoses and deaths;

               c.      Costs for providing treatment of infants born with opioid-related medical

conditions, or born addicted to opioids due to drug use by a mother during pregnancy;

               d.      Costs for providing mental health services, treatment, counseling,

rehabilitation services, and social services to victims of the opioid epidemic and their families;

               e.      Payments for hospital and/or urgent care emergency department visits and

other treatment for opioid misuse, addiction, and/or overdose;

               f.      Payments for emergency department visits for infections related to opioid

misuse, addiction, and/or overdose;

               g.      Payments for hospitalizations related to the misuse, addiction, and/or

overdose of opioids;

               h.      Payments for medicines to treat HIV, hepatitis C, and other issues related

to the opioid misuse, addiction, and/or overdose; and

               i.      Payments for opioid overdose reversal medication such as Naloxone

Hydrochloride (Narcan).

       1428. Plaintiffs’ injuries were proximately caused by Defendants’ racketeering activities

because they were the logical, substantial, and foreseeable cause of Plaintiffs’ injuries.




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        1429. Plaintiffs’ injuries were directly caused by the Defendants’ pattern of racketeering

activities.

        1430. Plaintiffs are most directly harmed, and there are no other plaintiffs better suited

to seek a remedy for the economic harms at issue here.

        1431. Plaintiffs seek all legal and equitable relief as allowed by law, including, inter

alia, actual damages; treble damages; equitable and/or injunctive relief in the form of court-

supervised corrective communication, actions and programs; forfeiture as deemed proper by the

Court; attorney’s fees; all costs and expenses of suit; and pre- and post-judgment interest,

including:

               a.      Actual damages and treble damages, including pre-suit and post-judgment

interest;

               b.      An order enjoining any further violations of RICO;

               c.      An order enjoining any further violations of any statutes alleged to have

been violated in this Complaint;

               d.      An order enjoining the commission of any tortious conduct, as alleged in

this Complaint;

               e.      An order enjoining any future marketing or misrepresentations regarding

the health benefits or risks of prescription opioids use, except as specifically approved by the

FDA;

               f.      An order enjoining any future marketing of opioids through non-branded

marketing including through the Front Groups, KOLs, websites, or in any other manner alleged

in this Complaint that deviates from the manner or method in which such marketing has been

approved by the FDA;




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               g.         An order enjoining any future marketing to vulnerable populations,

including, but not limited to, persons over the age of 55, anyone under the age of 21, and

veterans;

               h.         An order compelling the Defendants to make corrective advertising

statements that shall be made in the form, manner and duration as determined by the Court, but

not less than print advertisements in national and regional newspapers and medical journals,

televised broadcast on major television networks, and displayed on their websites, concerning:

(1) the risk of addiction among patients taking opioids for pain; (2) the ability to manage the risk

of addiction; (3) pseudoaddiction is really addiction, not a sign of undertreated addiction;

(4) withdrawal from opioids is not easily managed; (5) increasing opioid dosing presents

significant risks, including addiction and overdose; (6) long-term use of opioids has no

demonstrated improvement of function; (7) use of time-released opioids does not prevent

addiction; (8) ADFs do not prevent opioid abuse; and (9) that manufacturers and distributors

have duties under the CSA to monitor, identify, investigate, report and halt suspicious orders and

diversion but failed to do so;

               i.         An order enjoining any future lobbying or legislative efforts regarding the

manufacturer, marketing, distribution, diversion, prescription, or use of opioids;

               j.         An order requiring all Defendants to publicly disclose all documents,

communications, records, data, information, research or studies concerning the health risks or

benefits of opioid use;

               k.         An order prohibiting all Defendants from entering into any new payment

or sponsorship agreement with, or related to, any: Front Group, trade association, doctor,




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speaker, CME, or any other person, entity, or association, regarding the manufacturer, marketing,

distribution, diversion, prescription, or use of opioids;

               l.      An order establishing a national foundation for education, research,

publication, scholarship, and dissemination of information regarding the health risks of opioid

use and abuse to be financed by the Defendants in an amount to be determined by the Court;

               m.      An order enjoining any diversion of opioids or any failure to monitor,

identify, investigate, report and halt suspicious orders or diversion of opioids;

               n.      An order requiring all Defendants to publicly disclose all documents,

communications, records, information, or data, regarding any prescriber, facility, pharmacy,

clinic, hospital, manufacturer, distributor, person, entity or association regarding suspicious

orders for or the diversion of opioids;

               o.      An order divesting each Defendant of any interest in, and the proceeds of

any interest in, the Opioid Enterprise, including any interest in property associated with the

Opioid Enterprise;

               p.      Dissolution and/or reorganization of any trade industry organization, Front

Group, or any other entity or association associated with the Opioid Enterprise identified in this

Complaint, as the Court sees fit;

               q.      Dissolution and/or reorganization of any Defendant named in this

Complaint as the Court sees fit;

               r.      Suspension and/or revocation of the license, registration, permit, or prior

approval granted to any Defendant, entity, association, or enterprise named in the Complaint

regarding the manufacture or distribution of opioids;

               s.      Forfeiture as deemed appropriate by the Court; and




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               t.      Attorney’s fees and all costs and expenses of suit.

                                  THIRD CLAIM FOR RELIEF
                                          Negligence
                                    (Against All Defendants)

       1432. Plaintiffs incorporate by reference all other paragraphs of this Complaint as if

fully set forth herein and further allege:

       1433. Defendants owed Plaintiffs a duty not to expose Plaintiffs to an unreasonable risk

of harm.

       1434. Defendants had a legal duty to exercise reasonable and ordinary care and skill in

accordance with applicable standards of conduct in manufacturing, advertising, marketing,

selling, distributing, and/or dispensing opioids.

       1435. Defendants had a duty not to breach the standard of care established under state

controlled substance laws and the federal CSA and its implementing regulations to report

suspicious prescribing and to maintain systems to detect and report such activity.

       1436. Defendants’ duties were preexisting.

       1437. The degree of care the law requires is commensurate with the risk of harm the

conduct creates. Defendants’ conduct in marketing, distributing, selling, and dispensing

dangerously addictive drugs requires a high degree of care. It places them in a position of great

trust and responsibility vis-à-vis Plaintiffs. Defendants’ duty of care is independent of any

contract between the parties. Their duty cannot be delegated.

       1438. Each Defendant breached its duty to exercise the degree of care, prudence,

watchfulness, and vigilance commensurate with the dangers of selling controlled substances.

Defendants placed their profit motives above their legal duty and enabled, encouraged, and

caused the over-prescribing and distribution of opioids.

       1439. Defendants breached their duty to Plaintiffs by, inter alia:


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               a.      Distributing and selling opioids in ways that facilitated and encouraged

their flow into the illegal, secondary market;

               b.      Distributing and selling opioids without maintaining adequate controls

against the diversion of opioids;

               c.      Choosing not to effectively and adequately monitor for suspicious orders;

               d.      Choosing not to investigate suspicious orders;

               e.      Choosing not to report suspicious orders;

               f.      Choosing not to stop or suspend shipments of suspicious orders;

               g.      Distributing and selling opioids prescribed by “pill mills” when

Defendants knew or should have known the opioids were being prescribed by “pill mills”; and

               h.      Failing to check for and conclusively resolve red flags of possible

diversion before dispensing opioids.

               i.      As to Marketing Defendants, choosing to affirmatively market the

supposed benefits and efficacy of opioid drugs while also choosing to misrepresent, suppress or

omit; and/or failing to disclose and communicate, the facts they knew or should have known

regarding the harmful, dangerous, and addictive properties of opioid drugs.

       1440. Through discovery, specific examples of pharmacies that placed excessive orders

and particular orders that Defendants should have reviewed or refused to fill will become

available. This will include instances where the volume and/or frequency of orders were

inconsistent with legitimate medical need, thus contributing to the illegal, secondary market.

       1441. In addition, Defendants engaged in affirmative acts of creating an illegal,

secondary prescription opioid market by failing to exercise adequate control over the




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manufacturing, advertising, marketing, selling, distributing, and dispensing of their prescription

opioids.

        1442. Marketing Defendants also breached their duty to Plaintiffs by deceptively

marketing opioids, including downplaying the risks of addiction and overdose and exaggerating

the purported benefits of long-term use of opioids for the treatment of chronic pain.

        1443. Plaintiffs do not allege that Defendants were negligent for failure to protect from

harm. Rather, Defendants engaged in conduct the foreseeable result of which was to cause harm

to Plaintiffs.

        1444. Defendants have engaged in affirmative acts of creating an illegal, secondary

prescription opioid market by failing to exercise adequate control over the marketing,

distribution, dispensing and sale of prescription opioids.

        1445. Defendants were negligent by marketing, distributing, selling, and dispensing

opioids in a way that created and fostered an illegal, secondary prescription opioid market that

resulted in a foreseeable and unreasonable risk of harm to Plaintiffs.

        1446. The method by which Defendants created this market was by marketing,

distributing, selling, and dispensing opioids without regard to the likelihood that the opioids

would be placed in the hands of criminals, people with an addiction, juveniles, and others not

permitted to use or possess prescription opioids.

        1447. A reasonably prudent opioid manufacturer and distributor should have anticipated

an injury to Plaintiffs as a probable result of marketing, distributing, selling, and dispensing

prescription opioids in this manner.

        1448. It was reasonably foreseeable that Defendants’ actions and omissions would result

in the harm to Plaintiffs as described herein.




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       1449. Defendants had control over their conduct. Marketing Defendants controlled their

deceptive advertising and efforts to mislead the public, including their acts and omissions in

detailing by their sales representatives, online communications, publications, Continuing

Medical Education programs and other speaking events, and other means described in this

Complaint. Defendants had control over their shipments of opioids and their reporting, or lack

thereof, of suspicious prescribers and orders. Each of the Defendants controlled the systems they

developed to prevent diversion, including the criteria and process they used to identify suspicious

orders, whether and to what extent they trained their employees to report and halt suspicious

orders, and whether they filled orders they knew or should have known were likely to be diverted

or fuel an illegal market.

       1450. Marketing Defendants’ deceptive marketing of opioids and each Defendants’

unique role in the closed opioid distribution system significantly contributed to the widespread

use of opioids. Were it not for Defendants’ conduct, the current public health crisis of

prescription opioid and heroin overuse, abuse, and addiction would have been averted.

       1451. Because of the Marketing Defendants’ deceptive marketing of opioids and each of

the Defendants’ special positions within the closed system of opioid distribution, without

Defendants’ actions, opioid use would not have become so widespread, and the enormous public

health hazard of prescription opioid and heroin overuse, abuse, and addiction that now exists

would have been averted.

       1452. Defendants also misleadingly portrayed themselves as cooperating with law

enforcement and actively working to combat the opioid epidemic when, in reality, Defendants

failed to satisfy even their minimum, legally-required obligations to report suspicious orders.




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Defendants voluntarily undertook duties, through their statements to the media, regulators, and

the public, to take all reasonable precautions to prevent drug diversion.

       1453. Defendants are in the business of manufacturing, marketing, distributing, and/or

dispensing prescription drugs, including opioids, which are specifically known to Defendants to

be dangerous because, inter alia, these drugs are defined under federal and state law as

substances posing a high potential for abuse and addiction.

       1454. Indeed, opioids are akin to medical-grade heroin. Defendants’ wrongful conduct

of deceptively marketing and pushing as many opioids onto the market as possible led directly to

the public nuisance and harm to Plaintiffs – exactly as would be expected when medical-grade

heroin in the form of prescription opioids are deceptively marketed, flood the community, and

are diverted into an illegal, secondary market.

       1455. Reasonably prudent manufacturers and distributors of prescription opioids would

have anticipated that the scourge of opioid addiction would wreak havoc on communities and the

significant costs that would be imposed upon TPPs associated with those communities. Indeed,

it is of violation of federal law, 21 U.S.C. § 823 and 21 C.F.R. § 1301.74, and state laws for

Defendants not to report suspicious orders and exercise due diligence not to ship such orders

unless and until the suspicion has been removed. The closed system of opioid distribution,

whereby wholesale distributors are the gatekeepers between manufacturers and pharmacies, was

designed to control dangerous substances such as opioids and prevent diversion and abuse.

       1456. Marketing Defendants knew or should have known, that their affirmative

misconduct in engaging in an aggressive, widespread, and misleading campaign in marketing

narcotic drugs created an unreasonable risk of harm. Defendants’ sales data, reports from sales

representatives, and internal documents should have put them on notice that such harm was not




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only foreseeable but was actually occurring. Defendants nevertheless chose to deceptively

withhold information about the dangers of opioids from Plaintiffs, physicians, patients, and the

public.

          1457. Defendants also violated federal and state statutes and regulations, including

controlled substances laws, by, inter alia:

                 a.     Distributing and selling opioids in ways that facilitated and encouraged

their flow into the illegal, secondary market;

                 b.     Distributing and selling opioids without maintaining adequate controls

against the diversion of opioids;

                 c.     Choosing not to adequately monitor for suspicious orders;

                 d.     Choosing not to investigate suspicious orders;

                 e.     Choosing not to report suspicious orders;

                 f.     Choosing not to stop or suspend shipments of suspicious orders;

                 g.     Distributing and selling opioids prescribed by “pill mills” when

Defendants knew or should have known the opioids were being prescribed by “pill mills”; and

                 h.     Failing to check for and conclusively resolve red flags of possible

diversion before dispensing opioids.

          1458. As a direct and proximate result of Defendants’ negligence, Plaintiffs have

suffered and will continue to suffer injuries, as alleged throughout this Complaint, including:

                 a.     payments for prescription opioids that were not medically necessary;

                 b.     payments for opioid addiction or opioid-related treatment;

                 c.     payments for hospital and/or urgent care emergency department visits and

other treatment for opioid misuse, addiction, and/or overdose;




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                d.      payments for emergency department visits for infections related to opioid

misuse, addiction, and/or overdose;

                e.      payments for hospitalizations related to the misuse, addiction, and/or

overdose of opioids;

                f.      payments for medicines to treat HIV, hepatitis C, and other issues related

to opioid misuse, addiction, and/or overdose; and

                g.      payments for opioid overdose reversal medication such as Naloxone

Hydrochloride (Narcan).

        1459. As a direct and proximate result of Defendants’ negligence, Plaintiffs have

suffered and will continue to suffer stigma damage, non-physical property damage, and damage

to its proprietary interests.

        1460. As a direct and proximate result of Defendants’ negligent, willful, wanton, and

intentional acts, omissions, misrepresentations, and otherwise culpable acts, there is now a

national opioid epidemic that has caused enormous harm and injury to the public, including the

Plaintiffs, their members, employees, and beneficiaries.

        1461. Defendants’ alleged misconduct in this case is ongoing and persistent.

        1462. Plaintiffs have incurred expenditures as a direct result of Defendants’ misconduct.

        1463. Plaintiffs have suffered an indivisible injury as a result of the tortious conduct of

Defendants.

        1464. The tortious conduct of each Defendant was a substantial factor in producing

harm to Plaintiffs.




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       1465. Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions have a great probability of

causing substantial harm.

       1466. Plaintiffs seek all legal and equitable relief as allowed by law, including inter alia

injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages, and

all damages allowed by law to be paid by the Defendants, attorney fees and costs, and pre- and

post-judgment interest.

                                FOURTH CLAIM FOR RELIEF
                                     Unjust Enrichment
                                   (Against All Defendants)

       1467. Plaintiffs incorporate by reference all other paragraphs of this Complaint as if

fully set forth herein and further allege:

       1468. Defendants are the manufacturers, marketers, sellers, suppliers, and/or dispensers

of opioids. Defendants deliberately and deceptively marketed opioids, implemented inadequate

controls to prevent diversion, and failed to adequately monitor, report, or prevent the dispersion

of suspicious opioid orders. Through their wrongful and deceptive conduct, Defendants have

reaped substantial profits from the sale of prescription opioids.

       1469. Significant portions of Defendants’ profits derive from TPPs, like Plaintiffs, who

have either paid for or reimbursed their beneficiaries for the purchase of medically unnecessary

and/or unsafe prescription opioids. These payments directly benefited Defendants and resulted

from Defendants’ deliberate and wrongful actions.

       1470. Defendants knew that Plaintiffs paid for or reimbursed their members for the

purchase of opioids that were medically unnecessary, generally ineffective, and/or unsafe.

Defendants also knew that the use of opioids for the treatment of chronic pain and/or other long-




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term medical conditions offered no greater benefit than those offered by less expensive

medications and treatment options.

        1471. Defendants were aware they were receiving improper benefits from Plaintiffs and

actively engaged in strategies to enhance and perpetuate them. For example, Marketing

Defendants contracted and conspired with Defendant PBMs to coordinate unfettered formulary

placement with no or limited utilization management measures regarding each opioid drug in

Defendant PBMs’ standard offerings. This manipulation of formulary placement dictated

Plaintiffs’ decisions on paying for or reimbursing these drugs, leading them to cover costs for

opioids that were not medically necessary or prone to abuse. Defendants’ conscious retention of

these payments, knowing their basis in deceptive practices, is patently unjust.

        1472. Moreover, through their deceptive marketing of prescription opioids, Marketing

Defendants garnered profits that would have been unattainable without such tactics. This undue

enrichment, resulting from deceptive marketing and a lack of due diligence, is unjust.

        1473. Plaintiffs have paid for the cost of Defendants’ externalities and Defendants have

benefited from those payments because they allowed them to continue providing customers with

a high volume of opioid products, which allowed Defendants to obtain enrichment they would

not otherwise have obtained.

        1474. Defendants were aware of those benefits. Defendants have unjustly retained

benefits to the detriment of Plaintiffs, and Defendants’ retention of such benefits violates the

fundamental principles of justice, equity, and good conscience.

        1475. Defendants’ misconduct is ongoing and persistent, characterized by recent

practices and patterns that continue to perpetuate the cycle of unjust enrichment at the expense of

Plaintiffs.




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       1476. Plaintiffs have incurred expenditures as a direct result of Defendants’ misconduct,

and have incurred expenditures over and above Plaintiffs’ ordinary services.

       1477. Plaintiffs lack an adequate remedy at law to redress their injuries.

       1478. Plaintiffs seek an order compelling Defendants to disgorge all unjust enrichment

to Plaintiffs and awarding such other, further, and different relief as this Honorable Court may

deem just.

                                  FIFTH CLAIM FOR RELIEF
                                       Civil Conspiracy
                                    (Against All Defendants)

       1479. Plaintiffs incorporate by reference all other paragraphs of this Complaint as if

fully set forth herein and further allege:

       1480. Defendants engaged in a civil conspiracy in their unlawful marketing of opioids

and/or distribution of opioids into the United States and the communities in which Plaintiffs’

plan participants and beneficiaries reside.

       1481. Defendants engaged in a civil conspiracy to commit fraud and misrepresentation

in conjunction with their unlawful marketing of opioids, distribution of opioids, and/or

dispensing of opioids into the United States and the communities in which Plaintiffs’ plan

participants and beneficiaries reside. For example, Defendants contracted and coordinated

unfettered formulary placement with minimal or no utilization management measures regarding

each opioid drug in Defendant PBMs’ standard offerings, such that there would be as little an

impediment as possible to opioid prescribing and dispensing. These contracts relied on an

underlying fraudulent scheme to ensure unfettered access to Defendant PBM’s formulary

offerings.

       1482. Defendants unlawfully failed to act to prevent diversion and failed to monitor for,

report, and prevent suspicious orders of opioids.


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        1483. The Marketing Defendants further unlawfully marketed opioids in the United

States and the communities in which Plaintiffs’ plan participants and beneficiaries reside, in

furtherance of that conspiracy.

        1484. Defendants’ conspiracy and acts in furtherance thereof are alleged in detail in this

Complaint, including, without limitation, in Plaintiffs’ claims for violations of RICO. Such

allegations are specifically incorporated herein.

        1485. Defendants acted with a common understanding or design to commit unlawful

acts, as alleged herein, and acted purposely, without a reasonable or lawful excuse, which

directly caused Plaintiffs’ injuries.

        1486. Defendants acted with malice, purposely, intentionally, unlawfully, and without a

reasonable or lawful excuse.

        1487. Defendants’ conduct in furtherance of the conspiracy described herein was not

mere parallel conduct because each Defendant acted directly against their commercial interests in

not reporting the unlawful distribution practices of their competitors to the authorities, which

they had a legal duty to do. Each Defendant acted against their commercial interests in this

regard due to an actual or tacit agreement between the Defendants that they would not report

each other to the authorities so they could all continue engaging in their unlawful conduct.

        1488. Defendants’ conspiracy, and Defendants’ actions and omissions in furtherance

thereof, caused the direct and foreseeable losses alleged herein, including but not limited to:

                a.      payment or reimbursement for opioid prescriptions written to the

participants it covered and intended for consumption by its covered participants, their

dependents, and covered retirees;




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               b.       treatment costs related to misuse, addiction, and/or overdose of opioids by

Plaintiffs’ covered participants, their dependents, and covered retirees’ healthcare and Medicare,

additional therapeutic and prescription drug purchases, and other treatments for patients suffering

from opioid-related addiction or disease, opioid use disorder, neonatal abstinence syndrome, and

other opioid-induced disorders and opioid-related illness and medical conditions, including

overdoses and deaths;

               c.       payments for hospital and/or urgent care emergency department visits and

other treatment for opioid misuse, addiction, and/or overdose;

               d.       payments for emergency department visits for infections related to opioid

misuse, addiction, and/or overdose;

               e.       payments for hospitalizations related to the misuse, addiction and/or

overdose of opioids;

               f.       payments for opioid overdose reversal medication such as Naloxone

Hydrochloride (Narcan); and

               g.       costs paid by Plaintiffs for providing mental-health services, treatment,

counseling, rehabilitation services, and social services to covered participants, their dependents,

and covered retirees who are victims of the opioid epidemic.

       1489. Defendants’ actions demonstrated both malice and also aggravated and egregious

fraud. Defendants engaged in the conduct alleged herein with a conscious disregard for the

rights and safety of other persons, even though that conduct has a great probability of causing

substantial harm.




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        1490. The interruption of the time limit within which legal action must be taken against

any of the Defendants in this action is effective against all Defendants, as they are joint

tortfeasors in the conspiracy.

        1491. Defendants’ misconduct alleged in this case is ongoing and persistent.

        1492. Plaintiffs have incurred expenditures as a direct result of Defendants’ misconduct.

        1493. Plaintiffs seek all legal and equitable relief as allowed by law, including inter alia

injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages, and

all damages allowed by law to be paid by the Defendants, attorney fees and costs, and pre-and

post-judgment interest.

                                 SIXTH CLAIM FOR RELIEF
                          Violation of State Consumer Protection Laws
                                    (Against All Defendants)

        1494. Plaintiffs repeat, re-allege, and incorporate by reference each and every allegation

set forth above as if fully set forth herein.

        1495. This cause of action is brought under the consumer protection laws of 34 states,

District of Columbia, and Puerto Rico (the “State Consumer Protection Laws”).195 These laws,

although they vary in certain specifics, share core principles prohibiting unfair, deceptive, and

fraudulent business practices that harm consumers.

        1496. For the purposes of this Count, the term “State Consumer Protection Laws” shall

refer collectively to the statutes and regulations of the 34 states, District of Columbia, and Puerto

Rico listed below:




195
  This cause of action is not brought on behalf of TPPs in Alabama, Arkansas, Colorado,
Delaware, Hawaii, Kansas, Kentucky, Louisiana, Mississippi, New Jersey, Ohio, South Carolina,
Tennessee, Vermont, Virginia, and Wyoming.


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        State          Consumer Protection Law                           Cite
 Alaska          Alaska Unfair Trade Practices and        Alaska Stat. § 45.50.471, et seq.
                 Consumer Protection Act
 Arizona         Arizona Consumer Fraud Act               A.R.S. §§ 44-1521, et seq.
 California      California Unfair Competion Law          Cal. Bus. & Prof. Code § 17200,
                                                          et seq.

 Connecticut     Connecticut Unfair Trade Practices Act   Conn. Gen. Stat. Ann. § 42-110a,
                                                          et seq.

 District of     District of Columbia Consumer            D.C. Code §§ 28-3904, et seq.
 Columbia        Protection Procedures Act

 Florida         Florida Deceptive and Unfair Trade       Fla. Stat. Ann. § 501.201, et seq.
                 Practices Act

 Georgia         Georgia Uniform Deceptive Trade          Ga. Code. Ann. §§ 10-1-370, et
                 Practices Act                            seq.

 Idaho           Idaho Consumer Protection Act            Idaho Code §§ 48-601, et seq.

 Illinois        Illinois Consumer Fraud and Deceptive    815 Ill. Comp Stat. §§ 505/1, et
                 Business Practices Act, and Illinois     seq.; 815 Ill. Comp. Stat.
                 Uniform Deceptive Trade Practices Act    §§ 510/1, et seq.

 Indiana         Indiana Deceptive Consumer Sales Act     Ind. Code §§ 24-5-0.5-1, et seq.

 Iowa            Private Right of Action for Consumer     Iowa Code §§ 714H.1, et seq.
                 Frauds Act

 Maine           Maine Unfair Trade Practices Act, and    5 Me. Rev. Stat. §§ 205-A, et
                 Maine Uniform Deceptive Trade            seq.; 10 Me. Rev. Stat. §§ 1211,
                 Practices Act                            et seq.

 Maryland        Maryland Consumer Protection Act         Md. Comm. Code §§ 13-301, et
                                                          seq.

 Massachusetts   Massachusetts Consumer Protection Act    Mass. Gen. Laws. Ann. ch. 93A,
                                                          §§ 1, et seq.

 Michigan        Michigan Consumer Protection Act         Mich. Comp. Laws Ann.
                                                          §§ 445.903, et seq.

 Minnesota       Minnesota Prevention of Consumer         Minn. Stat. §§ 325F.68, et seq.;
                 Fraud Act, and Minnesota Uniform         Minn. Stat. §§ 8.31, et seq.;
                 Deceptive Trade Practices Act            Minn. Stat. §§ 325D.43, et seq.




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      State             Consumer Protection Law                             Cite
 Missouri         Missouri Merchandising Practices Act      Mo. Rev. Stat. §§ 407.010, et
                                                            seq.


 Montana          Montana Unfair Trade Practices and        M.C.A. §§ 30-14-101, et seq.
                  Consumer Protection Act

 Nebraska         Nebraska Consumer Protection Act, and     Neb. Rev. Stat. §§ 59-1601, et
                  Nebraska Uniform Deceptive Trade          seq.; Neb. Rev. Stat. §§ 87-301,
                  Practices Act                             et seq.

 Nevada           Nevada Consumer Fraud Act, and            Nev. Rev. Stat. §§ 41.600; Nev.
                  Nevada Deceptive Trade Practices Act      Rev. Stat. Ann. §§ 598.0903, et
                                                            seq.

 New              New Hampshire Consumer Protection         N.H. Rev. Stat. §§ 358-A:1, et
 Hampshire        Act                                       seq.

 New Mexico       New Mexico Unfair Practices Act           N.M. Stat. Ann. §§ 57-12-2, et
                                                            seq.

 New York         New York Deceptive Practices Act          N.Y. Gen. Bus. Law §§ 349, et
                                                            seq.

 North Carolina   North Carolina Unfair Trade Practices     N.C. Gen. Stat. Ann. §§ 75-1.1.,
                  Act                                       et seq.

 North Dakota     North Dakota Unlawful Sales or            N.D. Cent. Code §§ 51-15-01, et
                  Advertising Act                           seq.

 Oklahoma         Oklahoma Consumer Protection Act          Okla. Stat. tit. 15, §§ 751, et seq.

 Oregon           Oregon Unlawful Trade Practices Act       Or. Rev. Stat. §§ 646.605, et seq.

 Pennsylvania     Pennsylvania Unfair Trade Practices and   73 Pa. Cons. Stat. §§ 201-1, et
                  Consumer Protection Law                   seq.

 Puerto Rico      Puerto Rico Department of Consumer        P.R. Laws Ann. tit. 3, §§ 341, et
                  Affairs Organic Act, and Puerto Rico      seq.; P.R. Laws Ann. tit. 10,
                  Fair Competition Act                      §§ 259, et seq.

 Rhode Island     Rhode Island Unfair Sales Practices Act   6 R.I. Gen. Laws §§ 6-13-1, et
                                                            seq.




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        State              Consumer Protection Law                              Cite
 South Dakota        South Dakota Deceptive Trade Practices      S.D. Codified Laws §§ 37-24-1,
                     and Consumer Protection Act                 et seq.

 Texas               Deceptive Trade Practices-Consumer          Tex. Bus. & Com. Code §17.41,
                     Protection Act                              et seq.

 Utah                Utah Consumer Sales Practices Act           Utah Code §§ 13-11-1, et seq.

 Washington          Washington Consumer Protection Act          Wash. Rev. Code §§ 19.86.020,
                                                                 et seq.

 West Virginia       West Virginia Consumer Credit And           W. Va. Code § 46A-1-102, et
                     Protection Act                              seq.

 Wisconsin           Wisconsin Deceptive Trade Practices Act Wis. Stat. § 100.18



         1497. Plaintiffs and Class members are “consumers” or “persons” as defined under the

respective State Consumer Protection Laws. Plaintiffs and Class members purchased or

reimbursed opioid products not for resale, but for the use and benefit of their business and in

connection with the operation of their business, namely to provide healthcare coverage for

patients. These purchases qualify as “consumer transactions” under the applicable State

Consumer Protection Laws because they were made for the benefit of individuals for personal,

family, or household purposes – specifically, to pay for medications prescribed for the healthcare

of their beneficiaries.

         1498. Defendants’ deceptive marketing and failure to disclose critical information both

directly and indirectly harmed Plaintiffs, who were induced to reimburse for opioids under the

mistaken belief that they were safe for long-term use.

         1499. Defendants engaged in “trade” or “commerce” as defined by the State Consumer

Protection Laws by advertising, marketing, and selling opioid products within the states covered

by this Count.



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       1500. Plaintiffs and Class members have a private right of action under the State

Consumer Protection Laws.

       1501. As alleged infra, Defendants, directly or through their agents, employees, and/or

subsidiaries, violated the State Consumer Protection Laws by knowingly and intentionally

engaging in deceptive, unlawful, unfair, and fraudulent business practices, including, but not

limited to:

               a.     Misrepresentation of Opioid Safety and Efficacy: Defendants

misrepresented the safety and efficacy of opioids for long-term use, falsely promoting them as

safe for chronic pain management despite knowing the high risk of addiction, misuse, and

overdose. Defendants disseminated these misrepresentations through direct-to-consumer

advertising, misleading statements to healthcare providers and Plaintiffs and their agents, and

false claims made in promotional materials and industry publications, all designed to deceive and

manipulate the decisions of Plaintiffs and Class members.

               b.     Concealment of Material Facts: Defendants failed to disclose critical

information about the dangers of opioid use, including the risks of addiction and overdose. This

concealment was deliberate and intended to mislead Plaintiffs and Class members into believing

that opioids were safe and appropriate for long-term use. Defendants’ failure to disclose these

material facts directly influenced the widespread and inappropriate prescription of opioids.

               c.     Unfair and Deceptive Marketing Practices: Defendants engaged in

extensive marketing campaigns that exaggerated the benefits of opioids while downplaying their

risks. These campaigns included false claims that opioids were rarely addictive when used for

chronic pain and that patients showing signs of addiction were actually exhibiting “pseudo-




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addiction” and required more opioids. Defendants also paid healthcare providers to promote

these false narratives – further fueling the opioid crisis.

                d.      Failure to Implement Adequate Safeguards: Defendants failed to

implement reasonable safeguards to prevent the over-prescription and misuse of opioids and to

comply with their obligations under the CSA and state laws to prevent diversion. Despite clear

evidence of the risks associated with opioids, including numerous red-flag warnings of abuse and

diversion, Defendants continued to aggressively market and then flood the market with these

dangerous drugs. This reckless conduct was in direct violation of their duty to ensure that their

products were sold, distributed, and dispensed safely, and it significantly contributed to the

opioid epidemic.

                e.      Active Suppression of Negative Information: Defendants actively

suppressed and discredited negative information about the risks of opioid use. When confronted

with evidence of the dangers of opioids, Defendants attacked the credibility of the researchers,

manipulated data to downplay the risks, and continued to promote opioids as safe and effective.

This suppression of information was intended to maintain high sales volumes and maximize

profits at the expense of public health.

        1502. Defendants’ unfair and deceptive acts and practices, as described above, violated

the State Consumer Protection Laws, which generally prohibit the following:

                a.      Deceptive Acts and Practices: Defendants engaged in deceptive acts or

practices by making false and misleading representations about the safety, efficacy, and risks of

opioids. These deceptive acts were likely to mislead a reasonable consumer and did, in fact,

mislead Plaintiffs and Class members.




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                b.      False Advertising: Defendants engaged in false advertising by promoting

opioids as safe and effective for long-term use without disclosing the significant risks of

addiction, misuse, and overdose. This false advertising was a direct cause of the opioid epidemic,

as it encouraged the widespread and inappropriate use of opioids.

                c.      Omission of Material Facts: Defendants failed to disclose material facts

about the risks of opioid use, including the likelihood of addiction and the potential for overdose.

These omissions were designed to mislead consumers and healthcare providers, and they had a

significant impact on the decisions to prescribe, purchase, and use opioids.

                d.      Unfair Trade Practices: Defendants engaged in unfair trade practices by

distributing opioids in quantities that far exceeded legitimate medical needs, ignoring clear

evidence of abuse and diversion, and placing their financial interests above the safety and well-

being of consumers. Defendants’ actions and omissions violated fundamental public policies

expressed by the federal and state legislatures, and the injury they caused Plaintiffs and Class

members is substantial, not reasonably avoidable by consumers themselves, and not outweighed

by any countervailing benefits. Unlawful Trade Practices: Defendants’ acts, omissions, and

misrepresentations as alleged herein were unlawful and in violation of, inter alia, each of the

State Consumer Protection Statutes alleged in this count, Section 5(a) of the Federal Trade

Commission Act, and the CSA and state law equivalents, as alleged throughout this Complaint .

        1503. Defendants’ violations present a continuing risk to Plaintiff and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.




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       1504. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

Class members have suffered substantial harm, injury in fact, and lost money or

propertyincluding:

               a.      Losses caused by purchasing and/or paying reimbursements for

Defendants’ prescription opioids that Plaintiffs would not have paid for or purchased but for

Defendants’ conduct;

               b.      Payments made for opioid drugs that were more expensive than alternative

efficacious treatments or therapies, as well as additional payments for increased quantities of

opioids due to addiction, and the costs of subsequent treatments, including drug addiction

therapy and emergency medical care, such as Naloxone Hydrochloride (Narcan), required due to

the abuse, misuse, addiction, and/or overdose of opioid drugs.

               c.      Costs for providing healthcare and medical care, additional therapeutic,

and prescription drug purchases, and other treatments for patients suffering from opioid-related

addiction or disease, including overdoses and deaths;

               d.      Costs for providing treatment of infants born with opioid-related medical

conditions, or born addicted to opioids due to drug use by a mother during pregnancy;

               e.      Costs for providing mental health services, treatment, counseling,

rehabilitation services, and social services to victims of the opioid epidemic and their families;

               f.      Payments for hospital and/or urgent care emergency department visits and

other treatment for opioid misuse, addiction, and/or overdose;

               g.      Payments for emergency department visits for infections related to opioid

misuse, addiction, and/or overdose;




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               h.      Payments for hospitalizations related to the misuse, addiction, and/or

overdose of opioids;

               i.      Payments for medicines to treat HIV, hepatitis C, and other issues related

to the opioid misuse, addiction, and/or overdose;

               j.      Payments for opioid overdose reversal medication such as Naloxone

Hydrochloride (Narcan);

               k.      Increased costs due to the necessity of reimbursing for a higher volume of

opioid prescriptions, driven by Defendants’ fraudulent marketing and distribution schemes;

               l.      Administrative costs associated with managing the influx of opioid-related

claims, including, but not limited to, claims audits, fraud investigations, and adjustments to

coverage policies;

               m.      Additional expenses related to updating formularies and implementing

stricter controls over opioid prescriptions, which became necessary only after the widespread

harm caused by Defendants’ actions.

       1505. Plaintiffs and Class members were the intended targets of Defendants’ schemes.

Defendants’ conduct was designed to maximize opioid sales by misleading consumers, including

TPPs, about the risks of opioid use. As a result, Plaintiffs and Class members were induced to

pay for opioid prescriptions that were unsafe, unnecessary, and harmful.

       1506. Defendants’ conduct, as alleged above, satisfies the elements required to establish

a violation of the State Consumer Protection Laws.

       1507. Plaintiffs and Class members relied on Defendants’ representations regarding the

safety of opioids for long-term pain management. But for Defendants’ fraudulent

misrepresentations and concealment of material facts regarding the addictive nature of opioids,




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Plaintiffs would not have continued to purchase or reimburse for these medications. Plaintiffs’

injuries, including financial losses and increased healthcare costs, were directly and proximately

caused by Defendants’ unlawful acts.

       1508. Defendants engaged in conduct that was capable of misleading or deceiving

consumers, including TPPs, about the safety and efficacy of opioids.

       1509. The misrepresentations and omissions were material, as they were likely to

influence the decisions of consumers, including TPPs, regarding the prescription and use of

opioids.

       1510. Plaintiffs and Class members were harmed as a direct result of Defendants’

deceptive conduct, including financial losses and health-related expenses.

       1511. Defendants’ conduct, including the misrepresentation of opioid safety and

efficacy and concealment of addiction risks and failure to prevent diversion, presents a

significant public interest concern, as it resulted in widespread opioid addiction and overdose, a

national public health crisis. The public benefit is clear, as TPPs were misled into funding

opioids for patients, thereby contributing to the opioid epidemic, straining public health

resources, and exacerbating the crisis.

       1512. Plaintiffs and Class members suffered an ascertainable loss of money or property

due to Defendants’ violations of the State Consumer Protection Laws.

       1513. Plaintiffs and Class members seek all monetary and non-monetary relief allowed

by law, including economic damages, statutory damages, restitution, disgorgement of wrongfully

obtained profits, treble damages, punitive/exemplary damages, injunctive relief, and reasonable

attorneys’ fees and costs.




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                               SEVENTH CLAIM FOR RELIEF
                                Common Law Public Nuisance
                                  (Against All Defendants)

       1514. Plaintiffs incorporate by reference all other paragraphs of this Complaint as if

fully set forth herein unless inconsistent with the allegations in this Claim and further allege:

       1515. This cause of action is alleged on behalf of Plaintiffs to the extent applicable state

common and statutory law permits for such an action to be asserted.

       1516. As third-party payors, Plaintiffs have a unique and direct interest in the health and

welfare of their community, including their beneficiaries, which has been specifically and

adversely affected by Defendants’ actions.

       1517. Defendants engaged in conduct that caused a public nuisance.

       1518. Defendants created and maintained a public nuisance, which proximately caused

injury to Plaintiffs, including unique economic losses and specific operational challenges directly

attributable to Defendants’ conduct.

       1519. A public nuisance cause of action is established where a defendant knowingly

created or assisted in the creation of a substantial or unreasonable interference with a right

common to the general public.

       1520. Defendants have created and maintained a public nuisance by marketing,

distributing, selling, and dispensing opioids in ways that unreasonably interfere with the public

health, welfare, and safety in Plaintiffs’ communities in which Plaintiffs’ plan participants and

beneficiaries reside. Plaintiffs, their beneficiaries, and the communities in which their

beneficiaries reside have a common right to be free from such conduct and to be free from

conduct that creates a disturbance and reasonable apprehension of danger to person and property.

       1521. The injuries suffered by Plaintiffs were a direct and foreseeable result of

Defendants’ fraudulent marketing and failures to maintain adequate anti-diversion controls.


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        1522. The public nuisance is an absolute public nuisance because Defendants’ nuisance-

creating conduct was intentional and unreasonable and/or violated statutes that establish specific

legal requirements for protecting others.

        1523. Defendants have created and maintained an absolute public nuisance through their

ongoing conduct of marketing, distributing, selling, and dispensing opioids, which are

dangerously addictive drugs, in a manner that caused prescriptions and sales of opioids to

skyrocket in the communities in which Plaintiffs’ beneficiaries reside, flooding those

communities with opioids, which facilitated and encouraged the flow and diversion of opioids

into an illegal, secondary market, resulting in devastating consequences to Plaintiffs and the

residents of Plaintiffs’ communities.

        1524. Defendants know and have known that their intentional, unreasonable, and

unlawful conduct will cause, and has caused, opioids to be used and possessed illegally and that

their conduct has produced an ongoing nuisance that has had, and will continue to have, a

detrimental effect on the public health, welfare, safety, peace, comfort, and convenience of

Plaintiffs and the communities in which Plaintiffs’ beneficiaries reside.

        1525. Defendants’ conduct has created an ongoing, significant, unlawful, and

unreasonable interference with rights common to the general public, including the public health,

welfare, safety, peace, comfort, and convenience of Plaintiffs and the communities in which

Plaintiffs’ beneficiaries reside.

        1526. The interference is unreasonable because Defendants’ nuisance-creating conduct:

                a.      Involves a significant interference with the public health, the public safety,

the public peace, the public comfort, and/or the public convenience;




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               b.      At all relevant times was and is proscribed by state and federal laws and

regulations; and/or

               c.      Is of a continuing nature and, as Defendants know, has had and is

continuing to have a significant effect upon rights common to the general public, including the

public health, the public safety, the public peace, the public comfort, and/or the public

convenience.

       1527. Defendants intentionally and unreasonably and/or unlawfully deceptively

marketed and pushed as many opioids onto the market as possible, fueling addiction to and

diversion of these powerful narcotics, resulting in increased addiction and abuse, an elevated

level of crime, death, and injuries to the residents of Plaintiffs’ communities, a higher level of

fear, discomfort, and inconvenience to the residents of Plaintiffs’ communities, and direct costs

to Plaintiffs and Plaintiffs’ communities.

       1528. Each Defendant is liable for creating the public nuisance because the intentional,

unreasonable, and/or unlawful conduct of each Defendant was a substantial factor in producing

the public nuisance and harm to Plaintiffs.

       1529. Defendants unlawfully suppressed evidence of opioid diversion, which they had a

legal duty to report. Plaintiffs were thus deprived of notice that they were paying for opioids that

were being diverted to the illicit market and the opportunity to employ fraud-fighting tools

effectively. This caused Plaintiffs to pay for opioid prescriptions that otherwise would have been

denied or subject to restrictions, unwittingly pay for opioids destined for unlawful use, and cover

increased costs to treat members’ opioid misuse, addiction, and/or overdose.




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        1530. At all relevant times, Defendants were (or reasonably should have been) aware of,

and understood, their legal obligations under the CSA, 21 U.S.C. § 801, et seq. and applicable

state law regarding manufacture, distribution, sale, and dispensing of prescription opioids.

        1531. A violation of any rule or law controlling the sale and/or distribution of a drug of

abuse in Plaintiffs’ communities constitutes a public nuisance and an unreasonable interference

with rights common to the general public.

        1532. In the sale and distribution of opioids in the United States and Plaintiffs’

communities, Defendants violated federal law, including, but not limited to, 21 U.S.C. § 823 and

21 C.F.R. § 1301.74, and applicable state laws (including, but not limited to, Ohio: Ohio Rev.

Code § 4729.01(F) and Ohio Admin. Code §§ 4729-9-12, 4729-9-16, 4729-9-28; Pennsylvania:

35 Pa. Cons. Stat. §§ 780-104, 780-106, 780-112(c); 63 Pa. Cons. Stat. §§ 391.2, 391.4, 391.6,

391.9; 28 Pa. Code §§ 25.33, 25.61(a), 25.72(c); Okla. Admin. Code § 535:25-9-8(2), (5); and

New York: N.Y. Pub. Health Law §§ 3312(1)(c), 3315(2)(b)(ii), N.Y. Comp. Codes R. & Regs.

tit. 10, § 80.22).

        1533. Defendants’ unlawful nuisance-creating conduct includes violating federal and

state statutes and regulations, including the controlled substances laws, by:

                a.     Distributing and selling opioids in ways that facilitated and encouraged

their flow into the illegal, secondary market;

                b.     Distributing and selling opioids without maintaining adequate controls

against the diversion of opioids;

                c.     Choosing not to adequately monitor for suspicious orders;

                d.     Choosing not to investigate suspicious orders;

                e.     Choosing not to report suspicious orders;




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               f.      Choosing not to stop or suspend shipments of suspicious orders;

               g.      Distributing and selling opioids prescribed by “pill mills” when

Defendants knew or should have known the opioids were being prescribed by “pill mills”;

               h.      Failing to check for and conclusively resolve red flags of possible

diversion before dispensing opioids.

               i.      Defendants’ intentional and unreasonable nuisance-creating conduct, for

which the gravity of the harm outweighs the utility of the conduct, includes:

                       (i)     Distributing and selling opioids in ways that facilitated and
                               encouraged their flow into the illegal, secondary market;

                       (ii)    Distributing opioids without maintaining adequate controls against
                               the diversion of opioids;

                       (iii)   Choosing not to adequately monitor for suspicious orders;

                       (iv)    Choosing not to investigate suspicious orders;

                       (v)     Choosing not to report suspicious orders;

                       (vi)    Choosing not to stop or suspend shipments of suspicious orders;

                       (vii)   Distributing and selling opioids prescribed by “pill mills” when
                               Defendants knew or should have known the opioids were being
                               prescribed by “pill mills”; and

                       (viii) Failing to check for and conclusively resolve red flags of possible
                              diversion before dispensing opioids.

       1534. Defendants intentionally and unreasonably distributed, sold, and dispensed

opioids that Defendants knew would be diverted into the illegal, secondary market and would be

obtained by persons with criminal purposes.

       1535. The Marketing Defendants intentionally and unreasonably engaged in a deceptive

marketing scheme designed to change the perception of opioids and caused their prescribing and

sales to skyrocket in Plaintiffs’ beneficiaries’ communities.




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       1536. The Marketing Defendants intentionally and unreasonably misled Plaintiffs and

their beneficiaries, healthcare providers, and the public about the risks and benefits of opioids,

including minimizing the risks of addiction and overdose and exaggerating the purported benefits

of long-term use of opioids for the treatment of chronic pain.

       1537. The Marketing Defendants violated state and federal statutes and regulations,

including the controlled substances laws, by engaging in the deceptive marketing of opioids, as

described in this Complaint.

       1538. In the distribution and sale of opioids in the United State and Plaintiffs’

communities, Defendants violated and/or aided and abetted violations of state law, including for

example:

               a.      Ohio Rev. Code § 2925.02(A) (OH);

               b.      35 Pa. Cons. Stat. §§ 780-104, 780-106, 780-112(c) (PA);

               c.      63 Pa. Cons. Stat. §§ 391.2, 391.4, 391.6, 391.9 (PA);

               d.      28 Pa. Code §§ 25.33, 25.61(a), 25.72(c) (PA);

               e.      La. Admin. Code tit. 46, pt. LIII, 2715(C)(2) (LA);

               f.      La. Stat. § 40:961, et seq. (LA);

               g.      Okla. Admin. Code § 535:25-9-8(2), (5) (OK);

               h.      N.Y. Pub. Health Law § 3312(1)(c) (NY);

               i.      N.Y. Pub. Health Law § 3315(2)(b)(ii) (NY); and

               j.      N.Y. Comp. Codes R. & Regs. tit. 10, § 80.22 (NY).

       1539. Defendants are in the business of manufacturing, marketing, selling, distributing,

and/or dispensing prescription drugs, including opioids, which are known to Defendants to be




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dangerous because inter alia these drugs are defined under federal and state law as substances

posing a high potential for abuse and addiction.

        1540. Indeed, opioids are akin to medical-grade heroin. Defendants’ wrongful conduct

of deceptive marketing and pushing as many opioids onto the market as possible led directly to

the public nuisance and harm to Plaintiffs – exactly as would be expected when medical-grade

heroin in the form of prescription opioids are deceptively marketed, flood the community, and

are diverted into an illegal, secondary market.

        1541. Defendants had control over their conduct in Plaintiffs’ communities, and that

conduct has harmed rights common to the general public. Marketing Defendants controlled their

deceptive advertising and efforts to mislead the public, including their acts and omissions in

detailing by their sales representatives, online communications, publications, Continuing

Medical Education programs and other speaking events, and other means described in this

Complaint. Defendants had control over their shipments of opioids and their reporting, or lack

thereof, of suspicious prescribers and orders. Each of Defendants controlled the systems they

developed to prevent diversion, whether they filled orders they knew or should have known were

likely to be diverted or fuel an illegal market.

        1542. Through their actions and omissions, Defendants intentionally created a situation

where Plaintiffs would bear the increased costs associated with the rising demand and misuse of

opioids. This constitutes a direct causal link between Defendants’ conduct and the harm to

Plaintiffs.

        1543. It was reasonably foreseeable that Defendants’ actions and omissions would result

in the public nuisance and harm to Plaintiffs described herein.




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       1544. Because of the Marketing Defendants’ deceptive marketing of opioids and

Defendants’ special positions within the closed system of opioid distribution, without

Defendants’ actions, opioid use would not have become so widespread. And the enormous public

health hazard of prescription opioids and heroin overuse, abuse, and addiction that now exists

would have been averted.

       1545. The public nuisance created by Defendants’ actions is substantial and

unreasonable. It has caused and continues to cause significant harm to Plaintiffs’ communities,

and the harm inflicted outweighs any offsetting benefit.

       1546. The externalized risks associated with Defendants’ nuisance-creating conduct, as

described herein, greatly exceed the internalized benefits.

       1547. As a direct and proximate result of Defendants’ tortious conduct and the public

nuisance created by Defendants, Plaintiffs have suffered and will continue to suffer economic

damages, as detailed herein.

       1548. As a direct and proximate result of Defendants’ tortious conduct and the public

nuisance created by Defendants, Plaintiffs have suffered and will continue to suffer stigma

damage, non-physical property damage, and damage to its proprietary interests.

       1549. The nuisance created by Defendants’ conduct is abatable.

       1550. Defendants’ misconduct is ongoing and persistent.

       1551. Plaintiffs have incurred expenditures as a direct result of Defendants’ nuisance-

creating conduct.

       1552. Plaintiffs seek to abate the nuisance created by Defendants’ unreasonable,

unlawful, intentional, ongoing, continuing, and persistent actions and omissions and

unreasonable interference with rights common to the general public.




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       1553. Plaintiffs have suffered and will continue to suffer, unique harms as described in

this Complaint, which are of a different kind and degree than citizens at large. These are harms

that can only be suffered by Plaintiffs as third-party payors, directly impacted by Defendants’

targeted actions.

       1554. Plaintiffs assert their own rights and interests, and Plaintiffs’ claims are not based

on or derivative of the rights of others.

       1555. The tortious conduct of each Defendant was a substantial factor in creating the

absolute public nuisance, leading directly to the injuries claimed by Plaintiffs.

       1556. The tortious conduct of each Defendant was a substantial factor in producing

harm to Plaintiffs.

       1557. Plaintiffs have suffered an indivisible injury as a result of the tortious conduct of

Defendants.

       1558. Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions had a great probability of

causing substantial harm.

       1559. Plaintiffs assert this Claim as a common law tort claim for absolute public

nuisance, not as a “product liability claim.” In this Claim, Plaintiffs do not seek damages for

death, physical injury to person, emotional distress, or physical damages to property.

       1560. Plaintiffs seek all legal and equitable relief as allowed by law, including inter alia

injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages, and

all damages allowed by law to be paid by Defendants, attorney fees and costs, and pre and post-

judgment interest.




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                             EIGHTH CLAIM FOR RELIEF
                     ERISA Equitable Relief (29 U.S.C. § 1132(a)(3))
 (On Behalf of Bios and All Similarly-Situated ERISA Fiduciaries Against All Defendants)

       1561. Plaintiffs incorporate by reference all other paragraphs of this Complaint as if

fully set forth herein unless inconsistent with the allegations in this Claim and further allege:

       1562. Plaintiff Bios Plan and all similarly-situated ERISA plans (“ERISA Plans”) are

administered based on trust principles. See 29 U.S.C. § 1103(a); Firestone Tire & Rubber Co. v.

Bruch, 489 U.S. 101, 110-11 (1989).

       1563. Plaintiff Bios and all similarly-situated ERISA fiduciaries (“ERISA Fiduciaries”)

are fiduciaries of their ERISA Plans because they exercise discretionary authority or

discretionary control respecting management of such Plans and exercise authority or control

respecting management or disposition of their respective Plan’s assets, and because they have

discretionary authority or discretionary responsibility in the administration of their respective

Plans. See 29 U.S.C. § 1002(21)(A).

       1564. As fiduciaries under ERISA, ERISA Fiduciaries have a legal duty and obligation

(i) to protect their respective Plans from incurring improper losses and (ii) when a third party

causes improper expenses/losses to their Plans, to seek recovery of such expenses/losses from the

third party. See, e.g., 29 U.S.C. § 1103(a); § 1104(a)(1)(A)(ii) & (C); § 1109(a).

       1565. The ERISA Plans have incurred direct losses as a result of Defendants’ improper

and fraudulent conduct. As described above, these losses include, for example, paying for

opioids that were unnecessary (over-prescription and addict doctor shopping) and paying for

opioid-related treatment and therapy for participants and beneficiaries who became addicted to

opioids or which resulted from opioid use.

       1566. Having become aware of the Defendants’ improper and fraudulent conduct, and

the losses it has caused to the ERISA Plans, ERISA Fiduciaries are required to discharge their


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ERISA fiduciary duties to prevent further improper losses to the ERISA Plans and to preserve

their Plans’ assets and legal rights to reimbursement and subrogation.

       1567. Specifically, ERISA Fiduciaries, as fiduciaries, bring this action under 29 U.S.C.

§ 1132(a)(3)(A), to enjoin and abate Defendants’ continuing wrongful and fraudulent acts and

practices (which have caused improper losses to the ERISA Plans) and which violates subchapter

I of ERISA (improper losses to the Plans).

       1568. ERISA Fiduciaries also bring this action under 29 U.S.C. § 1132(a)(3)(B)(i), to

obtain appropriate equitable relief, which includes declaratory relief, to redress the

aforementioned violations of subchapter I of ERISA.

       1569. ERISA Fiduciaries also bring this action under 29 U.S.C. § 1132(a)(3)(B)(ii), to

obtain appropriate equitable relief (injunction, abatement, and declaratory relief ) to enforce the

provisions of ERISA and provisions in the ERISA Plans which require ERISA plan fiduciaries to

protect their plans against improper losses. Specifically, with respect to relief under 29 U.S.C.

§ 1132(a)(3)(B)(ii), ERISA Fiduciaries seek a declaration that:

               The Plaintiff ERISA Plans have subrogation rights, interests and/or
               liens which are provided to them under their Plan documents.
               Therefore, to the extent the Plaintiff ERISA Plans have such rights
               through their Plans, then with respect to (a) any settlement proceeds
               that are paid by any of the Defendants named in this lawsuit or (b)
               damages are awarded, (c) to any plaintiff in any lawsuit in In re:
               National Prescription Opiate Litigation, Cause 1:17-md-2804 (N.D.
               Ohio), against any of the Defendants named in this lawsuit, in which
               the plaintiff is an individual ERISA Plan participant or beneficiary
               of a Plan, then the Plan applicable to that individual plaintiff or
               plaintiffs has a contractual right of subrogation or lien against any
               such settlement proceeds or damages award, as provided under the
               applicable Plan documents.

       1570. ERISA Fiduciaries are entitled to equitable, injunctive, declaratory, and other

relief to ensure that any proceeds that rightfully belong to the Plaintiff ERISA Plans as set forth




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in plan documents, are paid to those Plans and not to other parties such as Plan participants,

personal representatives of participants, or other persons claiming entitlement to payment of

funds that rightfully belong to the Plaintiff ERISA Plans.

       1571. With respect to relief under ERISA, 29 U.S.C. § 1132(a)(3)(B)(ii), declaratory

relief and/or other equitable relief is necessary to preserve the Plaintiff ERISA Plans’ assets prior

to any distribution of settlement proceeds and/or payment of damages that may be paid by any of

the Defendants named herein, to, or on behalf of, any plan participant or beneficiary in the

Plaintiff ERISA Plans. See U.S. Dep’t of Labor, Advisory Opinion 92-24A at 2 (Nov. 6, 1992),

https://www.dol.gov/sites/dolgov/files/EBSA/about-ebsa/our-activities/resource-center/advisory-

opinions/1992-24a.pdf.

       1572. Accordingly, Fiduciary Plaintiffs seek injunctive and other appropriate equitable

relief under 29 U.S.C. § 1132(a)(3).

                                     PRAYER FOR RELIEF

       1573. Plaintiffs respectfully request that this Court, at an appropriate time and for

purposes of adjudication of common questions or the resolution of class claims, certify a Class

and/or subclasses under the applicable provisions of Fed. R. Civ. P. 23, and appoint them and

their undersigned counsel of record to represent the Class.

       1574. Plaintiffs respectfully request that this Court enter an order of judgment granting

all relief requested in this Complaint, and/or allowed at law or in equity, including:

               a.      actual damages;

               b.      punitive damages;

               c.      exemplary damages;

               d.      disgorgement of unjust enrichment;




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                 e.     equitable and injunctive relief in the form of Court-enforced corrective

action, programs, and communications;

                 f.     forfeiture, disgorgement, restitution and/or divestiture of proceeds and

assets;

                 g.     attorneys’ fees;

                 h.     costs and expenses of suit;

                 i.     pre- and post-judgment interest; and

                 j.     such other and further relief as this Court deems appropriate.

                                           JURY DEMAND

          1575. Plaintiffs demand trial by jury.

 Dated: September 20, 2024                 Respectfully submitted,

                                           /s/ Elizabeth J. Cabraser

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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 21st day of October, 2024, I have electronically filed the
foregoing with the Clerk of Court using the CM/ECF System. Copies will be served upon counsel
of record by, and may be obtained through, the Court’s CM/ECF System.

                                                   s/Peter H. Weinberger
                                                   Peter H. Weinberger
